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                     COMPOSITE EXHIBIT 1
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       # 184858991  E-Filed 10/26/2023 04:46:51 PM



        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                I.      CASE STYLE

                     IN THE CIRCUIT/COUNTY COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        Samantha Eve Morris
        Plaintiff                                                                Case #
                                                                                 Judge
        vs.
       Humana Insurance Company, Nationwide Mutual Insurance Company
        Defendant



                II.     AMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

        ☐ $8,000 or less
        ☒ $8,001 - $30,000
        ☐ $30,001- $50,000
        ☐ $50,001- $75,000
        ☐ $75,001 - $100,000
        ☐ over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.




                                                          -1-
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   CIRCUIT CIVIL

   ☐ Condominium
   ☐ Contracts and indebtedness
   ☐ Eminent domain
   ☐ Auto negligence
   ☐ Negligence—other
          ☐ Business governance
          ☐ Business torts
          ☐ Environmental/Toxic tort
          ☐ Third party indemnification
          ☐ Construction defect
          ☐ Mass tort
          ☐ Negligent security
          ☐ Nursing home negligence
          ☐ Premises liability—commercial
          ☐ Premises liability—residential
   ☐ Products liability
   ☐ Real Property/Mortgage foreclosure
         ☐ Commercial foreclosure
         ☐ Homestead residential foreclosure
         ☐ Non-homestead residential foreclosure
         ☐ Other real property actions

   ☐Professional malpractice
         ☐ Malpractice—business
         ☐ Malpractice—medical
         ☐ Malpractice—other professional
   ☐ Other
         ☐ Antitrust/Trade regulation
         ☐ Business transactions
         ☐ Constitutional challenge—statute or ordinance
         ☐ Constitutional challenge—proposed amendment
         ☐ Corporate trusts
         ☐ Discrimination—employment or other
         ☐ Insurance claims
         ☐ Intellectual property
         ☐ Libel/Slander
         ☐ Shareholder derivative action
         ☐ Securities litigation
         ☐ Trade secrets
         ☐ Trust litigation


    COUNTY CIVIL

    ☐ Small Claims up to $8,000
    ☒ Civil
    ☐ Real property/Mortgage foreclosure
                                                   -2-
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    ☐ Replevins
    ☐ Evictions
          ☐ Residential Evictions
          ☐ Non-residential Evictions
    ☐ Other civil (non-monetary)

                                         COMPLEX BUSINESS COURT

   This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
   Administrative Order. Yes ☐ No ☒

            IV.   REMEDIES SOUGHT (check all that apply):
            ☒ Monetary;
            ☒ Nonmonetary declaratory or injunctive relief;
            ☐ Punitive

            V.     NUMBER OF CAUSES OF ACTION: [ ]
            (Specify)

              4

            VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                    ☐ yes
                    ☒ no

            VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                    ☒ no
                    ☐ yes If “yes,” list all related cases by name, case number, and court.


            VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                  ☒ yes
                  ☐ no


            IX.     DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
                    ☐ yes
                    ☒ no


    I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
    my knowledge and belief, and that I have read and will comply with the requirements of
    Florida Rule of Judicial Administration 2.425.

    Signature: s/ Justin E Linn                            Fla. Bar # 98661
                    Attorney or party                                     (Bar # if attorney)

   Justin E Linn                            11/01/2023
    (type or print name)                           Date

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                            IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT
                                 IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                        CASE NO.:
                                                    ------------
        SAMANTHA EVE MORRIS,

                           Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                           Defendant(s ).
        ----------------                                           I


                       DECLARATORY ACTION AND COMPLAINT FOR DAMAGES


                 Plaintiff, SAMANTHA EVE MORRIS, by and through her undersigned counsel, files this

        DECLARATORY ACTION against the Defendants HUMANA INSURANCE COMPANY, and

        NATIONWIDE INSURANCE COMPANY, and alleges as follows:

                                   ALLEGATIONS COMMON TO ALL COUNTS


                 1.        This is a declaratory action for insurance coverage pursuant to Florida Statute

        Chapter 86.

                 2.        The County Court has original jurisdiction over this dispute because the amount in

        dispute is $26,498.34, exclusive of interest, attorneys' fees, and costs.

                 3.        At all times material hereto, Plaintiff, SAMANTHA EVE MORRIS, was a resident

        of Miami-Dade County, Florida, over the age of eighteen (18) years and is otherwise suijuris.

                 4.        Prior to departing on a September 2022 cruise, Plaintiff, SAMANTHA EVE

        MORRIS, purchased a policy of insurance underwritten by Nationwide Mutual Insurance


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   Company that provided coverage for accident related medical expenses (Plan Number

   NWEPCT12; program name Princess Vacation Protection - Platinum) (hereinafter as the

   Nationwide Vacation plan). A copy of this policy is attached hereto as Exhibit A.

          5.     The maximum relevant medical expense benefit afforded under the Nationwide

   Vacation plan is TWENTY-THOUSAND DOLLARS ($20,000.00).

          6.     The relevant policy language from the Nationwide Vacation Plan states that

                 a.     "The company will reimburse benefits up to the Maximum Benefit

                 shown on the Schedule of Benefits . . . if you incur Covered Medical

                 Expenses for Necessary Treatment of an Accidental Injury ... that occurs

                 during the Trip."

                 b.     "Covered Medical Expenses are limited to the list below: (a) the

                 services of a physician ... [and] (e) ... therapeutic services."

                 c.     "Undisputed portions of the first party claims will be paid within

                 thirty (30) days of Company receipt of Proof of Loss."

          7.     At all times material hereto, Plaintiff, SAMANTHA EVE MORRIS was primarily

   insured through HUMANA INSURANCE COMPANY with an HMO Open Access policy of

   health insurance (Member ID 116698038 01). A copy of this policy is attached hereto as Exhibit

   B.

          8.     The relevant policy language from the Humana HMO Policy states that:

                 a.     "We will provide coverage for services, equipment and supplies that

                        are covered expenses."

                 b.     "We will pay benefits for covered expenses if you see a network

                        provider."



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               c.    "If a network provider cannot provide the covered expenses you

                     need or they cannot treat your condition, you must have a referral

                     from your primary care physician that is approved by us to receive

                     services from a non-network provider. Only the services approved

                     by us will be a covered expense. Non-network providers have not

                     signed an agreement with us to accept discounted or negotiated fees

                     for services and may bill you for charges in excess of the maximum

                     allowable fee."

               d.    "Schedule of Benefits . . . 20% coinsurance after network provider

                     deductible."

               e.    "We will pay benefits for covered expenses incurred by you for

                     health care practitioner services at a retail clinic for a . . . bodily

                     injury."

               f.    "We will pay benefits for covered expenses incurred by you for the

                     following physical medicine and/or rehabilitative services for a

                     documented functional impairment, pain, or developmental delay or

                     defect as ordered by a health care practitioner and performed by a

                     health care practitioner: Physical therapy services; Occupational

                     therapy services; Spinal manipulations/adjustments; ... "

               g.    "If you utilize a non-network provider for covered expenses, you

                     may have to submit a notice of claim to us. Notice of claim must be

                     given to us in writing or by electronic mail as required by your plan,

                     or as soon as is reasonably possible thereafter. Notice must be sent



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                     to us at our mailing address shown on your identification

                     documentation ... Claims must be complete. At a minimum a claim

                     must contain: Name of the covered person who incurred the covered

                     expenses; Name and address of the provider; Diagnosis; Procedure

                     or nature of the treatment; Place of service; Date of service; and

                     Billed amount.

               h.    "Benefit payments for covered expenses rendered by a non-network

                     provider are due and owing solely to the covered person. You may

                     request that we direct a payment of selected medical benefits to the

                     health care provider on whose charge the claim is based."

               1.    "If we fail to complete a claim determination or appeal within the

                     time limits set forth in the master group contract, the claim shall be

                     deemed to have been denied, ... "

               J.    "We will not provide duplicate coverage for benefits under the

                     master group contract when a person is covered by us and has, or is

                     entitled to, benefits as a result of their injuries from any other

                     coverage, including, first party uninsured or underinsured motorist

                     coverage, any no-fault insurance, medical payment coverage (auto,

                     homeowners or otherwise), Workers' Compensation settlement or

                     awards, other group coverage (including student plans), direct

                     recoveries from liable parties, premises medical pay or any other

                     insurer providing coverage that would apply to pay your medical

                     expenses, except another "plan", as defined in the "Coordination of



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                         Benefits" section (e.g., group health coverage), in which case

                         priority will be determined as described in the "Coordination of

                         Benefits" section.   Where there is such coverage, we will not

                         duplicate other coverage available to you and shall be considered

                         secondary, except where specifically prohibited. Where double

                         coverage exists, we shall have the right to be repaid from whomever

                         has received the overpayment from us to the extent of the duplicate

                         coverage."

                  k.     "The costs of our legal representation in matters related to our

                         recovery rights shall be borne solely by us."

                  1.     "Bodily Injury" means bodily damage other than a sickness,

                         including all related conditions and recurrent symptoms."

                  m.     "Covered expense means: Medically necessary services to treat a

                         sickness or bodily injury, such as: Procedures; Surgeries;

                         Consultations; Advice; Diagnosis; Referrals; Treatment; Supplies;

                         Drugs, including prescription and specialty drugs; Devices; or

                         Technologies."

          9.      Plaintiff, SAMANTHA EVE MORRIS, was seriously and permanently injured

   during the cruise on September 19, 2022, due to a covered loss under the Nationwide Vacation

   Plan and HUMANA INSURANCE COMPANY health insurance plans.

          10.     Plaintiff, SAMANTHA EVE MORRIS received medical treatment at CitiMED for

   treatment related to the September 19, 2022, accident.

          11.     As a result of this treatment, Plaintiff, SAMANTHA EVE MORRIS, incurred



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    medical expenses from CitiMED totaling $26,498.34, which remain unpaid and due. See Medical

    Billing Ledger attached hereto as Exhibit C.

           12.    Thereafter, Plaintiff submitted the CitiMED billing to HUMANA INSURANCE

    COMPANY and requested that HUMANA INSURANCE COMPANY pay the claim on or about

    March 15, 2023, and April 24, 2023. HUMANA INSURANCE COMPANY failed to reply with

    any relevant correspondence and otherwise failed to pay, deny and/or contest the claim.

           13.    On or about March 15, 2023, Plaintiff sent a formal Demand (i.e., Proof of Loss)

    for Medical Payments Coverage to AON Affinity Travel Practice on behalf of Defendant

    NATIONWIDE MUTUAL INSURANCE COMPANY demanding the tender of the policy limits

    of the relevant medical expense benefit afforded under the Nationwide Vacation plan of

    TWENTY-THOUSAND DOLLARS ($20,000.00).

           14.    The March 15, 2023, demand to AON Affinity Travel Practice included a Medical

    Claim Form and CitiMED medical records and billing. AON Affinity Travel Practice denied

    coverage under the policy and requested additional information.

           15.    Thereafter, Plaintiff filed a Civil Remedy Notice against HUMANA INSURANCE

    COMPANY on or about June 14, 2023, alleging violations of Florida Statutes §§ 624.155(1 )(b)(1);

    624.155(1)(b)(3);      626.9541 (1)(i)(2);         626.9541(1)(i)(3)(a);   626.9541(1)(i)(3)(b );

    626.9541(1)(i)(3)(c); 626.9541(1)(i)(3)(d); 626.9541(1)(i)(3)(e); for failing to promptly pay or

    properly deny the CitiMED claim.

           16.    Plaintiff again sent an additional demand for payment of benefits on or about July

    1, 2023 to Defendant HUMANA INSURANCE COMPANY and Defendant HUMANA

    INSURANCE COMPANY has failed to pay, deny, nor contest this demand as well.

           17.    On July 25, 2023, Plaintiff again sent a Time Sensitive Demand for Settlement to



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    AON Affinity Travel Practice on behalf of Defendant NATIONWIDE MUTUAL INSURANCE

    COMP ANY demanding the tender of the policy limits of the relevant medical expense benefit

    afforded under the Nationwide Vacation plan of TWENTY-THOUSAND                          DOLLARS

    ($20,000.00).

           18.      In support of this July 25, 2023 Demand Plaintiff enclosed (a) signed Medical

    Claim Form provided by AON, (b) Itemization of Medical Expenses, (c) CitiMED Billing Ledger,

    showing a balance in excess of$20,000.00, (d) APRN Initial Evaluation, (e) Email from CitiMED

    stating that they do not accept health insurance, (f) letter from APL showing coverage not in effect

    at or after the date of loss, (g) passenger statement of accident from cruise ship, and (h) booking

    notification from the subject cruise where the injury occurred.

           19.      AON Affinity Travel Practice on behalf of Defendant NATIONWIDE MUTUAL

    INSURANCE COMP ANY responded on or about August 23, 2023, denying the claim and stated

    that they would not provide coverage unless HUMANA INSURANCE COMPANY issues an

    Explanation of Benefits denying the coverage.

           20.      Plaintiff sent a final Demand for Payment to Defendant HUMANA INSURANCE

    COMPANY on September 7, 2023, demanding payment within thirty (30) days for the CitiMED

    billing. Defendant HUMANA INSURANCE COMPANY has failed to pay, deny, nor contest this

    demand.

           21.      Neither Defendant HUMANA           INSURANCE        COMPANY nor Defendant

    NATIONWIDE MUTUAL INSURANCE COMPANY have paid benefits to or related to

    CitiMED arising from the September 19, 2022 date ofloss.

           22.      At all times relevant hereto Defendant HUMANA INSURANCE COMPANY was

    a foreign profit corporation, with a principal address of 500 West Main Street, Louisville, KY



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    40202.

             23.   At all times material hereto Defendant HUMANA INSURANCE COMPANY has

    assigned the Florida Chief Financial Officer, 200 East Gaines Street, Tallahassee, Florida 32399

    as its Registered Agent.

             24.   At all times relevant hereto Defendant HUMANA INSURANCE COMPANY was

    and did business in Florida, including writing a policy of health insurance to SAMANTHA EVE

    MORRIS, a Florida resident, and paying policy benefits to providers located in the state of Florida

    for medical services provided in the state of Florida.

             25.   At all times relevant hereto, Defendant NATIONWIDE MUTUAL INSURANCE

    COMPANY was a foreign profit corporation, with a principal address at One West Nationwide

    Boulevard, Columbus, OH 43215.

             26.   At all times material hereto Defendant NATIONWIDE MUTUAL INSURANCE

    COMPANY has assigned the Florida Chief Financial Officer, 200 East Gaines Street, Tallahassee,

    Florida 32399 as its Registered Agent.

             27.   At all times material hereto Defendant NATIONWIDE MUTUAL INSURANCE

    COMPANY was and did business in Florida, including writing a policy of insurance named

    "Princess Vacation Protection-Platinum     to SAMANTHA EVE MORRIS, a Florida resident for

    a cruise that departed from Florida.

             28.   Venue is proper in Miami-Dade County, Florida in that Defendant NATIONWIDE

    MUTUAL INSURANCE COMPANY maintains agent offices in Miami-Dade County,

    HUMANA INSURANCE COMPNAY maintains an agent office in Miami-Dade County, and the

    amount in dispute is related to a medical provider from Miami-Dade County, Florida.

             29.   Plaintiff is contractually obligated to pay attorneys' fees and costs to the



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    undersigned counsel.

           30.     Florida Statute §§ 641.28 and 86.121 authorizes the court to award Plaintiff

    attorneys' fees and costs if she prevails in this action against HUMANA INSURANCE

    COMPANY.

           31.     Florida Statute§ 86.121 authorizes the court to award Plaintiff attorneys' fees and

    costs if she prevails in this action against NATIONWIDE MUTUAL INSURANCE COMPANY.

           32.     The issues before the court are ripe and there is a controversy.

           33.     All conditions precedent have been satisfied by Plaintiff and/or waived by the

    Defendants, to include proper service of Notice of Claims and Proofs of Loss.



                       COUNT I. - DECLARATORY JUDGMENT AGAINST
                             HUMANA INSURANCE COMP ANY

           34.     Plaintiff, SAMANTHA EVE MORRIS, reasserts and reincorporates paragraphs

    numbered 1 through 33 above as if set forth fully herein.

           35.     Plaintiff, SAMANTHA EVE MORRIS, was seriously and permanently injured

    during the cruise on September 19, 2022.

           36.     Plaintiff, SAMANTHA EVE MORRIS received medical treatment at CitiMED for

    treatment related to the September 19, 2022, accident and incurred medical expenses totaling

    $26,498.34, which remain unpaid and due.

           37.     Thereafter, Plaintiff submitted the CitiMED billing to HUMANA INSURANCE

    COMPANY and requested that HUMANA INSURANCE COMPANY pay the claim on or about

    March 15, 2023, April 24, 2023, June 14, 2023, July 1, 2023, and September 7, 2023.

           38.     Florida Statute§ 641.3155(4)(b) provides that a claim presented to an HMO carrier

    must be paid, denied or contested within 40 days after receipt of the claim.

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           39.       Florida Statute§ 641.3155(4)(e) provides that if an HMO carrier fails to pay or

    deny the claim within 140 days after receipt of the claim it creates an uncontestable obligation to

    pay the claim.

           40.       HUMANA INSURANCE COMPANY failed to pay, or properly deny and/or

    contest the claim.

           41.       There 1s a bona-fide dispute between Plaintiff and Defendant HUMANA

    INSURANCE COMPANY as to whether the Humana Health Insurance Policy is required to pay

    the CitiMED medical billing.

           42.       Plaintiff has a justiciable question as to the existence or non-existence of rights

    and/or status related to the Humana Health Insurance Policy.

           43.       Plaintiff is in doubt as to the rights and/or status related to the Humana Health

    Insurance Policy.

           44.       There is a hon-fide, actual, and present need for the declaration.

           45.       All antagonistic and adverse interests are all before the Court.

           46.       Plaintiff is contractually obligated to pay attorneys' fees and costs to the

    undersigned counsel and Florida Statute§ 641.28 authorizes the court to award Plaintiff attorneys'

    fees and costs if she prevails in this action against Defendant HUMANA INSURANCE

    COMPANY.



           WHEREFORE, the Plaintiff, SAMANTHA EVE MORRIS, demands declaratory

    judgment against the Defendant, HUMANA INSURANCE COMPANY, declaring that the

    CitiMED billing is a covered expense under the Humana Health Insurance Policy for which

    Defendant HUMANA INSURANCE COMPANY must provide coverage as calculated through



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    their policy, together with attorneys' fees and costs of suit, and such further relief as the Court

    deems proper.



                       COUNT II. - DECLARATORY JUDGMENT AGAINST
                        NATIONWIDE MUTUAL INSURANCE COMPANY

           47.      Plaintiff, SAMANTHA EVE MORRIS, reasserts and reincorporates paragraphs

    numbered 1 through 33 above as if set forth fully herein.

           48.      Plaintiff, SAMANTHA EVE MORRIS, was seriously and permanently injured

    during the cruise on September 19, 2022.

           49.      Plaintiff, SAMANTHA EVE MORRIS received medical treatment at CitiMED for

    treatment related to the September 19, 2022, accident and incurred medical expenses totaling

    $26,498.34, which remain unpaid and due.

           50.      Thereafter, Plaintiff submitted the CitiMED billing to NATIONWIDE MUTUAL

    INSURANCE COMPANY and requested that NATIONWIDE MUTUAL INSURANCE

    COMPANY pay the claim on or about March 15, 2023 and July 25, 2023.

           51.      The March 15, 2023 and/or July 25, 2023 were proper Proof of Loss as required

    under the Nationwide Vacation plan.

           52.      NATIONWIDE MUTUAL INSURANCE COMPANY failed to pay, or properly

    deny and/or contest the claim.

           53.      There is a bona-fide dispute between Plaintiff and Defendant NATIONWIDE

    MUTUAL INSURANCE COMPANY as to whether the Nationwide Vacation Plan is required to

    pay the CitiMED medical billing.

           54.      Plaintiff has a justiciable question as to the existence or non-existence of rights

    and/or status related to the Nationwide Vacation Plan.

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            55.     Plaintiff is in doubt as to the rights and/or status related to the Nationwide Vacation

    Plan.

            56.     There is a hon-fide, actual, and present need for the declaration.

            57.     All antagonistic and adverse interests are all before the Court.

            58.     Plaintiff is contractually obligated to pay attorneys' fees and costs to the

    undersigned counsel and Florida Statute§ 86.121 authorizes the court to award Plaintiff attorneys'

    fees and costs if she prevails in this action against Defendant NATIONWIDE MUTUAL

    INSURANCE COMPANY.



            WHEREFORE, the Plaintiff, SAMANTHA EVE MORRIS, demands declaratory

    judgment against the Defendant, NATIONWIDE MUTUAL INSURANCE COMPANY,

    declaring that the CitiMED billing is a covered expense under the Nationwide Vacation Plan for

    which Defendant NATIONWIDE MUTUAL INSURANCE COMPANY must provide coverage

    as calculated through their policy, together with attorneys' fees and costs of suit, and such further

    relief as the Court deems proper.



            WHEREFORE, the Plaintiff, SAMANTHA EVE MORRIS, demands declaratory

    judgment against the Defendants HUMANA INSURANCE COMPANY and NATIONWIDE

    MUTUAL INSURANCE COMPANY adjudging the rights and status of the Plaintiff as it relates

    to the Nationwide Vacation and Humana Health Insurance plans' obligations of the CitiMED

    medical billing, together with attorneys' fees and costs of suit, and such further relief as the Court

    deems proper.




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                                 COUNT III. - BAD-FAITH AGAINST
                                 HUMANA INSURANCE COMP ANY

             59.     Plaintiff, SAMANTHA EVE MORRIS, reasserts and reincorporates paragraphs

    numbered 1 through 33 above as if set forth fully herein.

             60.     Plaintiff, SAMANTHA EVE MORRIS, was seriously and permanently injured

    during the cruise on September 19, 2022.

             61.     Plaintiff, SAMANTHA EVE MORRIS received medical treatment at CitiMED for

    treatment related to the September 19, 2022, accident and incurred medical expenses totaling

    $26,498.34, which remain unpaid and due.

             62.     Thereafter, Plaintiff submitted the CitiMED billing to HUMANA INSURANCE

    COMPANY and requested that HUMANA INSURANCE COMPANY pay the claim on or about

    March 15, 2023, April 24, 2023, June 14, 2023, July 1, 2023, and September 7, 2023.

             63.     Florida Statute§ 641.3155(4)(b) provides that a claim presented to an HMO carrier

    must be paid, denied or contested within 40 days after receipt of the claim.

             64.     Florida Statute§ 641.3155(4)(e) provides that if an HMO carrier fails to pay or

    deny the claim within 140 days after receipt of the claim it creates an uncontestable obligation to

    pay the claim.

             65.     Defendant HUMANA INSURANCE COMPANY failed to properly contest the

    claim.

             66.     HUMANA INSURANCE COMPANY made a total coverage denial of the claim.

             67.     The failure to respond to their own insured's repeated attempts to obtain coverage

    or a explanation of benefits denying coverage was done in bad-faith.

             68.     Plaintiff has perfected her rights to pursue civil remedies authorized by Florida

    Statute § 624.155 by the filing and serving of a Civil Remedies Notice to the Defendant HUMANA

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    INSURANCE COMPANY on June 14, 2023, filing number 700264.

           69.     As a direct and proximate result of Defendant HUMANA INSURANCE

    COMPANY's bad-faith claims handling, Plaintiff has suffered damages, including the ongoing

    unpaid total balance to CitiMED.

           70.     Plaintiff is contractually obligated to pay attorneys' fees and costs to the

    undersigned counsel and Florida law authorizes the court to award Plaintiff attorneys' fees and

    costs if she prevails in this action against Defendant HUMANA INSURANCE COMPANY.



           WHEREFORE, the Plaintiff, SAMANTHA EVE MORRIS, demands monetary judgment

    against the Defendant, HUMANA INSURANCE COMPANY, in the total amount of the

    outstanding CitiMED medical billing, together with attorneys' fees and costs of suit, and such

    further relief as the Court deems proper.



                        COUNT IV. - BREACH OF CONTRACT AGAINST
                        NATIONWIDE MUTUAL INSURANCE COMPANY

           71.     Plaintiff, SAMANTHA EVE MORRIS, reasserts and reincorporates paragraphs

    numbered 1 through 33 above as if set forth fully herein.

           72.     Prior to the September 19, 2022, accident, Plaintiff had purchased a Nationwide

    Vacation Plan underwritten by Defendant NATIONWIDE MUTUAL INSURANCE COMPANY,

           73.     The Nationwide Vacation Plan underwritten by Defendant NATIONWIDE

    MUTUAL INSURANCE COMPANY was in full force and effect at the date and time of the

    September 19, 2022 accident.

           74.     The Nationwide Vacation Plan obligated Defendant NATIONWIDE MUTUAL

    INSURANCE COMPANY to "reimburse benefits up to the Maximum Benefit shown on the

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    Schedule of Benefits ... if you incur Covered Medical Expenses for Necessary Treatment of an

    Accidental Injury ... that occurs during the Trip."

           75.     "Covered Medical Expenses are limited to the list below: (a) the services of a

    physician ... [and] (e) ... therapeutic services."

           76.     "Accident Medical Expense Maximum Benefit $20,000.00"

           77.     "Undisputed portions of the first party claims will be paid within thirty (30) days

    of Company receipt of Proof of Loss."

           78.     Plaintiff, SAMANTHA EVE MORRIS, was seriously and permanently injured

    during the cruise on September 19, 2022.

           79.     Plaintiff, SAMANTHA EVE MORRIS received medical treatment at CitiMED for

    treatment related to the September 19, 2022, accident and incurred medical expenses totaling

    $26,498.34, which remain unpaid and due.

           80.     Thereafter, Plaintiff submitted the CitiMED billing to NATIONWIDE MUTUAL

    INSURANCE COMPANY and requested that NATIONWIDE MUTUAL INSURANCE

    COMPANY pay the claim on or about March 15, 2023 and July 25, 2023.

           81.     The March 15, 2023 and/or July 25, 2023 were proper Proof of Loss as required

    under the Nationwide Vacation plan.

           82.     NATIONWIDE MUTUAL INSURANCE COMPANY failed to pay, or properly

    deny and/or contest the claim within 30 days.

           83.     Defendant, NATIONWIDE MUTUAL INSURANCE COMPANY materially

    breached the Nationwide Vacation Plan contract when it failed to pay tender the represented

    Accident Medical Expense Maximum Benefit $20,000.00 within 30 days of receipt of the Proof

    of Loss and/or supporting documentation.



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           84.     Plaintiff is not obligated to obtain an explanation of benefits from HUMANA

    HEAL TH INSURANCE denying coverage for the CitiMED medical billing as a condition to

    obtaining coverage under the Nationwide Vacation Policy.

           85.     Defendant, NATIONWIDE MUTUAL INSURANCE COMPANY has no excuse

    for their failure to comply with their contractual obligations.

           86.     Defendant, NATIONWIDE MUTUAL INSURANCE COMPANY breach of the

    contract caused monetary damages to Plaintiff, SAMANTHA EVE MORRIS, in the amount of

    the unpaid and due balance to CitiMED totaling $26,498.34.

           87.     Plaintiff has satisfied all conditions precedent required or requested by the

    applicable contract, including providing Proof of Loss, supporting medical records, medical

    billing, and correspondence from CitiMED declaring that CitiMED does not take Health

    Insurance.



           WHEREFORE, the Plaintiff, SAMANTHA EVE MORRIS, demands monetary judgment

    against the Defendant, NATIONWIDE MUTUAL INSURANCE COMPANY, for the amount of

    $26,498.34, together with costs of suit, and such further relief as the Court deems proper.




                                     DEMAND FOR JURY TRIAL


    Plaintiff demands a trial by jury on all issues so triable, pursuant to Florida Statute§ 86.071.




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    DATED: October 26, 2023


                                       LAW OFFICE OF LAUREN GRONDSKI, PA
                                       1031 IVES DAIRY ROAD, #228
                                       MIAMI, FL 33179
                                       Attorneys for Plaintiff
                                       Primary Email: justinlinnlaw@gmail.com




                                       By:
                                            /4
                                       JUSTINE. LINN, ESQUIRE
                                       Florida Bar No. 98661




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          Plaintitrs Exhibit A
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                           Princess Vacation Protection - Platinum


                                                     Cover Page

Princess Cruises and/or Princess Tours has partnered with Aon Affinity and Nationwide Mutual Insurance Company to provide
our guests with travel protection. This document holds all of the relevant information you will need in regard to your travel
protection plan.

Please review the following three (3) sections:

    •   Cancellation Fee Waiver Program
        Provided by Princess Cruises and/or Princess Tours

    •   Travel Protection Plan Policy/Certificate of insurance
        Including Applicable State Exceptions provided by Nationwide Mutual Insurance Company and Affiliated Companies,
        Columbus, OH

    •   Non-Insurance Assistance Services
        Provided by CareFree Travel Assistance™
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                                         Cancellation Fee Waiver Program


   The following Cancellation Fee Waiver Program is provided by Princess Cruises and/or Princess Tours and is not an
                                                  insurance benefit.

The Princess Cancellation Fee Waiver Program offers our valued guests the opportunity to receive a refund from Princess
Cruises and/or Princess Tours (beyond the standard refund policy published in our cruise brochure) for those otherwise
non-refundable cruise vacation-related costs prepaid to Princess Cruises and/or Princess Tours, should you cancel your
cruise vacation for the reasons stated below.

Princess Cruise Cancellation Fee Waiver
(For Specified Reasons) ................................................. Cash Refund Up to Total Cruise Vacation Cost

This Cancellation Fee Waiver Program is an addendum to your cruise Ticket Contract. Through the Cancellation Fee Waiver
Program, Princess Cruises and/or Princess Tours will waive their standard cancellation provision and refund to you
IN CASH the otherwise non-refundable value of your prepaid cruise vacation, should you or your traveling companion need
to cancel your cruise vacation for any one of the following reasons (subject to the restrictions noted below**):
     1. sickness, injury or death to yourself, a traveling companion, or members of either of your immediate families which
        is diagnosed and treated by a physician at the time your cruise vacation is terminated;
    2.   involvement in a traffic accident en route to departure that causes you to miss your cruise;
    3. your home is made uninhabitable by a natural disaster such as flood, earthquake, hurricane, volcano, tornado,
       wildfires or blizzard;
    4.   being called to serve jury duty or subpoena;
    5. you are called into active military service to provide aid or relief in response to a national disaster.

Please note that an immediate family member is: your or your traveling companion's legal or common law spouse, ex-
spouse, parent, legal guardian, step-parent, grandparent, parents-in-law, grandchild, natural or adopted child, step-child,
children-in-law, brother, sister, step-brother, step-sister, brother-in-law, sister-in-law, aunt, uncle, niece or nephew, Business
Partner or Domestic Partner.

Princess Cancellation Fee Waiver refunds are also provided if you are charged a change in occupancy/ single supplement
charge as a result of your traveling companion's cancellation due to one of the reasons cited above.

Important: Please advise your travel agent, Princess Cruises and/or Princess Tours and the Program Administrator as
soon as possible in the event of cancellation. Refunds will not be provided for additional charges incurred that would have
not been charged had you notified these parties as soon as reasonably possible.

**Please note the following restrictions:
Princess will not waive their cancellation fee and provide a cash refund, should you cancel your cruise vacation for any of
the following reasons:
     •   a condition that first presents, worsens, becomes acute, or has symptoms causing a person to seek diagnosis, care
         or treatment, or prompts a change in medication, during the 60 days before the Cancellation Fee Waiver Program
         is purchased;
     •   a condition related to: elective abortion; use of alcohol or drugs other than as prescribed by a doctor; psychological
         disorders (unless hospitalization is required) or pregnancy (unless hospitalization is required);
     •   business, contractual, or educational obligations of you, a family member or a traveling companion;
     •   declared or undeclared war or act of war;
     •   service in the armed forces of any country;
     •   unlawful acts (committed by you, a family member or a traveling companion); or
     •   any specified reason cited previously that occurs prior to the purchase of the Cancellation Fee Waiver Program.




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Where To Report Cancellations:
To expedite your claim submission and learn what information will be needed to file a claim, visit
www.aontravelclaim.com. To avoid non-reimbursable expenses, contact your travel agent, Princess Cruises and/or
Princess Tours and the Program Administrator immediately to alert them of your cancellation. The Program Administrator
can be contacted directly by calling 1-877-846-8833 or 1-516-342-7262.


SPECIAL VACATION PROTECTION CANCELLATION ENHANCEMENT

Vacation Protection "ANY REASON" Travel Credits ...... Up to 100% of the non-refundable prepaid Cruise
Vacation Cost

Provided by Princess Cruises and/or Princess Tours
In the event that you choose to cancel for a reason not authorized above or for a reason that is otherwise restricted, at any
time up until departure, and you have purchased Vacation Protection, Princess Cruises and/or Princess Tours will provide
you a travel credit equal to 100% of the non-refundable value of your cruise vacation prepaid to Princess Cruises and/or
Princess Tours, for your use toward a future cruise vacation. This additional enhancement is offered by Princess Cruises
and/or Princess Tours as a special service to guests that purchase this ticket contract Cancellation Fee Waiver Program
Addendum and is available only if purchased prior to final payment (for the cruise vacation). Certain restrictions on the use
of these travel credits (such as blackout periods) may apply. To be eligible for credits, notification of cancellation must be
given to Princess Cruises and/or Princess Tours prior to the ship's departure. Once you've cancelled with Princess Cruises
and/or Princess Tours, please contact the Program Administrator at 1-877-846-8833 regarding travel credits.




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                                         Summary of Benefits
       Underwriitten by: Nationwide Mutual Insurance Company and Affiliated Companies, Columbus, OH

       Plan Number:       NWEPCT12

       Program Name:      Princess Vacation Protection - Platinum

       Your plan is administered by: Aon Affinity
                                         900 Stewart A venue
                                         Garden City, NY 11530-9998

                                                       IMPORTANT
             Note: certain capitalized words are defined terms in the attached Policy/Certificate of insurance.

              Please ensure to review Your State Specific Endorsements at the end of this document.


The following Schedule of Benefits shows the Maximum Benefit Amounts availablle through this program. Please review
to determine which benefits and limits apply to Your Trip. This document is a Summary of Benefits. Full coverage details,
terms and conditions can be found in the Policy/Certificate of insurance.


        SCHEDULE OF BENEFITS
                                                                                      MAXIMUM SENEF&T
         COVERAGES
                                                                                    PER PERSON PER TRIP
         Trip Interruption
                  Maximum Benefit                                                        150% of Trip Cost
                  R,easonable Exoenses Per Dav                                                $100
         Trip Delay
                  Maximum Benefit                                                            $1,500
                  En Route to Destination                                                     $500'
                  Returninq Home from Destiination                                           $1,500 ..
         Accident Medical Expense,
                  Maximum Benefit                                                            $20,000
                  Dental Expenses                                                            $1,000
         Sickness Medical Expense
                  Maximum Benefit                                                            $20,000
         Emergency Evacuation and Repatriation of Remains
                  Maximum Benefit                                                            $75,000
                  Hospital Companion                                                         $2,500
         Baggage/Personal Effects
                  Maximum Benefit                                                             $3,000
         Baggage Delay
                  Maximum Benefit                                                              $500
         NSITC 2200
*Not to exceed $1,500 in the event of both pre- and post- cruise vacation trip delays.

There are also Non-Insurance and Emergency Travel Assistance Services provided in this Travel Protection Plan. The
details of these services including important phone numbers can be found at the end of this document.




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                                                                                         Nationwide Mutual Insurance Company
                                                                                                        One Nationwide Plaza
                                                                                                        Columbus, Ohio 43215

Nationwide"
                                  TRAVEL PROTECTION CERTIFICATE

This Certificate of insurance describes all of the travel insurance benefits, underwritten by Nationwide Mutual Insurance
Company (herein referred to as the Company). The insurance benefits vary from program to program. Please refer to the
accompanying purchase confirmation and Schedule of Benefits for specific information about the program You purchased.
Please contact the administrator immediately if You believe that any of the information provided is incorrect.

This Certificate of insurance is issued in consideration of enrollment and payment of any premium due. All statements in
the enrollment are representations and not warranties. Only statements contained in a written enrollment format will be
used to void insurance, reduce benefits or defend a claim.

All premium is refundable only during the ten (10) day review period from the date of purchase (or from the date of receipt
if mailed) provided You have not already departed on Your Trip and You have not incurred any claimable losses during that
time. If You depart on Your Trip prior to the expiration of the review period, the review period shall automatically end upon
Your departure.

You are not eligible to purchase coverage or receive benefits under this Certificate if You are unable to travel, are limited
from travel, are medically restricted from travel, or are experiencing and/or are under treatment for any illness or injury that
limits or restricts Your ability to travel on the date of purchase.

You are not eligible to purchase coverage or receive benefits under this Certificate if You have other insurance coverage
for the loss(es) for which this Certificate is intended to insurance against. Multiple recovers for the same loss covered by
other insurance coverage is not available under this Certificate.

NO DIVIDENDS WILL BE PAYABLE UNDER THIS CERTIFICATE.


The President and Secretary of Nationwide Mutual Insurance Company witness this Certificate.




                           Secretary                                         President




                                                  Licensed Resident Agent
                                                   (where required by law)


                                  TRAVEL PROTECTION CERTIFICATE




NSIGTC2500                                                     5                               Princess Platinum - Ed.12/2020
                                                                                                           Policy #NWEPCT12
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                                   NATIONWIDE MUTUAL INSURANCE COMPANY
                                  TRAVEL PROTECTION INSURANCE CERTIFICATE

                                                 GENERAL DEFINITIONS

Throughout this document, when capitalized, certain words and phrases are defined as follows:

Accident means a sudden, unexpected, unintended, specific event that occurs at an identifiable time and place but shall
also include exposure resulting from a mishap to a conveyance in which You are traveling.

Accidental Injury means Bodily Injury caused by an Accident (of external origin) that: 1) occurs while Your coverage is in
effect under this Certificate; and 2) requires physical examination and medical treatment by a Physician. The Injury must
be the direct cause of loss, must be independent of all other causes, and must not be caused by or resulting from Your
Sickness. The injury must be verified by a Physician in a format acceptable to the Company.

Actual Cash Value means the lesser of the replacement cost and the purchase price less Depreciation.

Bodily Injury means identifiable physical injury that is caused by an Accident and is independent of disease or bodily
infirmity.

Business Partner means an individual who: (a) is involved in a legal partnership with You; and (b) is actively involved in
the day-to-day management of the business.

Certificate means this document, and any endorsements, riders or amendments that will attach during the period of
coverage.

Checked Baggage means Personal Effects brought by You for planned use on Your Trip for which a claim check has been
issued to You by a Common Carrier.

Common Carrier means any land, sea, and/or air conveyance operating under a valid license for the transportation of
passengers for hire. Taxis, limousines, and ride share services are not Common Carriers as defined herein.

Company means Nationwide Mutual Insurance Company.

Complications of Pregnancy means conditions requiring hospital confinement whose diagnoses are distinct from the
pregnancy, but are adversely affected by the pregnancy, including, but not limited to: acute nephritis, nephrosis, cardiac
decompression, missed abortion, pre-eclampsia, intrauterine fetal growth retardation, and similar medical and surgical
conditions of comparable severity. Complications of Pregnancy also includes termination of ectopic pregnancy, and
spontaneous termination of pregnancy, occurring during a period of gestation in which a viable birth is not possible.
Complications of Pregnancy do not include elective abortion, elective cesarean section, false labor, occasional spotting,
morning sickness, physician prescribed rest during the period of pregnancy, hyperemesis gravidarum, and similar conditions
associated with the management of a difficult pregnancy not constituting a distinct complication of pregnancy.

Cruise means any pre-paid sea arrangements made by You.

Deductible means the amount of expenses for covered services and supplies that must be incurred by You before
specified benefits become payable.

Depreciation means a reduction in value of ten percent (10%) per year from date of purchase for items accompanied by
original receipts. For items not accompanied with a receipt, a reduction in value of twenty five percent (25%) the first year
and ten percent (10%) per year thereafter. Depreciation will be calculated up to a maximum of eighty 80% from the
estimated date of purchase as provided by You. There will be no reduction in value for an item less than one (1) year old
and accompanied by an original receipt.

Domestic Partner means a person who is at least eighteen (18) years of age with whom You reside and can show evidence
of cohabitation and shared financial assets and obligations for at least the previous six (6) months and has an affidavit of
domestic partnership, if recognized by the jurisdiction within which You reside.

Economy Fare means the lowest published rate for a one-way economy ticket.



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Effective Date means 12:01 A.M. local time, at Your location, on the day after the required premium for such coverage is
received by the Company or its authorized representative.

Eligible Person means a resident of the United States who is listed on Your purchase confirmation, is scheduled to take a
Trip, elects to enroll in the Certificate, and pays the required premium.

Family Member means Your or Your Traveling Companion's legal or common law spouse, ex-spouse, parent, legal
guardian, step-parent, grandparent, parents-in-law, grandchild, natural or adopted child, step-child, children-in-law, brother,
sister, step-brother, step-sister, brother-in-law, sister-in-law, aunt, uncle, niece or nephew, Business Partner or Domestic
Partner.

Hazard means:
   a) Any delay of a Common Carrier (including Inclement Weather);
   b) Any delay by a traffic Accident en route to a departure, in which You or Your Traveling Companion is not directly
       involved;
   c) Any delay due to lost or stolen passports, travel documents or money, Quarantine, hijacking, unannounced Strike,
       Natural Disaster, civil commotion or riot.

Home means Your true, fixed and permanent place of residence and principal establishment, to which You have the
intention of returning to at the end of Your Trip.

Hospital means a facility that:
   (a) holds a valid license if it is required by the law;
   (b) operates primarily for the care and treatment of sick or injured persons as in-patients;
   (c) has a staff of one or more Physicians available at all times;
   (d) provides twenty-four (24) hour nursing service and has at least one registered professional nurse on duty or call;
   (e) has organized diagnostic and surgical facilities, either on the premises or in facilities available to the hospital on a
       pre-arranged basis; and
   (f) is not, except incidentally, a clinic, nursing home, rest home, drug or physical rehabilitation facility or convalescent
       home for the aged, or similar institution.

Inclement Weather means any severe weather condition that delays the scheduled arrival or departure of a Common
Carrier.

Initial Deposit Date means the date Your first Payment(s) or Deposit(s) for Your Trip is received by Your Travel Supplier.

Insured means the Eligible Person who elected to purchase coverage and whose premium was paid under the Certificate.

Loss means Bodily Injury, Sickness or damage sustained by You, while coverage is in effect, in consequence of happening
of one or more of the occurrences against which the Company has undertaken to indemnify You.

Maximum Benefit means the largest total amount that the Company will pay under any one benefit for You, as shown on
the Schedule of Benefits and subject to any applicable sub-limits for certain types of activities.

Natural Disaster means earthquake, flood, fire, hurricane, blizzard, avalanche, tornado, tsunami, volcanic eruption, or
landslide that is due to natural causes and includes an event that is directly due to naturally occurring wildfire, earthquake,
windborne dust or sand, volcanic eruption, tsunami, snow, rain or wind, that results in widespread and severe damage such
that either the government of the country where the Natural Disaster occurs issues an official disaster declaration or the
U.S. Government issues advice to leave the country where the Natural Disaster occurs.

Necessary Treatment means medical services and/or supplies recommended by the treating Physician that must be
performed due to the serious and acute nature of the Sickness or Accidental Injury.

Other Insurance means any and every type of insurance covering the same or similar risk/loss as covered under this
Certificate. Coverage under this Certificate shall be secondary to coverage under all Other Insurance except where
prohibited by law.

Payments or Deposits means the cash, check, or credit card amounts actually paid for Your Trip. Payments made in the
form of a certificate, voucher not purchased by cash, grant or discount are not Payments or Deposits as defined herein.



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Personal Computer means a small, general purpose electronic device for storing and processing data that is created to
be utilized by one individual at a time and can perform multiple functions. The size and capabilities of the computer allow it
to be operated for personal purposes. Personal Computers shall include desktop computers and laptop computers. Personal
Computers shall also include:
         • tablets
         •   Personal Digital Assistant (PDA)
         •   handheld devices and smartphones
         •   a-readers

Personal Effects means Your privately-owned articles including clothing and toiletry items brought by You for planned use
on Your Trip.

Physician means a licensed practitioner of medical, surgical or dental services, or a Christian Science Practitioner, acting
within the scope of his/her license. The treating Physician may not be You, Your Traveling Companion or a Family Member.

Policy means the group master policy including any endorsements, riders or amendments that will attach during the period
of coverage.

Pre-Existing Condition means an illness, disease, or other condition during the sixty (60) day period immediately prior to
the Effective Date of Your Certificate for which You, Your Traveling Companion, or a Family Member booked to travel with
You: 1) exhibited symptoms that would have caused a typical person to seek care or treatment; or 2) received or received
a recommendation for a test, examination, or medical treatment; or 3) took or received a prescription for drugs or medicine.
Item (3) of this definition does not apply to a condition that is treated or controlled solely through the taking of prescription
drugs or medicine and remains treated or controlled without any adjustment or change in the required prescription
throughout the sixty (60) day period before the Effective Date of Your Certificate.

Quarantine means Your strict isolation imposed by a Government authority or Physician to prevent the spread of disease.
An embargo preventing You from entering a country is not a Quarantine.

Reasonable Expenses means any meal, lodging, local transportation and essential phone call expense that were
necessarily incurred as the result of a covered event, and that were not provided free of charge or otherwise reimbursed by
a Common Carrier, Travel Supplier or other party.

Scheduled Departure Date means the date on which You are originally scheduled to leave on Your Trip.

Scheduled Return Date means the date on which You are originally scheduled to return to the point of origin orto a different
final destination.

Sickness means an illness or disease of the body that: 1) requires a physical examination and medical treatment by a
Physician and 2) commences, worsens or presents new symptoms while Your coverage is in effect.

Sound Natural Teeth means teeth that are whole or properly restored and are without impairment, periodontal or other
conditions and are not in need of the treatment provided for any reason other than an Accidental Injury. For purposes of
this Certificate, teeth previously restored with a crown, inlay, onlay, or porcelain restoration or treated by endodontics, except
amalgam or composite resin fillings, are not considered Sound Natural Teeth.

Strike means any unannounced labor disagreement that interferes with the normal departure and arrival of a Common
Carrier.

Travel Arrangements means: (a) transportation; (b) accommodations; and (c) other specified services arranged by the
Travel Supplier for the Trip.

Travel Assistance Company means CareFree Travel Assistance™.

Travel Supplier means Princess Cruises and/or Princess Tours.

Traveling Companion means a person who has coordinated Travel Arrangements or vacation plans with You and intends
to travel with You during the Trip and is further described on Your purchase confirmation. Note, a group or tour leader is
not considered Your Traveling Companion unless You are sharing room accommodations with the group or tour leader.


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Trip means Travel Arrangements with a defined itinerary away from Your Home for which coverage is purchased under this
Certificate and premium is paid.

Unforeseen means not anticipated or expected and occurring after the Effective Date of Your Certificate.

Uninhabitable means that, as determined by a qualified examiner selected by the Company in its sole discretion: (1) the
building structure itself is unstable and there is a risk of collapse in whole or in part; (2) there is exterior or structural damage
to the building allowing elemental intrusion, such as rain, wind, hail or flood; (3) immediate safety hazards affecting the
building have yet to be cleared, such as debris on roofs or downed electrical lines; or (4) the building is without electricity or
water and/or is not suitable for human occupancy.

You or Your refers to the Insured.

                                                    GENERAL PROVISIONS
The following provisions apply to all coverages:

LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the Company
receives Proof of Loss. No legal action for a claim can be brought against the Company more than three (3) years after the
time required for giving Proof of Loss.

CONTROLLING LAW -Any part of this Certificate that conflicts with the state law where the Certificate is issued is changed
to meet the minimum requirements of that law.

GOVERNING JURISDICTION - The insurance regulatory agency and courts of the jurisdiction in which You reside shall
have jurisdiction over the individual or group insurance coverage as if such coverage or plan were issued directly to You.

MISREPRESENTATION AND FRAUD - This Certificate was issued in reliance on the information You provided at the
time of enrollment. The Company may deny all coverage under this Certificate, or, at the Company's election, assert any
other remedy available under applicable law, if You and/or Traveling Companion seeking coverage under this Certificate
knowingly concealed, misrepresented or omitted any material fact or engaged in fraudulent conduct at the time of
enrollment, at any time during the policy period, or in connection with the filing or settlement of any claim.

DUTY OF COOPERATION - You agree to fully cooperate with the Company in the event the Company determines that an
investigation is warranted regarding any claim for coverage under this Certificate. You agree to comply with all requests by
the Company to provide information and/or documentation related to any claim under this Certificate. You agree to
cooperate with the Company in the investigation and assessment of any loss and/or circumstances giving rise to a loss
under this Certificate.

SUBROGATION - To the extent the Company pays for a Loss suffered by You, the Company will take over the rights and
remedies You had relating to the Loss. This is known as subrogation. You must help the Company to preserve its rights
against those responsible for the Loss. This may involve signing any papers and taking any other steps the Company may
require. If the Company takes over Your rights, You must sign an appropriate subrogation form supplied by the Company.

ASSIGNMENT - This Certificate and all coverages provided are not assignable, whether by operation of law or otherwise,
but benefits may be assigned.

WHEN YOUR COVERAGE BEGINS - Provided:
  a) coverage has been elected; and
  b) the required premium has been paid.
All coverage will begin on the Scheduled Departure Date, or the actual departure date if change is required by a Common
Carrier, when You depart for the first Travel Arrangement (or alternate travel arrangement if You must use an alternate
travel arrangement to reach Your Trip destination) for Your Trip. Coverage will not begin before the Effective Date shown
on Your purchase confirmation.

WHEN YOUR COVERAGE ENDS:
All Coverages will end the earliest of the following:
     (a) the Scheduled Return Date as stated on the travel tickets;
     (b) the date and time You return to Your origination point if prior to the Scheduled Return Date;
     (c) the date and time You deviate from, leave or change the original Trip itinerary (unless due to Unforeseen and
         unavoidable circumstances covered by the Certificate);
NSIGTC 2500                                                      10
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    (d) if You extend the return date, coverage will terminate at 11:59 P.M., local time, at Your location on the Scheduled
        Return Date, unless otherwise authorized by the Company in advance of the Scheduled Return Date;
    (e) when Your Trip exceeds one hundred eighty (180) days;
    (f) the Return Date as stated on Your purchase confirmation.

EXTENDED COVERAGE - Coverage will be extended under the following conditions, should they occur during the journey
to the return destination or to a different destination:
     (a) When You commence air travel from Your origination point: (i) within two (2) days before the commencement of the
         Travel Arrangements, coverage shall apply from the time of departure from the origination point; or (ii) greater than
         two (2) days before the commencement of the Travel Arrangements, the extension of coverage shall be provided
         only during Your air travel.
     (b) If You return to Your origination point: (i) within two (2) days after the completion of the Travel Arrangements,
         coverage shall apply until the time of return to the origination point; or (ii) greater than two (2) days after the
         completion of the Travel Arrangements, the extension of coverage shall be provided only during Your air travel.
     (c) If You are a passenger on a scheduled Common Carrier that is unavoidably delayed up to five (5) days in reaching
         the final destination, coverage will be extended for the period of time needed to arrive at the final destination.

In no event will coverage be extended for unscheduled extensions to Your Trip for which premium has not been paid in
advance.

EXCESS INSURANCE LIMITATION - The insurance provided by this Certificate shall be in excess of all Other Insurance
and shall be secondary to coverage under all Other Insurance. If at the time of the occurrence of any Loss there is Other
Insurance in place, the Company shall be liable only for the excess of the amount of Loss paid or payable by Other
Insurance.

The following provisions apply to all benefits except Baggage/Personal Effects and Baggage Delay:
PAYMENT OF CLAIMS -The Company, or its designated representative, will pay a claim after receipt of acceptable Proof
of Loss.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
   (d) Your brothers and sisters jointly; or
   (e) Your estate.
All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.
Any payment made in good faith will discharge the Company's liability to the extent of the claim.
The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance policies.
In no event will the Company reimburse You for an amount greater than the amount paid by You.
All benefits payable under this Certificate shall be reduced by the amount of any credit, voucher or refund provided by any
Common Carrier, Travel Supplier or any other third party.

NOTICE OF CLAIM - Written notice of claim must be given by the claimant (either You or someone acting for You) to the
Company or its designated representative within seven (7) days after a covered Loss first begins. Notice should include
Your name and the Plan number. Notice should be sent to the Company's administrative office, at the address shown on
the cover page of the Certificate, or to the Company's designated representative.

PROOF OF LOSS - You must send the Company, or its designated representative, Proof of Loss within ninety (90) days
after a covered Loss occurs. Failure to furnish such proof within the time required shall not invalidate nor reduce any claim
if it was not possible to give proof within such time, provided such proof is furnished and in no event, except in the absence
of legal capacity, later than one year from the time proof is otherwise required. Where possible and/or required by this
Certificate, independent validation of Proof of Loss must be proved to the Company within the foregoing time periods.

PHYSICAL EXAMINATION AND AUTOPSY - The Company, or its designated representative, at its own expense, have
the right to have You examined as often as necessary while a claim is pending. The Company, or its designated
representative, also has the right to have an autopsy made unless prohibited by law.

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EXAMINATION UNDER OATH - The Company, or its designated representative, at its own expense, have the right to
have You questioned under oath as often as necessary while a claim is pending.

TIME OF PAYMENT OF CLAIMS - Benefits payable under this Certificate for any Loss other than Loss for which this
Certificate provides any periodic payment will be paid upon receipt of due written Proof of Loss in accordance with state
requirements. Subject to due written Proof of Loss, all accrued indemnities for Loss for which this Certificate provides
periodic payment will be paid monthly and any balance remaining unpaid upon the termination of liability, will be paid
immediately upon receipt of due written proof.

The following provisions apply to Baggage/Personal Effects and Baggage Delay coverages:
NOTICE OF LOSS - If Your property covered under this Certificate is lost, stolen or damaged, You must:
(a) notify the Company, or its authorized representative as soon as possible;
(b) take immediate steps to protect, save and/or recover the covered property:
(c) give immediate notice to the carrier, Travel Supplier, property manager or bailee who is or may be liable for the Loss or
    damage and provide a copy of such notification to the Company;
(d) notify the police or other authority in the case of robbery or theft within twenty-four (24) hours and provide a copy of
    such report to the Company; and
(e) complete all steps required by local police or authorities to pursue investigation of the claim in the case of robbery or
    theft.

SETTLEMENT OF LOSS - Claims for damage and/or destruction shall be paid after acceptable proof of the damage and/or
destruction is presented to the Company and the Company has determined the claim is covered. Property will be considered
lost if it has not been recovered within thirty (30) days of the event. You must present acceptable Proof of Loss and the
value involved to the Company.

DISAGREEMENT OVER SIZE OF LOSS: If there is a disagreement about the amount of the Loss, either You or the
Company can make a written demand for an appraisal. After the demand, You and the Company will each select their own
competent appraiser. After examining the facts, each of the two appraisers will give an opinion on the amount of the Loss.
If they do not agree, they will select an arbitrator. Any figure agreed to by two (2) of the three (3) (the appraisers and the
arbitrator) will be binding. The appraiser selected by You will be paid by You. The Company will pay the appraiser they
choose. You will share equally with the Company the cost for the arbitrator and the appraisal process.

                                                       COVERAGES
No Coverage is intended to duplicate or overlap any other Coverage or benefit provided under this Certificate. Should there
be an inadvertent duplication of benefit or coverage, the Company will only provide payable benefits under the Coverage
with the highest Maximum Benefit or largest scope of coverage subject to any applicable sub-limits.

                                                    TRIP INTERRUPTION
The Company will reimburse You, up to the Maximum Benefit shown on the Schedule of Benefits, subject to any applicable
sub-limits, if You interrupt Your Trip after Your departure or if You join Your Trip after Your Scheduled Departure Date due
to any of the following Unforeseen reasons that occur while this coverage is in effect for You:
1. Your Sickness, Accidental Injury or death, that results in medically imposed restrictions as certified by a Physician at
   the time of Loss preventing Your continued participation in the Trip. A Physician must advise to cancel the Trip on or
   before the Scheduled Return Date.
2. Sickness, Accidental Injury or death of a Family Member or Traveling Companion booked to travel with You that a.)
   occurs while You are on Your Trip; b.) requires Necessary Treatment at the time of interruption; and c.) as certified by
   a Physician, results in medically imposed restrictions as to prevent that person's continued participation on the Trip.
3. Sickness, Accidental Injury or death of a non-traveling Family Member.
4. You, Your Traveling Companion or Family Member, who are military personnel, and are called to emergency duty to
   provide aid or relief in the event of a Natural Disaster (this does not include war).
5. You or Your Traveling Companion being hijacked, Quarantined, required to serve on a jury or subpoenaed during the
   Trip; having Your Home made Uninhabitable by Natural Disaster.
6. You or Your Traveling Companion being directly involved in a traffic Accident while en route to departure (substantiated
   by a police report provided by You to the Company).

The Company will reimburse You up to the Maximum Benefit shown on the Schedule of Benefits, subject to any applicable
sub-limits, for the following:

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        (a) pre-paid unused, non-refundable land or sea expenses to the Travel Supplier and/or unused portion of the pre-
            paid, forfeited, non-refundable Payments or Deposits You paid for Your Trip provided the premium paid is
            received by the Company (or its authorized representative) and You insure all pre-paid Trip costs;
        (b) the airfare paid less the value of applied credit from an unused travel ticket, to return home, join or rejoin the
            original Travel Arrangements limited to the cost of one-way economy airfare or similar quality as originally
            issued ticket by scheduled carrier, from the point of destination to the point of origin shown on the original travel
            tickets. In no event will the Company reimburse You for the cash value of Your airline ticket(s) purchased with
            frequent flier miles.

The Company will pay for Reasonable Expenses incurred by You if Your Traveling Companion must remain hospitalized or
if You must extend the Trip with additional hotel nights due to a Physician certifying You or Your Traveling Companion
cannot fly home due to an Accident or a Sickness but do not require Hospitalization.

In no event shall the amount reimbursed exceed the amount You pre-paid for the Trip.

                                                       TRIP DELAY
The Company will reimburse You for Covered Trip Delay Expenses, up to the Maximum Benefit shown on the Schedule of
Benefits, if You are delayed, while coverage is in effect, en route to or from the Trip for three (3) or more hours due to a
defined Hazard.

Covered Trip Delay Expenses:
Any pre-paid, unused, non-refundable land and water accommodations;
  (a) Any Reasonable Expenses incurred;
  (b) An Economy Fare from the point where You ended Your Trip to a destination where You can catch up to the Trip; or
  (c) A one-way Economy Fare to return You to Your originally scheduled return destination.

You or the Traveling Companion must provide the following documentation when presenting a claim for these benefits:
  (a) Written confirmation of the reasons for delay from the Common Carrier whose delay resulted in the Loss, including
      but not limited to, scheduled departure and return times and actual departure and return times.

                                     ACCIDENT AND SICKNESS MEDICAL EXPENSE
The Company will reimburse benefits up to the Maximum Benefit shown on the Schedule of Benefits, subject to any
applicable sub-limits, if You incur Covered Medical Expenses for Necessary Treatment of an Accidental Injury or a Sickness
that occurs during the Trip. You must receive initial treatment for Accidental Injuries or the onset of the Sickness while on
the Trip. All Necessary Treatment must be received within fifty-two (52) weeks of the date of the Accident or the onset of
the Sickness.

Covered Medical Expenses are limited to the list below:
   (a) the services of a Physician;
   (b) charges for Hospital confinement and use of operating rooms; Hospital or ambulatory medical-surgical center
       services; This will also include expenses for a Cruise ship cabin or hotel room, not already included in the cost of
       Your Trip, if recommended as a substitute for a Hospital room for recovery from the Accidental Injury or Sickness;
   (c) charges for anesthetics (including administration); x-ray examinations or treatments, and laboratory tests;
   (d) ambulance service;
   (e) drugs, medicines and therapeutic services.

The Company will pay benefits up to the Maximum Benefit shown on the Schedule of Benefits, subject to any applicable
sub-limits, for dental Necessary Treatment for Accidental Injury to Sound Natural Teeth. Both the Accidental Injury and the
dental Necessary Treatment must occur during the Trip.

The Company will not pay benefits in excess of reasonable and customary charges. The Company will not cover any
expenses provided by another party at no cost to You, or already included within the cost of the Trip.

                                                EMERGENCY EVACUATION
The Company will pay benefits for Covered Evacuation Expenses incurred, up to the Maximum Benefit shown on the
Schedule of Benefits, subject to any applicable sub-limits, if an Accidental Injury or Sickness commencing during the course
of the Trip results in Your necessary Emergency Evacuation. An Emergency Evacuation must be ordered by a Physician
who certifies that the severity of Your Accidental Injury or Sickness warrants Your Emergency Evacuation and verified and
arranged by the Travel Assistance Company.



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Emergency Evacuation means:
   (a) Your medical condition warrants immediate Transportation from the Hospital where You are first taken when injured
       or sick to the nearest Hospital where appropriate medical treatment can be obtained;
   (b) after being treated at a local Hospital, Your medical condition warrants Transportation to Your Home where You
       reside, to obtain further medical treatment or to recover; or
   (c) both (a) and (b), above.

Covered Evacuation Expenses are reasonable and customary expenses for necessary Transportation, related medical
services and medical supplies incurred in connection with Your Emergency Evacuation. All Transportation arrangements
made for evacuating You must be by the most direct and economical route possible. Expenses for Transportation must be:
    (a) recommended by the attending Physician;
    (b) required by the standard regulations of the conveyance transporting You; and
    (c) authorized in advance by the Company or its authorized Travel Assistance Company and arranged by the
        Company's authorized Travel Assistance Company.

Notwithstanding the forgoing, in the event the Emergency Evacuation services are not arranged by the Company's
authorized Travel Assistance Company, the Company, in its sole discretion, may elect to evaluate the need for the
Emergency Evacuation and provide limited reimbursement for the portion of the expenses related to such Emergency
Evacuation as would have been authorized by Company's authorized Travel Assistance Company.

Transportation of Minor Children: If You are expected to be in the Hospital following a covered Emergency Evacuation, or
pass away during the Trip, the Company will return Your unattended minor child(ren) (under the age of eighteen (18)) who
is/are accompanying You on the scheduled Trip, to the domicile of a person nominated by You or Your next of kin with an
attendant if necessary.

Hospital Companion:
Transportation to Join You: If You are traveling alone and are in a Hospital alone for more than seven (7) consecutive days
or if the attending Physician certifies that due to Your Accidental Injury or Sickness, You will be required to stay in the
Hospital for more than seven (7) consecutive days, upon request the Company will bring a person, chosen by You, for a
single visit to and from Your bedside provided that repatriation is not imminent.

Transportation services are provided if authorized in advance and arranged by the Company or the Company's Travel
Assistance Company and are limited to necessary Economy Fares less the value of applied credit from unused travel tickets,
if applicable.

Transportation means any Common Carrier, or other land, water or air conveyance, required for an Emergency Evacuation
and includes air ambulances, land ambulances and private motor vehicles.

The Company will not cover any expenses provided by another party at no cost to You, or already included within the cost
of the Trip.

                                            REPATRIATION OF REMAINS
The Company will pay up to the Maximum Benefit shown on the Schedule of Benefits for the Covered Repatriation Expenses
incurred to return Your body to the United States of America if You die during the Trip. This benefit is provided only if
authorized in advance and arranged by the Company or the Company's Travel Assistance Company.

Covered Repatriation Expenses include, but are not limited to, expenses for embalming, cremation, minimal casket
container and transportation.

                                              BAGGAGE/PERSONAL EFFECTS
This coverage is subject to any coverage provided by a Common Carrier and all Other Insurance and shall apply only when
such other benefits are exhausted. In order for a claim to be processed under this Coverage, a loss or theft report must be
filed with local law enforcement authorities, the Common Carrier, Travel Supplier, tour leader or with a representative of the
venue or location where the loss or theft took place.

                                           PERSONAL EFFECTS AND PROPERTY
The Company will reimburse You up to the Maximum Benefit shown on the Schedule of Benefits, subject to any applicable
sub-limits, if You sustain Loss, theft or damage to baggage and Personal Effects during the Trip, provided You have taken
all measures possible to protect, save and/or recover the property at all times. The baggage and Personal Effects must be
owned by and accompany You during the Trip.


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The Company will pay the lesser of the following:
   (a) Actual Cash Value at time of Loss, theft or damage to baggage and Personal Effects; or
   (b) the cost of repair or replacement in like kind and quality.

There will be a per article limit as shown on the Schedule of Benefits.

There will be a combined Maximum Benefit as shown on the Schedule of Benefits for the following:
   jewelry; watches; articles consisting in whole or in part of silver, gold or platinum; furs; articles trimmed with or made
   mostly of fur; Personal Computers; cameras and their accessories and related equipment.

EXTENSION OF COVERAGE
If You have checked property with a Common Carrier and delivery is delayed, coverage for Baggage/Personal Effects will
be extended until the Common Carrier delivers Your property or declares such property lost, whichever occurs first.

                                   BAGGAGE DELAY (Outward Journey Only)
The Company will reimburse You for the expense to replace Your necessary Personal Effects in Your Checked Baggage
up to the Maximum Benefit shown on the Schedule of Benefits, if Your Checked Baggage is delayed or misdirected by a
Common Carrier for more than twenty-four (24) hours, while on a Trip.

You must be a ticketed passenger on a Common Carrier.

All claims must be verified by the Common Carrier who must certify the delay or misdirection. Receipts for the purchases
must accompany any claim.

                                         LIMITATIONS AND EXCLUSIONS
The following exclusions apply to: Trip Interruption, Trip Delay, Accident and Sickness Medical Expense:
Loss caused by or resulting from:
1. Pre-Existing Conditions, as defined in the Definitions section;
2. war, invasion, acts of foreign enemies, hostilities between nations (whether declared or not), civil war. This exclusion
    does not apply if You are an innocent bystander to these events;
3. participation in any military maneuver or training exercise, or any Loss starting while You are in the service of the armed
    forces of any country. Orders to active military service for training purposes of two months or less will not constitute
    service in the armed forces.
4. piloting or learning to pilot or acting as a member of the crew of any aircraft;
5. mental or emotional disorders, unless hospitalized;
6. being under the influence of drugs or intoxicants, unless prescribed and used in accordance with the instructions
    provided by a Physician, unless results in the death of a non-traveling Family Member;
7. intentional commission of or the attempt to commit any dishonest or fraudulent act, or criminal activity (as defined in the
    jurisdiction where the loss occurred);
8. dental treatment except as a result of an injury to Sound Natural Teeth except as explicitly offered under Accident and
    Sickness Medical Expense;
9. any non-emergency treatment or surgery, routine physical examinations, hearing aids, eye glasses or contact lenses;
10. pregnancy and childbirth (except for Complications of Pregnancy) except if hospitalized;
11. curtailment or delayed return for other than covered reasons;
12. traveling for the purpose of securing medical treatment;
13. care or treatment for which compensation is payable under Worker's Compensation Law, any Occupational Disease
    law; the 4800 Time Benefit plan or similar legislation;
14. care or treatment that is payable under any Other Insurance policy;
15. Accidental Injury or Sickness when traveling against the advice of a Physician;
16. a Loss that results from an illness, disease, or other condition, event or circumstance that occurs at a time when Your
    coverage is not in effect.

The following exclusions apply to Emergency Evacuation and Repatriation of Remains:
Loss caused by or resulting from:
1. war, invasion, acts of foreign enemies, hostilities between nations (whether declared or not), civil war. This exclusion
   does not apply if You are an innocent bystander to these events;
2. participation in any military maneuver or training exercise, or any Loss starting while You are in the service of the armed
   forces of any country. Orders to active military service for training purposes of two months or less will not constitute
   service in the armed forces.
3. piloting or learning to pilot or acting as a member of the crew of any aircraft;
4. traveling for the purpose of securing medical treatment.
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The following exclusions apply to Baggage/Personal Effects and Baggage Delay:
The Company will not provide benefits for any Loss or damage to:
1. animals;
2. household effects and furnishing;
3. antiques and collectors' items;
4. eye glasses, sunglasses or contact lenses;
5. artificial teeth and dental bridges;
6. hearing aids;
7. artificial limbs and other prosthetic devices;
8. keys, cash, stamps, securities and documents;
9. tickets;
10. credit cards;
11. professional or occupational equipment or property, whether or not electronic business equipment;
12. sporting equipment if loss or damage results from the use thereof;
13. musical instruments;
14. retainers and orthodontic devices.

Any Loss caused by or resulting from the following is excluded:
1. breakage of brittle or fragile articles;
2. wear and tear or gradual deterioration;
3. insects or vermin;
4. inherent vice or damage while the article is actually being worked upon or processed;
5. theft or pilferage while left unattended in any vehicle;
6. mysterious disappearance;
7. property illegally acquired, kept, stored or transported;
8. insurrection or rebellion;
9. imprudent action or omission;
10. property shipped as freight or shipped prior to the Scheduled Departure Date.




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                                      STATE MANDATED LANGUAGE
Nationwide"                            GROUP POLICY NSIGTC 2500

These endorsements are made a part of the Certificate/Policy to which it is attached. These endorsements are subject
to all of the provisions and limitations of the Certificate/Policy. If there is a conflict between the Certificate/Policy and the
endorsement, the terms of the endorsement will govern.

ALABAMA AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the LEGAL ACTIONS provision is deleted in its entirety and
replaced with the following:

LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the
Company receives Proof of Loss. No legal action for a claim can be brought against the Company more than six (6)
years after the time required for giving Proof of Loss.
NSITC 2400 AL

ALASKA AMENDATORY ENDORSEMENT
Throughout the Certificate/Policy, wherever the phrase "in its sole discretion" appears, it is deleted.

Under the section entitled GENERAL PROVISIONS, the LEGAL ACTIONS provision is deleted in its entirety and
replaced with the following:

LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the
Company receives Proof of Loss. No such action shall be brought after expiration of three (3) years from the date a
claim is denied in whole or in part.

Under the section entitled GENERAL PROVISIONS, the CONTROLLING LAW provision is deleted in its entirety and
replaced with the following:

CONTROLLING LAW -Any part of this Certificate/Policy that conflicts with the state law where the Insured resides is
changed to meet the minimum requirements of that law.

Under the section entitled GENERAL PROVISIONS, the MISREPRESENTATION AND FRAUD provision is deleted in
its entirety and replaced with the following:

MISREPRESENTATION AND FRAUD - Your coverage shall be void if You have concealed or misrepresented any
material fact or circumstance on the application in obtaining the Certificate/Policy. All statements and descriptions in an
application shall be considered to be representations and not warranties. The misrepresentations, omissions,
concealment of facts and incorrect statements may not prevent a recovery under the Certificate/Policy unless they are
fraudulent, material to the acceptance of the risk or the hazard assumed, or the Company in good faith would not have
issued the Certificate/Policy or would have issued it differently if the true facts had been known. The Company has the
right to cancel this Certificate/Policy upon ten (10) days written notice for discovery of fraud or material misrepresentation
made by You.

Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety and
replaced with the following:

PAYMENT OF CLAIMS - The Company, or its designated representative, will pay a claim after receipt of acceptable
Proof of Loss.
Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
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    (d) Your brothers and sisters jointly; or
    (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

All or a portion of all benefits provided by this Certificate/Policy, upon Your request, will be paid directly to the provider
of the service(s). All benefits not paid to the provider will be paid to You.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.

The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance
policies. In no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate/Policy shall be reduced by the amount of any credit, voucher or refund provided
by any Common Carrier, Travel Supplier or any other third party.

Under the section entitled GENERAL PROVISIONS, the NOTICE OF CLAIM provision is deleted in its entirety and
replaced with the following:

NOTICE OF CLAIM -Written notice of claim must be given by the claimant (either You or someone acting for You) to
the Company or its designated representative within twenty (20) days after a covered Loss first begins or as soon as
practicable. Notice should include Your name, the Travel Supplier's name and the Plan number. Notice should be sent
to the Company's administrative office, at the address shown on the cover page of the Certificate/Policy, or to the
Company's designated representative.

Under the section entitled GENERAL PROVISIONS, the PROOF OF LOSS provision is deleted in its entirety and
replaced with the following:

PROOF OF LOSS - You must send the Company, or its designated representative, Proof of Loss within ninety (90) days
after a covered Loss occurs, or as soon as practicable. Failure to furnish such proof within the time required shall not
invalidate nor reduce any claim if it was not possible to give proof within such time, provided such proof is furnished and
in no event, except in the absence of legal capacity, later than one (1) year from the time proof is otherwise required.
Where possible and/or required by this Certificate/Policy, independent validation of Proof of Loss must be proved to the
Company within the foregoing time periods.

Under the section entitled GENERAL PROVISIONS, the EXAMINATION UNDER OATH provision is deleted in its
entirety and replaced with the following:

EXAMINATION UNDER OATH - The Company, or its designated representative, at its own expense, has the right to
have You questioned under oath as often as necessary while a claim is pending. You are entitled to have legal
representation present when examined under oath.

Under the section entitled GENERAL PROVISIONS, the following is added to TIME OF PAYMENT OF CLAIMS:

Undisputed medical claims, if applicable, will be paid upon receipt of due written Proof of Loss, but not later than thirty
(30) calendar days from receipt of Proof of Loss or within fifteen (15) calendar days after receipt of additional information
for claims other than an undisputed claim. If the medical claims are not paid within the time limits, accrued interest at
15% per year will be paid beginning from the first day after the time limit until the claim is paid.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS - If there is a disagreement about the amount of the Loss, either You or the
Company can make a written demand for an appraisal. After the demand, You and the Company will each select their
own competent appraiser. Within ten (10) days after the written demand, each party must notify the other party of the
competent appraiser each has selected. Each of the appraisers must select a competent and impartial umpire. Not later
than fifteen ( 15) days after the umpire has been chosen, unless the umpire extends the time period, each appraiser will
separately state in writing the amount of the loss. If the appraisers submit a written report of agreement on the amount
of the loss, the agreed amount will be binding upon You and the Company. If the appraisers fail to agree, the appraisers

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will promptly submit their differences to the umpire. A decision agreed to by one of the appraisers and the umpire will be
binding upon You and the Company. All expenses and fees, not including counsel or adjuster fees, incurred because of
the appraisal will be paid as determined by the umpire.

Under the section entitled GENERAL PROVISIONS, the following provisions are added:

FIRST PARTY CLAIM PAYMENT - Undisputed portions of first party claims will be paid within thirty (30) working days
of Company receipt of Proof of Loss.

INSURANCE WITH OTHER INSURERS - If:
1) You have other Travel Insurance in effect at the same time as this Certificate/Policy covering the Trip as described
   on Your Schedule of Benefits, and
2) This Certificate/Policy is not in excess of all other valid and collectible insurance or indemnity;

We will pay only the proportion of the loss that the limit of liability that applies under this Certificate/Policy bears to the
total amount of insurance covering the loss.

Under the section entitled COVERAGES, the section is deleted in its entirety and replaced with the following:

No Coverage is intended to duplicate or overlap any other Coverage or benefit provided under this Certificate/Policy.
Should there be an inadvertent duplication of benefit or coverage, the Company will provide payable benefits under the
Coverage with the highest Maximum Benefit or largest scope of coverage subject to any applicable sub-limits up to the
point that You are fully indemnified, plus such portion of the premium paid that exceeds the pro-rata portion for the
benefits so determined.

Under the Coverage entitled ACCIDENT AND SICKNESS MEDICAL EXPENSE, the sixth paragraph is deleted in its
entirety and replaced with the following:

The Company will not pay benefits in excess of reasonable and customary charges, as determined by the treating
Physician. The Company will not cover any expenses provided by another party at no cost to You or already included
within the cost of the Trip.

Under the Coverage entitled REPATRIATION OF REMAINS, the Coverage is deleted in its entirety and replaced with
the following:

                                          REPATRIATION OF REMAINS
The Company will pay up to the Maximum Benefit shown on the Schedule of Benefits for the Covered Repatriation
Expenses incurred to return Your body to the United States of America if You die during the Trip. Benefits should be
authorized in advance and arranged by the Company or the Company's Travel Assistance Company. If the Company or
the Company's Travel Assistance Company could not be contacted to arrange for repatriation, benefits are limited to the
amount the Company would have paid had the Company or its Travel Assistance Company been contacted.
Covered Repatriation Expenses include, but are not limited to, expenses for embalming, cremation, minimal casket
container and transportation.
NSITC 2400 AK

ARIZONA AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the TIME OF PAYMENT OF CLAIMS provision is deleted in its
entirety and replaced with the following:

TIME OF PAYMENT OF CLAIMS - Benefits payable under this Certificate/Policy for any Loss other than Loss for
which this Certificate/Policy provides any periodic payment will be paid within thirty (30) days of receipt of due written
Proof of Loss. Subject to due written Proof of Loss, all accrued indemnities for Loss for which this Certificate/Policy
provides periodic payment will be paid monthly and any balance remaining unpaid upon the termination of liability, will
be paid immediately upon receipt of due written proof.

Under the section entitled GENERAL PROVISIONS, the MISREPRESENTATION AND FRAUD provision is deleted in
its entirety and replaced with the following:



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MISREPRESENTATION AND FRAUD - This Certificate/Policy was issued in reliance on the information You
provided at the time of enrollment. The Company may deny all coverage under this Certificate/Policy, or, at the
Company's election, assert any other remedy available under applicable law, if You or Your Traveling Companion
seeking coverage under this Certificate/Policy knowingly concealed, misrepresented or omitted any fact and the
misrepresentation was fraudulent; material either to the acceptance of the risk, or to the hazard assumed by Us; and
We in good faith would either not have issued the Certificate/Policy in as large an amount, or would not have provided
coverage with respect to the hazard resulting in the loss, if the true facts had been made known to Us as required
either by the application for the Certificate/Policy or otherwise.
NSITC 2400 AZ

ARKANSAS AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the LEGAL ACTIONS provision is deleted in its entirety and
replaced with the following:

LEGAL ACTIONS - No legal action may be brought to recover on the plan within sixty (60) days after written Proof of
Loss has been given. No such action shall be brought to recover on the Certificate/Policy prior to the expiration of the
time allowed by law after Proof of Loss has been furnished in accordance with requirements of this Certificate/Policy.

Under the section entitled GENERAL PROVISIONS, the following provision is added:

CLAIM FORMS - When notice of claim is received, the Company will send You forms for filing Proof of Loss within
twenty (20) days after a Loss is reported. However, the Company's failure to furnish the forms within twenty (20) days
after a Loss is reported will constitute a waiver of Proof of Loss requirements, and the Company may not thereafter
require a Proof of Loss.

Under the section entitled GENERAL PROVISIONS, the following is added to SUBROGATION:

The Company is entitled to recovery only after You have been fully compensated for the Loss sustained.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS: If there is a disagreement about the amount of the Loss, upon mutual
agreement either You or the Company can make a written request for an appraisal. After the request, You and the
Company will each select their own competent appraiser. After examining the facts, each of the two (2) appraisers will
give an opinion on the amount of the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two
(2) of the three (3) (the appraisers and the arbitrator) will be non-binding. The appraiser selected by You will be paid by
You. The Company will pay the appraiser they choose. You will share equally with the Company the cost for the arbitrator
and the appraisal process.

Under the section entitled GENERAL PROVISIONS, the following provision is added:

Inquiries or complaints regarding this Certificate/Policy may be submitted to the Arkansas Insurance Department in
writing or by phone.

Policyholders have the right to file a complaint with the Arkansas Insurance Department (AID). You may call AID to
request a complaint form at (800) 852-5494 or (501) 371-2640 or write the department at:
Arkansas Insurance Department
1 Commerce Way, Suite 102
Little Rock, AR 72202
NSITC 2400 AR

CALIFORNIA AMENDATORY ENDORSEMENT
The following applies to all coverages:

Page 1 is revised to include:
THIS PLAN INCLUDES AN EXCESS INSURANCE LIMITATION PROVISION.



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Under the section entitled GENERAL DEFINITIONS, the definition of Domestic Partner is deleted in its entirety and
replaced with the following:

Domestic Partner means a person recognized as a Domestic Partner by the laws of the state in which You reside.

Under the section entitled GENERAL DEFINITIONS, the definition of Sickness is deleted in its entirety and replaced
with the following:

Sickness means an illness or disease of the body that: 1) requires a physical examination and medical treatment by a
Physician and 2) commences, worsens or presents new symptoms while Your coverage is in effect. Sickness also
includes Complications of Pregnancy.

Under the section entitled GENERAL PROVISIONS, the following ENTIRE CONTRACT; CHANGES provision is added:

ENTIRE CONTRACT - This Certificate constitutes the entire contract between the parties, and no statement made by
the employer or by any employee whose eligibility has been accepted by the Company shall be used in defense to a
claim hereunder. No change in this Certificate shall be valid unless approved by one of the Company's executive
officers and unless such approval be endorsed hereon or attached hereto. No agent has authority to change this
Certificate or to waive any of its provisions.

Under the section entitled GENERAL PROVISIONS, the SUBROGATION provision is deleted in its entirety.

The following applies to all coverages except: Accident and Sickness Medical Expense:

Under the section entitled GENERAL DEFINITIONS, the definition of Accidental Injury is deleted in its entirety and
replaced with the following:

Accidental Injury means Bodily Injury caused by an Accident resulting directly from Loss covered under this Certificate
and sustained while this Certificate is in force. The Injury must not be caused by or resulting from Your Sickness. The
Injury must be verified by a Physician in a format acceptable to the Company.

Under the section entitled GENERAL PROVISIONS, the NOTICE OF CLAIM provision is deleted in its entirety and
replaced with the following:

NOTICE OF CLAIM -Written notice of claim must be given by the claimant (either You or someone acting for You) to
the Company or its designated representative within twenty (20) days after a covered Loss first begins. Notice should
include Your name, the Travel Supplier's name and the Plan number. Notice should be sent to the Company's
administrative office, at the address shown on the cover page of the Certificate, or to the Company's designated
representative.

The following applies to: Accident and Sickness Medical Expense:

Under the section entitled GENERAL DEFINITIONS, the definition of Accidental Injury is deleted in its entirety and
replaced with the following:

Accidental Injury means Bodily Injury caused by an Accident, which was the proximate cause of a Loss covered under
this Certificate and sustained while this Certificate is in force. The Injury must not be caused by or resulting from Your
Sickness. The Injury must be verified by a Physician in a format acceptable to the Company.

Under the section entitled GENERAL PROVISIONS, the following TIME LIMIT ON CERTAIN DEFENSES provision is
added:

TIME LIMIT ON CERTAIN DEFENSES: After two (2) years from the date of issue of the Policy, no misstatements,
except fraudulent misstatements, made by the applicant in the application for the Policy shall be used to void the Policy
or to deny a claim commencing after the expiration of the two (2) year period.

Under the section entitled GENERAL PROVISIONS, the NOTICE OF CLAIM provision is deleted in its entirety and
replaced with the following:



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NOTICE OF CLAIM - Written notice of claim must be given to the Company or its designated representative within
twenty (20) days after a covered Loss first begins, or as soon thereafter as is reasonably possible. Notice should include
Your name, the Travel Supplier's name and the Plan number. Notice sent to the Company's administrative office, at the
address shown on the cover page of the Certificate, or to the Company's designated representative, with information
sufficient to identify the Insured, shall be deemed notice to the Company.

Under the section entitled GENERAL PROVISIONS, the following CLAIM FORMS provision is added:

CLAIM FORMS- The Company, upon receipt of Notice of Claim, will furnish to the Insured such forms as are usually
furnished by it for filing Proof of Loss. If such forms are not furnished within fifteen (15) days after the giving of such
notice, the Insured shall be deemed to have complied with the requirements of this Certificate as to Proof of Loss upon
submitting, within the time fixed in the Certificate for filing Proofs of Loss, written proof covering the occurrence, the
character, and the extent of the loss for which the claim is made.

Under the section entitled GENERAL PROVISIONS, the PROOF OF LOSS provision is deleted in its entirety and
replaced with the following:

PROOF OF LOSS - Written Proof of Loss must be furnished to the Company within ninety (90) days after a covered
Loss. Failure to furnish such proof within the time required shall not invalidate nor reduce a claim if it was not reasonably
possible to give proof within such time, provided such proof is furnished as soon as reasonably possible and in no event,
except in the absence of legal capacity, later than one year from the time proof is otherwise required.

Under the section entitled GENERAL PROVISIONS, the TIME OF PAYMENT OF CLAIMS provision is deleted in its
entirety and replaced with the following:

TIME OF PAYMENT OF CLAIMS- Benefits payable under this Certificate for any Loss for which this Certificate provides
any periodic payment will be paid immediately upon receipt of due written Proof of Loss. Subject to due written Proof of
Loss, all accrued indemnities for Loss for which this Certificate provides periodic payment will be paid monthly and any
balance remaining unpaid upon the termination of liability will be paid immediately upon receipt of due written Proof of
Loss.

CALIFORNIA CONSUMER COMPLAINT NOTICE
In the event of a complaint about this Policy/Certificate, we encourage You to contact your Agent. You may also contact
Us at One Nationwide Plaza, Columbus, OH 43215 or call Us at 1-800-882-2822. You also have the right to contact the
California Department of Insurance only after discussions with Us, the agent or other representative, or both, have failed
to produce a satisfactory resolution to Your complaint. The address, website and toll free telephone number of the
Consumer Services Division of the Department of Insurance is:

        State of California
        Department of Insurance
        Health Claims Bureau
        300 South Spring Street, South Tower
        Los Angeles, CA 90013
        www.insurance.ca.gov
        FAX: 213-897 -9641
        PHONE: 1-800-927-HELP (4357)
        TDD: 800-482-4TDD (4833)

NSIGTC 2400 CA; NSITC 2400-1 CA

CONNECTICUT AMENDMENT RIDER
A copy of the Master Policy, form number NSIGTC 2000 is available to You upon request.

Under the section entitled GENERAL DEFINITIONS, the definition of Accidental Injury is deleted in its entirety and
replaced with the following:

Accidental Injury means accidental Bodily Injury sustained by You that is the direct cause, independent of disease or
bodily infirmity or any other cause that occurs while Your coverage is in effect under this Certificate/Policy.


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Under the section entitled GENERAL PROVISIONS, the LEGAL ACTIONS provision is deleted in its entirety and
replaced with the following:

LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the
Company receives Proof of Loss. No legal action for a claim can be brought against the Company more than three (3)
years after the time required for giving Proof of Loss and unless all requirements of the Certificate/Policy have been met.

Under the section entitled GENERAL PROVISIONS, the MISREPRESENTATION AND FRAUD provision is deleted in
its entirety and replaced with the following:

MISREPRESENTATION AND FRAUD -Your coverage shall be void if, whether before or after a Loss, You concealed
or misrepresented any material fact or circumstance concerning this Certificate/Policy or the subject thereof, or Your
interest therein, or if You commit fraud or false swearing in connection with any of the foregoing. However, after two (2)
years from the date of enrollment, no misstatements made during enrollment may be used to void the coverage of deny
any claim for loss incurred after the two (2) year period.

Under the section entitled GENERAL PROVISIONS, the SUBROGATION provision is deleted in its entirety and replaced
with the following:

SUBROGATION - To the extent allowed by law, We, upon making any payment or assuming liability of recovery for You
against any person or corporation, may bring an action in Your name to enforce such rights. This provision does not
apply to judicial awards of damages.

Under the section entitled GENERAL PROVISIONS, the EXCESS INSURANCE LIMITATION is deleted in its entirety.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS: If there is a disagreement about the amount of the Loss, upon mutual
agreement either You or the Company can make a written request for an appraisal. After the request, You and the
Company will each select their own competent appraiser. After examining the facts, each of the two appraisers will give
an opinion on the amount of the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two (2)
of the three (3) (the appraisers and the arbitrator) will be non-binding. The appraiser selected by You will be paid by You.
The Company will pay the appraiser they choose. You will share equally with the Company the cost for the arbitrator
and the appraisal process.

Under the section entitled GENERAL PROVISIONS, the following DISPUTE RESOLUTION provision is added:

DISPUTE RESOLUTION - If We are unable to resolve any disputes with You regarding this Certificate/Policy, You may
file a written complaint with the State of Connecticut Insurance Department, PO Box 816, Hartford, CT 06142-0816 Attn:
Consumer Affairs. The written complaint must contain a description of the dispute, the purchase price of the covered
product subject to the Plan, the cost of the product and a copy of the Certificate/Policy.

Under the section entitled LIMITATIONS AND EXCLUSIONS, exclusions 5, 6, and 7 are deleted in their entirety and
replaced by the following:

5. Mental, nervous, emotional, or personality disorders in any form whatsoever unless You are hospitalized for three (3)
consecutive days or more after the Certificate/Policy Effective Date;

6. Voluntary use of any controlled substance as defined in Title II of the Comprehensive Drug Abuse Prevention and
Control Act of 1970 as now or hereafter amended, unless prescribed by a Physician for You. (Accidental ingestion of a
poisonous food substance or consumption of a controlled drug is not excluded.);

7. Commission or the attempt to commit a felony or fraudulent act;


Under the section entitled LIMITATIONS AND EXCLUSIONS, the following exclusions are deleted in their entirety:

14. care or treatment that is payable under any Other Insurance policy;


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The following provision is added to the Master Policy form NSIGTC 2000:

A copy of this Master Policy form NSIGTC 2000 shall be made available to any Certificate/Policy holder upon request.
NSITC 2400 CT

DELAWARE AMENDATORY ENDORSEMENT
Under the section entitled GENERAL DEFINITIONS, the definition of Family Member is deleted in its entirety and
replaced with the following:

Family Member means Your or Your Traveling Companion's legal or common law spouse, ex-spouse, civil union
partner, parent, legal guardian, step-parent, grandparent, parents-in-law, grandchild, natural or adopted child, step-child,
children-in-law, brother, sister, step-brother, step-sister, brother-in-law, sister-in-law, aunt, uncle, niece or nephew,
Business Partner, or Domestic Partner.
NSITC 2400 DE

DISTRICT OF COLUMBIA AMENDATORY ENDORSEMENT
The face page of the Certificate/Policy is revised by the addition of the following:

                  THIS IS A LIMITED BENEFIT CERTIFICATE/POLICY, PLEASE READ CAREFULLY

Under the section entitled GENERAL DEFINITIONS, the definition of DOMESTIC PARTNER is deleted in its entirety
and replaced with the following:

Domestic Partner means a person, at least 18 years of age, with whom You have been living in a spousal relationship
with evidence of cohabitation for at least six (6) months prior to the effective date of coverage, or a Domestic Partner
registered under the definition of Domestic Partner as defined by D.C. Official Code §32-701 (3) and §32-701 (4).

Under the section entitled GENERAL PROVISIONS, the provision entitled DISAGREEMENT OVER SIZE OF LOSS is
deleted in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS: If there is a disagreement about the amount of the Loss, either You or the
Company can make a written demand for an appraisal. After the demand, You and the Company will each select their
own competent appraiser. After examining the facts, each of the two appraisers will give an opinion on the amount of
the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two (2) of the three (3) (the appraisers
and the arbitrator) will be non-binding. The appraiser selected by You will be paid by You. The Company will pay the
appraiser they choose. You will share equally with the Company the cost for the arbitrator and the appraisal process.

The following is added:

Wherever the term "spouse" appears in the Certificate/Policy it is amended to also include "legal partner".
NSITC 2400 DC

FLORIDA AMENDATORY ENDORSEMENT
Page 1, paragraph 3 is revised to read:

All premium is refundable only during the ten (10) day review period from the date of delivery (or fifteen (15) days from
the date of delivery if mailed) provided You have not already departed on Your Trip and You have not incurred any
claimable losses during that time. If You depart on Your Trip prior to the expiration of the review period, the review
period shall automatically end upon Your departure.

Under the section entitled GENERAL DEFINITIONS, the HOSPITAL definition is deleted in its entirety and replaced with
the following:

Hospital means a facility that:
   (a) holds a valid license if it is required by the law;
   (b) operates primarily for the care and treatment of sick or injured persons as in-patients;
   (c) has a staff of one or more Physicians available at all times;
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    (d) provides twenty-four (24) hour nursing service and has at least one registered professional nurse on duty or call;
    (e) has organized diagnostic and surgical facilities, either on the premises or in facilities available to the hospital on
        a pre-arranged basis; and
    (f) is not, except incidentally, a clinic, nursing home, rest home, drug or physical rehabilitation facility or
        convalescent home for the aged, or similar institution.

The Company will not deny claims for services provided in a licensed hospital because the facility does not have major
surgical facilities and is primarily a rehabilitation hospital, if it is accredited by the Joint Commission on the Accreditation
of Hospitals, the American Osteopathic Association, or the Commission on the Accreditation of Rehabilitative Facilities.

Under the section entitled GENERAL PROVISIONS, the LEGAL ACTIONS provision is deleted in its entirety and
replaced with the following:

LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the
Company receives Proof of Loss. No legal action for a claim can be brought against the Company more than five (5)
years after the time required for giving Proof of Loss.

Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety and
replaced with the following:

PAYMENT OF CLAIMS -The Company, or its designated representative, will pay a claim within twenty (20) days after
receipt of acceptable Proof of Loss. If the claim is not paid within 20 days, payment will bear interest at a rate of twelve
percent ( 12%) per year.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
   (d) Your brothers and sisters jointly; or
   (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

If a benefit is payable to a minor or other person who is unable to give a valid release for the claim, the Company may
make payment to Your relatives by blood or connection by marriage of the Insured or beneficiary who is considered by
the Company to be equitably entitled to the indemnity.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.

The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance. In
no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate shall be reduced by the amount of any credit, voucher or refund provided by
any Common Carrier, Travel Supplier or any other third party.

Under the section entitled GENERAL PROVISIONS, the TIME OF PAYMENT OF CLAIMS provision is deleted in its
entirety and replaced with the following:

TIME OF PAYMENT OF CLAIMS - Benefits payable under this Certificate for any Loss other than Loss for which this
Certificate provides any periodic payment will be paid upon receipt of due written Proof of Loss in accordance with state
requirements. Subject to due written Proof of Loss, all accrued indemnities for Loss for which this Certificate provides
periodic payment will be paid monthly and any balance remaining unpaid upon the termination of liability, will be paid
immediately upon receipt of due written proof. If the claim is not paid when due, payment will bear interest at a rate of
twelve percent ( 12%) per year.

If a benefit is payable to a minor or other person who is unable to give a valid release for the claim, the Company may
make payment to Your relatives by blood or connection by marriage of the Insured or beneficiary who is considered by
the Company to be equitably entitled to the indemnity.

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Under the section entitled GENERAL PROVISIONS, the following ARBITRATION and CONTACT INFORMATION
provisions are added:

ARBITRATION - Notwithstanding anything in the Policy to the contrary, any claim arising out of or relating to this contract,
or its breach, may be settled by arbitration administered by the American Arbitration Association in accordance with its
Commercial rules except to the extent provided otherwise in this clause. Judgment upon the award rendered in such
arbitration may be entered in any court having jurisdiction thereof. Any arbitration will be by mutual agreement by all
parties. All fees and expenses of the arbitration shall be borne by the parties equally.

However, each party will bear the expense of its own counsel, experts, witnesses, and preparation and presentation of
proofs. The arbitrators are precluded from awarding punitive, treble or exemplary damages, however so denominated.
If more than one Insured is involved in the same dispute arising out of the same Policy and relating to the same loss or
claim, all such Insureds will constitute and act as one party for the purposes of the arbitration. Nothing in this clause will
be construed to impair the rights of the Insureds to assert several, rather than joint, claims or defenses.

CONTACT INFORMATION: If You need information regarding coverage, have a coverage inquiry or need assistance
resolving a complaint arising out of or relating to this coverage, the Company may be reached at 1-800-882-2822.

Under the section entitled LIMITATIONS AND EXCLUSIONS, the following exclusion is deleted in its entirety and
replaced with the following:

4. piloting or learning to pilot or acting as a member of the crew of any aircraft;
NSITC 2400 FL

GEORGIA AMENDATORY ENDORSEMENT
The third (3rd) paragraph on the Cover Page is deleted in its entirety and replaced with:
All premium is refundable during the ten (10) day review period from the date of purchase (or from the date of receipt if
mailed) provided You have not already departed on Your Trip and You have not incurred any claimable losses during
that time. If You depart on Your Trip prior to the expiration of the review period, the review period shall automatically
end upon Your departure.

Under the section entitled GENERAL PROVISIONS, the MISREPRESENTATION AND FRAUD provision is deleted in
its entirety and replaced with the following:
MISREPRESENTATION AND FRAUD -Your coverage may be denied and Your Certificate/Policy may be cancelled if,
whether before or after a Loss, You concealed or misrepresented any material fact or circumstance concerning this
Certificate/Policy or the subject thereof, or Your interest therein, or if You commit fraud or false swearing in connection
with any of the foregoing.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety.
NSITC 2400 GA

HAWAII AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety and
replaced with the following:

PAYMENT OF CLAIMS - The Company, or its designated representative, will pay a claim within 30 days after: (a) receipt
of acceptable Proof of Loss; (b) We have accepted the claim; and (c) the amount of the claim has been determined and
is not in dispute.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
   (d) Your brothers and sisters jointly; or

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    (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

All or a portion of all benefits provided by this Certificate/Policy may, at the option of the Company, be paid directly to
the provider of the service(s). All benefits not paid to the provider will be paid to You.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.

The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance
policies. In no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate/Policy shall be reduced by the amount of any credit, voucher or refund provided
by any Common Carrier, Travel Supplier or any other third party.
NSITC 2400 HI

IDAHO AMENDATORY ENDORSEMENT
The second paragraph on Page 1 is deleted in its entirety and replaced with:

This Certificate/Policy of insurance is issued based on the information You provided at the time of purchase and payment
of any premium due.

The third paragraph on Page 1 is deleted in its entirety and replaced with:

All premium is refundable only during the thirty (30) day review period from the date of purchase (or from the date of
receipt if mailed) provided You have not already departed on Your Trip and You have not incurred any claimable losses
during that time. If You depart on Your Trip prior to the expiration of the review period, the review period shall
automatically end upon Your departure.

The following paragraph is deleted in its entirety:

In the event the premium paid for coverage is less than the required premium for coverage, benefits will be paid in direct
proportion of the actual amount paid to the required premium due.

Under the section entitled GENERAL DEFINITIONS, the definition of Complications of Pregnancy is deleted in its
entirety and replaced with the following:

Complications of Pregnancy means conditions requiring hospital confinement (when the pregnancy is not terminated),
whose diagnoses are distinct from the pregnancy, but are adversely affected by the pregnancy or caused by the
pregnancy, such as: acute nephritis, nephrosis, cardiac decompression, missed abortion, and similar medical and
surgical conditions of comparable severity, but shall not include false labor, occasional spotting, morning sickness,
physician prescribed rest during the period of pregnancy, morning sickness, hyperemesis gravidarum, preeclampsia,
and similar conditions associated with the management of a difficult pregnancy not constituting a nosologically distinct
complication of pregnancy.

Complications of Pregnancy also includes cesarean section delivery, ectopic pregnancy which is terminated,
spontaneous termination of pregnancy which occurs during a period of gestation in which a viable birth is not possible,
perpetual infection, eclampsia and toxemia.

Under the section entitled GENERAL DEFINITIONS, the definition of Hospital is deleted in its entirety and replaced with
the following:

Hospital means a provider that is a short-term, acute, or general hospital that:
1. is a duly licensed institution;
2. in return for compensation from its patients, is primarily engaged in providing Inpatient diagnostic and therapeutic
   services for the diagnosis, treatment, and care of injured and sick person by or under supervision of Physicians;
3. has organized departments of medicine and major surgery;
4. provides 24-hour nursing service by or under the supervision of registered graduate nurses; and
5. is not other than incidentally: a) a skilled nursing facility, nursing home, custodial care home, health resort, spa or
   sanatorium, place for rest, or place for the aged; b) a place for the treatment of mental Illness; c) a place for the
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    treatment of alcoholism or drug abuse, place for the provision of hospice care; or d) a place for the treatment of
    pulmonary tuberculosis.

Under the section entitled GENERAL DEFINITIONS, the definition of Pre-Existing Condition is deleted in its entirety
and replaced with the following:

Pre-Existing Condition means an illness, disease, or other condition during the sixty (60) day period immediately prior
to the Effective Date of Your Certificate/Policy for which You, Your Traveling Companion, or a Family Member booked
to travel with You: 1) that would have caused an ordinarily prudent person to seek diagnosis, care or treatment; or 2) for
which medical advice, care or treatment was recommended or received; or 3) an existing pregnancy.

Under the section entitled GENERAL PROVISIONS, the LEGAL ACTIONS provision is deleted in its entirety and
replaced with the following:

LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the
Company receives Proof of Loss. No legal action for a claim can be brought against the Company more than five (5)
years after the time required for giving Proof of Loss.

Under the section entitled GENERAL PROVISIONS, the MISREPRESENTATION AND FRAUD provision is deleted in
its entirety and replaced with the following:

MISREPRESENTATION AND FRAUD - This Certificate/Policy was issued in reliance on the information You provided
at the time of purchase. The Company may deny all coverage under this Certificate/Policy, or, at the Company's
election, assert any other remedy available under applicable law, if You or and Traveling Companion seeking coverage
under this Certificate/Policy knowingly concealed, misrepresented or omitted any material fact or engaged in fraudulent
conduct at the time of purchase, at any time during the Certificate/Policy period, or in connection with the filing or
settlement of any claim.

Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety and
replaced with the following:

PAYMENT OF CLAIMS -The Company, or its designated representative, will pay a claim within 30 days after receipt of
acceptable Proof of Loss.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
   (d) Your brothers and sisters jointly; or
   (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

All or a portion of all benefits provided by this Certificate/Policy, at the option of the Company, will be paid directly to the
provider of the service(s). All benefits not paid to the provider will be paid to You.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.

The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance
policies. In no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate/Policy shall be reduced by the amount of any credit, voucher or refund provided
by any Common Carrier, Travel Supplier or any other third party.

Under the section entitled GENERAL PROVISIONS, the SETTLEMENT OF LOSS provision is deleted in its entirety
and replaced with the following:

SETTLEMENT OF LOSS - Claims for damage and/or destruction shall be paid within thirty (30) days after acceptable
proof of the damage and/or destruction is presented to the Company and the Company has determined the claim is


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covered. Property will be considered lost if it has not been recovered within thirty (30) days of the event. You must
present acceptable Proof of Loss and the value involved to the Company.

Under the section entitled GENERAL PROVISIONS, the EXCESS INSURANCE LIMITATION provision is deleted in its
entirety.

Under the section entitled GENERAL PROVISIONS, the following APPEALS provision is added:

You may appeal any decision made by the Company to the Idaho Department of Insurance by contacting:

Idaho Department of Insurance
Consumer Affairs
700 W. State Street, 3 rd Floor
P.O. Box 83720
Boise, ID 83720-0043
1-800-721-3272
www.DOI.Idaho.gov
NSITC 2400 ID

IOWA AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS: If there is a disagreement about the amount of the Loss, either You or the
Company can make a written demand for an appraisal. After the demand, You and the Company will each select their
own competent appraiser. After examining the facts, each of the two appraisers will give an opinion on the amount of
the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two (2) of the three (3) (the appraisers
and the arbitrator) will be voluntary and non-binding. The appraiser selected by You will be paid by You. The Company
will pay the appraiser they choose. You will share equally with the Company the cost for the arbitrator and the appraisal
process.
NSITC 2400 IA

KANSAS AMENDATORY ENDORSEMENT
First page of Certificate/Policy is amended as follows:

Added in bold, capital letters and 18-point font: THIS IS A LIMITED POLICY- PLEASE READ IT CAREFULLY

First page of Certificate/Policy is amended as follows:

TEN DAY FREE LOOK PROVISION: All premium is refundable only during the ten (10) day review period from the
date of purchase (or from the date of receipt if mailed) provided You have not already departed on Your Trip and You
have not incurred any claimable losses during that time. If You depart on Your Trip prior to the expiration of the review
period, the review period shall automatically end upon Your departure.

Under the section entitled GENERAL DEFINITIONS, the definition of Actual Cash Value is deleted in its entirety and
replaced with the following:

Actual Cash Value means the amount which it would cost to repair or replace damaged property with material of like
kind and quality, less allowance for deterioration and Depreciation.

Under the section entitled GENERAL DEFINITIONS, the definition of Reasonable and Customary is added:

Reasonable and Customary/ Reasonable and Customary Charges means an expense that:
   (a) is charged for treatment, supplies or medically Necessary Treatments or services to treat Your condition;
   (b) does not exceed the usual level of charges for similar treatment, supplies or medical services in the locality
       where the expense is incurred; and
   (c) does not include charges that would not have been made in the absence of insurance.



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We rely on data provided by Context 4 Healthcare. An updated file is received every six (6) months. Payment of benefits
is based on most frequently charged fees by providers in the same geographical area for the same types of procedures.

In no event will the Reasonable and Customary Charges exceed the actual amount charged.

Throughout the Certificate/Policy, reasonable and customary is replaced with Reasonable and Customary.

Under the section entitled GENERAL DEFINITIONS, the definition of and all references to Domestic Partner are deleted
in their entirety.

Under the section entitled GENERAL PROVISIONS, the LEGAL ACTIONS provision is deleted in its entirety and
replaced with the following:

LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the
Company receives Proof of Loss. No legal action for a claim can be brought against the Company more than five (5)
years after the time required for giving Proof of Loss.

Under the section entitled GENERAL PROVISIONS, the MISREPRESENTATION AND FRAUD provision is deleted in
its entirety and replaced with the following:

MISREPRESENTATION AND FRAUD -Your coverage shall be void if, whether before or after a Loss, You commit
Fraud as defined below:

Fraud means an act committed by any person who, knowingly and with intent to defraud, presents, causes to be
presented or prepares with knowledge or belief that it will be presented to or by an insurer, purported insurer, broker or
any agent thereof, any written, electronic, electronic impulse, facsimile, magnetic, oral or telephonic communication or
statement as part of, or in support of, an application for the issuance of, or the rating of an insurance Certificate/Policy
for personal or commercial insurance, or a claim for payment or other benefit pursuant to an insurance Certificate/Policy
for commercial or personal insurance which such person knows to contain materially false information concerning any
fact material thereto; or conceals, for the purpose of misleading, information concerning any fact material thereto.

Under the section entitled GENERAL PROVISIONS, the SUBROGATION provision is amended to include:

SUBROGATION - This SUBROGATION provision does not apply to the following benefits Accident and Sickness
Medical Expense.

Under the section entitled GENERAL PROVISIONS, the EXCESS INSURANCE LIMITATION provision is deleted in
its entirety.

Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety
and replaced with the following:

PAYMENT OF CLAIMS: WHEN PAID - The Company, or its designated representative, will pay a claim within thirty
(30) days after receipt of acceptable Proof of Loss. For medical, surgical, Hospital, or dental treatment, all benefits
payable under this Certificate/Policy will be paid immediately upon Our receipt of due written Proof of Loss.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
   (d) Your brothers and sisters jointly; or
   (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.



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The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance
policies. In no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate/Policy shall be reduced by the amount of any credit, voucher or refund provided
by any Common Carrier, Travel Supplier or any other third party.

Under the section entitled GENERAL PROVISIONS, the NOTICE OF CLAIM provision is deleted in its entirety and
replaced with the following:

NOTICE OF CLAIM -Written notice of claim must be given by the claimant (either You or someone acting for You) to
the Company or its designated representative within twenty (20) days after a covered Loss first begins. Notice should
include Your name, the Travel Supplier's name and the Plan number. Notice should be sent to the Company's
administrative office, at the address shown on the cover page of the Certificate/Policy, or to the Company's designated
representative.

Under the section entitled GENERAL PROVISIONS, the SETTLEMENT OF LOSS provision is deleted in its entirety
and replaced with the following:

SETTLEMENT OF LOSS - Claims for damage and/or destruction shall be paid within thirty (30) days after acceptable
proof of the damage and/or destruction is presented to the Company and the Company has determined the claim is
covered. Property will be considered lost if it has not been recovered within thirty (30) days of the event. You must
present acceptable Proof of Loss and the value involved to the Company.

Under the section entitled GENERAL PROVISIONS, the following provisions are added:

ENTIRE CONTRACT: CHANGES - This Certificate/Policy, including any endorsements and the attached papers, if any,
constitutes the entire contract of insurance. No change in this Certificate/Policy shall be valid until approved by an
executive officer of the Company and unless such approval be endorsed hereon or attached hereto. No agent has
authority to change this Certificate/Policy or to waive any of its provisions.

TIME LIMIT ON CERTAIN DEFENSES - Only Fraud made by the applicant in the application for this Certificate/Policy
shall be used to void the Certificate/Policy or to deny a claim for loss incurred or disability (as defined in the
Certificate/Policy).

ERRORS RELATED TO YOUR COVERAGE - The Company has the right to correct benefit payments that are made in
error. Providers and/or You have the responsibility to return any overpayments to the Company. The Company has the
responsibility to make additional payments if any underpayments have been made.

CLAIM FORMS - The Company, upon receipt of a notice of claim, will furnish to the claimant such forms as are usually
furnished by it for filing Proofs of Loss. If such forms are not furnished within fifteen (15) days after the giving of such
notice the claimant shall be deemed to have complied with the requirements of this Certificate/Policy as to Proof of Loss
upon submitting within the time fixed in the Certificate/Policy for filing Proofs of Loss, written proof covering the
occurrence, the character and the extent of the Loss for which claim is made.

CHANGE OF BENEFICIARY - Unless You make an irrevocable designation of beneficiary, the right to change of
beneficiary is reserved to the Company and the consent of the beneficiary or beneficiaries shall not be requisite to
surrender or assignment of this Certificate/Policy or to any change of beneficiary or beneficiaries, or to any other changes
in this Certificate/Policy.

MISSTATEMENT OF AGE - If Your age has been misstated, all amounts payable under this Certificate/Policy shall be
such as the premium paid would have purchased at the correct age.

CONFORMITY WITH STATUTES - Any provision of this Certificate/Policy which, on its effective date, is in conflict with
the statutes of the state in which You reside on such date is hereby amended to conform to the minimum requirements
of such statutes.

CANCELLATION BY INSURED - You may cancel this Certificate/Policy at any time by written notice delivered or mailed
to the insurer, effective upon receipt of such notice or on such late date as may be specified in such notice. In the event
of cancellation or Your death, the Company will promptly return the unearned portion of any premium paid. The earned
premium shall be computed by the use of the short-rate table last filed with the state official having supervision of

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insurance in the state where You resided when the Certificate/Policy was issued. Cancellation shall be without prejudice
to any claim originating prior to the effective date of cancellation.

INSURANCE WITH OTHER INSURERS - If there be other valid coverage, not with the Company, providing benefits for
the same loss on a provision of service basis or an expense incurred basis, payment shall not be prorated or reduced.
If such a case, You shall be entitled to payment from both insurers. The provisions of this paragraph shall not apply to
any individual policy of accident and sickness insurance, as defined in K.S.A. 40-2201, and amendments thereto.

Under the section entitled LIMITATIONS AND EXCLUSIONS, exclusion 13 is deleted in its entirety and replaced with
the following:

13. Benefits will not be provided for services for injuries of diseases related to Your job to the extent You are covered
or are required to be covered by the Workers' Compensation law. If You enter into a settlement giving up Your right to
recover future medical benefits under a Workers' Compensation law, this Certificate/Policy will not pay those medical
benefits that would have been payable in absence of that settlement.

Under the section entitled LIMITATIONS AND EXCLUSIONS, exclusion 15 is deleted in its entirety.

Under the section entitled LIMITATIONS AND EXCLUSIONS, the following exclusion is added:

17. Elective abortions, unless the procedure is necessary to preserve the life of the mother.
NSITC 2400 KS

KENTUCKY AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety and
replaced with the following:

PAYMENT OF CLAIMS - The Company, or its designated representative, will pay a claim within thirty (30) days after
receipt of acceptable Proof of Loss.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
   (d) Your brothers and sisters jointly; or
   (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

All or a portion of all benefits provided by this Certificate/Policy, at the option of the Company, will be paid directly to the
provider of the service(s). All benefits not paid to the provider will be paid to You.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.

The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance
policies. In no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate/Policy shall be reduced by the amount of any credit, voucher or refund provided
by any Common Carrier, Travel Supplier or any other third party.

Under the section entitled GENERAL PROVISIONS, the SETTLEMENT OF LOSS provision is deleted in its entirety
and replaced with the following:

SETTLEMENT OF LOSS - Claims for damage and/or destruction shall be paid within thirty (30) days after acceptable
proof of the damage and/or destruction is presented to the Company and the Company has determined the claim is
covered. Property will be considered lost if it has not been recovered within thirty (30) days of the event. You must
present acceptable Proof of Loss and the value involved to the Company.

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Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS: If there is a disagreement about the amount of the Loss, either You or the
Company can make a written demand for an appraisal. After the demand, You and the Company will each select their
own competent appraiser. After examining the facts, each of the two (2) appraisers will give an opinion on the amount
of the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two (2) of the three (3) (the
appraisers and the arbitrator) will be voluntary and non-binding. The appraiser selected by You will be paid by You. The
Company will pay the appraiser they choose. You will share equally with the Company the cost for the arbitrator and the
appraisal process.
NSITC 2400 KY

LOUISIANA AMENDATORY ENDORSEMENT
Under the section entitled GENERAL DEFINITIONS, the definition of Domestic Partner is deleted in its entirety.

Under the section entitled GENERAL DEFINITIONS, the definition of Family Member is deleted in its entirety and
replaced with the following:

Family Member means Your or Your Traveling Companion's legal spouse, parent, legal guardian, step-parent,
grandparent, parents-in-law, grandchild, natural or adopted child, step-child, children-in-law, brother, sister, step-brother,
step-sister, brother-in-law, sister-in-law, aunt, uncle, niece, nephew, or Business Partner.

Under the section entitled GENERAL PROVISIONS, the GOVERNING JURISDICTION provision is deleted in its entirety
and replaced with the following:

GOVERNING JURISDICTION - The insurance regulatory agency and courts of Louisiana shall have jurisdiction over
this insurance Certificate/Policy.

Under the section entitled GENERAL PROVISIONS, the MISREPRESENTATION AND FRAUD provision is deleted in
its entirety and replaced with the following:
MISREPRESENTATION AND FRAUD - Your coverage will be denied and coverage cancelled if, before or after a Loss,
You, with the intent to deceive, concealed or misrepresented any material fact or circumstance concerning this
Certificate/Policy or the subject thereof, or Your interest therein, or if You intentionally committed fraud or false swearing
in connection with any of the foregoing.

You must fully cooperate in the event the Company determines that an investigation of any claim is warranted.

Under the section entitled GENERAL PROVISIONS, the SUBROGATION provision is deleted in its entirety and replaced
with the following:
SUBROGATION -To the extent the Company pays for a Loss suffered by You, the Company will take over the rights
and remedies You had relating to the Loss. This is known as subrogation. You must help the Company to preserve its
rights against those responsible for the Loss. This may involve signing any papers and taking any other steps the
Company may require. If the Company takes over Your rights, You must sign an appropriate subrogation form supplied
by the Company. We will contribute, as appropriate, to attorneys' fees incurred in obtaining any such payments from
the party liable for the Loss.
Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety and
replaced with the following:

PAYMENT OF CLAIMS -The Company, or its designated representative, will pay a claim within 30 days after receipt of
acceptable Proof of Loss.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
   (d) Your brothers and sisters jointly; or

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    (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

All or a portion of all benefits provided by this Certificate/Policy, at the option of the Company, will be paid directly to the
provider of the service(s). All benefits not paid to the provider will be paid to You.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.

The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance
policies. In no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate/Policy shall be reduced by the amount of any credit, voucher or refund provided
by any Common Carrier, Travel Supplier or any other third party.

Under the section entitled GENERAL PROVISIONS, the PROOF OF LOSS provision is deleted in its entirety and
replaced with the following:
PROOF OF LOSS - The claimant must send the Company, or its designated representative, Proof of Loss within ninety
(90) days after a covered Loss occurs or as soon as reasonably possible. Failure to furnish such proof within the time
required shall not invalidate nor reduce any claim if it was not reasonably possible to give proof within such time, provided
such proof is furnished as soon as reasonably possible and in no event, except in the absence of legal capacity, later
than one (1) year from the time proof is otherwise required.
For losses that arose due to a catastrophic event for which a state of disaster or emergency was declared pursuant to
law by civil officials, for those areas within the declaration, no damages to covered property shall be automatically denied
by Your inability to provide sufficient proof of loss within the time limits and requirements of this Certificate/Policy. The
time limit shall not commence as long as a declaration of emergency is in existence and civil authorities are denying the
insured access to the property and shall not be less than one hundred eighty (180) days.

Under the section entitled GENERAL PROVISIONS, the SETTLEMENT OF LOSS provision is deleted in its entirety
and replaced with the following:
SETTLEMENT OF LOSS - Claims for damage and/or destruction shall be paid within thirty (30) days after acceptable
proof of the damage and/or destruction is presented to the Company and the Company has determined the claim is
covered. Claims for lost property will be paid after the lapse of a reasonable time if the property has not been recovered.
You must present acceptable Proof of Loss and the value involved to the Company.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:
DISAGREEMENT OVER SIZE OF LOSS - If there is a disagreement about the amount of the Loss, either You or the
Company can make a written demand for an appraisal. After the demand, You and the Company will each select their
own competent appraiser. After examining the facts, each of the two appraisers will give an opinion on the amount of
the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two (2) of the three (3) (the appraisers
and the arbitrator) will be non-binding. The appraiser selected by You will be paid by You. The Company will pay the
appraiser they choose. You will share equally with the Company the cost for the arbitrator and the appraisal process.
NSITC 2400 LA

MAINE AMENDATORY ENDORSEMENT
The second paragraph on Page 1 is revised to read:

This Certificate/Policy of insurance is issued in consideration of enrollment and payment of any premium due. All
statements in the enrollment are representations and not warranties. Only statements contained in a written enrollment
format will be used to reduce benefits or defend a claim.

Under the section entitled GENERAL DEFINITIONS, the definition of Accidental Injury is deleted in its entirety and
replaced with the following:



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Accidental Injury means Bodily Injury caused by an Accident sustained by the Insured that is the direct cause of the
condition for which benefits are provided and that occur while the insurance is in force. The Injury must be verified by
a Physician in a format acceptable to the Company.

Under the section entitled GENERAL DEFINITIONS, the definition of Actual Cash Value is deleted in its entirety and
replaced with the following:

Actual Cash Value means the replacement cost of the insured item of property at the time of loss, less the value of
Physical Depreciation as to the item damaged.

Under the section entitled GENERAL DEFINITIONS, the definition of Depreciation is deleted in its entirety and replaced
with the following:

Physical Depreciation means the value as determined according to standard business practices.

Under the section entitled GENERAL DEFINITIONS, the definition of Sickness is deleted in its entirety and replaced
with the following:

Sickness means an illness or disease of the Insured.

Under the section entitled GENERAL PROVISIONS, the WHEN YOUR COVERAGE ENDS provision is deleted in its
entirety and replaced with the following:

WHEN YOUR COVERAGE ENDS:
All Coverages will end the earliest of the following:
    (a) the Scheduled Return Date as stated on the travel tickets;
    (b) the date and time You return to Your origination point if prior to the Scheduled Return Date;
    (c) the date and time You deviate from, leave or change the original Trip itinerary (unless due to Unforeseen and
        unavoidable circumstances covered by the Certificate/Policy);
    (d) if You extend the return date, coverage will terminate at 12:01 AM., local time, at Your location on the Scheduled
        Return Date, unless otherwise authorized by the Company in advance of the Scheduled Return Date;
    (e) when Your Trip exceeds one hundred eighty (180) days;
    (f) the Return Date as stated on Your purchase confirmation.

Under the section entitled GENERAL PROVISIONS, the MISREPRESENTATION AND FRAUD provision is deleted in
its entirety and replaced with the following:

MISREPRESENTATION AND FRAUD - Your coverage shall be cancelled or denied if, whether before or after a Loss,
You concealed or misrepresented any material fact or circumstance concerning this Certificate/Policy or the subject
thereof, or Your interest therein, or if You commit fraud or false swearing in connection with any of the foregoing. You
must fully cooperate in the event the Company determines that an investigation of any claim is warranted.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS - If there is a disagreement about the amount of the Loss, either You or the
Company can make a written request for an appraisal. After the request, You and the Company will each select their
own competent appraiser. After examining the facts, each of the two appraisers will give an opinion on the amount of
the Loss. If they do not agree, they will select an umpire. Any figure agreed to by two (2) of the three (3) (the appraisers
and the umpire) will be non-binding. The appraiser selected by You will be paid by You. The Company will pay the
appraiser they choose. You will share equally with the Company the cost for the umpire and the appraisal process.

Under the section entitled GENERAL PROVISIONS, the TIME OF PAYMENT OF CLAIMS provision is deleted in its
entirety and replaced with the following:

TIME OF PAYMENT OF CLAIMS - Benefits payable under this Certificate/Policy for any Loss other than Loss for which
this Certificate/Policy provides any periodic payment will be paid immediately upon receipt of due written Proof of such
Loss. Subject to due written Proof of Loss, all accrued indemnities for Loss for which this Certificate/Policy provides
periodic payment will be paid monthly and any balance remaining unpaid upon the termination of liability, will be paid
immediately upon receipt of due written proof.

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All claims shall be paid within thirty (30) days following receipt by the Company of due Proof of Loss. Failure to pay within
such period shall entitle the claimant to interest at the rate of 1.5% per month from the thirtieth (30th) day after receipt
of such Proof of Loss to the date of late payment, provided that interest amounting to less than one dollar need not be
paid. You or Your assignee shall be notified by the Company or designated representative of any known failure to provide
sufficient documentation for a due Proof of Loss within thirty (30) days after receipt of the claim. Any required interest
payments shall be made within thirty (30) days after the payment.

Under the section entitled GENERAL PROVISIONS, the POST JUDGMENT INTEREST provision is added:

POST JUDGMENT INTEREST. Any post judgment interest for a claim brought against Us will be paid outside the
policy limits and in accordance with Maine law.

The following is added to ACCIDENT AND SICKNESS MEDICAL EXPENSE:

Notwithstanding any provisions to the contrary, the daily benefit for Hospital confinement payable under this
Certificate/Policy shall not be less than $50 per day and not less than 31 days during any one period of confinement for
each person insured under this Certificate/Policy and will be paid regardless of other coverage.
NSITC 2400 ME

MARYLAND AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the following provision is added:
TEN DAY FREE LOOK - You may cancel insurance under this Policy/Certificate by giving notice to Us or Our plan
administrator within ten (10) days after the later of: (1) the date of purchase of this Policy/Certificate; or (2) Your receipt
of this Policy/Certificate. If You do this, We will provide a full refund unless You have started the Trip or filed a claim
under this Policy/Certificate.

Under the section entitled GENERAL PROVISIONS, the LEGAL ACTIONS provision is deleted in its entirety and
replaced with the following:
LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the
Company receives Proof of Loss. No legal action for a claim can be brought against the Company more than three (3)
years from the date it accrues.

Under the section entitled GENERAL PROVISIONS, the MISREPRESENTATION AND FRAUD provision is deleted in
its entirety and replaced with the following:
MISREPRESENTATION AND FRAUD -Your coverage shall be cancelled and any claims denied if, whether before or
after a Loss, You concealed or misrepresented any material fact or circumstance concerning this Policy/Certificate or
the subject thereof, or Your interest therein.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety.
NSITC 2400 MD

MASSACHUSETTS AMENDATORY ENDORSEMENT
Under the section entitled GENERAL DEFINITIONS, the definition of Pre-Existing Condition is amended as follows:

Pre-Existing Condition means a medical condition for which You, Your Traveling Companion, a Family Member booked
to travel with You received medical advice or treatment during the sixty (60) day period immediately prior to the Effective
Date of Your Policy or because of which an individual had symptoms which would have led an ordinarily prudent person
to seek medical advice or treatment for that medical condition, or a pregnancy existing on the effective date of coverage.

Under the section entitled GENERAL PROVISIONS, the PHYSICAL EXAMINATION AND AUTOPSY provision is
deleted in its entirety and replaced with the following:

PHYSICAL EXAMINATION AND AUTOPSY -The Company, or its designated representative, at its own expense, has
the right to have You examined as often as reasonable necessary while a claim is pending. The Company, or its


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designated representative, at its own expense, also has the right to have an autopsy made unless prohibited by law or
Your religious practices or beliefs.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS - If there is a disagreement about the amount of the Loss, upon mutual
agreement, either You or the Company can make a written request for an appraisal. After the request, You and the
Company will each select their own competent appraiser. After examining the facts, each of the two appraisers will give
an opinion on the amount of the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two (2)
of the three (3) (the appraisers and the arbitrator) will be non-binding. Such appraisal will be voluntary, will be by mutual
consent by all parties, and will be non-binding. The appraiser selected by You will be paid by You. The Company will
pay the appraiser they choose. You will share equally with the Company the cost for the arbitrator and the appraisal
process.
NSITC 2400 MA

MICHIGAN AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the LEGAL ACTION provision is deleted in its entirety and replaced
with the following:

LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the
Company receives Proof of Loss. No legal action for a claim can be brought against the Company more than six (6)
years after the time required for giving Proof of Loss.

Under the section entitled GENERAL PROVISIONS, the EXCESS INSURANCE LIMITATION provision is deleted in its
entirety.

Under the section entitled GENERAL PROVISIONS, the NOTICE OF CLAIM provision is deleted in its entirety and
replaced with the following:

NOTICE OF CLAIM -Written notice of claim must be given by the claimant (either You or someone acting for You) to
the Company or its designated representative within twenty (20) days after a covered Loss first begins. Notice should
include Your name, the Travel Supplier's name and the Plan number. Notice should be sent to the Company's
administrative office, at the address shown on the cover page of the Certificate/Policy, or to the Company's designated
representative. Failure to furnish notice within such time will not invalidate nor reduce any claim if it is shown not to have
been reasonably possible to give such notice during that time and the notice was given as soon as reasonably possible.

Under the section entitled GENERAL PROVISIONS, the following is added to the NOTICE OF LOSS provision:

Notice given by You or on Your behalf to Our authorized representative within this state, with particulars sufficient to
identify You will be deemed to be notice to Us. Failure to give any notice within such time will not invalidate nor reduce
any claim if it is shown not to have been reasonably possible to give such notice during that time and the notice was
given as soon as reasonably possible.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS: If there is a disagreement about the Actual Cash Value or amount of the Loss,
either You or the Company can make a written demand for an appraisal. If You or the Company make a written demand
for appraisal, You and the Company will each select their own competent independent appraiser and notify the other of
the appraiser's identity within 20 days after receipt of the written demand. The two (2) appraisers will then select a
competent, impartial umpire. If the two (2) appraisers are unable to agree upon an umpire within fifteen (15) days, You
or the Company may ask a judge of the circuit court for the county in which the loss occurred or in which the property is
located to select an umpire. The appraisers will then set the amount of the loss and Actual Cash Value as to each item.
If the appraisers submit a written report of an agreement to the Company, the amount agreed upon will be the amount
of the loss. If the appraisers fail to agree within a reasonable time, they shall submit their differences to the umpire.
Written agreement signed by any two (2) of these three (3) will set the amount of the loss. The appraiser selected by
You will be paid by You. The Company will pay the appraiser they choose. You will share equally with the Company the
other expenses of the appraisal and the compensation of the umpire.

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Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety and
replaced with the following:

PAYMENT OF CLAIMS - The Company, or its designated representative, will pay a claim within sixty (60) days after
receipt of acceptable Proof of Loss.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
   (d) Your brothers and sisters jointly; or
   (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

All or a portion of all benefits provided by this Certificate/Policy, at the option of the Company, will be paid directly to the
provider of the service(s). All benefits not paid to the provider will be paid to You.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.

The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance
policies. In no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate/Policy shall be reduced by the amount of any credit, voucher or refund provided
by any Common Carrier, Travel Supplier or any other third party.

Under the section entitled GENERAL PROVISIONS, the SETTLEMENT OF LOSS provision is deleted in its entirety
and replaced with the following:

SETTLEMENT OF LOSS - Claims for damage and/or destruction shall be paid within sixty (60) days after acceptable
proof of the damage and/or destruction is presented to the Company and the Company has determined the claim is
covered. Property will be considered lost if it has not been recovered within thirty (30) days of the event. You must
present acceptable Proof of Loss and the value involved to the Company.

Under the section entitled LIMITATIONS AND EXCLUSIONS, Exclusions 6 and 7 are deleted in their entirety and
replaced with the following:
6. being under the influence of drugs or intoxicants during the commission of or attempted commission of a felony, or
   while engaged in an illegal occupation or other willful criminal activity, unless prescribed and used in accordance
   with the instructions provided by a Physician, unless results in the death of a non-traveling Family Member;
7. any dishonest or fraudulent act, or criminal activity (as defined in the jurisdiction where the loss occurred) resulting
   in a conviction.
NSITC 2400 Ml

MISSISSIPPI AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the PHYSICAL EXAMINATION AND AUTOPSY provision is
deleted in its entirety and replaced with the following:

PHYSICAL EXAMINATION -The Company, or its designated representative, at its own expense, has the right to have
You examined as often as necessary while a claim is pending.

Under the section entitled GENERAL PROVISIONS, the following CHANGE OF BENEFICIARY provision is added:

CHANGE OF BENEFICIARY - The right to change the beneficiary is reserved to You. The consent of the beneficiary
shall not be a prerequisite to the surrender of this Certificate/Policy or to any change of beneficiary, or any other changes
to this Certificate/Policy.

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NSITC 2400 MS

NEBRASKA AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the SUBROGATION provision is deleted in its entirety and replaced
with the following:

SUBROGATION - To the extent the Company pays for a Loss suffered by You, the Company will take over the rights
and remedies You had relating to the Loss. This is known as subrogation. You must help the Company to preserve its
rights against those responsible for the Loss. This may involve signing any papers and taking any other steps the
Company may require. If the Company takes over Your rights, You must sign an appropriate subrogation form supplied
by the Company. The Company will not exercise the right to Subrogation until You have been made whole.

Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety and
replaced with the following:

PAYMENT OF CLAIMS - The Company, or its designated representative, will pay a claim within fifteen (15) days after
receipt of acceptable Proof of Loss or settlement information.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
   (d) Your brothers and sisters jointly; or
   (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

All or a portion of all benefits provided by this Certificate/Policy may, at the option of the Company, be paid directly to
the provider of the service(s). All benefits not paid to the provider will be paid to You.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.

The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance
policies. In no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate/Policy shall be reduced by the amount of any credit, voucher or refund provided
by any Common Carrier, Travel Supplier or any other third party.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:
DISAGREEMENT OVER SIZE OF LOSS: If there is a disagreement about the amount of the Loss, upon mutual
agreement, either You or the Company can make a written demand for an appraisal. After the demand, You and the
Company will each select their own competent appraiser. After examining the facts, each of the two (2) appraisers will
give an opinion on the amount of the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two
(2) of the three (3) (the appraisers and the arbitrator) will be non-binding. The appraiser selected by You will be paid by
You. The Company will pay the appraiser they choose. You will share equally with the Company the cost for the arbitrator
and the appraisal process.

Under the section entitled GENERAL PROVISIONS, the SETTLEMENT OF LOSS provision is deleted in its entirety
and replaced with the following:
SETTLEMENT OF LOSS - Claims for damage and/or destruction shall be paid within fifteen (15) days after acceptable
proof of the damage and/or destruction is presented to the Company and the Company has determined the claim is
covered. Property will be considered lost if it has not been recovered within thirty (30) days of the event. You must
present acceptable Proof of Loss and the value involved to the Company.

Under the section entitled GENERAL PROVISIONS, the MISREPRESENTATION AND FRAUD provision is deleted in
its entirety and replaced with the following:
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MISREPRESENTATION AND FRAUD - Your coverage shall be void if You concealed or misrepresented any material
fact or circumstance concerning this Certificate/Policy, or subject thereof, in obtaining this insurance and such action or
inaction deceived the Company to its injury. Also, Your coverage shall be void if You breach a warranty or condition in
this Certificate/Policy at the time of a Loss and such breach contributes to the Loss.
You must fully cooperate in the event the Company determines that an investigation of any claim is warranted.
NSITC 2400 NE

NEVADA AMENDATORY ENDORSEMENT
On the Cover Page, the following language is deleted in its entirety:

In the event the premium paid for coverage is less than the required premium for coverage, benefits will be paid in direct
proportion of the actual amount paid to the required premium due.

Under the section entitled GENERAL DEFINITIONS, the definition of Domestic Partner is deleted in its entirety and
replaced with the following:

Domestic Partner means a partner who shall be established in Nevada when:
   (a) Both persons have a common residence;
   (b) Neither person is married or a member of another domestic partnership;
   (c) The two persons are not related by blood in a way that would prevent them from being married to each other in
       the State of Nevada;
   (d) Both persons are at least 18 years of age; and
   (e) Both persons are competent to consent to the domestic partnership.

Under the section entitled GENERAL DEFINITIONS, the definition of Pre-Existing Condition is deleted in its entirety
and replaced with the following:

Pre-Existing Condition means an illness, disease, or other condition during the sixty (60) day period immediately prior
to the Effective Date of Your Certificate for which You, Your Traveling Companion, a Family Member booked to travel
with You received or were recommended to receive medical advice, diagnosis, care or treatment. The term does not
include genetic information in the absence of a diagnosis of the condition related to such information.

Such an illness, disease, or other condition will continue to be a Pre-Existing Condition until the expiration of twelve ( 12)
consecutive months, beginning with the Effective Date of coverage. Taking maintenance medications for a condition
that is considered stable, as determined by the treating Physician, shall not be cause for Exclusion.

Under the section entitled GENERAL PROVISIONS, the SUBROGATION provision is deleted in its entirety and replaced
with the following:

SUBROGATION -To the extent the Company pays for a Loss suffered by You, the Company will take over the rights
and remedies You had relating to the Loss. This is known as subrogation. You must help the Company to preserve its
rights against those responsible for the Loss. This may involve signing any papers and taking any other steps the
Company may require. If the Company takes over Your rights, You must sign an appropriate subrogation form supplied
by the Company. The Company will not exercise the right to Subrogation until You have been made whole.

Under the section entitled GENERAL PROVISIONS, the TIME OF PAYMENT OF CLAIMS provision is deleted in its
entirety and replaced with the following:

TIME OF PAYMENT OF CLAIMS - Benefits payable under this Certificate for any Loss other than Loss for which this
Certificate provides any periodic payment will be paid immediately upon receipt of due written Proof of such Loss. Subject
to due written Proof of Loss, all accrued indemnities for Loss for which this Certificate provides periodic payment will be
paid monthly and any balance remaining unpaid upon the termination of liability, will be paid immediately upon receipt
of due written proof.

All claims shall be paid within thirty (30) days following receipt by the Company of due Proof of Loss. Failure to pay within
such period shall entitle the claimant to interest at the rate equal to the prime rate at the largest bank in Nevada, as
ascertained by the Commissioner of Financial Institutions, on January 1 or July 1, as the case may be, immediately
preceding the date of the transaction, plus 2 percent per annum from the thirtieth (30th) day after receipt of such Proof
of Loss to the date of late payment, provided that interest amounting to less than one dollar need not be paid. You or
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Your assignee shall be notified by the Company or designated representative of any known failure to provide sufficient
documentation for a due Proof of Loss within thirty (30) days after receipt of the claim. Any required interest payments
shall be made within thirty (30) days after the payment.

Under the section entitled LIMITATIONS AND EXCLUSIONS, exclusion 6 related to being under the influence of drugs
or intoxicants is deleted in its entirety.
NSITC 2400 NV

NEW MEXICO AMENDATORY ENDORSEMENT
Under the section entitled GENERAL DEFINITIONS, the definition of Physician is deleted in its entirety and replaced
with the following:

Physician means a licensed practitioner of the healing arts, or a Christian Science Practitioner, acting within the scope
of his/her license. The treating Physician may not be You, Your Traveling Companion or a Family Member.

Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety and
replaced with the following:

PAYMENT OF CLAIMS - The Company, or its designated representative, will pay a claim within forty-five (45) days after
receipt of acceptable Proof of Loss.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
   (d) Your brothers and sisters jointly; or
   (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

All or a portion of all benefits provided by this Certificate/Policy, at the option of the Company, will be paid directly to the
provider of the service(s). All benefits not paid to the provider will be paid to You.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.

The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance
policies. In no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate/Policy shall be reduced by the amount of any credit, voucher or refund provided
by any Common Carrier, Travel Supplier or any other third party.

Under the section entitled GENERAL PROVISIONS, the SETTLEMENT OF LOSS provision is deleted in its entirety
and replaced with the following:

SETTLEMENT OF LOSS - Claims for damage and/or destruction shall be paid within forty-five (45) days after acceptable
proof of the damage and/or destruction is presented to the Company and the Company has determined the claim is
covered. Property will be considered lost if it has not been recovered within thirty (30) days of the event. You must
present acceptable Proof of Loss and the value involved to the Company.
NSITC 2400 NM




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NORTH CAROLINA AMENDATORY ENDORSEMENT
Page 1 of the Certificate/Policy is amended to include the following:

This program contains a pre-existing conditions limitation. Please read the Definitions and Exclusions carefully.

EXCESS INSURANCE
This Certificate/Policy is not intended to be issued where other medical insurance exists. If other medical
insurance does exist at the time of the claim then the amounts of benefit payable by such other medical
insurance will become the deductible amount of this Certificate/Policy if such benefits exceed the deductible
amount shown in the Schedule of Benefits.

Under the section entitled GENERAL DEFINITIONS, the definition of Complications of Pregnancy is deleted in its
entirety and replaced with the following:

Complications of Pregnancy means conditions requiring hospital confinement whose diagnoses are distinct from the
pregnancy, but are adversely affected by the pregnancy, including, but not limited to: acute nephritis, nephrosis, cardiac
decompression, missed abortion, pre-eclampsia, intrauterine fetal growth retardation, and similar medical and surgical
conditions of comparable severity. Complications of Pregnancy also includes emergency (non-elective) cesarean
section, termination of ectopic pregnancy, and spontaneous termination of pregnancy, occurring during a period of
gestation in which a viable birth is not possible. Complications of Pregnancy do not include elective abortion, elective
cesarean section, false labor, occasional spotting, morning sickness, physician prescribed rest during the period of
pregnancy, hyperemesis gravidarum, and similar conditions associated with the management of a difficult pregnancy
not constituting a distinct complication of pregnancy.

Under the section entitled GENERAL DEFINITIONS, the definition of Hospital is revised by the addition of the following:

Hospital also means:
   1. A place that is accredited as a Hospital by the Joint Commission on Accreditation of Hospitals, American
       Osteopathic Association, or the Joint Commission on Accreditation of Heath Care Organizations (JCAHO).
    2. A duly licensed State tax-supported institution, including those providing services for medical care of cerebral
       palsy, other orthopedic and crippling disabilities, mental and nervous diseases or disorders, mental retardation,
       alcoholism and drug or chemical dependency, and respiratory illness, on a basis no less favorable than the basis
       which would apply had the medical care been rendered in or by any other public or private institution or provider.
       The term "State tax-supported institutions" shall include community mental health centers and other health
       clinics which are certified as Medicaid providers.

Under the section entitled GENERAL PROVISIONS, the EXCESS INSURANCE LIMITATION is deleted in its entirety
and replaced with the following:

EXCESS INSURANCE LIMITATION - The insurance provided by this Certificate/Policy shall be in excess of all Other
Insurance other than private passenger auto no-fault benefits or third party liability insurance except where prohibited
by law. If at the time of the occurrence of any Loss there is other valid and collectible insurance or indemnity in place,
the Company shall be liable only for the excess of the amount of Loss, over the amount of such Other Insurance or
indemnity, and applicable Deductible.

Under the section entitled GENERAL PROVISIONS, the following apply to the Accident and Sickness Medical Expense
benefits.

The SUBROGATION provision does not apply to the above mentioned benefits.

The PROOF OF LOSS provision is deleted in its entirety and replaced with the following:

PROOF OF LOSS - The claimant must send the Company, or its designated representative, Proof of Loss within one-
hundred and eighty (180) days after a covered Loss occurs or as soon as reasonably possible. Failure to furnish such
proof within the time required shall not invalidate nor reduce any claim if it was not reasonably possible to give proof
within such time, provided such proof is furnished as soon as reasonably possible and in no event, except in the absence
of legal capacity, later than one year from the time proof is otherwise required.
NSITC 2400 NC

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NORTH DAKOTA AMENDATORY ENDORSEMENT
Under the section entitled GENERAL DEFINITIONS, the definition of Pre-existing Condition is deleted in its entirety
and replaced with the following:

Pre-Existing Condition means an illness, disease, or other condition during the sixty (60) day period immediately prior
to the Effective Date of Your Certificate/Policy for which You, Your Traveling Companion or a Family Member booked to
travel with You received medical advice or treatment.

Under the section entitled GENERAL PROVISIONS, the WHEN YOUR COVERAGE ENDS provision is deleted in its
entirety and replaced with the following:

WHEN YOUR COVERAGE ENDS:
All Coverages will end the earliest of the following:
  (a) the Scheduled Return Date as stated on the travel tickets;
  (b) the date and time You return to Your origination point if prior to the Scheduled Return Date;
  (c) the date and time You deviate from, leave or change the original Trip itinerary (unless due to Unforeseen and
      unavoidable circumstances covered by the Certificate/Policy);
  (d) if You extend the return date, coverage will terminate at 12:01 A.M., local time, at Your location on the Scheduled
      Return Date, unless otherwise authorized by the Company in advance of the Scheduled Return Date;
  (e) when Your Trip exceeds one hundred eighty (180) days;
  (f) the Return Date as stated on Your purchase confirmation.

Under the section entitled GENERAL PROVISIONS, the NOTICE OF CLAIM provision is deleted in its entirety and
replaced with the following:

NOTICE OF CLAIM -Written notice of claim must be given by the claimant (either You or someone acting for You) to
the Company or its designated representative within twenty (20) days after a covered Loss first begins. Notice should
include Your name, the Travel Supplier's name and the Plan number. Notice should be sent to the Company's
administrative office, at the address shown on the cover page of the Certificate/Policy, or to the Company's designated
representative.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS: If there is a disagreement about the amount of the Loss, upon mutual
agreement, either You or the Company can make a written request for an appraisal. After the request, You and the
Company will each select their own competent appraiser. After examining the facts, each of the two (2) appraisers will
give an opinion on the amount of the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two
(2) of the three (3) (the appraisers and the arbitrator) will be binding. Such appraisal will be mutually agreed upon by all
parties. The appraiser selected by You will be paid by You. The Company will pay the appraiser they choose. You will
share equally with the Company the cost for the arbitrator and the appraisal process.

Under the section entitled GENERAL PROVISIONS, the PREJUDGMENT INTEREST provision is added:

PREJUDGMENT INTEREST -Any prejudgment interest for a claim brought against Us will be paid outside the
Certificate/Policy limits and in accordance with North Dakota law.
NSITC 2400 ND

OHIO AMENDATORY ENDORSEMENT
The following FRAUD STATEMENT notice is added:

FRAUD STATEMENT
Any person who knowingly and with intent to defraud any insurance company or other person files a statement of claim
containing any materially false information or conceals for the purpose of misleading, information concerning any fact
materiel thereto, commits a fraudulent insurance act which is a crime.

Under the section entitled GENERAL PROVISIONS, the following COMPLAINT provision is added:



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If You have a complaint related to a claim, You should contact the Company or its Agent. If You disagree with the
Company's decision, You have the right to file a complaint with the Ohio Department of Insurance, Consumer Services
Division, 50 W. Town Street, Third Floor-Suite 300, Columbus, Ohio 43215-1067, (614)-644-2673, toll free in Ohio 1-
800-686-1526.
NSITC 2400 OH

OKLAHOMA AMENDATORY ENDORSEMENT
The following FRAUD STATEMENT and UNDERWRITING notices are added:

FRAUD STATEMENT
Warning: Any person who knowingly, and with intent to injure, defraud, or deceive any insurer, makes any claim for
proceeds of an insurance Certificate/Policy containing any false, incomplete or misleading information is guilty of a
felony.

UNDERWRITTEN BY
This Certificate/Policy is underwritten by:
Nationwide Mutual Insurance Company
One Nationwide Plaza
Columbus, OH 43215-2220

The second (2nd) paragraph on the cover page is deleted in its entirety and replaced with the following:

This Certificate/Policy of insurance is issued in consideration of application and payment of any premium due. All
statements in the application are representations and not warranties. Only statements contained in a written application
format will be used to deem the policy voidable, reduce benefits or defend a claim.

The third (3rd) paragraph on the cover page is deleted in its entirety and replaced with the following:

You may cancel insurance under the Certificate/Policy by giving notice to the Company or Our plan administrator within
ten (10) days after the later of: (1) the date of purchase of this Certificate/Policy; or (2) delivery of the fulfillment materials.
If You do this, the Company will provide a full refund unless You have started the Trip or filed a claim under this
Certificate/Policy.

Under the section entitled GENERAL DEFINITIONS, the definition of Family Member is deleted in its entirety and
replaced with the following:
Family Member means Your or a Traveling Companion's legal or common law spouse, ex-spouse, parent, legal
guardian, step-parent, grandparent, parents-in-law, grandchild, natural or adopted child from the moment of placement
with You, step-child, children-in-law, brother, sister, step-brother, step-sister, brother-in-law, sister-in-law, aunt, uncle,
niece or nephew, Business Partner, or Domestic Partner who is not related by blood and is of the opposite sex.

Under the section entitled GENERAL PROVISIONS, the CONTROLLING LAW provision is deleted in its entirety and
replaced with the following:

CONTROLLING LAW - Any part of this Certificate/Policy that conflicts with the state law of Oklahoma is changed to
meet the minimum requirements of that law.

Under the section entitled GENERAL PROVISIONS, the MISREPRESENTATION AND FRAUD provision is deleted in
its entirety and replaced with the following:

MISREPRESENTATION AND FRAUD - Your coverage shall be voidable if, whether before or after a Loss, You
concealed or misrepresented any material fact or circumstance concerning this Certificate/Policy or the subject thereof,
or Your interest therein, or if You commit fraud or false swearing in connection with any of the foregoing.

You must fully cooperate in the event the Company determines that an investigation of any claim is warranted.

Under the section entitled GENERAL PROVISIONS, the WHEN YOUR COVERAGE ENDS provision is revised as
follows:
The references to 11:59 pm are amended to read 12:01 am.



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Under the section entitled GENERAL PROVISIONS, the PROOF OF LOSS provision is deleted in its entirety and
replaced with the following:
PROOF OF LOSS - The claimant must send the Company, or its designated representative, Proof of Loss within ninety
(90) days after a covered Loss occurs or as soon as reasonably possible. Failure to furnish such proof within the time
required shall not invalidate nor reduce any claim if it was not reasonably possible to give proof within such time, provided
such proof is furnished as soon as reasonably possible and in no event, except in the absence of legal capacity, later
than one year from the time proof is otherwise required.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:
DISAGREEMENT OVER SIZE OF LOSS - If there is a disagreement about the amount of the Loss or the Actual Cash
Value, either You or the Company can make a written demand for an appraisal. After the demand, You and the Company
will each select their own competent and disinterested appraiser and notify the other of the appraiser selected within
twenty (20) days of the demand. The appraisers will first select a competent and disinterested umpire and, failing for
fifteen (15) days to agree upon such umpire, You or the Company, after notice of hearing to the non-requesting party by
certified mail, such umpire will be selected by a judge of a district court in the county where the Loss occurred. The
appraisers will then appraise the Loss, stating separately Actual Cash Value and Loss to each item and, failing to agree,
shall submit their differences only to the umpire. Any figure agreed to by two (2) of the three (3) (the appraisers and the
umpire) will determine the amount of the Loss or the Actual Cash Value. The appraiser selected by You will be paid by
You. The Company will pay the appraiser they choose. You will share equally with the Company the cost for the umpire
and the appraisal process.

Under the section entitled LIMITATIONS AND EXCLUSIONS, the exclusion which reads:
2. War, invasion, acts of foreign enemies, hostilities between nations (whether declared or not), civil war;

Is deleted in its entirety and replaced with the following:
2. War or any act of war, whether war is declared or not while serving in military service or any auxiliary thereto;
NSITC 2400 OK

PENNSYLVANIA AMENDATORY ENDORSEMENT
Under the section entitled GENERAL DEFINITIONS, the definition of Hospital is deleted in its entirety and replaced with
the following:

Hospital means a facility that:
   (a) is an institution operated pursuant to law which is licensed or approved as a hospital by the responsible state
       agency.;
   (b) is primarily engaged in providing medical care and treatment of sick or injured persons on an in-patient basis for
       which a charge is made; and;
   (c) provides twenty-four (24) hour nursing service by or under the supervision of registered graduate professional
       nurse (R.N.s).

Hospital does not include:
   (1) Any military or veterans' hospital or soldiers home or any hospital contracted for or operated by any national
       government or agency thereof for the treatment of members or ex-members of the armed forces.
   (2) Convalescent homes, convalescent, rest or nursing facilities.
   (3) Facilities primarily for the aged, drug or alcoholic rehabilitation, and those primarily affording custodial or
       educational care.

Under the section entitled GENERAL PROVISIONS, the ENTIRE CONTRACT: CHANGES provision is added:

ENTIRE CONTRACT: CHANGES - Entire contract; changes: This Policy/Certificate, including any endorsements and
the attached papers, if any, constitutes the entire contract of insurance. No change in this Policy/Certificate shall be valid
until approved by an executive officer of the Company and unless such approval be endorsed hereon or attached hereto.
No agent has authority to change this Policy/Certificate or to waive any of its provisions.

Under the section entitled GENERAL PROVISIONS, the PROOF OF LOSS provision is deleted in its entirety and
replaced with:

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PROOF OF LOSS - You must send the Company, or its designated representative, Proof of Loss within ninety (90) days
after a covered Loss occurs. Failure to furnish such proof within the time required shall not invalidate nor reduce any
claim if it was not possible to give proof within such time, provided such proof is furnished and in no event, except in the
absence of legal capacity, later than one year from the time proof is otherwise required. Within fifteen (15) days of receipt
of satisfactory Proof of Loss, the Company will advise the claimant of the acceptance or denial of the claim. The Company
will not deny a claim on the grounds of a specific Policy provision, condition or exclusion unless reference to the provision,
condition or exclusion is included in the denial. The denial will be given to the claimant in writing and the claim file of the
claimant will contain a copy of the denial. If the Company needs more time to determine whether the claim should be
accepted or denied, the Company will notify the claimant within fifteen (15) working days after receipt of the Proofs of
Loss giving the reasons more time is needed. If the investigation remains incomplete, the Company will, thirty (30) days
from the date of the initial notification and every forty-five (45) days thereafter, send to the claimant a letter setting forth
the reasons additional time is needed for investigation and state when a decision on the claim may be expected.
NSITC 2400 PA

RHODE ISLAND AMENDATORY ENDORSEMENT
Under the section entitled GENERAL DEFINITIONS, the definition of Domestic Partner is deleted in its entirety and
replaced with the following:

Domestic Partner: An individual in an exclusive, intimate and committed relationship with You. This relationship is
certified by affidavit that it meets the following qualifications:
     1. You and Your Domestic Partner are at least 18 years of age and are mentally competent to contract;
     2. You and Your Domestic Partner are not married to anyone else or related by blood;
     3. You and Your Domestic Partner reside together and have resided together for at least one (1) year prior to the
         date of the certified affidavit;
     4. You and Your Domestic Partner are financially interdependent as evidenced by two(2) of the following:
              a. A domestic partnership agreement or relationship contract;
              b. A joint mortgage or joint ownership of a primary residence;
              c. Two of the following:
                           i. A joint ownership of a motor vehicle;
                          ii. A joint checking account;
                         iii. A joint lease; and/or
              d. One (1) person has been designated as a beneficiary for the other person's will, retirement contract or
                   life insurance.

Definitions, provisions and terms denoting a familial or spousal relationship in this Certificate, are amended, wherever
appearing, to include a Domestic Partner.

Under the section entitled GENERAL DEFINITIONS, the definition of Family Member is deleted in its entirety and
replaced with the following:

Family Member means Your or Your Traveling Companion's legal or common law spouse, ex-spouse, civil union
partner, parent, legal guardian, step-parent, grandparent, parents-in-law, grandchild, natural or adopted child, step-child,
children-in-law, brother, sister, step-brother, step-sister, brother-in-law, sister-in-law, aunt, uncle, niece or nephew,
Business Partner, or Domestic Partner.

Under the section entitled GENERAL DEFINITIONS, the definition of Hospital is deleted in its entirety and replaced with
the following:

Hospital means a facility that:
   a) is an institution operated pursuant to law and, with respect to insurers permitted to contract with hospitals, be a
       contracting hospital; and
   b) is primarily and continuously engaged in providing or operating either on its premises or in facilities available to
       the hospital on a pre-arranged basis and under the supervision of a staff of duly licensed physicians, medical,
       diagnostic and major surgical facilities for the medical care and treatment of sick or injured persons on an in-
       patient basis for which a charge is made; and
   c) Provides 24-hour nursing service by or under the supervision of registered graduate professional nurses (R.N.'s).

Hospital does not include:
   a) Convalescent homes, convalescent, rest or nursing facilities; or

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    b) Facilities primarily affording custodial, educational or rehabilitory care; or
    c) Facilities for the aged, drug addicts, or alcoholics; or
    d) Any military or veterans hospital or soldiers home or any hospital contracted for or operated by any national
       government or agency thereof for the treatment of members or ex-members of the armed forces, except for
       services rendered on an emergency basis where a legal liability exists for charges made to the individual for
       such services.

Under the section entitled GENERAL DEFINITIONS, the definition of Pre-Existing Condition is deleted in its entirety
and replaced with the following:

Pre-Existing Condition means:
     a) the existence of symptoms which would cause an ordinarily prudent person to seek diagnosis, care or
          treatment within the sixty (60) day period immediately prior to the Effective Date of Your Certificate for which
          You, Your Traveling Companion, a Family Member booked to travel with You; or
     b) a condition for which medical advice or treatment was recommended by a physician or received from a
          physician within the sixty (60) day period immediately prior to the Effective Date of Your Certificate for which
          You, Your Traveling Companion, a Family Member booked to travel with You.

Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety and
replaced with the following:

PAYMENT OF CLAIMS - The Company, or its designated representative, will pay a claim within thirty (30) days after
receipt of acceptable Proof of Loss.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;
   (d) Your brothers and sisters jointly; or
   (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.

The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance
policies. In no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate shall be reduced by the amount of any credit, voucher or refund provided by
any Common Carrier, Travel Supplier or any other third party.

Under the section entitled GENERAL PROVISIONS, the NOTICE OF CLAIM provision is deleted in its entirety and
replaced with the following:

NOTICE OF CLAIM -Written notice of claim must be given by the claimant (either You or someone acting for You) to
the Company or its designated representative within twenty (20) days after a covered Loss first begins. Notice should
include Your name, the Travel Supplier's name and the Plan number. Notice should be sent to the Company's
administrative office, at the address shown on the cover page of the Certificate, or to the Company's designated
representative. Failure to give notice of claim within the time required neither invalidates nor reduces any claim if it
was not reasonably possible to give notice within such time, provided such notice of claim is furnished as soon as
reasonably possible.

Under the section entitled GENERAL PROVISIONS, the TIME OF PAYMENT OF CLAIMS provision is deleted in its
entirety and replaced with the following:

TIME OF PAYMENT OF CLAIMS - Benefits payable under this Certificate for any Loss other than Loss for which this
Certificate provides any periodic payment will be paid within thirty (30) days after receipt of due written Proof of Loss in
accordance with state requirements. Subject to due written Proof of Loss, all accrued indemnities for Loss for which this

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Certificate provides periodic payment will be paid monthly and any balance remaining unpaid upon the termination of
liability, will be paid immediately upon receipt of due written proof.

Under the section entitled GENERAL PROVISIONS, the SETTLEMENT OF LOSS provision is deleted in its entirety
and replaced with the following:

SETTLEMENT OF LOSS - Claims for damage and/or destruction shall be paid within thirty (30) days after acceptable
proof of the damage and/or destruction is presented to the Company and the Company has determined the claim is
covered. Property will be considered lost if it has not been recovered within thirty (30) days of the event. You must
present acceptable Proof of Loss and the value involved to the Company.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS: If there is a disagreement about the amount of the Loss, either You or the
Company can make a written request for an appraisal. After the request, You and the Company will each select their
own competent appraiser. After examining the facts, each of the two appraisers will give an opinion on the amount of
the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two (2) of the three (3) (the appraisers
and the arbitrator) will be non-binding. The appraiser selected by You will be paid by You. The Company will pay the
appraiser they choose. You will share equally with the Company the cost for the arbitrator and the appraisal process.
NSIGTC 2400 RI

SOUTH CAROLINA AMENDATORY ENDORSEMENT
Under the section entitled General Definitions, the definition of Pre-Existing Condition is deleted in its entirety and
replaced with the following:

Pre-Existing Condition means an illness, disease, or other condition during the sixty (60) day period immediately prior
to the Effective Date of Your Policy for which You, Your Traveling Companion, or a Family Member booked to travel with
You received medical advice or treatment or medical advice or treatment was recommended.

Under the section entitled GENERAL PROVISIONS, the LEGAL ACTIONS provision is deleted in its entirety and
replaced with the following:
LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the
Company receives Proof of Loss. No legal action for a claim can be brought against the Company more than six (6)
years after the time required for giving Proof of Loss.

Under the section entitled GENERAL PROVISIONS, the CONTROLLING LAW provision is deleted in its entirety and
replaced with the following:

CONTROLLING LAW - Any part of this Policy that conflicts with the state law where the Insured resides is changed to
meet the minimum requirements of that law.

Under the section entitled GENERAL PROVISIONS, the NOTICE OF CLAIM provision is deleted in its entirety and
replaced with the following:

NOTICE OF CLAIM -Written notice of claim must be given by the claimant (either You or someone acting for You) to
the Company or its designated representative within twenty (20) days after a covered Loss first begins. Notice should
include Your name the Travel Supplier's name and the Plan number. Notice should be sent to the Company's
administrative office, at the address shown on the cover page of the Policy, or to the Company's designated
representative.

Under the section entitled GENERAL PROVISIONS, the PHYSICAL EXAMINATION AND AUTOPSY provision is
deleted in its entirety and replaced with the following:

PHYSICAL EXAMINATION AND AUTOPSY -The Company, or its designated representative, at its own expense, has
the right to have You examined as often as reasonably necessary while a claim is pending. The Company, or its
designated representative, at its own expense, also has the right to have an autopsy made unless prohibited by law.
The autopsy will be performed in South Carolina.

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SOUTH CAROLINA NOTICE
If you have any questions, you can contact us at the following address and toll-free number:
Nationwide Mutual Insurance Company
One Nationwide Plaza
Columbus, OH 43215
1-800-882-2822
NSITC 2400 SC; NSITC 2400-1 SC

SOUTH DAKOTA AMENDATORY ENDORSEMENT
Under the section entitled GENERAL DEFINITIONS, the definition of DOMESTIC PARTNER is deleted in its entirety
and replaced with the following:
Domestic Partner means, where permitted by law, a person with whom You reside and can show evidence of
cohabitation (including the shared responsibility for basic living expenses) for at least the previous six (6) months and
has an affidavit of domestic partnership, if recognized by the jurisdiction within which You reside.

Under the section entitled GENERAL DEFINITIONS, the definition of PHYSICIAN is deleted in its entirety and replaced
with the following:
Physician means a licensed practitioner of medical, surgical or dental services, or a Christian Science Practitioner,
acting within the scope of his/her license. The treating Physician may not be You, Your Traveling Companion or a Family
Member, unless he or she is the only Physician in the area and is acting within the scope of his or her license.

Under the section entitled GENERAL PROVISIONS, the LEGAL ACTIONS provision is deleted in its entirety and
replaced with the following:
LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the
Company receives Proof of Loss. No legal action for a claim can be brought against the Company more than six (6)
years after the time required for giving Proof of Loss.

Under the section entitled GENERAL PROVISIONS, the EXCESS INSURANCE LIMITATION provision is deleted in its
entirety.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS is deleted in its
entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS - If there is a disagreement about the amount of the Loss, upon mutual
agreement, either You or the Company can make a written request for an appraisal. After the request, You and the
Company will each select their own competent appraiser. After examining the facts, each of the two appraisers will give
an opinion on the amount of the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two (2)
of the three (3) (the appraisers and the arbitrator) will be non-binding. Such appraisal will be mutually agreed upon by
all parties and any determination made is not binding on either party. The appraiser selected by You will be paid by You.
The Company will pay the appraiser they choose. You will share equally with the Company the cost for the arbitrator
and the appraisal process.

Under the section entitled LIMITATIONS AND EXCLUSIONS, exclusion 6 is deleted in its entirety and replaced with the
following:
6. expenses incurred as a result of being under the influence of drugs or intoxicants if committing a felony;

Under the section entitled LIMITATIONS AND EXCLUSIONS, exclusion 7 is deleted in its entirety and replaced with the
following:
7. commission of a felony;

Under the section entitled LIMITATIONS AND EXCLUSIONS, exclusion 13 is deleted in its entirety and replaced with
the following:
13. care or treatment for which compensation is paid under Worker's Compensation Law, any Occupational Disease
law; the 4800 Time Benefit plan or similar legislation;
NSITC 2400 SD
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TENNESSEE AMENDATORY ENDORSEMENT
Under the Section entitled GENERAL DEFINITIONS, the definition of Accident is deleted in its entirety and replaced
with the following:

Accident means an unexpected and unintended event, which occurs at an identifiable time and place, but shall also
include exposure resulting from a mishap to a conveyance in which You are traveling.

Under the Section entitled GENERAL DEFINITIONS, the definition of Complications of Pregnancy is deleted in its
entirety and replaced with the following:

Complications of Pregnancy means (1) conditions, requiring hospital confinement (when the pregnancy is not
terminated), whose diagnoses are distinct from pregnancy but are adversely affected by pregnancy or are caused by
pregnancy, such as acute nephritis, nephrosis, cardiac decompensation, missed abortion and similar medical and
surgical conditions of comparable severity; and (2) non-elective cesarean section, ectopic pregnancy which is terminated
and spontaneous termination of pregnancy, which occurs during a period of gestation in which a viable birth is not
possible. Complications of Pregnancy does not include false labor, occasional spotting, physician-prescribed rest during
the period of pregnancy, morning sickness, hyperemesis gravidarum, and similar conditions associated with the
management of a difficult pregnancy not constituting a nosologically distinct complication of pregnancy.

Under the Section entitled GENERAL PROVISIONS, the SUBROGATION provision is deleted in its entirety and
replaced with the following:

SUBROGATION - To the extent the Company pays for a Loss suffered by You, the Company will take over the rights
and remedies You had relating to the Loss. This is known as subrogation. You must help the Company to preserve its
rights against those responsible for the Loss. This may involve signing any papers and taking any other steps the
Company may require. If the Company takes over Your rights, You must sign an appropriate subrogation form supplied
by the Company. You must be made whole before the Company can seek reimbursement. The Company may declare
a right of recovery on any judgment unless the money has been designated for the expense and the Company provides
primary coverage.

Under the Section entitled GENERAL PROVISIONS, the following is added to the NOTICE OF CLAIM provision:

A claim form will be sent to You within 15 days of Our receipt of Your Notice of Claim. If such form is not furnished within
fifteen (15) days after the giving of such notice, You shall be deemed to have complied with the requirements of this
Certificate/Policy as to Proof of Loss upon submitting, within the time fixed in the Certificate/Policy for filing Proofs of
Loss, written proof covering the occurrence, the character and the extent of the Loss for which claim is made.

The fully completed claim form must be returned to the claims administrator with:
1. Written Proof of Loss.
2. Any other documentation that the Company may reasonably request.

All these required items, including the claim form, must be postmarked within 90 days or as soon as reasonably possible
after the date of Loss. Otherwise, the claim may be denied.

TENNESSEE NOTICE
This plan is underwritten by:
Nationwide Mutual Insurance Company
1 Nationwide Plaza
Columbus, OH 43215
NSITC 2400 TN; NSITC 2400-1 TN

UTAH AMENDATORY ENDORSEMENT
The definition of Other Insurance and the Excess Insurance Limitation provisions and all references thereto are deleted
wherever they may appear in the Certificate/Policy.

Under the section entitled GENERAL DEFINITIONS, the definition of Accidental Injury is deleted in its entirety and
replaced with the following:



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Accidental Injury means Bodily Injury caused by an Accident sustained by You that is the direct cause of the condition
for which benefits are provided, independent of disease or bodily infirmity or any other cause, and that occurs while
the insurance is in force. The Injury must be verified by a Physician in a format acceptable to the Company.

Under the section entitled GENERAL DEFINITIONS, the definition of Complications of Pregnancy is deleted in its
entirety and replaced with the following:

Complications of Pregnancy means a disease or conditions not associated with normal pregnancy. These conditions
include acute nephritis, nephrosis, cardiac decompensation, ectopic pregnancy which is terminated, spontaneous
termination of pregnancy when a viable birth is not possible, puerperal infection, eclampsia, pre-eclampsia and toxemia.
Complications of pregnancy do not include false labor, occasional spotting, Physician-prescribed rest during the period
of pregnancy, morning sickness, or conditions of comparable severity associated with the management of a difficult
pregnancy.

Under the section entitled GENERAL DEFINITIONS, the definition of Hospital is deleted in its entirety and replaced with
the following:

Hospital means a facility that is licensed and operated within the scope of such license.

Under the section entitled GENERAL DEFINITIONS, the definition of Pre-Existing Condition is deleted in its entirety
and replaced with the following:

Pre-Existing Condition means any condition during the sixty (60) day period immediately prior to the Effective Date of
Your Policy for which You, Your Traveling Companion, or a Family Member booked to travel with You: 1) exhibited
symptoms that would have caused an ordinarily prudent person to seek diagnosis, care or treatment; or 2) or a
condition for which medical advice or treatment was recommended by a physician or received from a physician.

Under the section entitled GENERAL PROVISIONS, the NOTICE OF CLAIM provision is deleted in its entirety and
replaced with the following:

NOTICE OF CLAIM - Written notice of claim must be given by the claimant (either You or someone acting for You) to
the Company or its designated representative within seven (7) days after a covered Loss first begins. Notice should
include Your name, the Travel Supplier's name and the Plan number. Notice should be sent to the Company's
administrative office, at the address shown on the cover page of the Policy, or to the Company's designated
representative. Failure to give such notice of claim within the time required will not invalidate nor reduce any claim if it
was not reasonably possible to give proof within such time and notice of claim is provided as soon as reasonably
possible.

Under the section entitled GENERAL PROVISIONS, the PROOF OF LOSS provision is deleted in its entirety and
replaced with the following:

PROOF OF LOSS - You must furnish the Company, or its designated representative, with Proof of Loss. This must be
a detailed sworn statement. It must be filed with the Company, or its designated representative, within ninety (90) days
from the date of Loss. Failure to comply with these conditions shall not invalidate any claims under this Certificate/
Policy if You can show it was not reasonably possible to file Proof of Loss within ninety (90) days. Failure to file Proof
of Loss does not bar recovery under this Policy if the Company fails to show it was prejudiced by the failure.

Under the Section entitled GENERAL PROVISIONS, the SUBROGATION provision is deleted in its entirety and
replaced with the following:

SUBROGATION - To the extent the Company pays for a Loss suffered by You, the Company will take over the rights
and remedies You had relating to the Loss. This is known as subrogation. You must help the Company to preserve its
rights against those responsible for the Loss. This may involve signing any papers and taking any other steps the
Company may require. If the Company takes over Your rights, You must sign an appropriate subrogation form supplied




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by the Company. The Company's right of subrogation will not be invoked until You have been fully compensated for the
loss.

Under the Section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is revised
to add the following:

Any arbitration hereunder shall take place in the state of Utah, unless otherwise mutually agreed upon by You and Us.

Under the section entitled GENERAL PROVISIONS, the following ELECTRONIC DELIVERY provision is added:

ELECTRONIC DELIVERY: Unless You notify Us that You are withdrawing Your consent, all documents and
communications regarding this Policy and any notices may be delivered to You by electronic mail using the email
address associated with Your account, except documents required to be delivered by another method. You must provide
Us with any updates to Your email address, telephone number and postal address.

Under the section entitled LIMITATIONS AND EXCLUSIONS, exclusions 1 and 6 are deleted in their entirety and
replaced with the following:
1. PRE-EXISTING CONDITION LIMITATION: Pre-Existing Conditions, as defined in the Definitions section;
6. being intoxicated above the legal limit in the jurisdiction where the loss occurred or under the influence of drugs, unless
prescribed and used in accordance with the instructions provided by a Physician, unless results in the death of a non-
traveling Family Member;
NSITC 2400 UT

VIRGINIA AMENDATORY ENDORSEMENT
Removed brackets from second paragraph on face page.

Added the following to the second paragraph on the face page: "and only after a copy of the enrollment is furnished to
You, Your beneficiary or Your personal representative."

Under the section entitled GENERAL DEFINITIONS, the definition of Family Member is deleted in its entirety and
replaced with the following:

Family Member means Your or Your Traveling Companion's legal or common law spouse, ex-spouse, parent, legal
guardian, step-parent, grandparent, parents-in-law, grandchild, natural or adopted child, step-child, children-in-law,
brother, sister, step-brother, step-sister, brother-in-law, sister-in-law, aunt, uncle, niece or nephew, Business Partner, or
Domestic Partner.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS - If there is a disagreement about the amount of the Loss, either You or the
Company can make a written demand for an appraisal. After the demand, You and the Company will each select their
own competent umpire. After examining the facts, each of the two umpires will give an opinion on the amount of the
Loss. If they do not agree, they will select an impartial umpire. Any figure agreed to by two (2) of the three (3) (the
umpires) will be binding. The umpire selected by You will be paid by You. The Company will pay the umpire they choose.
You will share equally with the Company the cost for the umpire and the appraisal process.

Under the section entitled GENERAL PROVISIONS, the SUBROGATION provision is deleted in its entirety.

Under the section entitled GENERAL PROVISIONS, the PROOF OF LOSS provision is deleted in its entirety and
replaced with the following:

PROOF OF LOSS - The Company shall provide You forms for filing Proof of Loss. If the forms are not furnished within
fifteen (15) days after the Company received notice of any claim under the Policy/Certificate, You shall be deemed to
have complied with the requirements of the Policy/Certificate as to Proof of Loss upon submitting Proof of Loss within
ninety (90) days after a covered Loss occurs or as soon as reasonably possible. Failure to furnish such proof within the
time required shall not invalidate nor reduce any claim if it was not reasonably possible to give proof within such time,
provided such proof is furnished as soon as reasonably possible and in no event, except in the absence of legal capacity,
later than one (1) year from the time proof is otherwise required.
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Under the section entitled GENERAL PROVISIONS, the following provisions are added:

MISSTATEMENT OF AGE - An equitable adjustment of premium shall be made if Your age has been inadvertently
misstated in Your enrollment or the Company's issuance of this Policy/Certificate.

VALIDITY OF POLICY COVERAGE - The validity of this Policy/Certificate shall not be contested after it has been in
force for two (2) years from the date of issue, except for non-payment of premium. No statement made by You relating
to Your insurability shall be used in contesting the validity of Your insurance with respect to which such statement was
made: 1.) after the insurance has been in force prior to the contest for a period of two (2) years, and 2.) unless the
statement is contained in a written instrument signed by You.

IMPORTANT INFORMATION REGARDING YOUR INSURANCE
In the event You need to contact someone about this insurance for any reason, please contact Your agent. If no agent
was involved in the sale of this insurance, or if You have additional questions, You may contact the insurance
company issuing this insurance at the following address and telephone number:
Nationwide Mutual Insurance Company
One Nationwide Plaza
4-06-101
Columbus, Ohio 43215
1-800-882-2822

If You have been unable to contact or obtain satisfaction from the company or the agent, You may contact the Virginia
State Corporation Commission's Bureau of Insurance at:
Tyler Building 6th FL
1300 E. Main Street
Richmond, Virginia 23219
1-877-310-6560 (National toll free number)
1-800 522-7945 (Virginia only toll free number)
(804) 371-9691 (local)

Written correspondence is preferable so that a record of Your inquiry is maintained. When contacting Your agent,
company or the Bureau of Insurance, have Your policy number available.
NSITC 2400 VA; NSITC 2400-1 VA

WEST VIRGINIA AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS - If there is a disagreement about the amount of the Loss, upon mutual
agreement, either You or the Company can make a written request for an appraisal. You and the Company will each
select its own competent appraiser. After examining the facts, each of the two appraisers will give an opinion on the
amount of the Loss. If they do not agree, they will select an arbitrator. Any figure agreed to by two (2) of the three (3)
(the appraisers and the arbitrator) will establish the amount of the claim. Such appraisal will be voluntary and will be by
mutual consent by all parties. The appraiser selected by You is paid by You. The Company will pay the appraiser they
choose. You will share equally with the Company the cost for the arbitrator and the appraisal process.

Under the section entitled GENERAL PROVISIONS, the PAYMENT OF CLAIMS provision is deleted in its entirety and
replaced with the following:

PAYMENT OF CLAIMS - The Company, or its designated representative, will pay a claim after receipt of acceptable
Proof of Loss, but in no event more than 15 working days following the date the Company and You reach an agreement
on the amount of loss.

Benefits for Loss of life are payable to Your beneficiary. If a beneficiary is not designated by You at the time of purchase,
benefits for Loss of life will be paid to the first of the following surviving preference beneficiaries:
   (a) Your spouse;
   (b) Your child or children jointly;
   (c) Your parents jointly if both are living or the surviving parent if only one survives;

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    (d) Your brothers and sisters jointly; or
    (e) Your estate.

All other claims will be paid to You. In the event You are a minor, incompetent or otherwise unable to give a valid release
for the claim, the Company may make arrangement to pay claims to Your legal guardian or other qualified representative.

All or a portion of all benefits provided by this Policy, at the option of the Company, will be paid directly to the provider
of the service(s). All benefits not paid to the provider will be paid to You.

Any payment made in good faith will discharge the Company's liability to the extent of the claim.

The applicable benefit amount will be reduced by the amount of benefits, if any, previously paid by Other Insurance
policies. In no event will the Company reimburse You for an amount greater than the amount paid by You.

All benefits payable under this Certificate/Policy shall be reduced by the amount of any credit, voucher or refund provided
by any Common Carrier, Travel Supplier or any other third party.

Under the section entitled GENERAL PROVISIONS, the SETTLEMENT OF LOSS provision is deleted in its entirety
and replaced with the following:

SETTLEMENT OF LOSS - Claims for damage and/or destruction shall be paid after acceptable proof of the damage
and/or destruction is presented to the Company and the Company has determined the claim is covered, but in no event
more than 15 working days following the date the Company and You reach an agreement on the amount of loss. Property
will be considered lost if it has not been recovered within thirty (30) days of the event. You must present acceptable
Proof of Loss and the value involved to the Company.
NSITC 2400 WV

WISCONSIN AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the following is added to PAYMENT OF CLAIMS:

Claims will be paid within thirty (30) days of agreement.

Under the section entitled GENERAL PROVISIONS, the SUBROGATION provision is deleted in its entirety and replaced
with the following:

SUBROGATION - To the extent the Company pays for a Loss suffered by You, the Company will take over the rights
and remedies You had relating to the Loss. This is known as subrogation. You must help the Company to preserve its
rights against those responsible for the Loss. This may involve signing any papers and taking any other steps the
Company may reasonably require. If the Company takes over Your rights, You must sign an appropriate subrogation
form supplied by the Company. The Company's ability to recover is limited to the amount remaining after You have
been made whole.

Under the section entitled GENERAL PROVISIONS, both of the PROOF OF LOSS provisions are deleted in their entirety
and replaced with the following:

PROOF OF LOSS - Your or Your representative must send the Company, or its designated representative, Proof of
Loss within ninety (90) days after a covered Loss occurs or as soon as reasonably possible. This must be a detailed
sworn statement. Failure to furnish such proof within the time required shall not invalidate nor reduce any claim if it was
not reasonably possible to give proof within such time, provided such proof is furnished as soon as reasonably possible
and in no event, except in the absence of legal capacity, later than one year from the time proof is otherwise required.

Under the section entitled GENERAL PROVISIONS, the DISAGREEMENT OVER SIZE OF LOSS provision is deleted
in its entirety and replaced with the following:

DISAGREEMENT OVER SIZE OF LOSS: If You and the Company fail to agree as to the Actual Cash Value or the
amount of Loss, on the written demand of either, each will select a competent and disinterested appraiser and notify the
other of the appraiser selected within 20 days of such demand. The appraisers will first select a competent and
disinterested umpire; and failing for 15 days to agree upon such umpire, on request of You or the Company, such umpire
will be selected by a judge of a court of record in the state in which the property covered is located. The appraisers will
then appraise the Loss, stating separately the Loss to each item; and, failing to agree, will submit their differences to the
umpire. An itemized award in writing of any two when filed with the Company will determine the amount of Actual Cash
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Value and Loss. Each appraiser will be paid by the party selecting him or her and the expenses of appraisal and umpire
shall be paid by the parties equally.

WISCONSIN NOTICE CONCERNING INSURANCE COMPLAINTS:

KEEP THIS NOTICE WITH YOUR INSURANCE PAPERS
PROBLEMS WITH YOUR INSURANCE? Your satisfaction is very important to us. If you are having problems with
your insurance, do not hesitate to contact the insurance company to resolve your problem:
Nationwide Mutual Insurance Company
One Nationwide Plaza
Columbus, OH 43215
1-800-882-2822

You can also contact the OFFICE OF THE COMMISSIONER OF INSURANCE, a state agency which enforces
Wisconsin's insurance laws, and file a complaint. You can contact the OFFICE OF THE COMMISSIONER by contacting:
State of Wisconsin
Office of the Commissioner of Insurance
Complaints Department
P.O. Box 7873
Madison, WI 53707-7873
Web Site: www.oci.wi.gov
or you can call 1-800-236-8517 outside of Madison, or (608) 266-0103 in Madison, and request a complaint form.
FAX: (608) 264-8115
E-mail: complaints@oci.state.wi.us

Please include your policy number in any communication with the above addresses.
NSITC 2400 WI; NSITC 2400-1 WI

WYOMING AMENDATORY ENDORSEMENT
Under the section entitled GENERAL PROVISIONS, the LEGAL ACTIONS provision is deleted in its entirety and
replaced with the following:

LEGAL ACTIONS - No legal action for a claim can be brought against the Company until sixty (60) days after the
Company receives Proof of Loss. No legal action for a claim can be brought against the Company more than four (4)
years after the time required for giving Proof of Loss.
NSITC 2400 WY




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CLAIMS PROCEDURE

1. EMERGENCIES ARISING DURING YOUR COVERED TRIP: Please contact CareFree Travel Assistance™ (refer
   to Non-Insurance Assistance Services section).
2. ALL CLAIMS: Report your claim as soon as possible to Aon Affinity. Provide the policy number, Your travel dates,
   and details describing the nature of Your loss. Upon receipt of this information, Aon Affinity will promptly forward
   You the appropriate claim form to complete.

Online: www.aontravelclaim.com

Phone: 1-(877) 846-8833 or 1-(516) 342-7262

Mail: Aon Affinity
      900 Stewart Avenue
      Garden City, NY 11530-9998


Aon Affinity is the brand name for the brokerage and program administration operations of Affinity Insurance Services,
Inc. (TX 13695); (AR 100106022); in CA & MN, AIS Affinity Insurance Agency, Inc. (CA 0795465); in OK, AIS Affinity
Insurance Services, Inc; in CA, Aon Affinity Insurance Services, Inc. (CA 0G94493), Aon Direct Insurance Administrators
and Berkely Insurance Agency and in NY, AIS Affinity Insurance Agency. Affinity Insurance Services is acting as a
Managing General Agent as that term is defined in section 626.015(14) of the Florida Insurance Code. As an MGA we
are acting on behalf of our carrier partner.

Important: In order to facilitate prompt claims settlement upon your return, be sure to obtain as applicable: detailed
medical statements from Physicians in attendance where the Accident or Sickness occurred; receipts for medical
services and supplies; receipts from the Hospital; police reports or claims reports from the parties responsible (e.g.
airline, cruise line, hotel, etc.) for any loss, theft, damage or delay. In the event of a baggage claim, receipts for any lost
or damaged items will be required. In the event of a Baggage Delay or Trip Delay claim, receipts for any additional
covered expenses will be required, as well as verification of the delay.

This plan provides insurance coverage that applies only during the covered trip. You may have coverage from other
sources that provides you with similar benefits but may be subject to different restrictions depending upon your other
coverages. You may wish to compare the terms of this policy with your existing life, health, home and automobile policies.
If you have any questions about your current coverage, call your insurer, insurance agent or broker. The purchase of
this plan is not required in order to purchase any other travel product or service offered to you by your travel retailers.
Unless individually licensed as an insurance agent, your travel agent is not qualified or authorized to answer your
technical questions about the benefits, exclusions or conditions of this plan or to evaluate the adequacy of any existing
insurance coverage you may have. Questions should be directed to the plan administrator at the toll-free number
provided.




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   (I
 Nationwide"
                                            GENERAL DISCLOSURES

This policy provides coverage only related to Your Trip. You may have coverage from other sources that provides you
with similar benefits subject to different restrictions. You may wish to compare the terms of this policy with your existing
life, health, home, and automobile insurance policies. If you have any questions about your current coverage, call your
insurer or insurance agent or broker. Your travel retailer may not be licensed to sell insurance in all states, and therefore
cannot answer technical questions about the benefits, exclusions, and conditions of this insurance and cannot evaluate
the adequacy of your existing insurance. This policy may not provide coverage for or may limit coverage related to pre-
existing conditions. The purchase of travel insurance is not required in order to purchase any other product or service.
In addition to your policy, the product you are purchasing may contain other non-insurance services and/or cancellation
fee waivers offered by companies other than Nationwide.

    •   Maryland Residents: The offered insurance coverage may duplicate certain provisions of insurance coverage
        already provided by the purchaser's homeowner's insurance, renter's insurance, health insurance, or similar
        insurance coverage. The Commissioner may be contacted to file a complaint at: Maryland Insurance
        Administration, ATTN: Consumer Complaint Investigation (Property/Casualty), 200 St. Paul Place, Suite 2700,
        Baltimore, MD 21202.

    •   Delaware Residents: The offered insurance coverage may duplicate certain provisions of insurance coverage
        already provided by the purchaser's homeowner's insurance, renter's insurance, health insurance, or similar
        insurance coverage. The purchase of travel insurance would make the travel insurance coverage primary to
        any other duplicate or similar coverage.

    •   California Residents: For additional information, contact the California Department of Insurance Consumer
        Hotline, 800-927-4357 or 213-897-8921.

    •   New York Residents: The licensed producer represents the insurer for purposes of the sale of the insurance.
        Compensation paid to the producer may vary depending on the policy selected, the producer's expenses,
        volume of business, or the profitability of the insurance contracts. Except as otherwise provided by law, the
        purchaser may request and obtain information about the producer's compensation based on the sale or any
        alternative quotes by requesting such information from the producer.




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            Nationwide•
              is on your side                                                                                     Rev. 5/2017



                                      WHAT DOES NATIONWIDE DO WITH YOUR PERSONAL
        FACTS                         INFORMATION?

                                    Financial companies choose how they share your personal infonnation. Federal and state laws give
                                    consumers the right to limit some but not all sharing. Federal and state laws also require us to tell
                                    you how we collect, share, and protect your personal infonnation. Please read this notice carefully
                                    to understand what we do.
                                    The types of personal information we collect and share depend on the product or service you have
                                    with us. This infonnation can include:
                                               • Social Security number, government issued identification, and contactinfomiation
                                               • Medical inforniation ,md policy infomiation
                                               • Credit hist01 , en lo ent info1mation, and insw-ance claim histo
                                    All financial companies need to share customers' personal information to nm their everyday
                                    business. In the section below, we list the reasons financial companies can share their customers'
                                    personal i11form.ati01rthe reasons Nationwide chooses to share; and whether you can limit this
                                    sharin .

  Reasons we can sha1·e your personal information                               Do,es l.\"ation\\ide shine?   I
                                                                                                                  Can you limit this
                                                                                                                  sh:uing?
                                                                            '                                 '

  For our everyday business purposes- such as to process your                   Yes                               No
  transactions, maintain your account(s), respond to com1 orders and
  legal investigations, or reoo11to credit bureaus
  For om· marketing purposes- to offer our products and services to             Yes                               No
  you
  For joint marketing with other financial companies                            Yes                               No
  For om· afflliates' enryday business purposes- information about              Yes                               No
  your trnnsactions and experiences
  For our affiliates' everyday business purposes- infonnation about             Yes                               Yes
  vour creditworthiness
  For om· affiliates to market to you                                           Yes                               Yes
  For nonaffiliates to market to you                                            Yes                               Yes

                                •   Call us toll free at 1-866-280-1809 and our menu will prompt you through yourchoices.
                                •   If you have previously opted out, yom· preference remains on file and you do not need to opt out
                                    again.
                                • Please have your account or policy number llalldy when you call.
                                Please note: If you are a new customer, we can begin sharing yom· information 30 days from the date
                                we sent this notice. When you are no longer our customer we continue to share your infonnation as
                                described in this notice. However, you can contact us at any time to limit our sharing.
                                1-866-280-1809




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                                                      To protect yotu· personal information from unauthorized access and use, we use
  info1·mation?                                       security measures that comply with federal and state laws. These measures
                                                      include computer safeguards and secured files and buildings. We limit access to
                                                      yom information to those who need it to do their job.

  How does ationwide collect my personal              We collect yom personal information, for example, when you:
  infol'mation?                                       •     Apply fOI"insmance or give llS your contact information
                                                      • Make a payment or file a claim
                                                      • Conduct business witl1us
                                                      We also collect your personal information from others, such as credit bureaus,
                                                      affiliates, or other com anies.
  Why can't I limit all shal'ing?                     Federal and state laws give you the right to limit only:
                                                       •   Sharing for affiliates' everyday business pwposes-information about your
                                                           creditw01ihiness;
                                                      • Affiliates from using your information to market to you; and
                                                      • Sharing for nonaffiliates to market to you.
                                                      State laws and individual companies may give you additional rights to limit
                                                      sharing. See below for more information.
  What happens when I limit shal'ing for an           Your choices will apply to everyone on your accollllt.
  account I hold ·ointl with someone else?

  Affiliates                                          Companies related by common ownership or control. They can be financial and
                                                      non.financial companies. These companies include Nationwide Life Insurance
                                                      Company, National Casualty, Nationwide Bank, and Nationwide Property and
                                                      Casualty Insurance Company, Visit nationwide.com for a list of affiliated
                                                      com ames.
                                                      Companies not related by common ownership or contrnl. They can be financial
                                                      and nonfiuancial com ai1ies.
                                                      A formal agreement between nonaffiliated financial companies that together
                                                      market financial , roducts or services to ou.

  California Residents: We cw1·entlydo not share infonnation we collect about you with affiliated or nonaffiliated companies fo1·
  their marketing purposes. The1·efore,you do not need to opt out.
  Nevad.a Residents: You may request to be placed on om· internal Do Not Call list. Send an email with your phone number to
  privacy@nationwide.com. You may request a copy of our telemarketing practices. For more on this Nevada faw, contact Bureau of
  Consumer Protection, Office of the Nevada Attorney General, SSS E. Washington St., Suite 3900, Las Vegas, NV 89101; Phone
  number: 1-702-486-3132; email: BCPINFO@ag.state.nv.us.
  Fol' Vel'mont Customers: We wiH not disclose information about your creditworthiness to our affiliates and will not disclose your
  personal infonnation, financial i11fo1mation,c.reditrep01t, or health i11fo1mationto nonaffiliated third patties to market to you, other
  than as pennitted by Vermont law, unless you authorize us to make those disclosures.
  AZ, CA, CT, GA, IL, ME, MA, MT, NV, NJ, NM, NC, ND, OH, OR. and VA Residents: The Tenn "Infom1ation' means
  infonnation we collect during an insurance transaction. We will not use your medical infomiation for marketing pmposes without
  your consent. We may share yom hiforrnation witb others, including insurance regulat01y authorities, law enforcement, consumer
  reporting agencies, and insurance-support organizations without your prior authorization as pennitted or required by law.
  Infonnation obtained from a report prepared by an insurance-support orgatlization may be retained by that insurance-support
  organization and disdosed to others.
  Accessing youl' infol'mation: You can ask us for a copy of your personal information. Please send your request to the address
  below and have yom· signature notaiu:ed. This is for your protection so we may prove your identity. Please include your name,
  address, and policy number. You can change your personal infonnation at Nationwide.com or by calling yom agent. We can't
  change information that other companies, like credit agencies, provide to us. You'U need to ask them to cl1ange it.
                                                              AONAfimity
                                                          Attn: Privacy Officer
                                          900 Stewrut Avenue Gai·den City, NY 11530-9998



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                                                     Nationwide•
                                NATIONWIDE® HIPAA NOTICE OF PRIVACY PRACTICES
THIS NOTICE DESCRIBES HOW MEDICAL INFORMATION ABOUT YOU MAY BE USED AND DISCLOSED AND
HOW YOU CAN GET ACCESS TO THIS INFORMATION. PLEASE REVIEW IT CAREFULLY.
This Notice of Privacy Practices (the "Notice") applies to Nationwide 1 and describes the legal obligations of Nationwide,
and your legal rights regarding your protected health information held by Nationwide under the Health Insurance
Portability and Accountability Act of 1996 ("HIPM"). Among other things, this Notice describes how your Protected
Health Information ("PHI" as that term is defined below) may be used or disclosed to carry out treatment, payment, or
healthcare operations, or for any other purposes that are permitted or required by law.
Nationwide is required by HIPM and certain state laws to maintain the privacy of your PHI and to provide you with notice
of our legal duties and privacy practices with respect to your PHI. We are required to abide by the terms of this Notice
so long as it remains in effect. Nationwide reserves the right to change the terms of this Notice and to make the new
Notice effective for all PHI maintained by us, as allowed or required by law. If we make any material change to this
Notice, we will provide you with a copy of the revised Notice by mail to your last-known address on file.
Protected Health Information (PHI) includes individually identifiable health information that is created or received by
Nationwide and that relates to: (1) your past, present, or future physical or mental health or condition, (2) the provision
of health care to you, or (3) the past, present, or future payment for the provision of health care to you. PHI includes
information of persons living or deceased.

USES AND DISCLOSURES OF YOUR PROTECTED HEALTH INFORMATION
Your Authorization. Certain uses and disclosures of PHI require your authorization. For example, most uses and
disclosures of PHI for marketing purposes and disclosures that constitute a sale of PHI require a written authorization.
Except as outlined below, we will not use or disclose your PHI without your written authorization. If you have given us
an authorization, you may revoke it in writing at any time, unless we have already acted on the authorization. Once we
receive your written revocation, it will only be effective for future uses and disclosures.
Disclosures for Treatment, Payment or Health Care Operations. We may use or disclose your PHI as permitted by
law for your treatment, payment, or health care operations. For instance, for your treatment, a doctor or health facility
involved in your care may request information we hold in order to make decisions about your care. For payment, we may
disclose your PHI to our pharmacy benefit manager for administration of your prescription drug benefit. For health care
operations, we may use and disclose your PHI for our health care operations, which include responding to customer
inquiries regarding benefits and claims.
Family and Friends Involved In Your Care. With your approval, we may from time to time disclose your PHI to
designated family, friends, and others who are involved in your care or in payment for your care in order to facilitate that
person's involvement in caring for you or paying for your care. If you are unavailable, incapacitated, or facing an
emergency medical situation and we determine that a limited disclosure may be in your best interest, we may share
limited PHI with such individuals without your approval.
Business Associates. Certain aspects and components of our services are performed through contracts with outside
persons or organizations. At times, it may be necessary for us to provide your PHI to one or more of these outside
persons or organizations. For example, we may disclose your PHI to a business associate to administer claims or to
provide support services. In all cases, we require these business associates by contract to appropriately safeguard the
privacy of your information.
Other Health-Related Products or Services. We may, from time to time, use your PHI to determine whether you might
be interested in or benefit from treatment alternatives or other health-related programs, products, or services which may
be available to you as a member of the health plan. For example, we may use your PHI to identify whether you have a
particular illness, and advise you that a disease management program to help you manage your illness better is available
to you. We will not use your information to communicate with you about products or services which are not health-related
without your written permission.
Plan Administration. We may release your PHI to your plan sponsor for administrative purposes, provided we have
received certification that the information will be maintained in a confidential manner and not used in any other manner
not permitted by law.

1 NationwideLife InsuranceCompany®,National Casualty Company and the area within NationwideMutual InsuranceCompany®that
performs healthcarefunctions.
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Other Uses and Disclosures. We are permitted or required by law to make certain other uses and disclosures of your
PHI without your authorization. We may release your PHI for any purpose required by law. This may include releasing
your PHI to law enforcement agencies; public health agencies; government oversight agencies; workers compensation;
for government audits, investigations, or civil or criminal proceedings; for approved research programs; when ordered
by a court or administrative agency; to the armed forces if you are a member of the military; and other similar disclosures
we are required by law to make.

OTHER PRIVACY LAWS AND REGULATIONS
Certain other state and federal privacy laws and regulations may further restrict access to and uses and disclosures of
your personal health information or provide you with additional rights to manage such information. If you have
questions regarding these rights, please send a written request to your designated contact as explained in the "Contact
Information" section, below.

RIGHTS THAT YOU HAVE
Access to Your PHI. You have the right to copy and/or inspect much of the PHI that we retain on your behalf. All
requests for access must be made in writing and signed by you or your personal representative. We may charge you a
fee if you request a copy of the information. The amount of the fee will be indicated on the request form. A request form
can be obtained by writing your designated contact at the address provided in the "Contact Information" section.
Amendments to Your PHI. You have the right to request that the PHI that we maintain about you be amended or
corrected. We are not obligated to make all requested amendments but will give each request careful consideration. If
the information is incorrect or incomplete and we decide to make an amendment or correction, we may also notify others
who work with us and have copies of the uncorrected record if we believe that such notification is necessary. A request
form can be obtained by writing to your designated contact at the address provided in the "Contact Information" section.
Accounting for Disclosures of Your PHI. You have the right to receive an accounting of certain disclosures made by
us of your PHI. Requests must be made in writing and signed by you or your personal representative. A request form
can be obtained by writing your designated contact at the address provided in the "Contact Information" section.
Restrictions on Use and Disclosure of Your PHI. You have the right to request restrictions on some of our uses and
disclosures of your PHI. We will consider, but are not required to agree to, your restriction request. A request form can
be obtained by writing your designated contact at the address provided in the "Contact Information" section.
Request for Confidential Communications. You have the right to request and we will accommodate reasonable
requests by you to receive communications regarding your PH I information from us by alternative means or at alternative
locations. A request form can be obtained by writing your designated contact at the address provided in the "Contact
Information" section.

Right to be Notified of a Breach. You have the right to be notified in the event we discover a breach of your
unsecured PHI.

Right to a Paper Copy of This Notice. You have the right to a paper copy of this notice, even if you have requested
such copy by e-mail or other electronic means.
Complaints. If you believe your privacy rights have been violated, you can file a written complaint with your designated
contact as explained in the "Contact Information" section, below. You may also file a complaint with the Secretary of the
U.S. Department of Health and Human Services, Office of Civil Rights, in writing within 180 days of a violation of your
rights. There will be no retaliation for filing a complaint.

CONTACT INFORMATION
If you have any questions about this Notice, need copies of any forms or require further assistance with any of the rights
explained above, contact us by calling 1-877-846-8833, or mail your request to:
                         Aon Affinity
                         Attn: Privacy Officer
                         900 Stewart Avenue
                         Garden City, NY 11530-9998
EFFECTIVE DATE
This Notice is effective 7/5/17
Nationwide, the Nationwide framework, and On Your Side are federally registered service marks of Nationwide Mutual
Insurance Company.
NH-0524-T-07052017
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                Pre-Trip Information -Travel Assistance - Medical Assistance
    Assistance Services listed in this section are not insurance benefits. Costs and expenses associated with the
        services provided by Carefree Travel Assistance™ are your responsibility, unless stated otherwise.

Not a care in the world ... when you have 24/7 global network to assist you on your travels.
Care Free Travel Assistance™
•    Inoculation information
•    Travel information including visa/passport requirements
•    Lost passport/travel documents assistance
•    Embassy or Consulate Referral
•    Currency exchange rates
•    Worldwide public holiday information
•    Lost baggage search; stolen luggage replacement assistance
•    Emergency cash transfer assistance
•    Emergency telephone interpretation assistance
•    Urgent message relay to family, friends, or business associates
•    Legal referrals/bail bond assistance
•    Rental Vehicle Return
•    ATM locator
•    Up-to-the-minute information on local medical advisories, epidemics, required immunizations and available preventative measures
•    Emergency return travel arrangements
•    Claims Assistance Services
Medical & Emergency Assistance
•    Physician/hospital/dental/vision referrals
•    Eyeglasses and corrective lens replacement assistance
•    Emergency prescription replacement
•    In-patient and out-patient medical case management:
         o Arrangement of doctor appointments
         o Arrangement of hospital admission
         o Medical Monitoring
         o Guarantee of medical expenses incurred during hospitalization*
         o Assist in providing the plan administrator Medical Expenses for review
         o Assist in the collection of Claims Documents for the plan administrator

                                      Emergency Transportation Services
Carefree Travel Assistance™ coordinates the assistance services and facilitates payment on behalf of Aon Affinity
as follows:
•    Emergency medical evacuation transportation assistance
•    Arrangement of repatriation of mortal remains
•    Arrangement of visitors to the bedside of a hospitalized insured

All services described above, provided by Carefree Travel Assistance™, are not Insurance benefits, and you wlll be responslble
for reimbursing Carefree Travel Assistance™ for costs and expenses associated with any services and/or facllltles arranged.
However, there may be Insurance coverage In your plan that may cover all or part of the costs and expenses Incurred. See the
Insurance portions of your plan documents for full detalls.
*This Is a non-Insurance assistance service. A payment made pursuant to this does not guarantee coverage under any
Insurance coverage In your plan, and you wlll be responslble for reimbursing Carefree Travel Assistance™ any expense paid
on your behalf that Is not covered by an Insurance coverage In your plan.

CareFree Travel Assistance™ can be accessed by calling: 877-303-5909 or, from outside the US or Canada,
call collect: 516-342-4594.
Note that the problems of distance, information, and communications make it impossible for AON Affinity, The travel supplier, or CareFree
Travel Assistance™ to assume any responsibility for the availability, quality, use, or results of any emergency service. In all cases, you
are still responsible for obtaining, using, and paying for your own required services of all types.
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          Plaintitrs Exhibit B
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     Important _______________                                                                   _
     At Humana, it is important you are treated fairly.
     Humana Inc. and its subsidiaries do not discriminate or exclude people because of their race,
     color, national origin, age, disability, sex, sexual orientation, gender, gender identity, ancestry,
     ethnicity, marital status, religion, or language. Discrimination is against the law. Humana and
     its subsidiaries comply with applicable Federal Civil Rights laws. If you believe that you have
     been discriminated against by Humana or its subsidiaries, there are ways to get help.
     • You may file a complaint, also known as a grievance:
       Discrimination Grievances, P.O.Box 14618,
       Lexington, KY40512-4618
       If you need help filing a grievance, call the number on your ID card or if you use a
       TTY, call 711.
     • You can also file a civil rights complaint with the U.S. Department of Health and Human
       Services, Office for Civil Rights electronically through their complaint portal, available at
       https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by at U.S. Department of Health and
       Human Services, 200 Independence Avenue, SW, Room 509F, HHH Building, Washington,
       DC 20201, 800-368-1019, 800-537-7697 (TDD). Complaint forms are available at
       https://www.hhs.gov/ocr/office/file/index.html.
     • California residents: You may also call California Department of Insurance toll-free hotline
       number: 800-927-HELP (4357), to file a grievance.

     Auxiliaryaids and services,free of charge,are availableto you.
     Callthe number on your ID card (TTY:711)
     Humana provides free auxiliary aids and services, such as qualified sign language
     interpreters, video remote interpretation, and written information in other formats
     to people with disabilities when such auxiliary aids and services are necessary to
     ensure an equal opportunity to participate.




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      Language assistance services, free of charge, are available to you.
      Call the number on your ID card (TTY:711)
     ATTENTION: If you do not speak English, language assistance services, free of charge, are
     available to you. Call the number on your ID card (TTY: 711) ... ATENCION: Si habla espaf'iol,
     tiene a su disposici6n servicios gratuitos de asistencia linguistica. Liame al numero que figura
     en su tarjeta de identificaci6n     (TTY: 711)
      51~ : ~□ ~11Hfm~Gcp::x:, 1mPJ.l.t§'c.JUtf~~~tiflJJ~&~
                                                          i~i~~~~--t...t.1¥1~!!          0


     5m~m
       (TTY=111)
     CHU Y:Neu b,;1nn6i Tieng Viet, c6 cac dich v1,1h6 trQ' ng6n ngCrmi~n phi danh cho b,;1n.Goi s6
     dien tho 9 i ghi tren the ID cua quy vj (TTY: 711)
     -9-£1: ~~og~ J..~~a~.,q:::=~-9-, ~Oi :,::1-'l:!J..il::IIA~             ¥E£      01~0~~       *~~Liq.
      ID ;1~c::Oll
               ~a~ ~ :::='t!2~ ~:!:~~oH
                                      -9-~J..12. (TTY: 111)
      PAUNAWA: Kung nagsasalita ka ng Tagalog, maaari kang gumamit ng mga serbisyo ng
     tu long sa wika nang walang bayad. Tawagan ang numero na nasa iyong ID card (TTY: 711)
      BHv1MAHv1E:EC/lVIBbl rOBOpVITeHa pyccKOM fl3b1Ke,TO BaM AOCTynHbl6ecnnaTHble yrnyr1,1
     nepeBOAa- Ha6epV1TeHOMep, yKa3aHHbl'1 Ha sawe'1 KapT04Ke-yAOCTOBepeHVIVI
                                                                           (TeneTaHn:
     711)
     ATANSYON: Si w pale Kreyol Ayisyen, gen sevis ed pou lang ki disponib gratis pou ou. Rele
      nimewo ki sou kat idantite manm ou (TTY: 711)
     ATTENTION: Si vous parlez franc;ais, des services d'aide linguistique vous sont proposes
     gratuitement.   Appelez le numero figurant sur votre carte de membre (ATS: 711)
      UWAGA: Jezeli m6wisz po polsku, mozesz skorzystac z bezptatnej pomocy j~zykowej. Prosz~
     zadzwonic pod numer podany na karcie identyfikacyjnej                     (TTY: 711)
     ATEN~AO: Se fala portugues, encontram-se disponfveis servic;os linguisticos, gratis. Ligue para
     o numero presente em seu cartao de identificac;ao (TTY: 711)
     ATTENZIONE: In caso la lingua parlata sia l'italiano, sono disponibili servizi di assistenza
      linguistica gratuiti. Chiamare ii numero che appare sulla tessera identificativa                     (TTY: 711)
     ACHTUNG: Wenn Sie Deutsch sprechen, stehen Ihnen kostenlos sprachliche
     Hilfsdienstleistungen zur Verfi.igung. Wahlen Sie die Nummer, die sich auf lhrer
     Versicherungskarte     befindet (TTY: 711)
      5i~*rJ:  a2ts:i~Hf~~n'@~-g-,Mf:i-0)~ igsz:m~.::·iuml.,t.::t.:·it*9o
      S-¥t~1:30)ID n-i-:-·,.:~c~~:h--Cl.\'@~i2iffii§"*1::'.::·~~<
                                                              t.:'~l,\ (TTY: 711)

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                                                                (TTY: 711) ..u-~• ~ • J.i.l\..:0u• l:i ~ L..il...::.i        • ;.I·;

     Dff baa ak6 nfnfzin: DH saad bee yanftti'go Dine Bizaad, saad bee
     aka'anfda'awo'd~f, t'aa jiik'eh, ef na h6IQ, namboo ninaaltsoos yezhf, bee
     nee ho'd61zin bikaa'fgff bee h61ne' (TTY: 711)
           wU~I f9Y. j...::ul -0~4     -!.Li~l_g:ij d..,!~I o.ll-Ldl      0loJ.i.. 0 ~ ,.wll p'jl .:i~       ..::...o
                                                                                                                  Uj :ab~
                                                                       -(TTY: 711) d/ d.,,:>bll 4-~I      ;;.§~ ~ ..i.9-=:'-~I




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                                                                                       Administrative Office:
                                                                                      3501 SW 160th Avenue
                                                                                         Miramar, FL 33027



                              Certificate of Coverage
                              Humana Medical Plan, Inc.
    Group Plan Sponsor:              BANYAN HEAL TH SYSTEMS, INC.

    Group Plan Number:               828285

    Effective Date:                  09/01/2022

    Product Name:                    FLFX0047 Canopy


    In accordance with the terms of the master group contract issued to the group plan sponsor, Humana
    Medical Plan, Inc. certifies that a covered person has coverage for the benefits described in this
    certificate. This certificate becomes the Certificate of Coverage and replaces any and all certificates and
    certificate riders previously issued.




                                                  Bruce Broussard
                                                     President



                   This booklet, referred to as a Benefit Plan
                    Document, is provided to describe your
                               Humana coverage
                      This certificate contains a Deductible



    CHMO 2004-C FP 19                                                                                         3
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    Florida Compare Care resources from the Agency for Health Care Administration (AHCA) can be found
    at https: //www.floridahealthfinder.gov/. The site includes helpful information about Florida
    healthcare, plans and facilities.




    CHMO 2004-C FP 19                                                                               4
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                          NO SURPRISES ACT AMENDMENT
    This amendment is made part of the master group contract to which it is attached.

    All terms used in this amendment have the same meaning given to them in the certificate, unless
    otherwise defined in this amendment. Except as modified below, all terms, conditions and limitations of
    the master group contract apply.

    This amendment is effective for the master group contract issued or renewed on or after January 1,
    2022.


    No Surprises Act
    The No Surprises Act (the Act) is a federal law that requires coverage of certain services received from a
    non-network provider at the network provider benefit level and protects you from balance billing when
    events described in this amendment occur.


    Definitions

    Air ambulance means a professionally operated helicopter or airplane, provided by a licensed
    ambulance service, equipped for the transportation of a sick or injured person to or from the nearest
    medical facility qualified to treat the person's sickness or bodily injury. Use of the air ambulance must
    be medically necessary. When transporting the sick or injured person from one medical facility to
    another, the air ambulance must be ordered by a health care practitioner.

    Ancillary services mean covered expenses that are:

    •   Items or services related to emergency medicine, anesthesiology, pathology, radiology, or
        neonatology;
    •   Provided by assistant surgeons, hospitalists or intensivists;
    •   Diagnostic laboratory or radiology services; or
    •   Iterns or services provided by a non-network provider when a network provider is not available to
        provide the services at the network facility.

    Network facility means a hospital, hospital outpatient department or ambulatory surgical center that
    has been designated as such or has signed an agreement with us as an independent contractor, or has
    been designated by us to provide services to all covered persons. Network facility designation by us may
    be limited to specified services.

    Post-stabilization services means services you receive in observation status or during an inpatient or
    outpatient stay in a network facility related to an emergency medical condition after you are stabilized.

    Recognized amount means the reimbursement rate as determined by:

    •   An applicable state All Payer Model Agreement under the Social Security Act;
    •   An applicable state law; or
    •   The qualifying payment amount as defined by the Act.




    CHMO 2004 NSA 22                                                                                            7
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                 NO SURPRISES ACT AMENDMENT (continued)

    Emergency and non-emergency services

    We will apply the network provider benefit level and you will only be responsible to pay the network
    provider copayment, deductible and/or coinsurance based on the recognized amount for covered
    expenses when you receive the following services from a non-network provider:

    •   Air ambulance services;
    •   Emergency care;
    •   Ancillary services when you are at a network facility;
    •   Services that are not considered ancillary services when you are at a network facility and you did
        not consent to the non-network provider to obtain such services; or
    •   Post-stabilization services when you did not consent to the non-network provider to obtain such
        services due to your emergency medical condition.

    The protections of the Act do not apply if you consent to a non-network provider to receive the
    following services:

    •   Those that are not considered ancillary services; or
    •   Post-stabilization services.

    Continuity of care

    You may be eligible to elect continuity of care if you are a continuing care patient, as defined in the Act,
    as of the date any of the following events occur:

    •   Your qualified provider terminates as a network provider;
    •   The terms of a network provider's participation in the network changes in a manner that terminates a
        benefit for a service you are receiving as a continuing care patient; or
    •   The master group contract terminates.

    If you elect continuity of care, we will apply the network provider benefit level to covered expenses
    related to your treatment as a continuing care patient. You may contact our customer service department
    at the telephone number shown on your ID card if you have any questions.


                                 HUMANA MEDICAL PLAN, INC.




                                                 Bruce Broussard
                                                    President




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                        UNDERSTANDING YOUR COVERAGE
    As you read the certificate, you will see some words are printed in italics. Italicized words may have
    different meanings in the certificate than in general. Please check the "Glossary" sections for the
    meaning of the italicized words as they apply to your plan.

    The certificate gives you information about your plan. It tells you what is covered and what is not
    covered. It also tells you what you must do and how much you must pay for services. Your plan covers
    many services, but it is important to remember it has limits. Be sure to read your certificate carefully
    before using your benefits.


    Essentialhealth benefits
    This certificate does not apply annual dollar limits or lifetime dollar limits to covered expenses that are
    essential health benefits.


    Covered and non-coveredexpenses
    We will provide coverage for services, equipment and supplies that are covered expenses. All
    requirements of the master group contract apply to covered expenses.

    The date used on the bill we receive for covered expenses or the date confirmed in your medical records
    is the date that will be used when your claim is processed to determine the benefit period.

    You must pay the health care provider any amount due that we do not pay. Not all services and supplies
    are a covered expense, even when they are ordered by a health care practitioner.

    Refer to the "Schedule of Benefits," the "Covered Expenses" and the "Limitations and Exclusions"
    sections and any amendment attached to the certificate to see when services or supplies are covered
    expenses or are non-covered expenses.


    How your master group contractworks
    We may apply a copayment or deductible before we pay for certain covered expenses. If a deductible
    applies, and it is met, we will pay covered expenses at the coinsurance amount. Refer to the "Schedule
    of Benefits" to see when a deductible and/or coinsurance may apply.

    The service and diagnostic information submitted on the qualified provider's bill will be used to
    determine which provision of the "Schedule of Benefits" applies.

    For covered expenses, we will apply the applicable network provider benefit level to the total amount
    billed by the qualified provider, less any amounts such as:

    •   Those in excess of the negotiated amount by contract, directly or indirectly, between us and the
        qualified provider; or
    •   Those in excess of the maximum allowable fee.




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              UNDERSTANDING YOUR COVERAGE (continued)
    We will also apply our claims processing procedures to all covered expenses when determining your
    copayment, deductible and/or coinsurance amounts. Refer to the Claims section of this certificate for
    more information on our claims processing procedures.

    If an out-of-pocket limit applies and it is met, we will pay covered expenses at 100% the rest of the year,
    subject to any maximum benefit and all other terms, provisions, limitations, and exclusions of the
    master group contract.


    Your choice of providers affects your benefits
    We will pay benefits for covered expenses if you see a network provider. You must pay any copayment,
    deductible or coinsurance to the network provider. Be sure to check if your qualified provider is a
    network provider before seeing them.

    We may appoint certain network providers for certain kinds of services. If you do not see the appointed
    network provider for these services, we may pay less.

    Some non-network providers work with network hospitals. We will pay non-network pathologists,
    anesthesiologists, radiologists, and emergency room physicians working with a network hospital at the
    network provider benefit, subject to the maximum allowable fee. Non-network providers have not
    signed an agreement with us to accept discounted or negotiated fees for services and may bill you for
    charges in excess of the maximum allowable fee. Unless balance billing is prohibited by applicable law,
    you may be required to pay any amount not paid by us in addition to any applicable copayment,
    deductible and coinsurance for services received.

    Refer to the "Schedule of Benefits" sections to see what your network provider and non-network
    provider benefits are.


    How to find a network provider
    You may find a list of network providers at www.humana.com. This list is subject to change. Please
    check this list before receiving services from a qualified provider. You may also call our customer
    service department at the number listed on your ID card to determine if a qualified provider is a network
    provider, or we can send the list to you. A network provider can only be confirmed by us.


    How to use your health maintenanceorganization(HMO) plan
    You may receive services from a network provider with your HMO plan without a referral from your
    primary care physician. Refer to the "Schedule of Benefits" for any preauthorization requirements.




    CHMO 2004-C UYC 22                                                                                       10
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              UNDERSTANDING YOUR COVERAGE (continued)

    Use of network providers
    In most cases, there are network providers for your health care. Network providers have agreed to
    provide covered expenses at lower costs. You must pay any copayment, deductible or coinsurance you
    owe to the network provider. The network provider will accept your copayment, deductible or
    coinsurance and the amount we pay as the full payment. You will not be billed for charges over the
    maximum allowable fee.

    Be sure to determine if your provider is a network provider before you receive services from them. We
    offer many health care plans, and a qualified provider who is a network provider for one plan may not
    be a network provider for this plan.
    We may designate certain network providers for certain kinds of services.


    Use of non-networkproviders
    If a network provider cannot provide the covered expenses you need or they cannot treat your condition,
    you must have a referral from your primary care physician that is approved by us to receive services
    from a non-network provider. Only the services approved by us will be a covered expense.
    Non-network providers have not signed an agreement with us to accept discounted or negotiated fees for
    services and may bill you for charges in excess of the maximum allowable fee. Unless balance billing is
    prohibited by applicable law, you may be required to pay any amount not paid by us in addition to any
    applicable copayment, deductible and coinsurance for services received. Any amount over the maximum
    allowable fee will not apply to your deductible or any out-of-pocket limit.


    Continuityof Care
    Continuity of care means the continuation of services from a terminated provider. A terminated provider
    is a network provider whose contract is terminated or not renewed for reasons other than for cause.

    A covered person who is actively under treatment may continue medically necessary treatment with the
    terminated provider until:

    •   The covered person selects another provider; or
    •   The next open enrollment period;

    whichever period is longer up to a maximum of 6 months following termination of the provider's
    contract.

    Continuity of care is also available for a covered person who is pregnant and has initiated prenatal care,
    regardless of the trimester in which care was initiated. The covered person may continue receiving care
    from a terminated provider until completion of their postpartum care.


    Seeking emergencycare
    If you need emergency care, go to the nearest emergency facility.



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               UNDERSTANDING YOUR COVERAGE (continued)
    You, or someone on your behalf, must call us within 48 hours after your admission to a non-network
    hospital for an emergency medical condition. If your condition does not allow you to call us within 48
    hours after your admission, contact us as soon as your condition allows. We may transfer you to a
    network hospital in the service area when your condition is stable. You must receive services from a
    network provider for any follow-up care.

    Seekingurgent care
    If you need urgent care, you must go to the nearest network urgent care center or call an urgent care
    qualified provider. You must receive urgent care services from a network provider for the network
    provider copayment, deductible or coinsurance to apply.


    Our relationshipwith qualifiedproviders
    Qualified providers are not our agents, employees or partners. All providers are independent
    contractors. Qualified providers make their own clinical judgments or give their own treatment advice
    without decisions made by us.

    The master group contract will not change what is decided between you and qualified providers
    regarding your medical condition or treatment options. Qualified providers act on your behalf when
    they order services. You and your qualified providers make all decisions about your health care, no
    matter what we cover. We are not responsible for anything said or written by a qualified provider about
    covered expenses and/or what is not covered under this certificate. Please call our customer service
    department at the telephone number listed on your ID card if you have any questions.


    Our financial arrangementswith networkproviders
    We have agreements with network providers that may have different payment arrangements:

    •   Many network providers are paid on a discounted fee-for-services basis. This means they have
        agreed to be paid a set amount for each covered expense;

    •   Some network providers may have capitation agreements. This means the network provider is paid
        a set dollar amount each month to care for each covered person no matter how many services a
        covered person may receive from the network provider, such as a primary care physician or a
        specialty care physician;

    •   Hospitals may be paid on a Diagnosis Related Group (DRG) basis or a flat fee per day basis for
        inpatient services. Outpatient services are usually paid on a flat fee per service or a procedure or
        discount from their normal charges.




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               UNDERSTANDING YOUR COVERAGE (continued)

    The certificate
    The certificate is part of the master group contract and tells you what is covered and not covered and
    the requirements of the master group contract. Nothing in the certificate takes the place of or changes
    any of the terms of the master group contract. The final interpretation of any provision in the
    certificate is governed by the master group contract. If the certificate is different than the master group
    contract, the provisions of the master group contract will apply. The benefits in the certificate apply if
    you are a covered person.




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                                    SCHEDULE OF BENEFITS
    Reading the Schedule of Benefits sections will help you understand:

    •   Preauthorization requirements;
    •   The level of benefits we generally pay for covered expenses and what you may be responsible for,
        including:

            Copayments that may apply for each covered expense. You may be responsible for more than
            one copayment during the same visit with the same provider;
            The covered expenses that require you to meet a deductible, if any, before benefits are paid by
            us;and
            The coinsurance you are required to pay for covered expenses; and

    •   Your out-of-pocket limit.

    The Schedule of Benefits sections outline the coverage and limitations provided under the master group
    contract. A more detailed explanation of your coverage and its limitations and exclusions for these
    benefits is provided in the Covered Expenses and Limitations and Exclusions sections of this certificate.

    The benefits outlined under the "Schedule of Benefits - Behavioral Health," and "Schedule of Benefits -
    Pharmacy Services" sections are not payable under any other Schedule of Benefits of the master group
    contract. However, all other terms and provisions of the master group contract apply, including the
    preauthorization requirements, annual deductible(s) and any out-of-pocket limit(s), unless otherwise
    stated.


    Networkproviderverification
    This certificate contains multiple benefit levels. Refer to each Schedule of Benefits to see what benefit
    levels apply to covered expenses.

    Refer to our Website at www .humana .com for a list of network providers. You may also contact our
    customer service department at the telephone number shown on your ID card. This list is subject to
    change.


    Preauthorizationrequirements
    Preauthorization by us is required for certain services and supplies. Visit our Website at
    www .humana .com or call the customer service telephone number on your ID card to obtain a list of
    services and supplies that require preauthorization. The list of services and supplies that require
    preauthorization is subject to change. Coverage provided in the past for services or supplies that did not
    receive or require preauthorization, is not a guarantee of future coverage of the same services or
    supplies.

    You are responsible for informing your health care practitioner of the preauthorization requirements.
    You or your health care practitioner must contact us by telephone, electronic mail, or in writing to
    request the appropriate authorization. Your ID card will show the health care practitioner the telephone
    number to call to request authorization. Benefits are not paid at all for services or supplies that are not
    covered expenses.


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                       SCHEDULE OF BENEFITS (continued)

   Annual deductible
   An annual deductible is a specified dollar amount you must pay for covered expenses, except for any
   deductible met for prescriptions or specialty drugs from a pharmacy or specialty pharmacy, per year
   before any applicable coinsurance applies and most benefits are paid under the master group contract.
   There are individual and family network provider deductibles. The deductible amount(s) for each
   covered person and each covered family are as follows, and must be satisfied each year, either
   individually or combined as a covered family. Covered expenses that apply to the individual deductible
   also apply to the family deductible. Once a covered person meets the individual deductible, the
   coinsurance applies to applicable covered expenses for that covered person. Once the family deductible
   is met, any remaining individual deductible for a covered person in the family is waived for that year.
   The coinsurance then applies to applicable covered expenses for all covered persons in the family.
   Copayments do not apply toward the annual deductible.

   Deductible                                          Deductible amount

   Individual network provider deductible              $6,500


   Family network provider deductible                  $13,000



   Out-of-pocketlimit
   The out-of pocket limit is the amount of any copayments, deductibles and/or coinsurance for covered
   expenses which you must pay, either individually or combined as a covered family, per year before a
   benefit percentage for covered expenses is increased. There are individual and family network provider
   out-ofpocket limits.

  After the individual network provider out-of pocket limit has been satisfied in a year, the network
  provider benefit percentage for covered expenses for that covered person is payable by us at the rate of
  100% for the rest of the year, subject to any maximum benefit and all other terms, provisions,
  limitations, and exclusions of the master group contract. Covered expenses that apply to the individual
  out-of pocket limit also apply to the family out-of pocket limit. After the family network provider
  out-of pocket limit has been satisfied in a year, the network provider benefit percentage for covered
  expenses is payable by us at the rate of 100% for the rest of the year for all covered persons in the
  family, subject to any maximum benefit and all other terms, provisions, limitations and exclusions of the
  master group contract.

   If any copayment, deductible or coinsurance amount applied to your claim is waived by your health care
   provider, you are required to inform us. Any amount, thus waived and not paid by you, is not applied to
   any out-of pocket limit.




   CHMO 2004-C S 1 22                                                                                   15
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                       SCHEDULE OF BENEFITS (continued)

   Out-of-pocket limit                               Out-of-pocket limit amount

   Individual network provider out-of-pocket limit   $7,900


   Family network provider out-of-pocket limit       $15,800




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                       SCHEDULE OF BENEFITS (continued)

   Preventiveservices
   Preventive services for covered persons 18 years of age and older. Includes prostate screenings (PSA).
   Does not include drugs, medicines or medications and supplies on the Preventive Medication Coverage
   drug list. Refer to the Pharmacy Services sections in this certificate.


   INetwork provider                                  ICoveredin full

   Preventive services and immunizations for covered persons under 18 years of age. Does not include
   drugs, medicines or medications and supplies on the Preventive Medication Coverage drug list. Refer to
   the Pharmacy Services sections in this certificate.


   INetwork provider                                  ICoveredin full


   Health care practitioneroffice services
   Health care practitioner office visit


   Primary care physician                              $20 copayment per visit


   Specialty care physician                            $70 copayment per visit



   Diagnostic laboratory and radiology services when performed in the office and billed by
   the health care practitioner
   Does not include advanced imaging. Refer to "Advanced imaging when performed in a health care
   practitioner's office" in this "Schedule of Benefits" section.


   Primary care physician                              20% coinsurance after network provider
                                                       deductible


   Specialty care physician                            20% coinsurance after network provider
                                                       deductible




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                       SCHEDULE OF BENEFITS (continued)

   Advanced imaging when performed in a health care practitioner's office


   Primary care physician                        20% coinsurance after network provider
                                                 deductible


   Specialty care physician                      20% coinsurance after network provider
                                                 deductible



   Allergy serum when received in the health care practitioner's office


   Primary care physician                        20% coinsurance after network provider
                                                 deductible


   Specialty care physician                      20% coinsurance after network provider
                                                 deductible



   Allergy injections when received in a health care practitioner's office


   Primary care physician                        20% coinsurance after network provider
                                                 deductible


   Specialty care physician                      20% coinsurance after network provider
                                                 deductible



   Injections other than allergy when received in a health care practitioner's office


   Primary care physician                        20% coinsurance after network provider
                                                 deductible


   Specialty care physician                      20% coinsurance after network provider
                                                 deductible



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                       SCHEDULE OF BENEFITS (continued)

   Surgery performed in the office and billed by the health care practitioner


   Primary care physician                           20% coinsurance after network provider
                                                    deductible


   Specialty care physician                         20% coinsurance after network provider
                                                    deductible



   Telehealthand telemedicineservices

   Primary care physician                           $10 copayment per visit


   Specialty care physician                         $10 copayment per visit



   Second medical opinion


   Primary care physician                           $20 copayment per visit


   Specialty care physician                         $70 copayment per visit


   Non-network health care practitioner             40% coinsurance



   Health care practitionerservices at a retail clinic
   Health care practitioner office visit in a retail clinic


   Primary care physician                           $20 copayment per visit




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                       SCHEDULE OF BENEFITS (continued)

   Diagnostic laboratory when performed by a health care practitioner in a retail clinic


   Primary care physician                        20% coinsurance after network provider
                                                 deductible



   Injections other than allergy when received in a retail clinic


   Primary care physician                        20% coinsurance after network provider
                                                 deductible



   Hospital services
   Hospital inpatient services


   Network hospital                              20% coinsurance after network provider
                                                 deductible



   Health care practitioner inpatient services when provided in a hospital


   Primary care physician                        20% coinsurance after network provider
                                                 deductible


   Specialty care physician                      20% coinsurance after network provider
                                                 deductible




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                        SCHEDULE OF BENEFITS (continued)

   Hospital outpatient surgical services

   Must be performed in a hospital's outpatient department.


   Network hospital                                    20% coinsurance after network provider
                                                       deductible



   Health care practitioner outpatient services when provided in a hospital

   Includes outpatient surgery.


   Primary care physician                              20% coinsurance after network provider
                                                       deductible


   Specialty care physician                            20% coinsurance after network provider
                                                       deductible



   Hospital outpatient non-surgical services

   Must be performed in a hospital's outpatient department. Does not include diagnostic radiology,
   diagnostic laboratory and advanced imaging. Refer to "Hospital outpatient diagnostic radiology and
   laboratory" and "Hospital outpatient advanced imaging" in this "Schedule of Benefits" section.


   Network hospital                                    20% coinsurance after network provider
                                                       deductible



   Hospital outpatient diagnostic radiology and laboratory


   Network hospital                                    20% coinsurance after network provider
                                                       deductible




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                       SCHEDULE OF BENEFITS (continued)

   Hospital outpatient advanced imaging

   Must be performed in a hospital's outpatient department.


   Network hospital                                     20% coinsurance after network provider
                                                        deductible



   Pregnancyand newbornbenefit
   Same as any other sickness based upon location of services and the type of provider.


   Emergencyservices
   Must be for emergency care as defined in the "Glossary" section.

   Emergency room services

   Does not include advanced imaging. Refer to "Emergency room advanced imaging" in this "Schedule
   of Benefits" section.


   Network provider                                     20% coinsurance after network provider
                                                        deductible



   Emergency room advanced imaging


   Network provider                                     20% coinsurance after network provider
                                                        deductible



   Emergency room health care practitioner services


   Network health care practitioner                     20% coinsurance after network provider
                                                        deductible




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                        SCHEDULE OF BENEFITS (continued)

   Ambulanceservices

   Network provider                            20% coinsurance after network provider
                                               deductible



   Ambulatorysurgical center services
   Ambulatory surgical center for outpatient surgery


   Network provider                            20% coinsurance after network provider
                                               deductible



   Health care practitioner outpatient services when provided in an ambulatory surgical
   center

   Includes outpatient surgery.


   Primary care physician                      20% coinsurance after network provider
                                               deductible


   Specialty care physician                    20% coinsurance after network provider
                                               deductible



   Durable medical equipmentand diabetes equipment

   Network provider                            20% coinsurance after network provider
                                               deductible




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                       SCHEDULE OF BENEFITS (continued)

   Free-standingfacility services
   Free-standing facility diagnostic laboratory and radiology services

   Does not include advanced imaging. Refer to "Free-standing facility advanced imaging" in this
   "Schedule of Benefits" section.


   Network provider                                   20% coinsurance after network provider
                                                      deductible



   Health care practitioner services when provided in a free-standing facility


   Primary care physician                             20% coinsurance after network provider
                                                      deductible


   Specialty care physician                           20% coinsurance after network provider
                                                      deductible



   Free-standing facility advanced imaging


   Network provider                                   20% coinsurance after network provider
                                                      deductible



   Home health care services
   Limited to a maximum of 100 visits per year.


   Network provider                                   20% coinsurance after network provider
                                                      deductible




   CHMO 2004-C S2 22                                                                               24
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                       SCHEDULE OF BENEFITS (continued)

   Hospice services

   Network provider                                    20% coinsurance after network provider
                                                       deductible



   Jaw joint benefit
   Same as any other sickness based upon location of service and type of provider.


   Physical medicineand rehabilitativeservices
  Physical therapy, occupational therapy, speech therapy, audiology services, cognitive rehabilitation
  services, and spinal manipulations/adjustments are limited to a combined maximum of 30 visits per
  year.


   Network provider                                     $20 copayment per visit



   Respiratory or pulmonary rehabilitation services


   Network provider                                    20% coinsurance after network provider
                                                       deductible



   Cardiac rehabilitation services


   Network provider                                    20% coinsurance after network provider
                                                       deductible




   CHMO 2004-C S2 22                                                                                     25
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                       SCHEDULE OF BENEFITS (continued)

   Other therapy

   Includes radiation therapy and chemotherapy.


   Network provider                               20% coinsurance after network provider
                                                  deductible



   Skilled nursing facility services
   Limited to a maximum of 60 days per year.


   Network provider                               20% coinsurance after network provider
                                                  deductible



   Health care practitioner services when provided in a skilled nursing facility


   Network health care practitioner               20% coinsurance after network provider
                                                  deductible



   Specialtydrug medicalbenefit
   Specialty drugs provided by or obtained from a qualified provider in a health care
   practitioner's office, free-standing facility and an urgent care center


   Network provider                               20% coinsurance after network provider
                                                  deductible




   CHMO 2004-C S2 22                                                                       26
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                       SCHEDULE OF BENEFITS (continued)

   Specialty drugs provided by or obtained from a qualified provider in a home


   Network provider designated by us as a preferred     Covered in full
   provider of specialty drugs


   Network provider                                     20% coinsurance after network provider
                                                        deductible



   Specialty drugs provided by or obtained from a qualified provider in a hospital, skilled
   nursing facility, ambulance or emergency room

   Same as any other sickness based upon location of services and the type of provider.


   Transplantservices and immune effector cell therapy

   Network provider designated by us as an approved Same as any other sickness based on location of
   transplant or immune effector cell therapy facility services and type of provider



   Non-medical travel and lodging costs for transplant services and immune effector cell
   therapy

   Transportation and temporary lodging are limited to a combined maximum of $10,000 per covered
   transplant and immune effector cell therapy.


   Network provider designated by us as an approved Covered in full
   transplant or immune effector cell therapy facility



   Urgent care services
   Urgent care visit


   Network provider                                     $100 copayment per visit




   CHMO 2004-C S2 22                                                                                  27
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                       SCHEDULE OF BENEFITS (continued)

   Diagnostic laboratory and radiology services, advanced imaging, injections of drugs or
   medicines, and surgery for urgent care


   Network provider                                     20% coinsurance after network provider
                                                        deductible



   Additionalcoveredexpenses
   Same as any other sickness based upon location of services and the type of provider.




   CHMO 2004-C S2 22                                                                             28
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           SCHEDULE OF BENEFITS - BEHAVIORAL HEALTH
   Reading this "Schedule of Benefits - Behavioral Health" section will help you understand the level of
   benefits we generally pay for the mental health services and chemical dependency services under the
   master group contract.

   This "Schedule of Benefits - Behavioral Health" outlines the coverage and limitations provided under
   the master group contract. A more detailed explanation of your coverage and its limitations and
   exclusions for these benefits is provided in the "Covered Expenses," "Covered Expenses - Behavioral
   Health" and "Limitations and Exclusions" sections of this certificate. Refer to the "Schedule of
   Benefits" section for behavioral health covered expenses not listed in this section.

   Services are subject to all terms, provisions, limitations, and exclusions of the master group contract.


   Acute inpatientservices

   Network hospital                                      20% coinsurance after network provider
                                                         deductible



   Acute inpatient health care practitioner services

   Includes inpatient telehealth and telemedicine services.


   Network health care practitioner                      20% coinsurance after network provider
                                                         deductible



   Emergencyservices
   Must be for emergency care as defined in the "Glossary" section.


   Emergency room services

   Does not include advanced imaging. Refer to "Emergency room advanced imaging" in this "Schedule
   of Benefits - Behavioral Health" section.


   Network provider                                      20% coinsurance after network provider
                                                         deductible




   CHMO 2004-C 16 SBH 22.1                                                                                    29
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          SCHEDULE OF BENEFITS - BEHAVIORAL HEALTH
                          (continued)
   Emergency room advanced imaging


   Network provider                             20% coinsurance after network provider
                                                deductible



   Emergency room health care practitioner services


   Network health care practitioner             20% coinsurance after network provider
                                                deductible



   Urgent care services
   Urgent care visit


   Network provider                             $20 copayment per visit



   Diagnostic laboratory and radiology services and injections of drugs or medicines for
   urgent care


   Network provider                             20% coinsurance after network provider
                                                deductible




   CHMO 2004-C 16 SBH 22.1                                                                 30
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           SCHEDULE OF BENEFITS - BEHAVIORAL HEALTH
                           (continued)
   Outpatientservices
   Health care practitioner office visit

   Does not include behavioral health therapy in a health care practitioner's office. Refer to "Therapy" in
   this "Schedule of Benefits - Behavioral Health" section.


   Primary care physician                               $20 copayment per visit


   Specialty care physician                             $20 copayment per visit



   Telehealth and telemedicine services

   Does not include inpatient telehealth and telemedicine services. Refer to "Acute inpatient health care
   practitioner services" in this "Schedule of Benefits - Behavioral Health" section.


   Network provider                                     $20 copayment per visit



   Health care practitioner office visit in a retail clinic


   Network health care practitioner                     $20 copayment per visit



   Injections when performed in a health care practitioner's office or retail clinic

   Does not include preventive services and allergy injections. Refer to "Preventive services" and "Allergy
   injections when received in a health care practitioner's office" in the "Schedule of Benefits" section.


   Network health care practitioner                     20% coinsurance after network provider
                                                        deductible




   CHMO 2004-C 16 SBH 22.1                                                                                  31
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           SCHEDULE OF BENEFITS - BEHAVIORAL HEALTH
                           (continued)
   Therapy

  Includes outpatient behavioral health therapy and behavioral health therapy in a health care
  practitioner's office. Also includes behavioral health physical therapy, occupational therapy, speech
  therapy, audiology services, cognitive therapy, and nutritional counseling.


   Network provider                                       $20 copayment per visit



   Intensive outpatient program


   Network provider                                       20% coinsurance after network provider
                                                          deductible


   Partial hospitalization services


   Network provider                                       20% coinsurance after network provider
                                                          deductible



   Outpatient hospital non-surgical services
   Does not include outpatient therapy. Refer to "Therapy" in this "Schedule of Benefits - Behavioral
   Health" section.

   Does not include advanced imaging. Refer to "Advanced imaging performed in a health care
   practitioner's office, hospital outpatient department or free-standing facility" in this "Schedule of
   Benefits - Behavioral Health" section.


   Network hospital                                       20% coinsurance after network provider
                                                          deductible




   CHMO 2004-C 16 SBH 22.1                                                                                 32
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          SCHEDULE OF BENEFITS - BEHAVIORAL HEALTH
                          (continued)
   Advanced imaging performed in a health care practitioner's office, hospital outpatient
   department or free-standing facility


   Network provider                                    20% coinsurance after network provider
                                                       deductible



   Skilled nursing facility services

   Network provider                                    20% coinsurance after network provider
                                                       deductible



   Home health care services
   Does not include applied behavioral analysis therapy. Refer to "Applied behavioral analysis therapy
   during a home health care visit" in this "Schedule of Benefits - Behavioral Health" section.


   Network provider                                    20% coinsurance after network provider
                                                       deductible



   Applied behavioral analysis therapy during a home health care visit


   Network provider                                    $20 copayment per visit




   CHMO 2004-C 16 SBH 22.1                                                                               33
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          SCHEDULE OF BENEFITS - BEHAVIORAL HEALTH
                          (continued)
   Specialtydrug benefit
   Specialty drugs provided by or obtained from a qualified provider in a health care
   practitioner's office, free-standing facility, outpatient hospital, and an urgent care center


   Network provider                                    20% coinsurance after network provider
                                                       deductible



   Specialty drugs provided by or obtained from a qualified provider in a home


   Network provider designated by us as a preferred     Covered in full
   provider of specialty drugs


   Network provider                                    20% coinsurance after network provider
                                                       deductible



   Residentialtreatmentfacility services
   Same as any other behavioral health services for inpatient or outpatient covered expenses.


   Autism spectrumdisorders
   Same as any other behavioral health sickness based upon location of services and the type of provider.




   CHMO 2004-C 16 SBH 22.1                                                                              34
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           SCHEDULE OF BENEFITS - PHARMACY SERVICES
   Reading this "Schedule of Benefits - Pharmacy Services" section will help you understand:

   •   The level of benefits we generally pay for the prescription drugs, medicines, medications, and
       specialty drugs covered under the master group contract;
   •   The copayment and/or coinsurance amount you are required to pay; and
   •   The required prescription drug deductible amount to be met, if any, before benefits are paid; and
   •   Prior authorization requirements.

   This "Schedule of Benefits- Pharmacy Services" outlines the coverage and limitations provided under
   the master group contract. A more detailed explanation of your coverage and its limitations and
   exclusions for these benefits is provided in the "Covered Expenses - Pharmacy Services," "Limitations
   and Exclusions" and "Limitations and Exclusions - Pharmacy Services" sections of this certificate.

   Covered expenses for prescription drugs and specialty drugs obtained from a network pharmacy under
   provisions of this benefit apply toward your out-of-pocket limit.

   For the purposes of coordination ofbenefits,prescription drug coverage under this benefit will be
   considered a separate plan and will therefore only be coordinated with other prescription drug coverage.

   All terms used in this "Schedule of Benefits- Pharmacy Services" have the meaning given to them in
   the "Glossary" section, unless otherwise specifically defined in the "Glossary - Pharmacy Services"
   section of this certificate. Services are subject to all terms, provisions, limitations, and exclusions of the
   master group contract.


   Prior authorizationand step therapy requirements
   Prior authorization is required for certain prescription drugs, medicines, medications, and specialty
   drugs. Your health care practitioner must submit a request for prior authorization to Clinical
   Pharmacy Review and receive our approval before benefits are paid by us.

   Step therapy is another type of prior authorization that requires you to follow certain steps before
   benefits are paid by us. To receive benefits, you are required to first try alternative drugs, medicines,
   medications or specialty drugs that have been determined to be safe, effective and more cost-effective
   for your condition. Alternatives may include over-the-counter drugs, generic drugs and brand-name
   drugs. A step therapy exception for any clinically appropriate prescription drug included on the drug
   list can be requested as described in the "Step therapy exception request" provision in the "Covered
   Expenses - Pharmacy Services" section of this certificate.

   Visit our Website at www .humana .com or call the customer service telephone number on your ID card
   to obtain our drug list that identifies the prescription drugs, medicines, medications, and specialty drugs
   that require prior authorization and/or step therapy. The drug list is subject to change. Coverage
   provided in the past is not a guarantee of future coverage.




   CHMO 2004-C SRx 22.1                                                                                        35
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          SCHEDULE OF BENEFITS - PHARMACY SERVICES
                          (continued)
   Preventivemedicationcoverage
  Drugs, medicines or medications and supplies on the Preventive Medication Coverage drug list are
  covered in full when prescribed for preventive purposes and obtained from a network pharmacy with a
  prescription from a health care practitioner.


   Prescriptiondrug cost sharing
  You are responsible for any and all cost share, when applicable, as specified below. If the dispensing
  pharmacy's charge is less than your copayment or coinsurance for prescription drugs, you will be
  responsible for the dispensing pharmacy charge amount. The amount paid by us to the dispensing
  pharmacy may not reflect the ultimate cost to us for the drug. Your copayment or coinsurance is made
  on a per prescription fill or refill basis and will not be adjusted if we receive any retrospective volume
  discounts or prescription drug rebates.


   Prescriptionsynchronization
  We will cover a prescription dispensed by a pharmacy for less than a 30-day supply, when requested by
  you, to synchronize your prescriptions that treat a permanent or long-term sickness or bodily injury.
  Synchronizing your prescriptions is to align the dispensing of multiple prescriptions by a pharmacy.
  Your prescribing health care practitioner or the pharmacist will determine if synchronizing the fill or
  refill of your prescription is in your best interest. The cost share for a partial supply of a prescription
  will be prorated when dispensed to synchronize your prescriptions.




   CHMO 2004-C SRx 22.1                                                                                    36
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           SCHEDULE OF BENEFITS - PHARMACY SERVICES
                           (continued)
   Retail pharmacy                                          Coverage for up to a 30-day supply
   Does not include specialty drugs. Refer to the "Specialty pharmacy/ Retail pharmacy" provision in this
   "Schedule of Benefits - Pharmacy Services" section.


   Network pharmacy level 1 drugs                       $10 copayment per prescription fill or refill


   Network pharmacy level 2 drugs                       $40 copayment per prescription fill or refill


   Network pharmacy level 3 drugs                       $70 copayment per prescription fill or refill


   Network pharmacy level 4 drugs                       25% coinsurance per prescription fill or refill



   90-day Retail pharmacy
  Some retail pharmacies participate in our program, which allows you to receive a 90-day supply of a
  prescription fill or refill. Your cost is 3 times the applicable copayment outlined above, or the applicable
  coinsurance amount, if any, as specified above. Specialty drugs are limited to a 30-day supply from a
  specialty pharmacy or a retail pharmacy, unless otherwise determined by us.


   Mail order pharmacy                                              90-day supply
   Does not include specialty drugs. Refer to the "Specialty pharmacy / Retail pharmacy" provision in this
   "Schedule of Benefits - Pharmacy Services" section.


   Network pharmacy level 1 drugs, level 2 drugs        2.5 times the applicable copayment per
   and level 3 drugs                                    prescription fill or refill, as outlined above under
                                                        "Retail pharmacy"


   Network pharmacy level 4 drugs                       25% coinsurance per prescription fill or refill




   CHMO 2004-C SRx 22.1                                                                                        37
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           SCHEDULE OF BENEFITS - PHARMACY SERVICES
                           (continued)
   Specialty pharmacy / Retail pharmacy                   Coverage for up to a 30-day supply

   Network pharmacy designated by us as a preferred 25% coinsurance per specialty drug prescription
   provider of specialty drugs                      fill or refill


   Network pharmacy provider of specialty drugs        35% coinsurance per specialty drug prescription
                                                       fill or refill



   Oral cancer treatment medications
  Your cost share for covered orally administered cancer treatment medications will not exceed $50 per
  prescription fill or refill.


   Dispense as written
   If you request a brand-name drug when a generic drug is available, your cost share is greater. You are
   responsible for the applicable brand-name drug copayment or coinsurance and 100% of the difference
   between the amount we would have paid the dispensing pharmacy for the brand-name drug and the
   amount we would have paid the dispensing pharmacy for the generic drug. If the prescribing health
   care practitioner determines that the brand-name drug is medically necessary, you are only responsible
   for the applicable copayment or coinsurance of the brand-name drug.




   CHMO 2004-C SRx 22.1                                                                                  38
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                                     COVERED EXPENSES
   This "Covered Expenses" section describes the services that will be considered covered expenses under
   the master group contract. Benefits will be paid for covered medical services for a bodily injury or
   sickness, or for specified preventive services, on a maximum allowable fee basis and as shown on the
   "Schedules of Benefits," subject to any applicable:

   •   Preauthorization requirements;
   •   Deductible;
   •   Copayment,
   •   Coinsurance percentage; and
   •   Maximum benefit.

   Refer to the "Limitations and Exclusions" section listed in this certificate. All terms and provisions of
   the master group contract apply.


   Preventiveservices
   Covered expenses include the preventive services appropriate for you as recommended by the U.S.
   Department of Health and Human Services (HHS) for your plan year. Preventive services include:

   •   Services with an A or B rating in the current recommendations of the U.S. Preventive Services Task
       Force (USPSTF).
   •   Immunizations recommended by the Advisory Committee on Immunization Practices of the Centers
       for Disease Control and Prevention (CDC).
   •   Preventive care for infants, children and adolescents provided in the comprehensive guidelines
       supported by the Health Resources and Services Administration (HRSA).
   •   Preventive care for women provided in the comprehensive guidelines supported by HRSA.
       Coverage includes:

           A baseline mammogram for women 35 years of age or older, but younger than 40;
           A mammogram every 2 years for women 40 years of age or older, but younger than 50;
           A yearly mammogram for women 50 years of age or older; or
           As recommended by their health care practitioner for preventive purposes.

   For the recommended preventive services that apply to your plan year, refer to thewww.healthcare.gov
   website or call the customer service telephone number on your ID card.


   Health care practitioneroffice services
   We will pay the following benefits for covered expenses incurred by you for health care practitioner
   home and office visit services. You must incur the health care practitioner's services as the result of a
   sickness or bodily injury.




   CHMO 2004-C CE 22.2                                                                                     39
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                            COVERED EXPENSES (continued)

   Health care practitioner office visit

   Covered expenses include:

   •   Home and office visits for the diagnosis and treatment of a sickness or bodily injury.
   •   Home and office visits for prenatal and post-delivery care.
   •   Home and office visits for diabetes self-management training.
   •   Diagnostic laboratory and radiology.
   •   Allergy testing.
   •   Allergy serum.
   •   Allergy injections.
   •   Injections other than allergy.
   •   Surgery, including anesthesia.
   •   Second surgical opinions.
   •   Second medical opinions by a health care practitioner of your choice, subject to the following
       conditions:
           The covered person feels that he/she is not responding to the current treatment plan in a
           satisfactory manner after a reasonable lapse of time for the condition being treated. The primary
           care physician must be so informed by the covered person, and a request for a consultation
           initiated. Such consultation shall be provided upon authorization by the Medical Director.
           The covered person disagrees with our opinion or a health care practitioner's, regarding the
           reasonableness or necessity of a surgical procedure; or, the treatment is for a serious injury or
           illness.
           The health care practitioner chosen by the covered person for the second opinion is located in
           the master group contract service area.
          We retain the right to have any tests that may be required by a non-network health care
          practitioner administered by a network provider.
           Reimbursement for second opinions by non-network health care practitioners may be limited to
           a maximum of three in a year and is subject to the maximum allowable fee applicable to the
           master group contract service area.
           The covered person is responsible for the copayment and/or coinsurance listed in the "Schedule
           of Benefits" which is a part of the master group contract.
           The covered person's network health care practitioner or our Medical Director's judgment
           concerning the treatment shall be controlling, after review of the second opinion, as to the
           obligations of Humana Medical Plan, Inc.
           Any treatment, including follow-up treatment pursuant to the second opinion is authorized by us.




   CHMO 2004-C CE 22.2                                                                                         40
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                           COVERED EXPENSES (continued)

   Telehealthand telemedicineservices
   We will pay benefits for covered expenses incurred by you for telehealth and telemedicine services for
   the diagnosis and treatment of a sickness or bodily injury. Telehealth or telemedicine services must be:
   •   Services that would otherwise be a covered expense if provided during a face-to-face consultation
       between a covered person and a health care practitioner;
   •   Provided to a covered person at the originating site; and
   •   Provided by a health care practitioner at the distant site.
   Telehealth and telemedicine services must comply with:
   •   Federal and state licensure requirements;
   •   Accreditation standards; and
   •   Guidelines of the American Telemedicine Association or other qualified medical professional
       societies to ensure quality of care.


   Health care practitionerservices at a retail clinic
   We will pay benefits for covered expenses incurred by you for health care practitioner services at a
   retail clinic for a sickness or bodily injury.


   Hospital services
   We will pay benefits for covered expenses incurred by you while hospital confined or for outpatient
   services. A hospital confinement must be ordered by a health care practitioner.
   For emergency care benefits provided in a hospital, refer to the "Emergency services" provision of this
   section.

   Hospital inpatient services
   Covered expenses include:
   •   Daily semi-private, ward, intensive care or coronary care room and board charges for each day of
       confinement. Benefits for a private or single-bed room are limited to the maximum allowable fee
       charged for a semi-private room in the hospital while confined.
   •   Services and supplies, other than room and board, provided by a hospital while confined.

   Health care practitioner inpatient services when provided in a hospital

   Services that are payable as a hospital charge are not payable as a health care practitioner charge.
   Covered expenses include:
   •   Medical services furnished by an attending health care practitioner to you while you are hospital
       confined.
   •   Surgery performed on an inpatient basis.
   •   Services of an assistant surgeon.


   CHMO 2004-C CE 22.2                                                                                     41
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                            COVERED EXPENSES (continued)

   •   Services of a surgical assistant.

   •   Anesthesia administered by a health care practitioner or certified registered anesthetist attendant for
       a surgery.

   •   Consultation charges reguested by the attending health care practitioner during a hospital
       confinement. The oenefit is limited to one consultation by any one health care practitioner per
       specialty during a hospital confinement.

   •   Services of a pathologist.

   •   Services of a radiologist.

   •   Services performed on an emergency basis in a hospital if the sickness or bodily injury being treated
       results in a hospital confinement.


   Hospital outpatient services
   Covered expenses include outpatient services and supplies, as outlined in the following provisions,
   provided in a hospital's outpatient department.
   Covered expenses provided in a hospital's outpatient department will not exceed the average
   semi-private room rate when you are in observation status.


   Hospital outpatient surgical services
   Covered expenses include services provided in a hospital's outpatient department in connection with
   outpatient surgery.


   Health care practitioner outpatient services when provided in a hospital
   Services that are payable as a hospital charge are not payable as a health care practitioner charge.
   Covered expenses include:

   •   Surgery performed on an outpatient basis.
   •   Services of an assistant surgeon.
   •   Services of a surgical assistant.
   •   Anesthesia administered by a health care practitioner or certified registered anesthetist attendant for
       a surgery.
   •   Services of a pathologist.
   •   Services of a radiologist.
   •   Post-delivery care including services rendered in an outpatient maternity center.


   Hospital outpatient non-surgical services

   Covered expenses include services provided in a hospital's outpatient department in connection with
   non-surgical services.




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                            COVERED EXPENSES (continued)

   Hospital outpatient advanced imaging

   We will pay benefits for covered expenses incurred by you for outpatient advanced imaging in a
   hospital's outpatient department.

   Pregnancyand newbornbenefit
   We will pay benefits for covered expenses incurred by a covered person for a pregnancy.

   Covered expenses include:

   •   A minimum stay in a hospital for 48 hours following an uncomplicated vaginal delivery and 96
       hours following an uncomplicated cesarean section. If an earlier discharge is consistent with the
       most current protocols and guidelines of the American College of Obstetricians and Gynecologists
       or the American Academy of Pediatrics and is consented to by the mother and the attending health
       care practitioner, a post-discharge office visit to the health care practitioner or a home health care
       visit within the first 48 hours after discharge is also covered, subject to the terms of this certificate.
   •   For a newborn, hospital confinement during the first 48 hours or 96 hours following birth, as
       applicable and listed above for:
           Hospital charges for routine nursery care;
           The health care practitioner's charges for circumcision of the newborn child; and
           The health care practitioner's charges for routine examination of the newborn before release
           from the hospital.

   •   If the covered newborn must remain in the hospital past the mother's confinement, services and
       supplies received for:

           A bodily injury or sickness;
           Care and treatment for premature birth; and
           Medically diagnosed birth defects and abnormalities.
   Covered expenses also include cosmetic surgery specifically and solely for:

   •   Reconstruction due to bodily injury, infection or other disease of the involved part; or
   •   Congenital anomaly of a covered dependent child that resulted in a functional impairment.

   Covered expenses also include those services rendered in licensed birth centers.

   The newborn will not be required to satisfy a separate deductible and/or copayment for hospital facility
   charges for the confinement period immediately following birth. A deductible and/or copayment, if
   applicable, will be required for any subsequent hospital admission.

   If determined by the covered person and your health care practitioner, coverage is available in a
   birthing center. Covered expenses in a birthing center include:

   •   An uncomplicated, vaginal delivery; and
   •   Immediate care after delivery for the covered person and the newborn.



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                            COVERED EXPENSES (continued)

   Emergencyservices
   We will pay benefits for covered expenses incurred by you for emergency care, including the treatment
   and stabilization of an emergency medical condition.

   Emergency care provided by a non-network hospital or a non-network health care practitioner will be
   covered at the network provider benefits as specified in the "Emergency services" benefit on the
   "Schedule of Benefits," subject to the maximum allowable fee. You are responsible for any applicable
   copayment, deductible and coinsurance for services received. Non-network providers have not signed
   an agreement with us to accept discounted or negotiated fees for services and may bill you for charges in
   excess of the maximum allowable fee. Unless balance billing is prohibited by applicable law, you may
   be required to pay any amount not paid by us in addition to any applicable copayment, deductible and
   coinsurance for services received.

   Benefits under this "Emergency services" provision are not available if the services provided are not for
   an emergency medical condition.


   Ambulanceservices
   We will pay benefits for covered expenses incurred by you for licensed ambulance services to, from or
   between medical facilities for an emergency medical condition. We will also pay benefits for a newborn
   dependent's transportation to and from the nearest available facility staffed and equipped to treat the
   newborn's condition if the transportation is certified by the attending physician as necessary to protect
   the health and safety of the newborn dependent.

  Ambulance services for emergency care provided by a non-network provider will be covered at the
  network provider benefit as specified in the "Ambulance services" benefit on the "Schedule of Benefits,"
  subject to the maximum allowable fee. You are responsible for any applicable copayment, deductible
  and coinsurance for services received. Non-network providers have not signed an agreement with us to
  accept discounted or negotiated fees for services and may bill you for charges in excess of the maximum
  allowable fee. Unless balance billing is prohibited by applicable law, you may be required to pay any
  amount not paid by us in addition to any applicable copayment, deductible and coinsurance for services
  received.


   Ambulatorysurgical center services
   We will pay benefits for covered expenses incurred by you for services provided in an ambulatory
   surgical center for the utilization of the facility and ancillary services in connection with outpatient
   surgery.




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                           COVERED EXPENSES (continued)

   Health care practitioner outpatient services when provided in an ambulatory surgical
   center

  Services that are payable as an ambulatory surgical center charge are not payable as a health care
  practitioner charge.

   Covered expenses include:

   •   Surgery performed on an outpatient basis.
   •   Services of an assistant surgeon.
   •   Services of a surgical assistant.
   •   Anesthesia administered by a health care practitioner or certified registered anesthetist attendant for
       a surgery.
   •   Services of a pathologist.
   •   Services of a radiologist.


   Durable medical equipmentand diabetes equipment
   We will pay benefits for covered expenses incurred by you for durable medical equipment and diabetes
   equipment.

   At our option, covered expense includes the purchase or rental of durable medical equipment or diabetes
   equipment. If the cost of renting the equipment is more than you would pay to buy it, only the purchase
   price is considered a covered expense. In either case, total covered expenses for durable medical
   equipment or diabetes equipment shall not exceed its purchase price. In the event we determine to
   purchase the durable medical equipment or diabetes equipment, any amount paid as rent for such
   equipment will be credited toward the purchase price.

   Repair and maintenance of purchased durable medical equipment and diabetes equipment is a covered
   expense if:

   •   Manufacturer's warranty is expired; and
   •   Repair or maintenance is not a result of misuse or abuse; and
   •   Repair cost is less than replacement cost.

   Replacement of purchased durable medical equipment and diabetes equipment is a covered expense if:

   •   Manufacturer's warranty is expired; and
   •   Replacement cost is less than repair cost; and
   •   Replacement is not due to lost or stolen equipment, or misuse or abuse of the equipment; or
   •   Replacement is required due to a change in your condition that makes the current equipment
       non-functional.


   Free-standingfacility services
   Free-standing facility diagnostic laboratory and radiology services
   We will pay benefits for covered expenses for services provided in afree-standing facility.


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                           COVERED EXPENSES (continued)

   Health care practitioner non-surgical services when provided in a free-standing facility

   We will pay benefits for outpatient non-surgical services provided by a health care practitioner in a
  free-standing facility.


   Free-standing facility advanced imaging

   We will pay benefits for covered expenses incurred by you for outpatient advanced imaging in a
  free-standing facility.


   Home health care services
   We will pay benefits for covered expenses incurred by you in connection with a home health care plan
   provided by a home health care agency. All home health care services and supplies must be provided
   on a part-time or intermittent basis to you in conjunction with the approved home health care plan.

   The "Schedule of Benefits" shows the maximum number of visits allowed by a representative of a home
   health care agency, if any. A visit by any representative of a home health care agency of two hours or
   less will be counted as one visit. Each additional two hours or less is considered an additional visit.

   Home health care covered expenses are limited to:

   •   Care provided by a nurse;
   •   Physical, occupational, respiratory or speech therapy;
   •   Medical social work and nutrition services; and
   •   Medical supplies, except for durable medical equipment; and
   •   Laboratory services.

   Home health care covered expenses do not include:

   •   Charges for mileage or travel time to and from the covered person's home;
   •   Wage or shift differentials for any representative of a home health care agency;
   •   Charges for supervision of home health care agencies;
   •   Charges for services of a home health aide;
   •   Custodial care; or
   •   The provision or administration of self-administered injectable drugs, unless otherwise determined
       byus.


   Hospice services
  We will pay benefits for covered expenses incurred by you for a hospice care program. A health care
  practitioner must certify that the covered person is terminally ill with a life expectancy of 18 months or
  less.

   If the above criteria is not met, no benefits will be payable under the master group contract.



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                            COVERED EXPENSES (continued)
   Hospice care benefits are payable as shown in the "Schedule of Benefits" for the following hospice
   services:

   •   Room and board at a hospice, when it is for management of acute pain or for an acute phase of
       chronic symptom management;
   •   Part-time nursing care provided by or supervised by a registered nurse (R.N.) for up to eight hours in
       any one day;
   •   Counseling for the terminally ill covered person and his/her immediate covered family members by
       a licensed:

           Clinical social worker; or
           Pastoral counselor.

   •   Medical social services provided to the terminally ill covered person or his/her immediate covered
       family members under the direction of a health care practitioner, including:

           Assessment of social, emotional and medical needs, and the home and family situation; and
           Identification of the community resources available.

   •   Psychological and dietary counseling;
   •   Physical therapy;
   •   Part-time home health aide services for up to eight hours in any one day; and
   •   Medical supplies, drugs, and medicines for palliative care.

   Hospice care covered expenses do not include:

   •   A confinement not required for acute pain control or other treatment for an acute phase of chronic
       symptom management;
   •   Services by volunteers or persons who do not regularly charge for their services;
   •   Services by a licensed pastoral counselor to a member of his or her congregation. These are services
       in the course of the duties to which he or she is called as a pastor or minister; and
   •   Bereavement counseling services for family members not covered under the master group contract.


   Jaw joint benefit
   We will pay benefits for covered expenses incurred by you during a plan of treatment for any jaw joint
   problem, including temporomandibular joint disorder, craniomaxillary disorder, craniomandibular
   disorder, head and neck neuromuscular disorder or other conditions of the joint linking the jaw bone and
   the skull, subject to the maximum benefit shown in the "Schedule of Benefits," if any. Expenses
   covered under this jaw joint benefit are not covered under any other provision of this certificate.

   The following are covered expenses:

   •   A single examination including a history, physical examination, muscle testing, range of motion
       measurements, and psychological evaluation;

   •   Diagnostic x-rays;
   •   Physical therapy of necessary frequency and duration, limited to a multiple modality benefit when
       more than one therapeutic treatment is rendered on the same date of service;



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                              COVERED EXPENSES (continued)

   •   Therapeutic injections;

   •   Appliance therapy utilizing an appliance that does not permanently alter tooth position, jaw position
       or bite. Benefits for reversible appliance therapy will be based on the maximum allowable fee for
       use of a single appliance, regardless of the number of appliances used in treatment. The benefit for
       the appliance therapy will include an allowance for all jaw relation and position diagnostic services,
       office visits, adjustments, training, repair, and replacement of the appliance; and

   •   Surgical procedures.

   Covered expenses do not include charges for:

   •   Computed Tomography (CT) scans or magnetic resonance imaging except in conjunction with
       surgical management;
   •   Electronic diagnostic modalities;
   •   Occlusal analysis; or
   •   Any irreversible procedure, including: orthodontics, occlusal adjustment, crowns, onlays, fixed or
       removable partial dentures, and full dentures.


   Physical medicineand rehabilitativeservices
   We will pay benefits for covered expenses incurred by you for the following physical medicine and/or
   rehabilitative services for a documented functional impairment, pain, or developmental delay or defect
   as ordered by a health care practitioner and performed by a health care practitioner:

   •   Physical therapy services;
   •   Occupational therapy services;
   •   Spinal manipulations/adjustments;
   •   Speech therapy or speech pathology services;
   •   Audiology services;
   •   Cognitive rehabilitation services;
   •   Respiratory or pulmonary rehabilitation services; and
   •   Cardiac rehabilitation services.

   The "Schedule of Benefits" shows the maximum number of visits for physical medicine and/or
   rehabilitative services, if any.


   Skilled nursing facility services
   We will pay benefits for covered expenses incurred by you for charges made by a skilled nursing facility
   for room and board and for services and supplies. Your confinement to a skilled nursing facility must
   be based upon a written recommendation of a health care practitioner.

   The "Schedule of Benefits" shows the maximum length of time for which we will pay benefits for
   charges made by a skilled nursing facility, if any.




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                            COVERED EXPENSES (continued)

   Health care practitioner services when provided in a skilled nursing facility

   Services that are payable as a skilled nursing facility charge are not payable as a health care practitioner
   charge.

   Covered expenses include:

   •   Medical services furnished by an attending health care practitioner to you while you are confined in
       a skilled nursing facility;
   •   Consultation charges requested by the attending health care practitioner during a confinement in a
       skilled nursing facility;
   •   Services of a pathologist; and
   •   Services of a radiologist.


   Specialtydrug medicalbenefit
   We will pay benefits for covered expenses incurred by you for specialty drugs provided by or obtained
   from a qualified provider in the following locations:

   •   Health care practitioner's office;
   •   Free-standingfaci/ity;
   •   Urgent care center,
   •   Ahome;
   •   Hospital;
   •   Skilled nursing facility;
   •   Ambulance; and
   •   Emergency room.

   Specialty drugs may be subject to preauthorization requirements. Refer to the "Schedule of Benefits" in
   this certificate for preauthorization requirements and contact us prior to receiving specialty drugs.
   Coverage for certain specialty drugs administered to you by a qualified provider in a hospital's
   outpatient department may only be granted as described in the "Access to non-formulary drugs"
   provision in the "Covered Expenses - Pharmacy Services" section in this certificate.

   Specialty drug benefits do not include the charge for the actual administration of the specialty drug.
   Benefits for the administration of specialty drugs are based on the location of the service and type of
   provider.


   Transplantservices and immune effector cell therapy
   We will pay benefits for covered expenses incurred by you for covered transplants and immune effector
   cell therapies approved by the United States Food and Drug Administration, including Chimeric
   Antigen Receptor Therapy (CAR-T). The transplant services and immune effector cell therapy must be
   preauthorized and approved by us.




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                            COVERED EXPENSES (continued)
  You or your health care practitioner must call our Transplant Department at 866-421-5663 to request
  and obtainpreauthorization from us for covered transplants and immune effector cell therapies. We
  must be notified of the initial evaluation and given a reasonable opportunity to review the clinical results
  to determine if the requested transplant or immune effector cell therapy will be covered. We will advise
  your health care practitioner once coverage is approved by us. Benefits are payable only if the
  transplant or immune effector cell therapy is approved by us.

   Covered expenses for a transplant include pre-transplant services, transplant inclusive of any integral
   chemotherapy and associated services, post-discharge services, and treatment of complications after
   transplantation for or in connection with only the following procedures:

   •   Heart;
   •   Lung(s);
   •   Liver;
   •   Kidney;
   •   Stem cell;
   •   Intestine;
   •   Pancreas;
   •   Auto islet cell;
   •   Any combination of the above listed transplants; and
   •   Any transplant not listed above required by state or federal law.

   Multiple solid organ transplants performed simultaneously are considered one transplant surgery.
   Multiple stem cell or immune effector cell therapy infusions occurring as part of one treatment plan is
   considered one event.
   Corneal transplants and porcine heart valve implants are tissues, which are considered part of regular
   plan benefits and are subject to other applicable provisions of the master group contract.

   The following are covered expenses for an approved transplant or immune effector cell therapy and all
   related complications:

   •   Hospital and health care practitioner services.
   •   Acquisition of cell therapy products for immune effector cell therapy, acquisition of stem cells or
       solid organs for transplants and associated donor costs, including pre-transplant or immune effector
       cell therapy services, the acquisition procedure, and any complications resulting from the harvest
       and/or acquisition. Donor costs for post-discharge services and treatment of complications will not
       exceed the treatment period of 365 days from the date of discharge following harvest and/or
       acquisition.
   •   Non-medical travel and lodging costs for:

          The covered person receiving the transplant or immune effector cell therapy, if the covered
          person lives more than 100 miles from the transplant or immune effector cell therapy facility
          designated by us; and

           One caregiver or support person (two, when the covered person receiving the transplant or
           immune effector cell therapy is under 18 years of age), if the caregiver or support person lives
           more than 100 miles from the transplant or immune effector cell therapy facility designated by
           us.


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                            COVERED EXPENSES (continued)
       Non-medical travel and lodging costs include:

           Transportation to and from the designated transplant or immune effector cell therapy facility
           where the transplant or immune effector cell therapy is performed; and
           Temporary lodging at a prearranged location when requested by the designated transplant or
           immune effector cell therapy facility and approved by us.

       All non-medical travel and lodging costs for transplant and immune effector cell therapy are payable
       as specified in the "Schedule of Benefits" section in this certificate.

   Covered expenses for post-discharge services and treatment of complications for or in connection with
   an approved transplant or immune effector cell therapy are limited to the treatment period of 365 days
   from the date of discharge following transplantation of an approved transplant received while you were
   covered by us. After this transplant treatment period, regular plan benefits and other provisions of the
   master group contract are applicable.


   Urgent care services
   We will pay benefits for urgent care covered expenses incurred by you for charges made by an urgent
   care center or an urgent care qualified provider.


   Additionalcoveredexpenses
   We will pay benefits for covered expenses incurred by you based upon the location of the services and
   the type of provider for:

   •   Blood and blood plasma which is not replaced by donation; administration of the blood and blood
       products including blood extracts or derivatives.

   •   Oxygen and rental of equipment for its administration.

   •   Prosthetic devices and supplies, including limbs and eyes. Coverage will be provided for prosthetic
       devices to:

           Restore the previous level of function lost as a result of a bodily injury or sickness; or
           Improve function caused by a congenital anomaly.

       Covered expense for prosthetic devices includes repair or replacement, if not covered by the
       manufacturer, and if due to:

           A change in the covered persons physical condition causing the device to become
           non-functional; or
           Normal wear and tear.

   •   Cochlear implants, when approved by us, for a covered person with bilateral severe to profound
       sensorineural deafness.




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                            COVERED EXPENSES (continued)
       Replacement or upgrade of a cochlear implant and its external components may be a covered
       expense if:

           The existing device malfunctions and cannot be repaired;
           Replacement is due to a change in the covered persons condition that makes the present device
           non-functional; or
           The replacement or upgrade is not for cosmetic purposes.

   •   Orthotics used to support, align, prevent, or correct deformities.

       Covered expense does not include:

           Replacement orthotics;
           Dental braces; or
           Oral or dental splints and appliances, unless custom made for the treatment of documented
           obstructive sleep apnea.

   •   The following special supplies, dispensed up to a 30-day supply, when prescribed by your attending
       health care practitioner:

           Surgical dressings;
           Catheters;
           Colostomy bags, rings and belts; and
           Flotation pads.

   •   The initial pair of eyeglasses or contacts needed due to cataract surgery or an accident if the
       eyeglasses or contacts were not needed prior to the accident.

   •   Dental treatment only if the charges are incurred for treatment of a dental injury to a sound natural
       tooth.

   •   However, benefits will be paid only for the least expensive service that will, in our opinion, produce
       a professionally adequate result.

   •   Hospitalization services and general anesthesia for dental treatment or surgery when provided to a
       covered person who is under 8 years of age and who is determined by a licensed dentist and the
       child's physician to require necessary dental treatment in a hospital or ambulatory surgical center
       due to a significantly complex dental condition or a developmental disability in which patient
       management in the dental office has proven to be ineffective; or has one or more medical conditions
       that would create significant or undue medical risk in the course of treatment delivery if not
       rendered in a hospital or ambulatory surgical center.




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                            COVERED EXPENSES (continued)

   •   Certain oral surgical operations as follows:

           Excision of partially or completely impacted teeth;

           Surgical preparation of soft tissues and excision of bone or bone tissue performed with or
           without extraction or excision of erupted, partially erupted or completely un-erupted teeth;

           Excisions of tumors and cysts of the jaws, cheeks, lips, tongue, roof, and floor of the mouth, and
           related biopsy of bone, tooth, or related tissues when such conditions require pathological
           examinations;

           Surgical procedures related to repositioning of teeth, tooth transplantation or re-implantation;

           Services required to correct accidental injuries of the jaws, cheeks, lips, tongue, roof, and floor
           of the mouth;

           Reduction of fractures and dislocation of the jaw;

           External incision and drainage of cellulitis and abscess;

           Incision and closure of accessory sinuses, salivary glands or ducts;

           Frenectomy (the cutting of the tissue in the midline of the tongue); and

           Orthognathic surgery for a congenital anomaly, bodily injury or sickness causing a functional
           impairment.

   •   For a covered person, who is receiving benefits in connection with a mastectomy, service for:

           Reconstructive surgery of the breast on which the mastectomy has been performed;
           Surgery and reconstruction on the non-diseased breast to achieve symmetrical appearance; and
           Prostheses and treatment of physical complications for all stages of mastectomy, including
           lymphedemas; and
           Post-surgical follow-up care.

   •   Reconstructive surgery resulting from:

           A bodily injury, infection or other disease of the involved part, when a functional impairment is
           present; or
           A congenital anomaly that resulted in a functional impairment.

       Expenses for reconstructive surgery due to a psychological condition are not considered a covered
       expense, unless the condition(s) described above are also met.

   •   Enteral formulas, nutritional supplements and low protein modified foods for use at home by a
       covered person that are prescribed or ordered by a health care practitioner and are for the treatment
       of an inherited metabolic disease, e.g. phenylketonuria (PKU).




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                            COVERED EXPENSES (continued)
   •   Services for the medically necessary diagnosis and treatment of osteoporosis for high-risk
       individuals, including: estrogen-deficient individuals who are at clinical risk for osteoporosis;
       individuals who have vertebral abnormalities; individuals who are receiving long-term
       glucocorticoid (steroid) therapy; individuals who have primary hyperparathyroidism; and individuals
       who have a family history of osteoporosis.

   •   Covered expenses for the treatment of cleft lip and cleft palate for a covered dependent under the age
       of 18. This coverage includes medical, dental, speech therapy, audiology, and nutrition services
       when prescribed by the treating health care practitioner. The health care practitioner must certify
       that such services are medically necessary and consequent to treatment of the cleft lip or palate.
       This benefit is subject to all other terms and conditions applicable to other benefits.

   •   The following habilitative services, as ordered and performed by a health care practitioner, for a
       covered person, with a developmental delay or defect or congenital anomaly:

           Physical therapy services;
           Occupational therapy services;
           Spinal manipulations/adjustments;
           Speech therapy or speech pathology services; and
           Audiology services.

       Habilitative services apply toward the "Physical medicine and rehabilitative services" maximum
       number of visits specified in the "Schedule of Benefits."

   •   Palliative care.

   •   Routine patient care costs for a covered person participating in an approved Phase I, II, III, or IV
       clinical trial.
       Routine patient care costs include health care services that are otherwise a covered expense if the
       covered person were not participating in a clinical trial.




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                             COVERED EXPENSES (continued)
       Routine patient care costs do not include services or items that are:
           Experimental, investigational or for research purposes;
           Provided only for data collection and analysis that is not directly related to the clinical
           management of the covered person; or
           Inconsistent with widely accepted and established standards of care for a diagnosis.

       The covered person must be eligible to participate in a clinical trial according to the trial protocol
       and:
           Referred by a health care practitioner; or
           Provide medical and scientific information supporting their participation in the clinical trial is
           appropriate.
       For the routine patient care costs to be considered a covered expense, the approved clinical trial
       must be a Phase I, II, III, or IV clinical trial for the prevention, detection or treatment of cancer or
       other life threatening condition or disease and is:
           Federally funded or approved by the appropriate federal agency;
           The study or investigation is conducted under an investigational new drug application reviewed
           by the Federal Food and Drug Administration; or
           The study or investigation is a drug trial that is exempt from having such an investigational new
           drug application.
       Cancer screenings and exams must be covered in compliance with the most recently published
       guidelines and recommendations established by any of the following:
           American Cancer Society;
           National Institutes of Health;
           National Cancer Institute;
           U.S. Public Health Service;
           Center for Disease Control;
           U.S. Preventive Services Task Force;
           National Comprehensive Cancer Network; or
           Other nationally recognized health care organizations.
   •   Treatment of Down syndrome through:
           Speech therapy;
           Occupational therapy;
           Physical therapy; and
           Applied behavior analysis provided by a certified behavior analyst, psychologist,
           psychotherapist, clinical social worker, marriage and family therapist, or mental health
           counselor.




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              COVERED EXPENSES - BEHAVIORAL HEALTH
   This "Covered Expenses - Behavioral Health" section describes the services that will be considered
   covered expenses for mental health services and chemical dependency services under the master group
   contract. Benefits for mental health services and chemical dependency services will be paid on a
   maximum allowable fee basis and as shown in the "Schedule of Benefits - Behavioral Health." Refer to
   the "Schedule of Benefits" for any service not specifically listed in the "Schedule of Benefits -
   Behavioral Health." Benefits are subject to any applicable:

   •   Preauthorization requirements;
   •   Deductible;
   •   Copayment,
   •   Coinsurance percentage; and
   •   Maximum benefit.

   Refer to the "Limitations and Exclusions" section listed in this certificate. All terms and provisions of
   the master group contract apply.


   Acute inpatientservices
   We will pay benefits for covered expenses incurred by you due to an admission or confinement for acute
   inpatient services for mental health services and chemical dependency services provided in a hospital or
   health care treatment facility.


   Acute inpatient health care practitioner services

   We will pay benefits for covered expenses incurred by you for mental health services and chemical
   dependency services provided by a health care practitioner, including telehealth or telemedicine, in a
   hospital or health care treatment facility.


   Emergencyservices
   We will pay benefits for covered expenses incurred by you for emergency care, including the treatment
   and stabilization of an emergency medical condition for mental health services and chemical dependency
   services.

   Emergency care provided by a non-network provider will be covered at the network provider benefit
   level, as specified in the "Emergency services" benefit in the "Schedule of Benefits" or "Schedule of
   Benefits - Behavioral Health" sections of this certificate, subject to the maximum allowable fee. You are
   responsible for any applicable copayment, deductible, and coinsurance for services received.
   Non-network providers have not signed an agreement with us to accept discounted or negotiated fees for
   services and may bill you for charges in excess of the maximum allowable fee. Unless balance billing is
   prohibited by applicable law, you may be required to pay any amount not paid by us in addition to any
   applicable copayment, deductible and coinsurance for services received.




   CHMO 2004-C CEBH 22.1                                                                                    56
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       COVERED EXPENSES - BEHAVIORAL HEALTH (continued)
   Benefits under this "Emergency services" provision are not available if the services provided are not for
   an emergency medical condition.


   Urgent care services
   We will pay benefits for urgent care covered expenses incurred by you for charges made by an urgent
   care center or an urgent care qualified provider for mental health services and chemical dependency
   services.


   Outpatientservices
   We will pay benefits for covered expenses incurred by you for mental health services and chemical
   dependency services, including services in a health care practitioner office, retail clinic or healthcare
   treatment facility. Coverage includes outpatient therapy, intensive outpatient programs, partial
   hospitalization, telehealth and telemedicine, and other outpatient services.


   Skilled nursing facility services
   We will pay benefits for covered expenses incurred by you in a skilled nursing facility for mental health
   services and chemical dependency services. Your confinement to a skilled nursing facility must be based
   upon a written recommendation of a health care practitioner.

   Covered expenses also include health care practitioner services for behavioral health during your
   confinement in a skilled nursing facility.


   Home health care services
   We will pay benefits for covered expenses incurred by you, in connection with a home health care plan,
   for mental health services and chemical dependency services. All home health care services and
   supplies must be provided on a part-time or intermittent basis to you in conjunction with the approved
   home health care plan.

   Home health care covered expenses include services provided by a health care practitioner who is a
   behavioral health professional, such as a counselor, psychologist or psychiatrist.

   Home health care covered expenses do not include:

   •    Charges for mileage or travel time to and from the covered person's home;
   •    Wage or shift differentials for any representative of a home health care agency;
   •    Charges for supervision of home health care agencies;
   •    Charges for services of a home health aide;
   •    Custodial care; or
   •    The provision or administration of self-administered injectable drugs, unless otherwise determined
        byus.




   CHMO 2004-C CEBH 22.1                                                                                       57
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       COVERED EXPENSES - BEHAVIORAL HEALTH (continued)

   Specialtydrug benefit
   We will pay benefits for covered expenses incurred by you for behavioral health specialty drugs
   provided by or obtained from a qualified provider in the following locations:

   •   Health care practitioner's office;
   •   Free-standingfacility;
   •   Urgent care center;
   •   Ahome;
   •   Hospital;
   •   Skilled nursing facility;
   •   Ambulance; and
   •   Emergency room.

   Specialty drugs may be subject to preauthorization requirements. Refer to the "Schedule of Benefits" in
   this certificate for preauthorization requirements and contact us prior to receiving specialty drugs.
   Coverage for certain specialty drugs administered to you by a qualified provider in a hospital's
   outpatient department may only be granted as described in the "Access to non-formulary drugs"
   provision in the "Covered Expenses - Pharmacy Services" section in this certificate.

   Specialty drug benefits do not include the charge for the actual administration of the specialty drug.
   Benefits for the administration of specialty drugs are based on the location of the service and type of
   provider.


   Residentialtreatmentfacility services
   We will pay benefits for covered expenses incurred by you for mental health services and chemical
   dependency services provided while inpatient or outpatient in a residential treatment facility.


   Autism spectrumdisorders
   We will pay benefits for covered expenses incurred by you, based upon the location of the services and
   the type of provider for:

   •    Well-baby and well-child screening to diagnose the presence of autism spectrum disorder; and
   •    Treatment of autism spectrum disorder through:

            Speech therapy;

           Occupational therapy;

           Physical therapy; and

           Applied behavior analysis provided by a certified behavior analyst, psychologist,
           psychotherapist, clinical social worker, marriage and family therapist, or mental health
           counselor.



   CHMO 2004-C CEBH 22.1                                                                                     58
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               COVERED EXPENSES - PHARMACY SERVICES
   This "Covered Expenses- Pharmacy Services" section describes covered expenses under the master
   group contract for prescription drugs, including specialty drugs, dispensed by a pharmacy. Benefits are
   subject to applicable cost share shown on the "Schedule of Benefits - Pharmacy Services" section of
   this certificate.

   Refer to the "Limitations and Exclusions," "Limitations and Exclusions - Pharmacy Services,"
   "Glossary" and "Glossary - Pharmacy Services" sections in this certificate. All terms and provisions of
   the master group contract apply, including prior authorization requirements specified in the "Schedule
   of Benefits -Pharmacy Services" of this certificate.


   Coveragedescription
   We will cover prescription drugs that are received by you under this "Covered Expenses - Pharmacy
   Services" section. Benefits may be subject to dispensing limits, prior authorization and step therapy
   requirements, if any.

   Covered prescription drugs are:

   •   Drugs, medicines or medications and specialty drugs that under federal or state law may be
       dispensed only by prescription from a health care practitioner.

   •   Drugs, medicines or medications and specialty drugs included on our drug list.

   •   Insulin and diabetes supplies.

   •   Self-administered injectable drugs approved by us.

   •   Hypodermic needles, syringes or other methods of delivery when prescribed by a health care
       practitioner for use with insulin or self-administered injectable drugs. (Hypodermic needles,
       syringes or other methods of delivery used in conjunction with covered drugs may be available at no
       cost to you.)

   •   Enteral formulas and nutritional supplements for the treatment of phenylketonuria (PKU) or other
       inherited metabolic disease, or as otherwise determined by us.

   •   Spacers and/or peak flow meters for the treatment of asthma.

   •   Drugs, medicines or medications on the Preventive Medication Coverage drug list with a
       prescription from a health care practitioner.

   Notwithstanding any other provisions of the master group contract, we may decline coverage or, if
   applicable, exclude from the drug list any and all prescriptions until the conclusion of a review period
   not to exceed six months following FDA approval for the use and release of the prescriptions into the
   market.




   CHMO 2004-C CERx 21                                                                                        59
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       COVERED EXPENSES - PHARMACY SERVICES (continued)

   Restrictionson choice of providers
   If we determine you are using prescription drugs in a potentially abusive, excessive, or harmful manner,
   we may restrict your coverage of pharmacy services in one or more of the following ways:

   •   By restricting your choice of pharmacy to a single network pharmacy store or physical location for
       pharmacy services;

   •   By restricting your choice of pharmacy for covered specialty pharmacy services to a specific
       specialty pharmacy, if the network pharmacy store or physical location for pharmacy services is
       unable to provide or is not contracted with us to provide covered specialty pharmacy services; and

   •   By restricting your choice of a prescribing network health care practitioner to a specific network
       health care practitioner.

   We will determine if we will allow you to change a selected network provider. Only prescriptions
   obtained from the network pharmacy store or physical location or specialty pharmacy to which you have
   been restricted will be eligible to be considered covered expenses. Additionally, only prescriptions
   prescribed by the network health care practitioner to whom you have been restricted will be eligible to
   be considered covered expenses.


   About our drug list
  Prescription drugs, medicines or medications, including specialty drugs and self-administered injectable
  drugs prescribed by health care practitioners and covered by us are specified on our printable drug list.
  The drug list identifies categories of drugs, medicines or medications by levels and indicates dispensing
  limits, specialty drug designation, any applicable prior authorization and/or step therapy requirements.
  This information is reviewed on a regular basis by a Pharmacy and Therapeutics committee made up of
  physicians and pharmacists. Placement on the drug list does not guarantee your health care
  practitioner will prescribe that prescription drug, medicine or medication for a particular medical
  condition. You can obtain a copy of our drug list by visiting our Website at www .humana .com or
  calling the customer service telephone number on your ID card.


   Access to medicallynecessarycontraceptives
  In addition to preventive services, contraceptives on our drug list and non-formulary contraceptives may
  be covered at no cost share when your health care practitioner contacts us. We will defer to the health
  care practitioner's recommendation that a particular method of contraception or FDA approved
  contraceptive is determined to be medically necessary. The medically necessary determination made by
  your health care practitioner may include severity of side effects, differences in permanence and
  reversibility of contraceptives, and ability to adhere to the appropriate use of the contraceptive item or
  service.




   CHMO 2004-C CERx 21                                                                                      60
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       COVERED EXPENSES - PHARMACY SERVICES (continued)

   Access to non-formularydrugs
   A drug not included on our drug list is a non-formulary drug. If a health care practitioner prescribes a
   clinically appropriate non-formulary drug,you can request coverage of the non-formulary drug through a
   standard exception request or an expedited exception request. If you are dissatisfied with our decision
   of an exception request, you have the right to an external review as described in the "Non-formulary
   drug exception request external review" provision of this section.


   Non-formulary drug standard exception request
   A standard exception request for coverage of a clinically appropriate non-formulary drug may be
   initiated by you, your appointed representative, or the prescribing health care practitioner by calling the
   customer service number on your ID card, in writing, or electronically by visiting our Website at
   www .humana .com. We will respond to a standard exception request no later than 72 hours after the
   receipt date of the request.

   As part of the standard exception request, the prescribing health care practitioner should include an oral
   or written statement that provides justification to support the need for the prescribed non-formulary drug
   to treat the covered person's condition, including a statement that all covered drugs on the drug list on
   any tier:
   •   Will be or have been ineffective;
   •   Would not be as effective as the non-formulary drug; or
   •   Would have adverse effects.
   If we grant a standard exception request to cover a prescribed, clinically appropriate non-formulary drug,
   we will cover the prescribed non-formulary drug for the duration of the prescription, including refills.
   Any applicable cost share for the prescription will apply toward the out-of pocket limit.

   If we deny a standard exception request, you have the right to an external review as described in the
   "Non-formulary drug exception request external review" provision of this section.

   Non-formulary drug expedited exception request
   An expedited exception request for coverage of a clinically appropriate non-formulary drug based on
   exigent circumstances may be initiated by you, your appointed representative, or your prescribing health
   care practitioner by calling the customer service number on your ID card, in writing, or electronically
   by visiting our Website at www .humana .com. We will respond to an expedited exception request
   within 24 hours ofreceipt of the request. An exigent circumstance exists when a covered person is:




   CHMO 2004-C CERx 21                                                                                      61
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       COVERED EXPENSES - PHARMACY SERVICES (continued)
   •   Suffering from a health condition that may seriously jeopardize their life, health, or ability to regain
       maximum function; or
   •   Undergoing a current course of treatment using a non-formulary drug.

   As part of the expedited review request, the prescribing health care practitioner should include an oral
   or written:

   •   Statement that an exigent circumstance exists and explain the harm that could reasonably be
       expected to the covered person if the requested non-formulary drug is not provided within the
       timeframes of the standard exception request; and

   •   Justification supporting the need for the prescribed non-formulary drug to treat the covered person's
       condition, including a statement that all covered drugs on the drug list on any tier:

           Will be or have been ineffective;
           Would not be as effective as the non-formulary drug; or
           Would have adverse effects.

   Ifwe grant an expedited exception request to cover a prescribed, clinically appropriate non-formulary
   drug based on exigent circumstances, we will provide access to the prescribed non-formulary drug:

   •   Without unreasonable delay; and
   •   For the duration of the exigent circumstance.

   Any applicable cost share for the prescription will apply toward the out-of pocket limit.

   If we deny an expedited exception request, you have the right to an external review as described in the
   "Non-formulary drug exception request external review" provision of this section.


   Non-formulary drug exception request external review

   You, your appointed representative, or your prescribing health care practitioner have the right to an
   external review by an independent review organization if we deny a non-formulary drug standard or
   expedited exception request. To request an external review, refer to the exception request decision letter
   for instructions or call the customer service number on your ID card for assistance.


   Step therapy exceptionrequest
   Your health care practitioner may submit to us a written step therapy exception request for a clinically
   appropriate prescription drug. The health care practitioner should use the prior authorization form on
   our Website at www.humana.com or call the customer service telephone number on your ID card.

   From the time a step therapy exception request is received by us, we will either approve or deny the
   request within:




   CHMO 2004-C CERx 21                                                                                       62
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       COVERED EXPENSES - PHARMACY SERVICES (continued)
   •   24 hours for an expedited request.
   •   72 hours for a standard request.

   A covered prescription drug on our drug list will not be subject to step therapy if:

   The covered person has previously been approved to receive the prescription drug by completing step
   therapy required by a prior health carrier; and

   •   The covered person provides us documentation from the prior health carrier that approved the
       prescription drug indicating the prior health carrier paid for the prescription drug during the 90 days
       immediately before the request for coverage under this certificate.

   A written step therapy exception request will be approved when the request includes the prescribing
   health care practitioner's written statement and supporting documentation that:

   •   The prescription drug requiring step therapy has been ineffective in the treatment of your disease or
       medical condition; or

   •   Based on sound clinical evidence or medical and scientific evidence, the prescription drug requiring
       step therapy:

           Is expected or likely to be ineffective based on your known relevant clinical characteristics and
           the known characteristics of the prescription drug regimen; or
           Will cause or will likely cause an adverse reaction in or physical harm to you.

  If we deny a step therapy exception request, we will provide you or your appointed representative, and
  your prescribing health care practitioner:

   •   The reason for the denial;
   •   An alternative covered medication; and
   •   The right to appeal our decision as described in the "Complaint and Appeals Procedures" section of
       this certificate.




   CHMO 2004-C CERx 21                                                                                      63
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                           LIMITATIONS AND EXCLUSIONS
  These limitations and exclusions apply even if a health care practitioner has performed or prescribed a
  medically appropriate procedure, treatment or supply. This does not prevent your health care
  practitioner from providing or performing the procedure, treatment or supply. However, the procedure,
  treatment or supply will not be a covered expense.

   Unless specifically stated otherwise, no benefits will be provided for, or on account of, the following
   items:

   •   Treatments, services, supplies or surgeries that are not medically necessary, except preventive
       services.

   •   A sickness or bodily injury for which benefits are paid or received under any Workers'
       Compensation or similar law.

   •   Care and treatment given in a hospital owned, or run, by any government entity, unless you are
       legally required to pay for such care and treatment. However, care and treatment provided by
       military hospitals to covered persons who are armed services retirees and their dependents are not
       excluded.

   •   Any service furnished while you are confined in a hospital or institution owned or operated by the
       United States government or any of its agencies for any military service-connected sickness or bodily
       injury.

   •   Services, or any portion of a service, for which no charge is made;

   •   Services, or any portion of a service, you would not be required to pay for, or would not have been
       charged for, in the absence of this coverage.

   •   Any portion of the amount we determine you owe for a services that the provider waives, rebates or
       discounts, including your copayment, deductible or coinsurance.

   •   Sickness or bodily injury for which you are in any way paid or entitled to payment or care and
       treatment by or through a government program.

   •   Any service not ordered by a health care practitioner.

   •   Services provided to you, if you do not comply with the master group contract's requirements.
       These include services:

           Not provided by a network provider, unless the services are emergency care;
           Received in an emergency room, unless the services are emergency care;
           Which require preauthorization if preauthorization was not obtained.

   •   Private duty nursing.

   •   Services rendered by a standby physician, surgical assistant or assistant surgeon unless medically
       necessary.




   CHMO 2004-C LE 22.2                                                                                       64
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                 LIMITATIONS AND EXCLUSIONS (continued)

   •   Any service that is not rendered by the billing provider.
   •   Any service not substantiated in the medical records of the billing provider.
   •   Any amount billed for a professional component of an automated:
           Laboratory service; or
           Pathology service.
   •   Education, or training, except for diabetes self-management training and habilitative services.
   •   Educational or vocational, therapy, testing, services or schools, including therapeutic boarding
       schools and other therapeutic environments. Educational or vocational videos, tapes, books, and
       similar materials are also excluded.
   •   Services provided by a covered person's family member.
   •   Ambulance services for routine transportation to, from, or between medical facilities and/or a health
       care practitioner's office.
   •   Any drug, biological product, device, medical treatment, or procedure which is experimental,
       investigational or for research purposes.
   •   Vitamins, except for preventive services with a prescription from a health care practitioner, dietary
       supplements, and dietary formulas, except enteral formulas, nutritional supplements or low protein
       modified food products for the treatment of an inherited metabolic disease, e.g. phenylketonuria
       (PKU).
   •   Over-the-counter, non-prescription medications, unless for drugs, medicines or medications or
       supplies on the Preventive Medication Coverage drug list with a prescription from a health care
       practitioner.
   •   Over-the-counter medical items or supplies that can be provided or prescribed by a health care
       practitioner but are also available without a written order or prescription, except for preventive
       services.
   •   Immunizations required for foreign travel for a covered person of any age.

   •   Growth hormones, except as otherwise specified in the pharmacy services sections of this certificate.

   •   Prescription drugs and self-administered injectable drugs, except as specified in the "Covered
       Expenses - Pharmacy Services" section in this certificate or unless administered to you:

           While an inpatient in a hospital, skilled nursing facility, health care treatment facility, or
           residential treatment facility;
           By the following, when deemed appropriate by us:

               A health care practitioner:

                   During an office visit; or
                   While an outpatient; or

               A home health care agency as part of a covered home health care plan.



   CHMO 2004-C LE 22.2                                                                                      65
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                  LIMITATIONS AND EXCLUSIONS (continued)
   •   Hearing aids, the fitting of hearing aids or advice on their care; implantable hearing devices, except
       for cochlear implants as otherwise stated in this certificate.

   •   Services received in an emergency room, unless the services are emergency care.

   •   Weekend non-emergency hospital admissions, specifically admissions to a hospital on a Friday or
       Saturday at the convenience of the covered person or his or her health care practitioner when there
       is no cause for an emergency admission and the covered person receives no surgery or therapeutic
       treatment until the following Monday.

   •   Hospital inpatient services when you are in observation status.

   •   Infertility services; or reversal of elective sterilization.

   •   In vitro fertilization regardless of the reason for treatment.

   •   Services for or in connection with a transplant or immune effector cell therapy if:

           The expense relates to storage of cord blood and stem cells, unless it is an integral part of a
           transplant approved by us.

           Not approved by us, based on our established criteria.

           Expenses are eligible to be paid under any private or public research fund, government program
           except Medicaid, or another funding program, whether or not such funding was applied for or
           received.

           The expense relates to the transplantation of any non-human organ or tissue, unless otherwise
           stated in the master group contract.

           The expense relates to the donation or acquisition of an organ or tissue for a recipient who is not
           covered by us.

           The expense relates to a transplant or immune effector cell therapy performed outside of the
           United States and any care resulting from that transplant or immune effector cell therapy. This
           exclusion applies even if the employee and dependents live outside the United States and the
           employee is in active status with the employer sponsoring the master group contract.

   •   Services provided for:

           Immunotherapy for recurrent abortion;
           Chemonucleolysis;
           Sleep therapy;
           Light treatments for Seasonal Affective Disorder (S.A.D.);
           Immunotherapy for food allergy;
           Prolotherapy; or
           Sensory integration therapy.




   CHMO 2004-C LE 22.2                                                                                       66
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                 LIMITATIONS AND EXCLUSIONS (continued)

   •   Cosmetic surgery and cosmetic services or devices.

   •   Hair prosthesis, hair transplants or implants, and wigs.

   •   Dental services, appliances or supplies for treatment of the teeth, gums, jaws, or alveolar processes,
       including any oral surgery, endodontic services or periodontics, implants and related procedures,
       orthodontic procedures, and any dental services related to a bodily injury or sickness unless
       otherwise stated in this certificate.

   •   The following types of care of the feet:

           Shock wave therapy of the feet;
           The treatment of weak, strained, flat, unstable, or unbalanced feet;
           Hygienic care, and the treatment of superficial lesions of the feet, such as corns, calluses, or
           hyperkeratosis;
           The treatment of tarsalgia, metatarsalgia or bunion, except surgically;
           The cutting of toenails, except the removal of the nail matrix;
           Heel wedges, lifts, or shoe inserts; and
           Arch supports (foot orthotics) or orthopedic shoes, except for diabetes or hammer toe.

   •   Custodial care and maintenance care.

   •   Any loss contributed to, or caused by:

           War or any act of war, whether declared or not;
           Insurrection; or
           Any conflict involving armed forces of any authority.

   •   Services relating to a sickness or bodily injury as a result of:

           Engagement in an illegal profession or occupation; or
           Commission of or an attempt to commit a criminal act.

       This exclusion does not apply to any sickness or bodily injury resulting from an act of domestic
       violence or a medical condition (including both physical and mental health conditions).

   •   Expenses for any membership fees or program fees, including health clubs, health spas, aerobic and
       strength conditioning, work-hardening programs and weight loss or surgical programs and any
       materials or products related to these programs.

   •   Surgical procedures for the removal of excess skin and/or fat in conjunction with or resulting from
       weight loss or a weight loss surgery.




   CHMO 2004-C LE 22.2                                                                                        67
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                 LIMITATIONS AND EXCLUSIONS (continued)
   •   Expenses for services that are primarily and customarily used for environmental control or
       enhancement (whether or not prescribed by a health care practitioner) and certain medical devices
       including:

           Common household items including air conditioners, air purifiers, water purifiers, vacuum
           cleaners, waterbeds, hypoallergenic mattresses or pillows, or exercise equipment;
           Motorized transportation equipment (e.g. scooters), escalators, elevators, ramps, or modifications
           or additions to living/working quarters or transportation vehicles;
           Personal hygiene equipment including bath/shower chairs, transfer equipment or supplies or bed
           side commodes;
           Personal comfort items including cervical pillows, gravity lumbar reduction chairs, swimming
           pools, whirlpools, spas, or saunas;
           Medical equipment including:

               Blood pressure monitoring devices, unless prescribed by a health care practitioner for
               preventive services and ambulatory blood pressure monitoring is not available to confirm
               diagnosis of hypertension;

               PUV A lights; and

               Stethoscopes;

           Communication systems, telephone, television or computer systems, and related equipment or
           similar items or equipment;
           Communication devices, except after surgical removal of the larynx or a diagnosis of permanent
           lack of function of the larynx.
   •   Duplicate or similar rentals or purchases of durable medical equipment or diabetes equipment.
   •   Therapy and testing for treatment of allergies, including services related to clinical ecology,
       environmental allergy and allergic immune system dysregulation and sublingual antigen(s), extracts,
       neutralization tests and/or treatment unless such therapy or testing is approved by:
           The American Academy of Allergy and Immunology; or
           The Department of Health and Human Services or any of its offices or agencies.
   •   Lodging accommodations or transportation.
   •   Communications or travel time.

   •   Bariatric surgery, any services or complications related to bariatric surgery, and other weight loss
       products or services.




   CHMO 2004-C LE 22.2                                                                                        68
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                 LIMITATIONS AND EXCLUSIONS (continued)
   •   Sickness or bodily injury for which no-fault medical payment or expense coverage benefits are paid
       or payable under any automobile, homeowners, premises or any other similar coverage.

   •   Elective medical or surgical abortion unless:

           The pregnancy would endanger the life of the mother; or
           The pregnancy is a result of rape or incest.

   •   Alternative medicine.

   •   Acupuncture, unless:

           The treatment is medically necessary, appropriate and is provided within the scope of the
           acupuncturist's license; and
           You are directed to the acupuncturist for treatment by a licensed physician.

   •   Services rendered in a premenstrual syndrome clinic or holistic medicine clinic.

   •   Services of a midwife, unless provided by a Licensed Midwife or a Certified Nurse Midwife.

   •   Vision examinations or testing for the purposes of prescribing corrective lenses.

   •   Orthoptic/vision training (eye exercises).

   •   Radial keratotomy, refractive keratoplasty or any other surgery or procedure to correct myopia,
       hyperopia or stigmatic error.

   •   The purchase or fitting of eyeglasses or contact lenses, except as the result of an accident or
       following cataract surgery as stated in this certificate.

   •   Services and supplies which are:

           Rendered in connection with mental illnesses not classified in the International Classification of
           Diseases of the U.S. Department of Health and Human Services; or
           Extended beyond the period necessary for evaluation and diagnosis of learning and behavioral
           disabilities or for mental retardation.

   •   Marriage counseling.

   •   Expenses for employment, school, sport or camp physical examinations or for the purposes of
       obtaining insurance.

   •   Expenses for care and treatment of non-covered procedures or services.




   CHMO 2004-C LE 22.2                                                                                     69
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                 LIMITATIONS AND EXCLUSIONS (continued)
   •   Expenses for treatment of complications of non-covered procedures or services.

   •   Expenses incurred for services prior to the effective date or after the termination date of your
       coverage under the master group contract. Coverage will be extended as described in the
       "Extension of Benefits" section, as required by state law.

   •   Any care, treatment, services, equipment or supplies received outside of the service area:

           If you could have reasonably foreseen or anticipated their need prior to departure from the
           service area; and
           Which are not authorized by us or to the extent they exceed the maximum allowable fee.

   •   Pre-surgical/procedural testing duplicated during a hospital confinement.




   CHMO 2004-C LE 22.2                                                                                    70
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       LIMITATIONS AND EXCLUSIONS - PHARMACY SERVICES
   This "Limitations and Exclusions- Pharmacy Services" section describes the limitations and exclusions
   under the master group contract that apply to prescription drugs, including specialty drugs, dispensed
   by a pharmacy. Please refer to the "Limitations and Exclusions" section of this certificate for additional
   limitations.

  These limitations and exclusions apply even if a health care practitioner has prescribed a medically
  appropriate service, treatment, supply, or prescription. This does not prevent your health care
  practitioner or pharmacist from providing the service, treatment, supply, or prescription. However, the
  service, treatment, supply, or prescription will not be a covered expense.

   Unless specifically stated otherwise, no benefit will be provided for, or on account of, the following
   items:

   •    Legend drugs, which are not deemed medically necessary by us.

   •    Prescription drugs not included on the drug list.

   •    Any amount exceeding the default rate.

   •    Specialty drugs for which coverage is not approved by us.

   •    Drugs not approved by the FDA.

   •    Any drug prescribed for intended use other than for:

            Indications approved by the FDA; or
            Off-label indications recognized through peer-reviewed medical literature or standard reference
            compendium.

   •    Any drug prescribed for a sickness or bodily injury not covered under the master group contract.

   •    Any drug, medicine or medication that is either:

            Labeled "Caution-limited by federal law to investigational use;" or
            Experimental, investigational or for research purposes,

        even though a charge is made to you.

   •    Allergen extracts.

   •    Therapeutic devices or appliances, including:

            Hypodermic needles and syringes (except when prescribed by a health care practitioner for use
            with insulin and self-administered injectable drugs, whose coverage is approved by us);
            Support garments;
            Test reagents;
            Mechanical pumps for delivery of medications; and
            Other non-medical substances.




   CHMO 2004-C LERx 19                                                                                      71
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       LIMITATIONS AND EXCLUSIONS - PHARMACY SERVICES
                          (continued)
   •    Dietary supplements and nutritional products, except enteral formulas and nutritional supplements
        for the treatment of phenylketonuria (PKU) or other inherited metabolic disease. Refer to the
        "Covered Expenses" section of the certificate for coverage oflow protein modified foods.

   •   Non-prescription, over-the-counter minerals, except as specified on the Preventive Medication
       Coverage drug list when obtained from a network pharmacy with a prescription from a health care
       practitioner.

   •    Growth hormones for idiopathic short stature or any other condition, unless there is a laboratory
        confirmed diagnosis of growth hormone deficiency, or as otherwise determined by us.

   •    Herbs and vitamins, except prenatal (including greater than one milligram of folic acid), pediatric
        multi-vitamins with fluoride and vitamins on the Preventive Medication Coverage drug list when
        obtained from a network pharmacy with a prescription from a health care practitioner.

   •    Any drug used for the purpose of weight loss.

   •    Any drug used for cosmetic purposes, including:

            Dermatologicals or hair growth stimulants; or
            Pigmenting or de-pigmenting agents.

   •    Any drug or medicine that is lawfully obtainable without a prescription (over-the-counter drugs),
        except:

            Insulin; and
            Drugs, medicines or medications and supplies on the Preventive Medication Coverage drug list
            when obtained from a network pharmacy with a prescription from a health care practitioner.

   •    Compounded drugs that:

            Are prescribed for a use or route of administration that is not FDA-approved or compendia
            supported;
            Are prescribed without a documented medical need for specialized dosing or administration;
            Only contain ingredients that are available over-the-counter;
            Only contain non-commercially available ingredients; or
            Contain ingredients that are not FDA-approved, including bulk compounding powders.

   •    Abortifacients (drugs used to induce abortions).

   •    Infertility services including medications.

   •    Any drug prescribed for impotence and/or sexual dysfunction.




   CHMO 2004-C LERx 19                                                                                        72
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       LIMITATIONS AND EXCLUSIONS - PHARMACY SERVICES
                          (continued)
   •    Any drug, medicine or medication that is consumed or injected at the place where the prescription is
        given, or dispensed by the health care practitioner.

   •    The administration of covered medication(s).

   •    Prescriptions that are to be taken by or administered to you, in whole or in part, while you are a
        patient in a facility where drugs are ordinarily provided on an inpatient basis by the facility.
        Inpatient facilities include:

            Hospital;
            Skilled nursing facility; or
            Hospice facility.

   •    Injectable drugs, including:

            Immunizing agents, unless for preventive services determined by us to be dispensed by or
            administered in a pharmacy;
            Biological sera;
            Blood;
            Blood plasma; or
            Self-administered injectable drugs or specialty drugs for which prior authorization or step
            therapy is not obtained from us.

   •    Prescription fills or refills:

            In excess of the number specified by the health care practitioner; or
            Dispensed more than one year from the date of the original order.

   •    Any portion of a prescription fill or refill that exceeds a 90-day supply when received from a mail
        order pharmacy or a retail pharmacy that participates in our program, which allows you to receive a
        90-day supply of a prescription fill or refill.

   •   Any portion of a prescription fill or refill that exceeds a 30-day supply when received from a retail
       pharmacy that does not participate in our program, which allows you to receive a 90-day supply of a
       prescription fill or refill.

   •    Any portion of a specialty drug prescription fill or refill that exceeds a 30-day supply, unless
        otherwise determined by us.

   •    Any portion of a prescription fill or refill that:

            Exceeds our drug-specific dispensing limit;
            Is dispensed to a covered person, whose age is outside the drug-specific age limits defined by
            us;
            Is refilled early, as defined by us; or
            Exceeds the duration-specific dispensing limit.

   •    Any drug for which we require prior authorization or step therapy and it is not obtained.



   CHMO 2004-C LERx 19                                                                                       73
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       LIMITATIONS AND EXCLUSIONS - PHARMACY SERVICES
                          (continued)
   •    Any drug for which a charge is customarily not made.

   •    Any drug, medicine or medication received by you:

            Before becoming covered; or
            After the date your coverage has ended.

   •    Any costs related to the mailing, sending or delivery of prescription drugs.

   •    Any intentional misuse of this benefit, includingprescriptions purchased for consumption by
        someone other than you.

   •    Any prescription fill or refill for drugs, medicines or medications that are lost, stolen, spilled,
        spoiled, or damaged.

   •    Drug delivery implants and other implant systems or devices.

   •    Any amount you paid for a prescription that has been filled, regardless of whether the prescription is
        revoked or changed due to adverse reaction or change in dosage or prescription.

   •    Prescriptions filled at a non-network pharmacy, except for prescriptions required during an
        emergency.




   CHMO 2004-C LERx 19                                                                                        74
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                      ELIGIBILITY AND EFFECTIVE DATES

   Eligibilitydate
   Employee eligibility date

   •   The eligibility requirements are satisfied as stated in the Employer Group Application, or as
       otherwise agreed to by the group plan sponsor and us; and
   •   The employee is in an active status.


   Dependent eligibility date

   Each dependent is eligible for coverage on:

   •   The date the employee is eligible for coverage, if he or she has dependents who may be covered on
       that date;

   •   The date of the employee's marriage for any dependents (spouse or child) acquired on that date;

   •   The date of birth of the employee's natural-born child;

   •   The date of birth of a child born to an employee's covered dependent child;

   •   The date a foster child is placed in the employee's home;

   •   The date of placement of the child for the purpose of adoption by the employee; or

   •   The date specified in a Qualified Medical Child Support Order (QMCSO), or National Medical
       Support Notice (NMSN) for a child, or a valid court or administrative order for a spouse, which
       requires the employee to provide coverage for a child or spouse as specified in such orders.

   The employee may cover his or her dependents only if the employee is also covered.

   A dependent child who resides outside of the service area is eligible for coverage as a dependent.
   Out-of-area coverage, however, is limited to emergency care and urgent care services unless additional
   coverage is provided by addenda. To be covered, all other care, including follow-up care for emergency
   care and urgent care services, must be obtained in the service area under the direction of a network
   health care practitioner.


   Enrollment
   Employees and dependents eligible for coverage under the master group contract may enroll for
   coverage as specified in the enrollment provisions outlined below.




   CHMO 2004-C EE 20                                                                                     75
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             ELIGIBILITY AND EFFECTIVE DATES (continued)

   Employee enrollment

   The employee must enroll, as agreed to by the group plan sponsor and us, within 31 days of the
   employee's eligibility date or within the time period specified in the "Special enrollment" provision.

   The employee is a late applicant if enrollment is requested more than 31 days after the employee's
   eligibility date or later than the time period specified in the "Special enrollment" provision. A late
   applicant must wait to enroll for coverage during the open enrollment period, unless the late applicant
   becomes eligible for special enrollment as specified in the "Special enrollment" provision.


   Dependent enrollment

  If electing dependent coverage, the employee must enroll eligible dependents, as agreed to by the group
  plan sponsor and us, within 31 days of the dependent's eligibility date or within the time period
  specified in the "Special enrollment" provision.

   The dependent is a late applicant if enrollment is requested more than 31 days after the dependent's
   eligibility date or later than the time period specified in the "Special enrollment" provision. A late
   applicant must wait to enroll for coverage during the open enrollment period, unless the late applicant
   becomes eligible for special enrollment as specified in the "Special enrollment" provision.


   Newborn, adopted and foster dependent enrollment

   A newborn dependent will be automatically covered from the date of birth to 31 days of age. A
   newborn adopted child will be covered from the moment of birth if a written agreement to adopt the
   child has been entered into by the employee prior to the birth of the child, whether or not such agreement
   is enforceable. Coverage for a newborn adopted child is not available in the event the child is not
   ultimately placed in the resident of the employee. An adopted dependent, that is not a newborn, will be
   automatically covered from the date of adoption or date of placement of the child with the employee for
   the purpose of adoption, whichever occurs first, for 31 days. A foster dependent will be automatically
   covered from the date of placement of the child for 31 days. No additional premium will be charged for
   the first 31 days of coverage if notice is given to us within 31 days after the birth of the newborn
   dependent, date of adoption or date of placement of the adopted dependent or date of placement of the
   foster dependent.

   If dependent child coverage is in force as of the newborn's date of birth in the case of newborn
   dependents and newborn adopted children, the earlier of the date of adoption or date of placement of the
   child with the employee for purposes of adoption in the case of adopted dependents, or the date of
   placement of the foster child, coverage will continue beyond the initial 31 days. You must notify us to
   make sure we have accurate records to administer benefits.

   If dependent child coverage is not in force, you must enroll the dependent child within 60 days after the
   date of birth of the newborn dependent and newborn adopted child, date of adoption or date of
   placement of the adopted dependent, or date of placement of the foster dependent. We will provide at
   least a 45-day notice of the additional premium you must pay for dependent child coverage.




   CHMO 2004-C EE 20                                                                                        76
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             ELIGIBILITY AND EFFECTIVE DATES (continued)
   If enrollment is requested more than 60 days after the date of birth, date of adoption or date of
   placement with the employee for the purpose of adoption or date of placement of the foster child, the
   dependent is a late applicant. A late applicant must wait to enroll for coverage during the open
   enrollment period, unless the late applicant becomes eligible for special enrollment as specified in the
   "Special enrollment" provision.


   Special enrollment

   Special enrollment is available if the following apply:

   •   You have a change in family status due to:

           Marriage;
           Divorce;
           A Qualified Medical Child Support Order (QMCSO);
           A National Medical Support Notice (NMSN);
           The birth of a natural born child; or
           The adoption of a child or date of placement of a child with the employee for the purpose of
           adoption or date of placement of a foster child; and
           You enroll within 31 days after the special enrollment date; or

   •   You are an employee or dependent eligible for coverage under the master group contract, and:

           You previously declined enrollment stating you were covered under another group health plan or
           other health insurance coverage; and
           Loss of eligibility of such other coverage occurs, regardless of whether you are eligible for, or
           elect COBRA; and
           You enroll within 31 days after the special enrollment date.

       Loss of eligibility of other coverage includes:

           Termination of employment or eligibility;
           Reduction in number of hours of employment;
           Divorce, legal separation or death of a spouse;
           Loss of dependent eligibility, such as attainment of the limiting age;
           Termination of your employer's contribution for the coverage;
           Loss of individual HMO coverage because you no longer reside, live or work in the service area;
           Loss of group HMO coverage because you no longer reside, live or work in the service area, and
           no other benefit package is available; or
           The plan no longer offers benefits to a class of similarly situated individuals; or

   •   You had COBRA continuation coverage under another plan at the time of eligibility, and:

           Such coverage has since been exhausted; and
           You stated at the time of the initial enrollment that coverage under COBRA was your reason for
           declining enrollment; and
           You enroll within 31 days after the special enrollment date; or




   CHMO 2004-C EE 20                                                                                          77
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             ELIGIBILITY AND EFFECTIVE DATES (continued)
   •   You were covered under an alternate plan provided by the employer that terminates, and:

           You are replacing coverage with the master group contract; and
           You enroll within 31 days after the special enrollment date; or

   •   You are an employee or dependent eligible for coverage under the master group contract, and:

           Your Medicaid coverage or your Children's Health Insurance Program (CHIP) coverage
           terminated as a result of loss of eligibility; and
           You enroll within 60 days after the special enrollment date; or

   •   You are an employee or dependent eligible for coverage under the master group contract, and:

           You become eligible for a premium assistance subsidy under Medicaid or CHIP; and
           You enroll within 60 days after the special enrollment date.

   The employee or dependent is a late applicant if enrollment is requested later than the time period
   specified above. A late applicant must wait to enroll for coverage during the open enrollment period.


   Dependent special enrollment

   The dependent special enrollment is the time period specified in the "Special enrollment" provision.

   If dependent coverage is available under the employer's master group contract or added to the master
   group contract, an employee who is a covered person can enroll eligible dependents during the special
   enrollment. An employee, who is otherwise eligible for coverage and had waived coverage under the
   master group contract when eligible, can enroll himself/herself and eligible dependents during the
   special enrollment.

   The employee or dependent is a late applicant if enrollment is requested later than the time period
   specified above. A late applicant must wait to enroll for coverage during the open enrollment period.


   Open enrollment

   Eligible employees or dependents, who did not enroll for coverage under the master group contract
   following their eligibility date or special enrollment date, have an opportunity to enroll for coverage
   during the open enrollment period. The open enrollment period is also the opportunity for late
   applicants to enroll for coverage.

   Eligible employees or dependents, including late applicants, must request enrollment during the open
   enrollment period. If enrollment is requested after the open enrollment period, the employee or
   dependent must wait to enroll for coverage during the next open enrollment period, unless they become
   eligible for special enrollment as specified in the "Special enrollment" provision.




   CHMO 2004-C EE 20                                                                                         78
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             ELIGIBILITY AND EFFECTIVE DATES (continued)

   Effective date
   The provisions below specify the effective date of coverage for employees or dependents, if enrollment is
   requested within 31 days of their eligibility date or within the time period specified in the "Special
   enrollment" provision. If enrollment is requested during an open enrollment period, the effective date of
   coverage is specified in the "Open enrollment effective date" provision.


   Employee effective date

   The employee's effective date provision is stated in the Employer Group Application. The employee's
   effective date of coverage may be the date immediately following completion of the waiting period or
   the first of the month following completion of the waiting period, if enrollment is requested within 31
   days of the employee's eligibility date. The special enrollment date is the effective date of coverage for
   an employee who requests enrollment within the time period specified in the "Special enrollment"
   provision. The employee effective dates specified in this provision apply to an employee who is not a
   late applicant.


   Dependent effective date

   The dependent's effective date is the date the dependent is eligible for coverage if enrollment is
   requested within 31 days of the dependent's eligibility date. The special enrollment date is the effective
   date of coverage for the dependent who requests enrollment within the time period specified in the
   "Special enrollment" provision. The dependent effective dates specified in this provision apply to a
   dependent who is not a late applicant.

   In no event will the dependent's effective date of coverage be prior to the employee's effective date of
   coverage.


   Newborn, adopted and foster dependent effective date

   The effective date of coverage for a newborn dependent is the date of birth if the newborn is not a late
   applicant.

   The effective date of coverage for an adopted dependent is the date of adoption or the date of placement
   with the employee for the purpose of adoption, whichever occurs first, if the dependent child is not a late
   applicant. In the case of a newborn adopted dependent, the effective date of coverage will be the birth
   date of the child if a written agreement for adoption has been entered into by the employee. Otherwise,
   the effective date of coverage will be the date of the adopted dependent's placement in the home of the
   employee. No coverage will be provided under this provision for a child who is not ultimately placed in
   the employee's home.

   The effective date of coverage for a foster dependent is the date of placement with the employee if the
   foster child is not a late applicant. Coverage for the foster dependent will terminate the date the
   employee no longer has legal custody of the child.




   CHMO 2004-C EE 20                                                                                          79
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             ELIGIBILITY AND EFFECTIVE DATES (continued)

   Open enrollment effective date

   The effective date of coverage for an employee or dependent, including a late applicant, who requests
   enrollment during an open enrollment period, is the first day of the master group contract year as
   agreed to by the group plan sponsor and us.


   Retired employeecoverage
   Retired employee eligibility date

   Retired employees are an eligible class of employees if requested on the Employer Group Application
   and if approved by us. An employee, who retires while covered under the master group contract is
   considered eligible for retired employee medical coverage on the date of retirement if the eligibility
   requirements stated in the Employer Group Application are satisfied.


   Retired employee enrollment

   The employer must notify us of the employee's retirement within 31 days of the date of retirement. If we
   are notified more than 31 days after the date of retirement, the retired employee is a late applicant. A
   late applicant must wait to enroll for coverage during the open enrollment period, unless the late
   applicant becomes eligible for special enrollment as specified in the "Special enrollment" provision.


   Retired employee effective date

   The effective date of coverage for an eligible retired employee is the date of retirement for an employee
   who retires after the date we approve the employer's request for a retiree classification, provided we are
   notified within 31 days of the retirement. If we are notified more than 31 days after the date of
   retirement, the effective date of coverage for the late applicant is the date we specify.




   CHMO 2004-C EE 20                                                                                        80
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                            REPLACEMENTOF COVERAGE
   Applicability
   This "Replacement of Coverage" section applies when an employer's previous group health plan not
   offered by us or our affiliates (Prior Plan) is terminated and replaced by coverage under the master
   group contract and:

   •   You were covered under the employer's Prior Plan on the day before the effective date of the master
       group contract; and
   •   You are insured for medical coverage on the effective date of the master group contract.

   Benefits available for covered expense under the master group contract will be reduced by any benefits
   payable by the Prior Plan during an extension period.


   Deductiblecredit
   Medical expense incurred while you were covered under the Prior Plan may be used to satisfy your
   deductible under the master group contract if the medical expense was:

   •   Incurred in the same calendar year the master group contract first becomes effective; and
   •   Applied to the deductible amount under the Prior Plan.


   Waiting period credit
   If the employee had not completed the initial waiting period under the group plan sponsor's Prior Plan
   on the day that it ended, any period of time that the employee satisfied will be applied to the appropriate
   waiting period under the master group contract, if any. The employee will then be eligible for coverage
   under the master group contract when the balance of the waiting period has been satisfied.


   Out-of-pocketlimit
  Any medical expense applied to the Prior Plan's out-of-pocket limit or stop-loss limit will be credited to
  your network provider out-of-pocket limit under the master group contract if the medical expense was
  incurred in the same calendar year the master group contract first becomes effective.




   CHMO 2004-C RC 20                                                                                        81
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                               TERMINATION PROVISIONS

   Terminationof coverage
   The date of termination, as described in this "Termination Provisions" section, may be the actual date
   specified or the end of that month, as selected by your employer on the Employer Group Application
   (EGA).

   You and your employer must notify us as soon as possible if you or your dependent no longer meets the
   eligibility requirements of the master group contract. Notice must be provided to us within 31 days of
   the change.

   When we receive notification of a change in eligibility status in advance of the effective date of the
   change, coverage will terminate on the actual date specified by the employer or employee or at the end of
   that month, as selected by your employer on the EGA.

   When we receive the employer's request to terminate coverage retroactively, the employer's termination
   request is their representation to us that you did not pay any premium or make contribution for coverage
   past the requested termination date.

   Otherwise, coverage terminates on the earliest of the following:

   •   The date the master group contract terminates;

   •   The last day of the month required premium was received if the required premium was not paid by
       the end of the 31-day grace period. Coverage will remain in force during the grace period, however,
       if the required premium is not paid by the end of the 31-day grace period, coverage will terminate as
       of the last day of the month for which premium was received;

   •   The date the employee terminated employment with the employer;

   •   The date the employee no longer qualified as an employee;

   •   The date the employee no longer lives or works in the service area;

   •   The date you fail to be in an eligible class of persons as stated in the EGA;

   •   The date the employee entered full-time military, naval or air service;

   •   The date the employee retired, except if the EGA provides coverage for a retiree class of employees
       and the retiree is in an eligible class of retirees, selected by the employer;

   •   The date of an employee request for termination of coverage for the employee or dependents;

   •   For a dependent, the date the employee's coverage terminates;

   •   For a dependent, the date the employee ceases to be in a class of employees eligible for dependent
       coverage;

   •   For a newborn child born to an employee's covered dependent child, the date he or she is 18 months
       of age;



   CHMO 2004-C TER 22                                                                                       82
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                      TERMINATION PROVISIONS (continued)

   •   The date your dependent no longer qualifies as a dependent;

   •   For any benefit, the date the benefit is deleted from the master group contract; or

   •   The date fraud or an intentional misrepresentation of a material fact has been committed by you. For
       more information on fraud and intentional misrepresentation, refer to the "Fraud" provision in the
       "Miscellaneous Provisions" section of this certificate.


   Terminationfor cause
   We will terminate your coverage for cause under the following circumstances:

   •   If you allow an unauthorized person to use your identification card or if you use the identification
       card of another covered person. Under these circumstances, the person who receives the services
       provided by use of the identification card will be responsible for paying us any amount we paid for
       those services.

   •   If you or the group plan sponsor perpetrate fraud or intentional misrepresentation on claims,
       identification cards or other identification in order to obtain services or a higher level of benefits.
       This includes the fabrication or alteration of a claim, identification card or other identification.




   CHMO 2004-C TER 22                                                                                            83
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                                EXTENSION OF BENEFITS

   Extension of coverage for total disability
   We extend limited coverage if the master group contract terminates while you are totally disabled due
   to a bodily injury or sickness that occurs while the master group contract is in effect.

   Benefits are payable only for those expenses incurred for the same sickness or bodily injury which
   caused you to be totally disabled. Coverage for the disabling condition continues, but not beyond the
   earliest of the following dates:

   •   The date your health care practitioner certifies you are no longer totally disabled; or
   •   The date any maximum benefit is reached; or
   •   The last day of a 12 consecutive month period following the date the master group contract
       terminated; or
   •   The date you become covered by any medical insurance or health services plan that provides
       replacement coverage without limitation as to the disability condition.

   For pregnancy, when not covered by the succeeding carrier, maternity benefits will continue until the
   date of delivery, provided the pregnancy began after your effective date and prior to the termination of
   the master group contract. This extension will not be based on total disability.

   No insurance is extended to a child born as a result of a covered persons pregnancy.

   The "Extension of coverage for total disability" provision does not apply to covered retired persons.




   CHMO 2004-C EB 19                                                                                          84
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                                        CONTINUATION

   Continuationoptions in the event of termination
   If coverage terminates it may be continued under the continuation provisions as provided by the
   Consolidated Omnibus Budget Reconciliation Act (COBRA), if applicable.




   CHMO 2004-C CN 19                                                                                 85
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       CONTINUATION OF COVERAGE FOR ACTIVE MILITARY
                         SERVICE
   Coverageand premium
   Continuation of coverage is available for an employee and their covered dependents while the employee
   is called to active duty or state active duty. The employee will have the same premium in effect for
   other insureds under the same master group contract.


   Notification
   The employee, or an appropriate military authority, must notify the employer that the employee wishes to
   continue coverage before reporting for active duty or state active duty.

   This notice is not required if impossible or unreasonable (such as an immediate call-up in a natural
   disaster emergency) or if military necessity precludes it.


   Reinstatementof coverage
   The employee is not required to continue coverage while on active duty or state active duty. If coverage
   is not continued, the employee will have 63 days to request reinstatement upon returning to work with
   the same employer. There will be no waiting period, nor may any condition existing at the time of
   call-up prevent them from reinstatement.


   Continuation
   If health insurance terminates:

   •   It may be continued as described in the Uniformed Services Employment and Reemployment Rights
       Act (USERRA); or
   •   It may be continued under the continuation provisions as provided by the Consolidated Omnibus
       Budget Reconciliation Act (COBRA), if applicable.


   Definitions
   The following terms are used in this provision:

   Active duty: full-time duty in the active military service of the United States.

   State active duty: those periods when the Governor orders the National Guard into service, typically in
   response to natural disasters or civic disorders.




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                             COORDINATION OF BENEFITS
   This "Coordination of Benefits" (COB) provision applies when a person has health care coverage under
   more than one plan. The order of benefit determination rules below determine which plan will pay as
   the primary plan. The primary plan pays first without regard to the possibility another plan may cover
   some expenses. A secondary plan pays after the primary plan and may reduce the benefits it pays so
   that payments from all plans do not exceed 100% of the total allowable expense.


   Definitions
   The following definitions are used exclusively in this provision.

   Plan means any of the following that provide benefits or services for medical or dental care or
   treatment. However, if separate contracts are used to provide coordinated coverage for members of a
   group, the separate contracts are considered part of the same plan and there is no COB among those
   separate contracts.

   Plan includes:

   •   Group insurance contracts, health maintenance organization (HMO) contracts, closed panel or other
       forms of group or group-type coverage (whether insured or uninsured);
   •   Medical care components oflong-term care contracts, such as skilled nursing care;
   •   Medical benefits under group or individual contracts, including "No Fault" and Medical Payments
       coverages; and
   •   Medicare or other governmental benefits, as permitted by law.

   Plan does not include:

   •   Individual or family insurance;
   •   Closed panel or other individual coverage (except for group-type coverage);
   •   Hospital indemnity benefits;
   •   School accident type coverage;
   •   Benefits for non-medical care components of group long-term care contracts;
   •   Medicare supplement policies;
   •   A state plan under Medicaid; and
   •   Coverage under other governmental plans, unless permitted by law.

   Each contract for coverage is a separate plan. If a plan has two parts and COB rules apply only to one
   of the two, each of the parts is treated as a separate plan.

   Notwithstanding any statement to the contrary, for the purposes of COB, prescription drug coverage
   under this plan will be considered a separate plan and will therefore only be coordinated with other
   prescription drug coverage.

   Primary/secondary means the order of benefit determination stating whether this plan is primary or
   secondary covering the person when compared to another plan also covering the person.

   When this plan is primary, its benefits are determined before those of any other plan and without
   considering any other plan's benefits. When this plan is secondary, its benefits are determined after
   those of another plan and may be reduced because of the primary plan's benefits.



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                   COORDINATION OF BENEFITS (continued)

  Allowable expense means a health care service or expense, including deductibles, if any, and
  copayments, that is covered at least in part by any of the plans covering the person. When a plan
  provides benefits in the form of services (e.g. an HMO), the reasonable cash value of each service will
  be considered an allowable expense and a benefit paid. An expense or service that is not covered by any
  of the plans is not an allowable expense. The following are examples of expenses or services that are
  not allowable expenses:

   •   If a covered person is confined in a private hospital room, the difference between the cost of a
       semi-private room in the hospital and the private room, (unless the patient's stay in a private hospital
       room is medically necessary in terms of generally accepted medical practice, or one of the plans
       routinely provides coverage for hospital private rooms) is not an allowable expense.

   •   If a person is covered by two or more plans that compute their benefits payments on the basis of
       usual and customary fees, any amount in excess of the highest usual and customary fees for a
       specific benefit is not an allowable expense.

   •   If a person is covered by two or more plans that provide benefits or services on the basis of
       negotiated fees, any amount in excess of the highest of the fees is not an allowable expense.

   •   If a person is covered by one plan that calculates its benefits or services on the basis of usual and
       customary fees and another plan that provides its benefits or services on the basis of negotiated fees,
       the primary plan's payment arrangement shall be the allowable expense for all plans.

   •   The amount a benefit is reduced by the primary plan because a covered person does not comply
       with the plan provisions. Examples of these provisions are second surgical opinions, precertification
       of admissions and preferred provider arrangements.

   Claim determination period means a calendar year. However, it does not include any part of a year
   during which a person has no coverage under this plan, or before the date this COB provision or a
   similar provision takes effect.

   Closed panel plan is a plan that provides health benefits to covered persons primarily in the form of
   services through a panel of providers that has contracted with or are employed by the plan, and that
   limits or excludes benefits for services provided by other providers, except in the cases of emergency or
   referral by a panel member.

   Custodial parent means a parent awarded custody by a court decree. In the absence of a court decree, it
   is the parent with whom the child resides more than one half of the calendar year without regard to any
   temporary visitation.


   Order of determinationrules
   General

   When two or more plans pay benefits, the rules for determining the order of payment are as follows:

   •   The primary plan pays or provides its benefits as if the secondary plan or plans did not exist.



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                   COORDINATION OF BENEFITS (continued)
   •   A plan that does not contain a COB provision that is consistent with applicable promulgated
       regulation is always primary. There is one exception: coverage that is obtained by virtue of
       membership in a group that is designed to supplement a part of a basic package of benefits may
       provide that the supplementary coverage shall be excess to any other parts of the plan provided by
       the contract holder. Examples of these types of situations are major medical coverages that are
       superimposed over base plan hospital and surgical benefits, and insurance type coverages that are
       written in connection with a closed panel plan to provide out-of-network benefits.

   •   A plan may consider the benefits paid or provided by another plan in determining its benefits only
       when it is secondary to that other plan.


   Rules

   The first of the following rules that describes which plan pays its benefits before another plan is the rule
   to use.

   •   Non-dependent or dependent. The plan that covers the person other than as a dependent, for
       example as an employee, member, subscriber or retiree is primary and the plan that covers the
       person as a dependent is secondary. However, if the person is a Medicare beneficiary and, as a
       result of federal law, Medicare is secondary to the plan covering the person as a dependent; and
       primary to the plan covering the person as other than a dependent (e.g. retired employee); then the
       order of benefits between the two plans is reversed so that the plan covering the person as an
       employee, member, subscriber or retiree is secondary and the other plan is primary.

   •   Dependent child covered under more than one plan. The order of benefits when a child is
       covered by more than one plan is:

           The primary plan is the plan of the parent whose birthday is earlier in the year if:

               The parents are married;
               The parents are not separated (whether or not they have been married); or
               A court decree awards joint custody without specifying that one part has the responsibility
               to provide health care coverage.

           If both the parents have the same birthday, the plan that covered either of the parents longer is
           primary.

           If the specific terms of a court decree state that one parent is responsible for the child's health
           care expenses or health care coverage and the plan of that parent has actual knowledge of those
           terms, that plan is primary. This rule applies to claim determination periods or plan years
           commencing after the plan is given notice of the court decree.

           If the parents are not married, or are separated (whether or not they ever have been married) or
           are divorced, the order of benefits is:

               The plan of the custodial parent;
               The plan of the spouse of the custodial parent;
               The plan of the non-custodial parent, and then
               The plan of the spouse of the non-custodial parent.


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                   COORDINATION OF BENEFITS (continued)

   •   Active or inactive employee. The plan that covers a person as an employee, who is neither laid off
       nor retired, is primary. The same would hold true if a person is a dependent of a person covered as
       a retiree and an employee. If the other plan does not have this rule, and if, as a result, the plans do
       not agree on the order of benefits, this rule is ignored.

   •   Continuation coverage. If a person whose coverage is provided under a right of continuation
       provided by federal or state law also is covered under another plan, the plan covering the person as
       an employee, member, subscriber or retiree (or as that person's dependent) is primary, and the
       continuation coverage is secondary. If the other plan does not have this rule, and if, as a result, the
       plans do not agree on the order of benefits, this rule is ignored.

   •   Longer or shorter length of coverage. The plan that covered the person as an employee, member,
       subscriber or retiree longer is primary.

   If the preceding rules do not determine the primary plan, the allowable expenses shall be shared equally
   between the plans meeting the definition of plan under this provision. In addition, this plan will not pay
   more that it would have had it been primary.


   Effects on the benefits of this plan
   When this plan is secondary, benefits may be reduced to the difference between the allowable expense
   (determined by the primary plan) and the benefits paid by any primary plan during the claim
   determination period. Payment from all plans will not exceed 100% of the total allowable expense.

   If a covered person is enrolled in two or more closed panel plans and if, for any reason, including the
   provision of service by a non-panel provider, benefits are not payable by one closed panel plan, COB
   shall not apply between that plan and the other closed panel plan.


   Right to receive and release needed information
   Certain facts about health care coverage and services are needed to apply these COB rules and to
   determine benefits payable under this plan and other plans. We may get the facts we need from or give
   them to other organizations or persons for the purpose of applying these rules and determining benefits
   payable under this plan and other plans covering the person claiming benefits. We need not tell, or get
   the consent of, any person to do this. Each person claiming benefits under this plan must give us any
   facts we need to apply those rules and determine benefits payable.


   Facility of payment
   A payment made under another plan may include an amount that should have been paid under this plan.
   If it does, we may pay that amount to the organization that made the payment. That amount will then be
   treated as though it were a benefit paid under this plan. We will not have to pay that amount again. The
   term "payment made" includes providing benefits in the form of services, in which case "payment made"
   means a reasonable cash value of the benefits provided in the form of services.




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                   COORDINATION OF BENEFITS (continued)

   Right of recovery
   If the amount of the payments made by us is more than we should have paid under this COB provision,
   we may recover the excess from one or more of the persons we have paid or for whom we have paid; or
   any other person or organization that may be responsible for the benefits or services provided for the
   covered person. The "amount of the payments made" includes the reasonable cash value of any benefits
   provided in the form of services.


   General coordinationof benefits with Medicare
   If you are covered under both Medicare and this certificate, federal law mandates that Medicare is the
   secondary plan in most situations. When permitted by law, this plan is the secondary plan. In all cases,
   coordination of benefits with Medicare will conform to federal statutes and regulations. If you are
   enrolled in Medicare, your benefits under this certificate will be coordinated to the extent benefits are
   payable under Medicare, as allowed by federal statutes and regulations.




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                                                  CLAIMS

   Notice of claim
   Network providers will submit claims to us on your behalf. If you utilize a non-network provider for
   covered expenses, you may have to submit a notice of claim to us. Notice of claim must be given to us
   in writing or by electronic mail as required by your plan, or as soon as is reasonably possible thereafter.
   Notice must be sent to us at our mailing address shown on your identification documentation or at our
   Website at www .humana .com.

   Claims must be complete. At a minimum a claim must contain:

   •   Name of the covered person who incurred the covered expenses;
   •   N rune and address of the provider;
   •   Diagnosis;
   •   Procedure or nature of the treatment;
   •   Place of service;
   •   Date of service; and
   •   Billed amount.

   If you receive services outside the United States or from a foreign provider, you must also submit the
   following information along with your complete claim:

   •   Your proof of payment to the provider for the services received outside the United States or from a
       foreign provider;
   •   Complete medical information and medical records;
   •   Your proof of travel outside of the United States, such as airline tickets or passport strunps, if you
       traveled to receive the services; and
   •   The foreign provider's fee schedule if the provider uses a billing agency.

  The forms necessary for filing proof of loss are available at www .humana .com. When requested by
  you, we will send you the forms for filing proof of loss. If the requested forms are not sent to you within
  15 days, you will have met the proof of loss requirements by sending us a written or electronic statement
  of the nature and extent of the loss containing the above elements within the time limit stated in the
  "Proof ofloss" provision.


   Proof of loss
   You must give written or electronic proof of loss within 90 days after the date you incur such loss. Your
   claims will not be reduced or denied if it was not reasonably possible to give such proof within that time
   period.

   Your claims may be reduced or denied if written or electronic proof of loss is not provided to us within
   one year after the date proof of loss is required, unless your failure to timely provide that proof of loss is
   due to your legal incapacity as determined by an appropriate court of law.




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                                       CLAIMS (continued)

   Claims processingprocedures
  Qualified provider services are subject to our claims processing procedures. We use our claims
  processing procedures to determine payment of covered expenses. Our claims processing procedures
  include claim processing edits and claims payment policies, as determined by us. Your qualified
  provider may access our claims processing edits and claim payment policies on our Website at
  www.humana.com by clicking on "For Providers" and "Claims Resources."

   Claims processing procedures include the interaction of a number of factors. The amount determined to
   be payable for a covered expense may be different for each claim because the mix of factors may vary.
   Accordingly, it is not feasible to provide an exhaustive description of the claims processing procedures,
   but examples of the most commonly used factors are:

   •   The complexity of a service;
   •   Whether a service is one of multiple same-day services such that the cost of the service to the
       qualified provider is less than if the service had been provided on a different day. For example:

           Two or more surgeries performed the same day;
           Two or more endoscopic procedures performed during the same day; or
           Two or more therapy services performed the same day;

   •   Whether a co-surgeon, assistant surgeon, surgical assistant or any other qualified provider, who is
       billing independently is involved;
   •   When a charge includes more than one claim line, whether any service is part of or incidental to the
       primary service that was provided, or if these services cannot be performed together;
   •   Whether the service is reasonably expected to be provided for the diagnosis reported;
   •   Whether a service was performed specifically for you; or
   •   Whether services can be billed as a complete set of services under one billing code.

   We develop our claims processing procedures in our sole discretion based on our review of correct
   coding initiatives, national benchmarks, industry standards, and industry sources such as the following,
   including any successors of the same:

   •   Medicare laws, regulations, manuals and other related guidance;
   •   Federal and state laws, rules and regulations, including instructions published in the Federal
       Register;
   •   National Uniform Billing Committee (NUBC) guidance including the UB-04 Data Specifications
       Manual;
   •   American Medical Association's (AMA) Current Procedural Terminology (CPT®)and associated
       AMA publications and services;
   •   Centers for Medicare & Medicaid Services' (CMS) Healthcare Common Procedure Coding System
       (HCPCS) and associated CMS publications and services;
   •   International Classification of Diseases (ICD);
   •   American Hospital Association's Coding Clinic Guidelines;
   •   Uniform Billing Editor;
   •   American Psychiatric Association's (APA) Diagnostic and Statistical Manual of Mental Disorders
       (DSM) and associated AP A publications and services;
   •   Food and Drug Administration guidance;
   •   Medical and surgical specialty societies and associations;



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                                       CLAIMS (continued)
   •   Industry-standard utilization management criteria and/or care guidelines;
   •   Our medical and pharmacy coverage policies; and
   •   Generally accepted standards of medical, behavioral health and dental practice based on credible
       scientific evidence recognized in published peer reviewed literature.

   Changes to any one of the sources may or may not lead us to modify current or adopt new claims
   processing procedures.

   Subject to applicable law, qualified providers who are non-network providers may bill you for any
   amount we do not pay even if such amount exceeds the allowed amount after we apply claims processing
   procedures. Any such amount paid by you will not apply to your deductible or any out-of-pocket limit.
   You will also be responsible for any applicable deductible, copayment, or coinsurance.

   You should discuss our claims processing edits, claims payment policies and medical or pharmacy
   coverage policies and their availability with any qualified provider prior to receiving any services. You
   or your qualified provider may access our claims processing edits and claims payment policies on our
   Website at www.humana.com by clicking on "For Providers" and "Coverage Policies." Our medical
   and pharmacy coverage policies may be accessed on our Website at www .humana .com under "Medical
   Resources" by clicking "Coverage Policies." You or your qualified provider may also call our toll-free
   customer service number listed on your ID card to obtain a copy of a claims processing edit, claims
   payment policy or coverage policy.


   Other programs and procedures
   We may introduce new programs and procedures that apply to your coverage under the master group
   contract. We may also introduce limited pilot or test programs including, but not limited to, disease
   management, care management, expanded accessibility, or wellness initiatives.

   We reserve the right to discontinue or modify a program or procedure at any time.


   Right to require medical examinations
   We have the right to require a medical examination on any covered person as often as we may
   reasonably require. If we require a medical examination, it will be performed at our expense. We also
   have a right to request an autopsy in the case of death, if state law so allows.


   To whom benefits are payable
   If you receive services from a network provider, we will pay the provider directly for all covered
   expenses. You will not have to submit a claim for payment.




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                                       CLAIMS (continued)
   Benefit payments for covered expenses rendered by a non-network provider are due and owing solely to
   the covered person. You may request that we direct a payment of selected medical benefits to the health
   care provider on whose charge the claim is based.

   Any payment made directly to the non-network provider will not constitute the assignment of any legal
   obligation to the non-network provider.

   Except as specified above, if you submit a claim for payment to us, we will pay you directly for the
   covered expenses. You are responsible to pay all charges to the provider when we pay you directly for
   covered expenses.

   If any covered person to whom benefits are payable is a minor or, in our opinion, not able to give a
   valid receipt for any payment due him or her, such payment will be made to his or her parent or legal
   guardian. However, if no request for payment has been made by the parent or legal guardian, we may, at
   our option, make payment to the person or institution appearing to have assumed his or her custody and
   support.


   Time of payment of claims
   Payments due under the master group contract will be paid no more than 30 days after receipt of written
   or electronic proof of loss.


   Right to request overpayments
   We reserve the right to recover any payments made by us that were:

   •   Made in error;
   •   Made to you or any party on your behalf, where we determine such payment made is greater than the
       amount payable under the master group contract;
   •   Made to you and/or any party on your behalf, based on fraudulent or misrepresented information; or
   •   Made to you and/or any party on your behalf for charges that were discounted, waived or rebated.

   We reserve the right to adjust any amount applied in error to the deductible, out-of-pocket limit or
   copayment limit, if any.


   Right to collect needed information
   You must cooperate with us and when asked, assist us by:
   •   Authorizing the release of medical information including the names of all providers from whom you
       received medical attention;
   •   Obtaining medical information or records from any provider as requested by us;
   •   Providing information regarding the circumstances of your sickness, bodily injury or accident;




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                                        CLAIMS (continued)
   •   Providing information about other insurance coverage and benefits, including information related to
       any bodily injury or sickness for which another party may be liable to pay compensation or benefits;
   •   Providing copies of claims and settlement demands submitted to third parties in relation to a bodily
       injury or sickness;
   •   Disclosing details of liability settlement agreements reached with third parties in relation to a bodily
       injury or sickness; and
   •   Providing information we request to administer the master group contract.

   If you fail to cooperate or provide the necessary information, we may recover payments made by us and
   deny any pending or subsequent claims for which the information is requested.


   Exhaustion of time limits
   Ifwe fail to complete a claim determination or appeal within the time limits set forth in the master
   group contract, the claim shall be deemed to have been denied, and you may proceed to the next level in
   the review process outlined under the "Complaint and Appeal Procedures" section of this certificate or
   as required by law.


   Recovery rights
   You as well as your dependents agree to the following, as a condition of receiving benefits under the
   master group contract.


   Duty to cooperate in good faith

   You are obligated to cooperate with us and our agents in order to protect our recovery rights.
   Cooperation includes promptly notifying us you may have a claim, providing us relevant information,
   and signing and delivering such documents as we or our agents reasonably request to secure our
   recovery rights. You agree to obtain our consent before releasing any party from liability for payment of
   medical expenses. You agree to provide us with a copy of any summons, complaint or any other process
   served in any lawsuit in which you seek to recover compensation for your injury and its treatment.

   You will do whatever is necessary to enable us to enforce our recovery rights and will do nothing after
   loss to prejudice our recovery rights.

   You agree that you will not attempt to avoid our recovery rights by designating all (or any
   disproportionate part) of any recovery as exclusively for pain and suffering.

   In the event that you fail to cooperate with us, we shall be entitled to recover from you any payments
   made by us.




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                                       CLAIMS (continued)
   Duplication of benefits/other insurance

   We will not provide duplicate coverage for benefits under the master group contract when a person is
   covered by us and has, or is entitled to, benefits as a result of their injuries from any other coverage,
   including, first party uninsured or underinsured motorist coverage, any no-fault insurance, medical
   payment coverage (auto, homeowners or otherwise), Workers' Compensation settlement or awards, other
   group coverage (including student plans), direct recoveries from liable parties, premises medical pay or
   any other insurer providing coverage that would apply to pay your medical expenses, except another
   "plan", as defined in the "Coordination of Benefits" section (e.g., group health coverage), in which case
   priority will be determined as described in the "Coordination of Benefits" section.

   Where there is such coverage, we will not duplicate other coverage available to you and shall be
   considered secondary, except where specifically prohibited. Where double coverage exists, we shall
   have the right to be repaid from whomever has received the overpayment from us to the extent of the
   duplicate coverage.

   We will not duplicate coverage under the master group contract whether or not you have made a claim
   under the other applicable coverage.

   When applicable, you are required to provide us with authorization to obtain information about the other
   coverage available, and to cooperate in the recovery of overpayments from the other coverage, including
   executing any assignment of rights necessary to obtain payment directly from the other coverage
   available.


   Workers'compensation

   If benefits are paid by us, and we determine that the benefits are paid or received under any Workers'
   Compensation or similar law, we have the right to recover as described below.

   We shall have first priority to recover amounts we have paid and the reasonable value of services and
   benefits provided under a managed care agreement from any funds that are paid or payable by Workers'
   Compensation or similar coverage as a result of any sickness or bodily injury, and we shall not be
   required to contribute to attorney fees or recovery expenses under a Common Fund or similar doctrine.

   Our right to recover from funds that are paid or payable by Workers' Compensation or similar coverage
   will apply even though:

   •   The Workers' Compensation benefits are in dispute or are made by means of settlement or
       compromise;
   •   The amount of Workers' Compensation due to medical or health care is not agreed upon or defined
       by you or the Workers' Compensation carrier; or
   •   Medical or health care benefits are specifically excluded from the Workers' Compensation settlement
       or compromise.

   As a condition to receiving benefits from us, you hereby agree, in consideration for the coverage
   provided by the master group contract, you will notify us of any Workers' Compensation claim you
   make, and you agree to reimburse us as described above. If we are precluded from exercising our
   recovery rights to recover from funds that are paid by Workers' Compensation or similar coverage we
   will exercise our right to recover against you.



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                                        CLAIMS (continued)
   Right of subrogation

   As a condition to receiving benefits from us, you agree to transfer to us any rights you may have to make
   a claim, take legal action or recover any expenses paid under the master group contract. We will be
   subrogated to your rights to recover from any funds paid or payable as a result of a personal injury claim
   or any reimbursement of expenses by:

   •   Any legally liable person or their carrier, including self-insured entities;
   •   Any uninsured motorist or underinsured motorist coverage;
   •   Medical payments/expense coverage under any automobile, homeowners, premises or similar
       coverages;
   •   Workers' Compensation or other similar coverage; and
   •   No-fault or other similar coverage.

   We may enforce our subrogation rights by asserting a claim to any coverage to which you may be
   entitled. We shall have first priority to recover amounts we have paid and the reasonable value of
   services and benefits provided under a managed care agreement from any funds that are paid or payable
   as a result of any sickness or bodily injury, regardless of whether available funds are sufficient to fully
   compensate you for your sickness or bodily injury.

   If we are precluded from exercising our rights of subrogation, we may exercise our right of
   reimbursement.


   Right of reimbursement

   If benefits are paid under the master group contract, and you recover from any legally responsible
   person, their insurer, or any uninsured motorist, underinsured motorist, medical payment/expense,
   Workers' Compensation, no-fault, or other similar coverage, we have the right to recover from you an
   amount equal to the amount we paid and for the reasonable value of services and benefits provided under
   a managed care agreement.

   You shall notify us, in writing or by electronic mail, within 31 days of any settlement, compromise or
  judgment. Any covered person who waives, abrogates or impairs our right of reimbursement or fails to
  comply with these obligations, relieves us from any obligation to pay past or future benefits or expenses
  until all outstanding lien(s) are resolved.

   If, after the inception of coverage with us, you recover payment from and release any legally responsible
   person, their insurer, or any uninsured motorist, underinsured motorist, medical payment/expense,
   Workers' Compensation, no-fault, or other similar insurer from liability for future medical expenses
   relating to a sickness or bodily injury, we shall have a continuing right to reimbursement from you to the
   extent of the benefits we provided with respect to that sickness or bodily injury. This right, however,
   shall apply only to the extent of such payment.

  The obligation to reimburse us in full exists, regardless of whether the settlement, compromise or
  judgment designates the recovery as including or excluding medical expenses.




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                                        CLAIMS (continued)
   Assignment of recovery rights

   The master group contract contains an exclusion for sickness or bodily injury, for which there is
   medical payment/expenses coverage provided under any automobile, homeowner's, premises or other
   similar coverage.

   If your claim against the other insurer is denied or partially paid, we will process your claim according
   to the terms and conditions of the master group contract. If payment is made by us on your behalf, you
   agree to assign to us the right you have against the other insurer for medical expenses we pay.

   If benefits are paid under the master group contract and you recover under any automobile,
   homeowner's, premises or similar coverage, we have the right to recover from you, or whomever we have
   paid, an amount equal to the amount we paid.


   Cost of legal representation

   The costs of our legal representation in matters related to our recovery rights shall be borne solely by us.

   The costs oflegal representation incurred by you shall be borne solely by you. We shall not be
   responsible to contribute to the cost of legal fees or expenses incurred by you under any Common Fund
   or similar doctrine unless we were given timely notice of the claim and an opportunity to protect our
   own interests and we failed or declined to do so.




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                    COMPLAINT AND APPEAL PROCEDURES

   There are situations when you may have questions about your coverage or are dissatisfied with plan
   services. If you have an inquiry or complaint regarding a matter arising under your policy, please
   contact us at 1-800-448-6262. Such inquiries and complaints will be handled in a timely manner.

  If your grievance is not satisfactorily resolved or you are dissatisfied with an adverse determination of
  your claim, you or your authorized representative have the right to a formal grievance by writing to us at
  the address given on the denial letter you received or to the following address:

                                    Grievance and Appeal Department
                                    P.O. Box 14546
                                    Lexington, KY 40512-4546


   Definitions

   The following terms are used in this provision:

  Adverse determination means a denial, reduction or termination of, or failure to provide or make
  payment:

   •   In whole or in part for a benefit;
   •   Based on eligibility to participate in the plan; or
   •   Based on rescission of coverage.

  Appeal means a request for reconsideration of an adverse determination.

   Expedited appeal is a written or oral request for review of an adverse determination when the standard
   timeframe for an appeal would seriously jeopardize your life or health or would jeopardize your ability
   to regain maximum function, or in the opinion of the treating physician would subject you to severe pain
   that cannot be adequately managed without the treatment.

   Grievance is a written complaint submitted by you or your authorized representative to us regarding:

   •   Availability or delivery of coverage; or
   •   Quality of health care services; or
   •   Adverse determinations; or
   •   Claims payment, handling, or reimbursement for health care services; or
   •   Matters pertaining to the contract or the relationship between the subscriber and us.

   Independent Review Organization (IRO) means an organization of medical professionals with no
   connection to your health plan, qualified to review your dispute.

   Review panel is an internal review committee that includes one or more health care practitioners, other
   than the treating health care practitioner.




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          COMPLAINT AND APPEAL PROCEDURES (continued)

   Internal grievanceprocess
  Appeals must be submitted to us in writing within one year of your receipt of an adverse determination
  or within one year of the date of the occurrence, that initiated your grievance that is not an adverse
  determination. Should you need assistance in preparing an appeal, please call us toll-free at
  1-800-448-6262. We will acknowledge the appeal within five business days after receipt.

   During the appeal of an adverse determination, you may request a meeting with us. The location of the
   meeting shall be at our administrative offices or at a location within the service area which is
   convenient for you. If a phone call would be more convenient to you, please use the phone number
   provided in your acknowledgment letter.

   Medical necessity, experimental or investigational adverse determination appeals are forwarded to our
   review panel for a decision. You, your authorized representative will be notified of a final decision in
   writing within the following timeframes:

   •   30 calendar days after the date we receive an appeal of a medical necessity, experimental,
       investigational, pre-service or concurrent care adverse determination;

   •   60 calendar days after the date we receive an appeal for a post-service adverse determination; and

   •   60 calendar days after the date we receive a grievance that is not an adverse determination. If
       information is needed from outside the service area, we will have an additional 30 calendar days in
       which to notify you, your authorized representative, or provider acting on your behalf. The
       notification timeframe is suspended and resumes when the information is received.


   Internal expedited appeal

   All internal expedited appeals are to be investigated and a decision provided to you, your authorized
   representative, or a provider acting on your behalf as expeditiously as your medical condition requires,
   but no more than 72 hours after the request for review is received.


   Assistance

   You may contact the Agency for Health Care Administration (AHCA) for assistance with the submission
   of an appeal at any time during the appeal process. The toll free telephone hotline number and the
   address for the Agency are:

                           Agency for Health Care Administration
                           Bureau of Managed Health Care
                           Building 1, Room 339, MS 26
                           2727 Mahan Drive
                           Tallahassee, FL 32308
                           1-850-921-5458 or toll-free 1-888-419-3456




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          COMPLAINT AND APPEAL PROCEDURES (continued)
   You may contact the Florida Department of Financial Services, Division of Consumer Assistance for
   assistance with billing problems. The toll-free telephone number and the address for the Florida
   Department of Financial Services, Division of Consumer Assistance are:
                            Florida Department of Financial Services
                            Division of Consumer Assistance
                            200 East Gaines Street
                            Tallahassee, FL 32399
                            1-800-342-2762


   Exhaustionof remedies
   You must complete all levels of the appeal process available to you under state or federal law before
   filing a lawsuit. This assures that both you and we have a full and fair opportunity to complete the
   record and resolve the dispute. Contact us if you believe your condition requires the use of the shorter
   time lines applicable to emergency health conditions.

   The appeal process, however, does not stop you from pursuing other appropriate remedies, including
   injunctive relief or equitable relief, if the requirement of exhausting the process for appeal, including the
   expedited appeal process, would place your health in serious jeopardy.

   A coverage denial does not mean that your provider cannot provide the service or supply. Our denial
   only means we will not pay for the service or supply, unless our decision is reversed upon further review
   or in a subsequent lawsuit.


   Externalreview
   If you or your authorized representative disagree with the outcome of the internal appeal review
   decision, you or your authorized representative have the right to request an external review by an
   Independent Review Organization (JRO) if the adverse determination involves a medical necessity,
   experimental and investigational determination, a denial based on medical judgment, or a rescission of
   coverage. Adverse determinations related to eligibility to participate in the plan are not eligible for
   external review.
   You or your authorized representative must exhaust the internal appeal process before requesting an
   external review by an IRO. If you or your authorized representative wishes to file a request for an
   external review the request must be submitted in writing to the address listed below and received by us
   within four months or the next business day following the four month period from the receipt of the
   adverse determination.
                                   Grievance and Appeal Department
                                   P.O. Box 11268
                                   Green Bay, WI 54307-1268

   Within five business days of our receipt of the request, an IRO will be assigned to your case through an
   unbiased rotating selection process. The assigned IRO will send you or your authorized representative a
   notice of acceptance which will include notice of the right to submit additional information within ten
   business days ofreceipt of the notice from the IRO. The assigned/RO will also deliver a notice of the
   final external review decision in writing to you, your authorized representative, and us within 45 days of
   their receipt of the request.


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          COMPLAINT AND APPEAL PROCEDURES (continued)
   Should the IRO find in your or your authorized representative's favor in whole or in part, we will take
   the necessary actions to ensure the implementation of the IRO decision.


   External expedited review

   An external expedited review is a review involving cases where the normal duration of the external
   independent review process would jeopardize a covered person's life, health or ability to regain
   maximum function. This request should be submitted to us immediately.

   The IRO must provide a decision to you or your authorized representative and to us within 72 hours of
   the IRO's receipt of the request.

   Once the /RO makes a final coverage decision, the fmal coverage decision is binding on us and we will
   take the necessary actions to ensure the implementation of the /RO decision.


   Legal actionsand limitations
   No legal action to recover on the master group contract may be brought until 60 days after written proof
   of loss has been given in accordance with the "Proof of loss" provision of the master group contract.

   No legal action to recover on the master group contract may be brought after the expiration of the
   applicable statute of limitations from the date written proof of loss is required to be given.




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                                DISCLOSURE PROVISIONS

   Employeeassistanceprogram
  We may provide you access to an employee assistance program (EAP). The EAP may include
  confidential, telephonic consultations and work-life services. The EAP provides you with short-term,
  problem solving services for issues that may otherwise affect your work, personal life or health. The
  EAP is designed to provide you with information and assistance regarding your issue and may also assist
  you with finding a medical provider or local community resource.

  The services provided by the EAP are not covered expenses under the master group contract, therefore
  the copayments, deductible or coinsurance do not apply. However, there may be additional costs to you,
  if you obtain services from a professional or organization the EAP has recommended or has referred you
  to. The EAP does not provide medical care. You are not required to participate in the EAP before using
  your benefits under the master group contract, and the EAP services are not coordinated with covered
  expenses under the master group contract. The decision to participate in the EAP is voluntary, and you
  may participate at any time during the year. Refer to the marketing literature for additional information.


   Discount programs
   From time to time, we may offer or provide access to discount programs to you. In addition, we may
   arrange for third party service providers such as pharmacies, optometrists, dentists and alternative
   medicine providers to provide discounts on goods and services to you. Some of these third party service
   providers may make payments to us when covered persons take advantage of these discount programs.
   These payments offset the cost to us of making these programs available and may help reduce the costs
   of your plan administration. Although we have arranged for third parties to offer discounts on these
   goods and services, these discount programs are not covered services under the master group contract.
   The third party service providers are solely responsible to you for the provision of any such goods and/or
   services. We are not responsible for any such goods and/or services, nor are we liable if vendors refuse
   to honor such discounts. Further, we are not liable to covered persons for the negligent provision of
   such goods and/or services by third party service providers. Discount programs may not be available to
   persons who "opt out" of marketing communications and where otherwise restricted by law.


   Wellness programs
   From time to time we may offer directly, or enter into agreements with third parties who administer
   participatory or health-contingent wellness programs to you.

   "Participatory" wellness programs do not require you to meet a standard related to a health factor.
   Examples of participatory wellness programs may include membership in a fitness center, certain
   preventive testing, or attending a no-cost health education seminar.

   "Health-contingent" wellness programs require you to attain certain wellness goals that are related to a
   health factor. Examples of health-contingent wellness programs may include completing a 5k event,
   lowering blood pressure, reduction in weight and body mass index or ceasing the use of tobacco.




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                       DISCLOSURE PROVISIONS (continued)
   The rewards may include payment for all or a portion of a participatory wellness program, merchandise,
   gift cards, debit cards, discounts or contributions to your health spending account. We are not
   responsible for any rewards provided by third parties that are non-insurance benefits or for your receipt
   of such reward(s).

   The rewards may also includediscounts or credits toward premium or a reduction in copayments,
   deductibles or coinsurance, as permitted under applicable state and federal laws. Such insurance
   premium or benefit rewards may be made available at the individual or group health plan level.

   The rewards may be taxable income. You may consult a tax advisor for further guidance.

   Our agreement with any third party does not eliminate any of your obligations under this master group
   contract or change any of the terms of this master group contract. Our agreement with the third parties
   and the program may be terminated at any time, although insurance benefits will be subject to applicable
   state and federal laws.

   We are committed to helping you achieve your best health. Some wellness programs may be offered
   only to covered persons with particular health factors. If you think you might be unable to meet a
   standard for a reward under a health contingent wellness program,you might qualify for an opportunity
   to earn the same reward by different means. Contact us at the number listed on your ID card or in the
   marketing literature issued by the wellness program administrator for more information.

  The wellness program administrator or we may require proof in writing from your health care
  practitioner that your medical condition prevents you from taking part in the available activities.

   The decision to participate in wellness program activities is voluntary and if eligible, you may decide to
   participate anytime during the year. Refer to the marketing literature issued by the wellness program
   administrator for their program's eligibility, rules and limitations.


   Shared savings program
   As a covered person under the health benefit plan, coverage is limited to network providers, unless for
   emergency care. For coverage to be available for non-network providers other than emergency care, you
   must receive a referral from us.

   If you choose to obtain services from a non-network provider, the services may be eligible for a discount
   to you under the Shared Savings Program. It is not necessary for you to inquire in advance about
   services that may be discounted. When processing your claim, we will automatically determine if the
   services are subject to the Shared Savings Program and calculate your deductible and coinsurance on the
   discounted amount. Whether services are subject to the Shared Savings Program is at our discretion,
   and we apply the discounts in a non-discriminatory manner. Your Explanation of Benefits statement will
   reflect any savings with a remark code that the services have been discounted. We cannot guarantee that
   services rendered by non-network providers will be discounted. The non-network provider discounts in
   the Shared Savings Program may not be as favorable as network provider discounts.




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                      DISCLOSURE PROVISIONS (continued)
  If you would like to inquire in advance to determine if services rendered by a non-network provider
  may be subject to the Shared Savings Program, please contact our customer service department at the
  telephone number shown on your ID card. Provider arrangements in the Shared Savings Program are
  subject to change without notice. We cannot guarantee that the services you receive from a non-network
  provider are still subject to the Shared Savings Program at the time services are received. Discounts are
  dependent upon availability and cannot be guaranteed.

   We reserve the right to modify, amend or discontinue the Shared Savings Program at any time.




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                            MISCELLANEOUS PROVISIONS

   Entire contract
   The entire contract is made up of the master group contract, the Employer Group Application of the
   group plan sponsor, incorporated by reference herein, and the applications or enrollment forms, if any,
   of the covered persons. All statements made by the group plan sponsor or by a covered person are
   considered to be representations, not warranties. This means that the statements are made in good faith.
   No statement will void the master group contract, reduce the benefits it provides or be used in defense
   to a claim unless it is contained in a written or electronic application or enrollment form and a copy is
   furnished to the person making such statement or his or her beneficiary.


   Additionalgroup plan sponsor responsibilities
   In addition to responsibilities outlined in the master group contract, the group plan sponsor is
   responsible for:

   •   Collection of premium; and
   •   Distributing and providing covered persons access to:

           Benefit plan documents and the Summary of Benefits and Coverage (SBC);
           Renewal notices and master group contract modification information;
           Discontinuance notices; and
           Information regarding continuation rights.

   No group plan sponsor may change or waive any provision of the master group contract.


   Certificates
   A certificate setting forth the benefits available to the employee and the employee's covered dependents
   will be available at www .humana .com or in writing when requested. The employer is responsible for
   providing employees access to the certificate.

   No document inconsistent with the master group contract shall take precedence over it. This is true,
   also, when the certificate is incorporated by reference into a summary description of plan benefits by the
   administrator of a group plan subject to ERISA. If the terms of a summary plan description differ with
   the terms of this certificate, the terms of this certificate will control.


   Incontestability
   No misstatement made by the group plan sponsor, except for fraud or an intentional misrepresentation
   of a material fact made in the application, may be used to void the master group contract or deny any
   claim for loss incurred or disability starting after the two-year period.




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                   MISCELLANEOUS PROVISIONS (continued)
   After you are covered without interruption for two years, we cannot contest the validity of your coverage
   except for:

   •   Nonpayment of premiums; or
   •   Any fraud or intentional misrepresentation of a material fact made by you.

  At any time, we may assert defenses based upon provisions in the master group contract which relate to
  your eligibility for coverage under the master group contract.

   No statement made by you can be contested unless it is in a written or electronic form signed by you. A
   copy of the form must be given to you or your beneficiary.

   An independent incontestability period begins for each type of change in coverage or when a new
   application or enrollment form of the covered person is completed.


   Third party beneficiary
   This master group contract is between your employer and us. Covered persons are third party
   beneficiaries. There are no other third party beneficiaries. Providers are not third party beneficiaries.


   Fraud
   Health insurance fraud is a criminal offense that can be prosecuted. Any person(s) who willingly and
   knowingly engages in an activity intended to defraud us by filing a claim or form that contains a false or
   deceptive statement, may be guilty of insurance fraud.

   If you commit fraud against us or your employer commits fraud pertaining to you against us, as
   determined by us, we reserve the right to rescind your coverage after we provide you a 45-day advance
   written notice that coverage will be rescinded. You have the right to appeal the rescission.


   Clerical error or misstatement
   If it is determined that information about a covered person was omitted or misstated in error, an
   adjustment may be made in premiums and/or coverage in effect. This provision applies to you and to us.


   Modificationof master group contract
   The master group contract may be modified by us, upon renewal of the master group contract, as
   permitted by state and federal law. The group plan sponsor will be notified in writing or electronically
   at least 45 days prior to the effective date of the change.




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                   MISCELLANEOUS PROVISIONS (continued)
   The master group contract may be modified by agreement between us and the group plan sponsor
   without the consent of any covered person or any beneficiary. No modification will be valid unless
   approved by our President, Secretary or Vice-President. The approval must be endorsed on or attached
   to the master group contract. No agent has authority to modify the master group contract, or waive
   any of the master group contract provisions, to extend the time of premium payment, or bind us by
   making any promise or representation.

   Corrections due to clerical errors or clarifications that do not change benefits are not modifications of the
   master group contract and may be made by us at any time without prior consent of, or notice to, the
   group plan sponsor.


   Discontinuationof coverage
   If we decide to discontinue offering a particular group health plan:

   •   The group plan sponsor and the employees will be notified of such discontinuation at least 90 days
       prior to the date of nonrenewal of such coverage; and
   •   The group plan sponsor will be given the option to purchase all other group plans providing
       medical benefits that are being offered by us at such time.

  If we cease doing business in the large employer group market, the group plan sponsors, covered
  persons and the Commissioner of Insurance will be notified of such discontinuation at least 180 days
  prior to the date of nonrenewal of such coverage.


   Premiumcontributions
  Your employer must pay the required premium to us as they become due. Your employer may require
  you to contribute toward the cost of your coverage. Failure of your employer to pay any required
  premium to us when due may result in the termination of your coverage.


   Premium rate change
   We reserve the right to change any premium rates in accordance with applicable law upon notice to the
   employer. We will provide a 30-day advance written notice to the employer of any such premium
   changes. Questions regarding changes to premium rates should be addressed to the employer.


   Assignment
   The master group contract and its benefits may not be assigned by the group plan sponsor.




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                   MISCELLANEOUS PROVISIONS (continued)

   Conformitywith statutes
   Any provision of the master group contract which is not in conformity with applicable state law( s) or
   other applicable law(s) shall not be rendered invalid, but shall be construed and applied as if it were in
   full compliance with the applicable state law(s) and other applicable law(s).




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                                              GLOSSARY
   Terms printed in italic type in this certificate have the meaning indicated below. Defined terms are
   printed in italic type wherever found in this certificate.


                                                       A
  Accident means a sudden event that results in a bodily injury or dental injury and is exact as to time and
  place of occurrence.

  Active status means the employee is performing all of his or her customary duties, whether performed at
  the employer's business establishment, some other location which is usual for the employee's particular
  duties or another location, when required to travel on the job:

   •   On a regular full-time basis, having a normal workweek of 25 or more hours;
   •   For 48 weeks a year; and
   •   Is maintaining a bona fide employer-employee relationship with the group plan sponsor of the
       master group contract on a regular basis.

   Each day of a regular vacation and any regular non-working holiday are deemed active status, if the
   employee was in active status on his or her last regular working day prior to the vacation or holiday. An
   employee is deemed to be in active status if an absence from work is due to a sickness or bodily injury,
   provided the individual otherwise meets the definition of employee.

  Acute inpatient services mean care given in a hospital or health care treatment facility which:

   •   Maintains permanent full-time facilities for room and board ofresident patients;
   •   Provides emergency, diagnostic and therapeutic services with a capability to provide life-saving
       medical and psychiatric interventions;
   •   Has physician services, appropriately licensed behavioral health practitioners and skilled nursing
       services available 24-hours a day;
   •   Provides direct daily involvement of the physician; and
   •   Is licensed and legally operated in the jurisdiction where located.

  Acute inpatient services are utilized when there is an immediate risk to engage in actions, which would
  result in death or harm to self or others, or there is a deteriorating condition in which an alternative
  treatment setting is not appropriate.

  Admission means entry into a facility as a registered bed patient according to the rules and regulations
  of that facility. An admission ends when you are discharged, or released, from the facility and are no
  longer registered as a bed patient.

  Advanced imaging, for the purpose of this definition, includes Magnetic Resonance Imaging (MRI),
  Magnetic Resonance Angiography (MRA), Positron Emission Tomography (PET), Single Photon
  Emission Computed Tomography (SPECT), and Computed Tomography (CT) imaging.

  Alternative medicine, for the purposes of this definition, includes: acupressure, aromatherapy, ayurveda,
  biofeedback, faith healing, guided mental imagery, herbal supplements and medicine, holistic medicine,
  homeopathy, hypnosis, macrobiotics, massage therapy, naturopathy, ozone therapy, reflexotherapy,
  relaxation response, rolfing, shiatsu, yoga, and chelation therapy.



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                                    GLOSSARY (continued)

  Ambulance means a professionally operated ground vehicle, provided by a licensed ambulance service,
  equipped for the transportation of a sick or injured person to or from the nearest medical facility
  qualified to treat the person's sickness or bodily injury. Use of the ambulance must be medically
  necessary. When transporting the sick or injured person from one medical facility to another, the
  ambulance must be ordered by a health care practitioner.
  Ambulatory surgical center means an institution which meets all of the following requirements:
   •   It must be staffed by physicians and a medical staff which includes registered nurses.
   •   It must have permanent facilities and equipment for the primary purpose of performing surgery.
   •   It must provide continuous physicians' services on an outpatient basis.
   •   It must admit and discharge patients from the facility within a 24-hour period.
   •   It must be licensed in accordance with the laws of the jurisdiction where it is located. It must be
       operated as an ambulatory surgical center as defined by those laws.
   •   It must not be used for the primary purpose of terminating pregnancies, or as an office or clinic for
       the private practice of any physician or dentist.
  Assistant surgeon means a health care practitioner who assists at surgery and is a Doctor of Medicine
  (MD), Doctor of Osteopathic Medicine (DO), Doctor of Podiatric Medicine (DPM) or where state law
  requires a specific health care practitioner be treated and reimbursed the same as an MD, DO or DPM.
  Autism spectrum disorder means any of the following disorders as defined in the most recent edition of
  the Diagnostic and Statistical Manual of Mental Disorders of the American Psychiatric Association: a)
  autistic disorder; b) asperger's syndrome; and c) pervasive developmental disorder not otherwise
  specified.


                                                       B
   Behavioral health means mental health services and chemical dependency services.
   Birthing center means afree-standing facility that is specifically licensed to perform uncomplicated
   pregnancy care, delivery and immediate care after delivery for a covered person.
   Bodily injury means bodily damage other than a sickness, including all related conditions and recurrent
   symptoms. However, bodily damage resulting from infection or muscle strain due to athletic or physical
   activity is considered a sickness and not a bodily injury.
   Bone marrow means the transplant of human blood precursor cells which are administered to a patient
   to restore normal hematological and immunological functions following ablative or non-ablative therapy
   with curative or life-prolonging intent. Such cells may be derived from bone marrow, circulating blood,
   or a combination of bone marrow and circulating blood obtained from the patient in an autologous
   transplant, from a medically acceptable related or unrelated donor or cord blood. If chemotherapy is an
   integral part of the treatment involving a transplant of bone marrow, the term bone marrow includes the
   harvesting, the transplantation and the chemotherapy components.


                                                       C
   Certificate means this benefit plan document that describes the benefits, provisions and limitations of
   the master group contract. This certificate is part of the master group contract and is subject to the
   terms of the master group contract.




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                                     GLOSSARY (continued)

   Chemical dependency means the abuse of, or psychological or physical dependence on, or addiction to
   alcohol or a controlled substance.

   Coinsurance means the amount expressed as a percentage of the covered expense that you must pay.

  Confinement or confined means you are a registered bed patient as the result of a health care
  practitioner's recommendation. It does not mean you are in observation status.

   Congenital anomaly means an abnormality of the body that is present from the time of birth.

   Copayment means the specified dollar amount you must pay to a provider for covered expenses,
   regardless of any amounts that may be paid by us.

   Cosmetic surgery means surgery performed to reshape normal structures of the body in order to improve
   or change your appearance or self-esteem.

   Co-surgeon means one of two or more health care practitioners furnishing a single surgery which
   requires the skill of multiple surgeons each in a different specialty, performing parts of the same surgery
   simultaneously.

   Covered expense means:

   •   Medically necessary services to treat a sickness or bodily injury, such as:

           Procedures;
           Surgeries;
           Consultations;
           Advice;
           Diagnosis;
           Referrals;
           Treatment;
           Supplies;
           Drugs, including prescription and specialty drugs;
           Devices; or
           Technologies;

   •   Preventive services.

   To be considered a covered expense, services must be:

   •   Ordered by a health care practitioner;
   •   Authorized or prescribed by a qualified provider;
   •   Provided or furnished by a qualified provider;
   •   For the benefits described herein, subject to any maximum benefit and all other terms, provisions,
       limitations, and exclusions of the master group contract; and
   •   Incurred when you are insured for that benefit under the master group contract on the date that the
       service is rendered.




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                                    GLOSSARY (continued)

   Covered person means the employee or the employee's dependents, who are enrolled for benefits
   provided under the master group contract.

   Custodial care means services given to you if:

   •   You need services including assistance with dressing, bathing, preparation and feeding of special
       diets, walking, supervision of medication which is ordinarily self-administered, getting in and out of
       bed, and maintaining continence;

   •   The services you require are primarily to maintain, and not likely to improve, your condition; or

   •   The services involve the use of skills which can be taught to a layperson and do not require the
       technical skills of a nurse.

   Services may still be considered custodial care by us even if:

   •   You are under the care of a health care practitioner;
   •   The health care practitioner prescribed services are to support or maintain your condition; or
   •   Services are being provided by a nurse.


                                                      D
   Deductible means the amount of covered expenses that you, either individually or combined as a covered
   family, must pay per year before we pay benefits for certain specified covered expenses.

   Dental injury means an injury to a sound natural tooth caused by a sudden and external force that could
   not be predicted in advance and could not be avoided. It does not include biting or chewing injuries,
   unless the biting or chewing injury is a result of an act of domestic violence or a medical condition
   (including both physical and mental health conditions).




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                                     GLOSSARY (continued)

   Dependent means a covered employee '.s:

   •   Legally recognized spouse or domestic partner;

   •   Natural born child, step-child, foster child, legally adopted child, or child placed for adoption, whose
       age is less than the limiting age;

   •   Child whose age is less than the limiting age and for whom the employee has received a Qualified
       Medical Child Support Order (QMCSO) or National Medical Support Notice (NMSN) to provide
       coverage, if the employee is eligible for family coverage until:

           Such QMCSO or NMSN is no longer in effect; or
           The child is enrolled for comparable health coverage, which is effective no later than the
           termination of the child's coverage under the master group contract.

   •   Child in court-ordered temporary or other custody;

   •   Newborn child of a covered dependent child. Coverage for such child terminates 18 months after
       the date of birth or the date as determined by the "Termination of coverage" provision, whichever is
       earliest;

   •   Great-grandchild if the parent of a minor child delegates to any grandparent residing in this state,
       caregiving authority regarding the minor child when hardship prevents the parent from caring for the
       child. Coverage for such child terminates 18 months after the date of birth or the date as determined
       by the "Termination of coverage" provision, whichever is the earliest.

   •   Domestic partner'.s natural born child, step-child, foster child, legally adopted child, or child placed
       for adoption whose age is less than the limiting age;

       The domestic partner'.s child cannot qualify as a dependent prior to the employee '.sdomestic partner
       becoming a qualified dependent.

   The limiting age means the end of the month the dependent child attains age 26. Each dependent child
   is covered to the limiting age, regardless if the child is:

   •   Married;

   •   A tax dependent;

   •   A student;

   •   Employed;

   •   Residing with or receiving financial support from you;

   •   Eligible for other coverage through employment;

   •   Residing or working outside of the service area. Benefits for dependents residing outside of the
       service area are limited to emergency care and urgent care services as specified in the "Dependent
       eligibility date" provision, unless additional coverage is provided by addenda or authorized by us.



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                                      GLOSSARY (continued)
   A covered dependent child who attains the limiting age while covered under the master group contract
   remains eligible if the covered dependent child is:

   •   Incapable of self-sustaining employment by reason of mental retardation or physical handicap; and
   •   Chiefly dependent upon the employee, spouse or domestic partner for support and maintenance.

   In order for the covered dependent child to remain eligible as specified above, we must receive
   notification within 31 days prior to the covered dependent child attaining the limiting age.

   You must furnish satisfactory proof to us, upon our request, that the conditions, as defined in the
   bulleted items above, continuously exist on and after the date the limiting age is reached. After two
   years from the date the first proof was furnished, we may not request such proof more often than
   annually. If satisfactory proof is not submitted to us, the child's coverage will not continue beyond the
   last date of eligibility.

   Dependent adult child

   If the covered employee has a dependent adult child who has attained the limiting age of 26 and meets
   the following requirements, coverage may be available for that dependent adult child until the end of the
   calendar year in which they reach age 30.

   To be eligible for coverage, a dependent adult child must satisfy the following requirements:

   •   The dependent adult child is unmarried and does not have dependents of his or her own;
   •   The dependent adult child is a resident of Florida, or a full-time or part-time student; and
   •   The dependent adult child does not have coverage as a covered person under any other health
       insurance coverage or individual health benefits plan, or Medicare.

   A dependent adult child, as defined in the bulleted items above, ceases to be eligible for coverage under
   this provision:

   •   On the last day of the calendar year following the dependent adult child's attainment of the limiting
       age; or
   •   When the dependent adult child no longer meets the requirements listed above.

   A dependent adult child who takes a medically necessary leave of absence from an accredited
   educational institution while in full-time status, will continue to be eligible for coverage until the earlier
   of the following:

   •   Up to one year after the first day of the medically necessary leave of absence, unless the dependent
       adult child continues to meet the eligibility requirements stated above; or
   •   The date coverage would otherwise terminate under this certificate.

   We must receive written certification from the dependent adult child's health care practitioner that the
   dependent adult child has a serious bodily injury or sickness requiring a medically necessary leave of
   absence.

   You must furnish satisfactory proof to us, upon our request, that the above conditions continuously exist.
   If satisfactory proof is not submitted to us, the dependent adult child's coverage will not continue beyond
   the last date of eligibility.



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                                     GLOSSARY (continued)

   Diabetes equipment means blood glucose monitors, including monitors designed to be used by blind
   individuals; insulin pumps and associated accessories; insulin infusion devices; and podiatric appliances
   for the prevention of complications associated with diabetes.

   Diabetes self-management training means the training provided to a covered person after the initial
   diagnosis of diabetes for care and management of the condition including nutritional counseling and use
   of diabetes equipment and supplies. It also includes training when changes are required to the
   self-management regime and when new techniques and treatments are developed.

   Diabetes supplies means test strips for blood glucose monitors; visual reading and urine test strips;
   lancets and lancet devices; insulin and insulin analogs; injection aids; syringes; prescriptive agents for
   controlling blood sugar levels; prescriptive non-insulin injectable agents for controlling blood sugar
   levels; glucagon emergency kits; and alcohol swabs.

   Distant site means the location of a health care practitioner at the time a telehealth or telemedicine
   service is provided.

   Domestic partner means an individual of the same or opposite gender, who resides with the covered
   employee in a long-term relationship of indefinite duration; and, there is an exclusive, mutual
   commitment in which the partners agree to be jointly responsible for each other's common welfare and
   share financial obligations. We will allow coverage for only one domestic partner of the covered
   employee at any one time. The employee and domestic partner must each be at a minimum 18 years of
   age, competent to contract, and not related by blood to a degree of closeness which would prohibit legal
   marriage in the state in which the employee and domestic partner both legally reside. We reserve the
   right to require an affidavit from the employee and domestic partner attesting that the domestic
   partnership exists and, periodically thereafter, to require proof that the domestic partner relationship
   continues to exist.

   Durable medical equipment means equipment that meets all of the following criteria:

   •   It is prescribed by a health care practitioner;
   •   It can withstand repeated use;
   •   It is primarily and customarily used for a medical purpose rather than being primarily for comfort or
       convenience;
   •   It is generally not useful to you in the absence of sickness or bodily injury;
   •   It is appropriate for home use or use at other locations as necessary for daily living;
   •   It is related to and meets the basic functional needs of your physical disorder;
   •   It is not typically furnished by a hospital or skilled nursingfacility; and
   •   It is provided in the most cost effective manner required by your condition, including, at our
       discretion, rental or purchase.


                                                        E
   Effective date means the date your coverage begins under the master group contract.

   Electronic or electronically means relating to technology having electrical, digital, magnetic, wireless,
   optical, electromagnetic, or similar capabilities.




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                                     GLOSSARY (continued)

   Electronic mail means a computerized system that allows a user of a network computer system and/or
   computer system to send and receive messages and documents among other users on the network and/or
   with a computer system.

   Electronic signature means an electronic sound, symbol or process attached to or logically associated
   with a record and executed or adopted by a person with the intent to sign the record.

   Eligibility date means the date the employee or dependent is eligible to participate in the plan.

   Emergency care means services provided in an emergency facility for an emergency medical condition.

   Emergency care does not mean services for the convenience of the covered person or the provider of
   treatment or services.

   Emergency medical condition means a bodily injury or sickness manifesting itself by acute symptoms
   of sufficient severity (including severe pain) such that a prudent layperson, who possesses an average
   knowledge of health and medicine, could reasonably expect the absence of immediate medical attention
   to result in:

   •   Placing the health of that individual (or, with respect to a pregnant woman, the health of the woman
       or her unborn child) in serious jeopardy;
   •   Serious impairment of bodily functions; or
   •   Serious dysfunction of any bodily organ or part.

   Employee means a person, who is in active status for the employer on a full-time basis, having a normal
   workweek of 25 or more hours and who has met the waiting period, if any, elected by the group plan
   sponsor. The employee must be paid a salary or wage by the employer that meets the minimum wage
   requirements of your state or federal minimum wage law for work done at the employer's usual place of
   business or some other location, which is usual for the employee's particular duties.

   Employee also includes a sole proprietor, partner or corporate officer, where:
   •   The employer is a sole proprietorship, partnership or corporation;
   •   The sole proprietorship or other entity (other than a partnership) has at least one common-law
       employee (other than the business owner and his or her spouse); and
   •   The sole proprietor, partner or corporate officer is actively performing activities relating to the
       business, gains their livelihood from the sole proprietorship, partnership, or corporation and is in an
       active status at the employer's usual place of business or some other location, which is usual for the
       sole proprietor's, partner's or corporate officer's particular duties.
   If specified on the Employer Group Application and approved by us, employee also includes retirees of
   the employer. A retired employee is not required to be in active status to be eligible for coverage under
   the master group contract.
   Employer means the sponsor of this group plan or any subsidiary or affiliate described in the Employer
   Group Application. An employer must either employ at least one common-law employee or be a
   partnership with a bona fide partner who provides services on behalf of the partnership. A business
   owner and his or her spouse are not considered common-law employees for this purpose if the entity is
   considered to be wholly owned by one individual or one individual and his or her spouse.



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                                     GLOSSARY (continued)

   Endodontic services mean the following dental procedures, related tests or treatment and follow-up care:

   •   Root canal therapy and root canal fillings;
   •   Periradicular surgery;
   •   Apicoectomy;
   •   Partial pulpotomy; or
   •   Vital pulpotomy.

   Essential health benefits mean the following categories, as defined by the United States Health and
   Human Services (HHS) as set forth by the Affordable Care Act, and federal regulations:

   •   Ambulatory patient services;
   •   Emergency services;
   •   Hospitalization;
   •   Maternity and newborn care;
   •   Mental health and substance use disorders, including behavioral health treatment;
   •   Prescription drugs;
   •   Rehabilitative and habilitative services and devices;
   •   Laboratory services;
   •   Preventive and wellness services and chronic disease management; and
   •   Pediatric services, including oral and vision care.

   Experimental, investigational or for research purposes means a drug, biological product, device,
   treatment, or procedure that meets any one of the following criteria, as determined by us:

   •   Cannot be lawfully marketed without the final approval of the United States Food and Drug
       Administration (FDA) and lacks such final FDA approval for the use or proposed use, unless (a)
       found to be accepted for that use in the most recently published edition of the United States
       Pharmacopeia-Drug Information for Healthcare Professional (USP-DI) or in the most recently
       published edition of the American Hospital Formulary Service (AHFS) Drug Information; (b)
       identified as safe, widely used and generally accepted as effective for that use as reported in
       nationally recognized peer reviewed medical literature published in the English language as of the
       date of service; or (c) is mandated by state law;

   •   Is a device required to receive Premarket Approval (PMA) or 510K approval by the FDA but has not
       received a PMA or 51OK approval;

   •   Is not identified as safe, widely used and generally accepted as effective for the proposed use as
       reported in nationally recognized peer reviewed medical literature published in the English language
       as of the date of service;

   •   Is the subject of a National Cancer Institute (NCI) Phase I, II or III trial or a treatment protocol
       comparable to a NCI Phase I, II or III trial, or any trial not recognized by NCI regardless of phase;
       or

   •   Is identified as not covered by the Centers for Medicare & Medicaid Services (CMS) Medicare
       Coverage Issues Manual, a CMS Operational Policy Letter or a CMS National Coverage Decision,
       except as required by state or federal law.




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                                     GLOSSARY (continued)

                                                        F
   Family member means you or your spouse or domestic partner. It also means your or your spouse's or
   domestic partner's child, brother, sister, or parent.

   Free-standing facility means any licensed public or private establishment other than a hospital which
   has permanent facilities equipped and operated to provide laboratory and diagnostic laboratory,
   outpatient radiology, advanced imaging, chemotherapy, inhalation therapy, radiation therapy, lithotripsy,
   physical, cardiac, speech and occupational therapy, or renal dialysis services. An appropriately licensed
   birthing center is also considered afree-standingfacility.

   Full-time, for an employee, means having a normal workweek of 25 or more hours.

   Functional impairment means a direct and measurable reduction in physical performance of an organ or
   body part.


                                                       G
   Group means the persons for whom this health coverage has been arranged to be provided.

   Group plan sponsor means the legal entity identified as the group plan sponsor on the face page of the
   master group contract or "Certificate of Coverage" who establishes, sponsors and endorses an employee
   benefit plan for health care coverage.


                                                       H
   Habilitative services mean health care services and devices that help a person keep, learn or improve
   skills and functioning for daily living. Examples include therapy for a child who is not walking or
   talking at the expected age. These services may include physical and occupational therapy,
   speech-language pathology and other services for people with disabilities in a variety of inpatient and/or
   outpatient settings.

   Health care practitioner means a practitioner professionally licensed by the appropriate state agency to
   provide preventive services or diagnose or treat a sickness or bodily injury and who provides services
   within the scope of that license.

   Health care treatment facility means a facility, institution or clinic, duly licensed by the appropriate
   state agency to provide medical services, behavioral health services, and is primarily established and
   operating within the scope of its license.

   Health insurance coverage means medical coverage under any hospital or medical service policy or
   certificate, hospital or medical service plan contract or health maintenance organization (HMO) contract
   offered by a health insurance issuer. "Health insurance issuer" means an insurance company, insurance
   service or insurance organization (including an HMO) that is required to be licensed to engage in the
   business of insurance in a state and that is subject to the state law that regulates insurance.




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                                     GLOSSARY (continued)

   Health status-related factor means any of the following:

   •   Health status or medical history;
   •   Medical condition, either physical or mental;
   •   Claims experience;
   •   Receipt of health care;
   •   Genetic information;
   •   Disability; or
   •   Evidence of insurability, including conditions arising out of acts of domestic violence.

   Home health care agency means a home health care agency or hospital which meets all of the
   following requirements:

   •   It must primarily provide skilled nursing services and other therapeutic services under the
       supervision of physicians or registered nurses;

   •   It must be operated according to established processes and procedures by a group of medical
       professionals, including health care practitioners and nurses;

   •   It must maintain clinical records on all patients; and

   •   It must be licensed by the jurisdiction where it is located, iflicensure is required. It must be
       operated according to the laws of that jurisdiction which pertains to agencies providing home health
       care.

   Home health care plan means a plan of care and treatment for you to be provided in your home. To
   qualify, the home health care plan must be established and approved by a health care practitioner. The
   services to be provided by the plan must require the skills of a nurse, or another health care practitioner
   and must not be for custodial care.

   Hospice care program means a coordinated, interdisciplinary program provided by a hospice that is
   designed to meet the special physical, psychological, spiritual and social needs of a terminally ill
   covered person and his or her immediate covered family members, by providing palliative care and
   supportive medical, nursing and other services through at-home or inpatient care. A hospice must be
   licensed by the laws of the jurisdiction where it is located and must be operated as a hospice as defined
   by those laws. It must provide a program of treatment for at least two unrelated individuals who have
   been medically diagnosed as having no reasonable prospect for cure for their sickness and, as estimated
   by their physicians, are expected to live 18 months or less as a result of that sickness.

   Hospital means an institution that meets all of the following requirements:

   •   It must provide, for a fee, medical care and treatment of sick or injured patients on an inpatient
       basis;

   •   It must provide or operate, either on its premises or in facilities available to the hospital on a
       pre-arranged basis, medical, diagnostic and surgical facilities. The requirement for provision or
       operation of surgical facilities does not apply to a hospital that is primarily for the rehabilitation of
       physical disability. Claims may not be denied for care or services provided for the treatment of a
       physical disability by a licensed hospital accredited by one of the organizations listed below even if
       such hospital lacks major surgical facilities;


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                                     GLOSSARY (continued)
   •   Care and treatment must be given by and supervised by physicians. Nursing services must be
       provided on a 24-hour basis and must be given by or supervised by registered nurses;

   •   It must be licensed by the laws of the jurisdiction where it is located. It must be operated as a
       hospital as defined by those laws; and

   •   It must not be primarily a:

           Convalescent, rest or nursing home; or
           Facility providing custodial or educational care.

   The hospital must be accredited by one of the following:

   •   The Joint Commission on the Accreditation of Hospitals;
   •   The American Osteopathic Hospital Association; or
   •   The Commission on the Accreditation of Rehabilitative Facilities.


                                                        I
   Immune effector cell therapy means immune cells or other blood products that are engineered outside
   of the body and infused into a patient. Immune effector cell therapy may include acquisition, integral
   chemotherapy components and engineered immune cell infusion.

   Infertility services mean any treatment, supply, medication, or service provided to achieve pregnancy or
   to achieve or maintain ovulation. This includes:

   •   Artificial insemination;
   •   In vitro fertilization;
   •   Gamete Intrafallopian Transfer (GIFT);
   •   Zygote Intrafallopian Transfer (ZIFT);
   •   Tubal ovum transfer;
   •   Embryo freezing or transfer;
   •   Sperm storage or banking;
   •   Ovum storage or banking;
   •   Embryo or zygote banking; and
   •   Any other assisted reproductive techniques or cloning methods.

   Inpatient means you are confined as a registered bed patient.

   Intensive outpatient program means outpatient services providing:

   •   Group therapeutic sessions greater than one hour a day, three days a week;
   •   Behavioral health therapeutic focus;
   •   Group sessions centered on cognitive behavioral constructs, social/occupational/educational skills
       development and family interaction;
   •   Additional emphasis on recovery strategies, monitoring of participation in 12-step programs and
       random drug screenings for the treatment of chemical dependency; and
   •   Physician availability for medical and medication management.



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                                      GLOSSARY (continued)
   Intensive outpatient program does not include services that are for:

   •   Custodial care; or
   •   Day care.


                                                         J

                                                         K

                                                         L
   Late applicant means an employee or dependent who requests enrollment for coverage under the master
   group contract more than 31 days or more than 60 days for a newborn, adopted child or foster child
   after his or her eligibility date, later than the time period specified in the "Special enrollment" provision,
   or after the open enrollment period.


                                                        M
   Maintenance care means services and supplies furnished mainly to:

   •   Maintain, rather than improve, a level of physical or mental function; or
   •   Provide a protected environment free from exposure that can worsen the covered person's physical
       or mental condition.

   Master group contract means the legal agreement between us and the group plan sponsor, including the
   Employer Group Application and certificate, together with any riders, amendments and endorsements.

   Maximum allowable fee for a covered expense is the lesser of:

   •   The fee charged by the provider for the services;

   •   The fee that has been negotiated with the provider whether directly or through one or more
       intermediaries or shared savings contracts for the services;

   •   The fee established by us by comparing rates from one or more regional or national databases or
       schedules for the same or similar services from a geographical area determined by us;

   •   The fee based upon rates negotiated by us or other payors with one or more network providers in a
       geographic area determined by us for the same or similar services;




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                                     GLOSSARY (continued)
   •   The fee based upon the provider's cost for providing the same or similar services as reported by such
       provider in its most recent publicly available Medicare cost report submitted to the Centers for
       Medicare & Medicaid Services (CMS) annually; or

   •   The fee based on a percentage determined by us of the fee Medicare allows for the same or similar
       services provided in the same geographic area.

  Maximum allowable fee for a covered expense for emergency care services provided by non-network
  providers in a hospital's emergency department is an amount equal to the greatest of:

   •   The fee negotiated with network providers;
   •   The fee calculated using the same method to determine maximum allowable fee for a covered
       expense, other than emergency care services provided by non-network providers; or
   •   The fee paid by Medicare for the same services.

   Medicaid means a state program of medical care for needy persons, as established under Title 19 of the
   Social Security Act of 1965, as amended.

   Medically necessary means health care services that a health care practitioner exercising prudent
   clinical judgment would provide to his or her patient for the purpose of preventing, evaluating,
   diagnosing, or treating a sickness or bodily injury, or its symptoms. Such health care service must be:

   •   In accordance with nationally recognized standards of medical practice;

   •   Clinically appropriate in terms of type, frequency, extent, site and duration, and considered effective
       for the patient's sickness or bodily injury;

   •   Neither sourced from a location, nor provided primarily for the convenience of the patient, physician
       or other health care provider;

   •   Not more costly than an alternative source, service or sequence of services at least as likely to
       produce equivalent therapeutic or diagnostic results as to the diagnosis or treatment of the patient's
       sickness or bodily injury; and

   •   Performed in the least costly site or sourced from, or provided by the least costly qualified provider.

   For the purpose of medically necessary, generally accepted standards of medical practice means
   standards that are based on credible scientific evidence published in peer-reviewed medical literature
   generally recognized by the relevant medical community, Physician Specialty Society recommendations,
   the views of physicians practicing in relevant clinical areas and any other relevant factors.




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                                     GLOSSARY (continued)

   Medically necessary leave of absence means a leave of absence for a dependent adult child, who is no
   longer enrolled for sufficient course credits to maintain full-time status as defined by an accredited
   secondary school, college or university, or licensed technical school or had any other change in
   enrollment at such institution.

   The medically necessary leave of absence must:

   •   Begin due to a bodily injury or sickness;
   •   Be determined necessary by the dependent adult child's health care practitioner, who must send us
       written certification; and
   •   Cause the dependent adult child to lose full-time student status as defined in the definition of
       "dependent."

   Medicare means a program of medical insurance for the aged and disabled, as established under Title 18
   of the Social Security Act of 1965, as amended.

   Mental health services mean those diagnoses and treatments related to the care of a covered person who
   exhibits a mental, nervous or emotional condition classified in the Diagnostic and Statistical Manual of
   Mental Disorders.

   Morbid obesity means a body mass index (BMI) as determined by a health care practitioner as of the
   date of service of:

   •   40 kilograms or greater per meter squared (kg/m2); or

   •   35 kilograms or greater per meter squared (kg/m2) with an associated comorbid condition such as
       hypertension, type II diabetes, life-threatening cardiopulmonary conditions, or joint disease that is
       treatable, if not for the obesity.


                                                       N
   Network facility means a hospital, hospital outpatient department or ambulatory surgical center that
   has been designated as such or has signed an agreement with us as an independent contractor, or has
   been designated by us to provide services to all covered persons. Network facility designation by us
   may be limited to specified services.

   Network health care practitioner means a health care practitioner, who has been designated as such or
   has signed an agreement with us as an independent contractor, or who has been designated by us to
   provide services to all covered persons. Network health care practitioner designation by us may be
   limited to specified services.

   Network hospital means a hospital which has been designated as such or has signed an agreement with
   us as an independent contractor, or has been designated by us to provide services to all covered persons.
   Network hospital designation by us may be limited to specified services.




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                                     GLOSSARY (continued)

  Network provider means a hospital, health care treatment facility, health care practitioner, or other
  health services provider who is designated as such or has signed an agreement with us as an independent
  contractor, or who has been designated by us to provide services to all covered persons. Network
  provider designation by us may be limited to specified services.

   Non-network health care practitioner means a health care practitioner who has not been designated by
   us as a network health care practitioner.

   Non-network hospital means a hospital which has not been designated by us as a network hospital.

   Non-network provider means a hospital, health care treatment facility, health care practitioner, or
   other health services provider who has not been designated by us as a network provider.

   Nurse means a registered nurse (R.N. ), a licensed practical nurse (L.P .N.), or a licensed vocational nurse
   (L.V.N.).


                                                        0
  Observation status means you are receiving hospital outpatient services to help the health care
  practitioner decide if you need to be admitted as an inpatient.

   Open enrollment period means no less than a 31-day period of time, occurring annually for the group,
   during which employees have an opportunity to enroll themselves and their eligible dependents for
   coverage under the master group contract.

   Oral surgery means procedures to correct diseases, injuries and defects of the jaw and mouth structures.
   These procedures include the following:

   •   Surgical removal of full bony impactions;
   •   Mandibular or maxillary implant;
   •   Maxillary or mandibular frenectomy;
   •   Alveolectomy and alveoplasty;
   •   Orthognathic surgery;
   •   Surgery for treatment oftemporomandibular joint syndrome/dysfunction; and
   •   Periodontal surgical procedures, including gingivectomies.

   Originating site means the location of a covered person at the time a telehealth or telemedicine service
   is being furnished.




   CHMO 2004-C GL 22.2                                                                                      126
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                                      GLOSSARY (continued)

   Out-of-pocket limit means the amount of any copayments, deductibles and coinsurance for covered
   expenses, which you must pay, either individually or combined as a covered family, per year before a
   benefit percentage is increased.

   Outpatient means you are not confined as a registered bed patient.
   Outpatient surgery means surgery performed in a health care practitioner's office, ambulatory surgical
   center, or the outpatient department of a hospital.


                                                        p
   Palliative care means care given to a covered person to relieve, ease, or alleviate, but not to cure, a
   bodily injury or sickness.
   Partial hospitalization means outpatient services provided by a hospital or health care treatment
  facility in which patients do not reside for a full 24-hour period and:
   •   Has a comprehensive and intensive interdisciplinary psychiatric treatment for minimum of 5 hours a
       day, 5 days per week under the supervision of a psychiatrist for mental health services or a
       psychiatrist or addictionologist for chemical dependency, and patients are seen by a psychiatrist or
       addictionologist, as applicable, at least once a week;
   •   Provides for social, psychological and rehabilitative training programs with a focus on reintegration
       back into the community and admits children and adolescents who must have a treatment program
       designed to meet the special needs of that age range; and
   •   Has physicians and appropriately licensed behavioral health practitioners readily available for the
       emergent and urgent needs of the patients.
   The partial hospitalization program must be accredited by the Joint Commission of the Accreditation of
   Hospitals or in compliance with an equivalent standard.
   Licensed drug abuse rehabilitation programs and alcohol rehabilitation programs accredited by the Joint
   Commission on the Accreditation of Health Care Organizations or approved by the appropriate state
   agency are also considered partial hospitalization services.
   Partial hospitalization does not include services that are for:
   •   Custodial care; or
   •   Daycare.
   Periodontics means the branch of dentistry concerned with the study, prevention, and treatment of
   diseases of the tissues and bones supporting the teeth. Periodontics includes the following dental
   procedures, related tests or treatment and follow-up care:
   •   Periodontal maintenance;
   •   Scaling and root planing;
   •   Gingivectomy;
   •   Gingivoplasty; or
   •   Osseous surgical procedures.




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                                    GLOSSARY (continued)

   Pre-surgicaVprocedural testing means:

   •   Laboratory tests or radiological examinations done on an outpatient basis in a hospital or other
       facility accepted by the hospital before hospital confinement or outpatient surgery or procedure;
   •   The tests must be accepted by the hospital or health care practitioner in place of like tests made
       during confinement; and
   •   The tests must be for the same bodily injury or sickness causing you to be hospital confined or to
       have the outpatient surgery or procedure.

   Preauthorization means approval by us, or our designee, of a service prior to it being provided. Certain
   services require medical review by us in order to determine eligibility for coverage.

   Preauthorization is granted when such a review determines that a given service is a covered expense
   according to the terms and provisions of the master group contract.

  Prescription means a direct order for the preparation and use of a drug, medicine or medication. The
  prescription must be written by a health care practitioner and provided to a pharmacist for your benefit
  and used for the treatment of a sickness or bodily injury, which is covered under this plan, or for drugs,
  medicines or medications on the Preventive Medication Coverage drug list. The drug, medicine or
  medication must be obtainable only by prescription or must be obtained by prescription for drugs,
  medicines or medications on the Preventive Medication Coverage drug list. The prescription may be
  given to the pharmacist verbally, electronically or in writing by the health care practitioner. The
  prescription must include at least:

   •   Yourname;
   •   The type and quantity of the drug, medicine or medication prescribed, and the directions for its use;
   •   The date the prescription was prescribed; and
   •   The name and address of the prescribing health care practitioner.

   Preventive services means services in the following recommendations appropriate for you during your
   planyear:

   •   Services with an A or B rating in the current recommendations of the U.S. Preventive Services Task
       Force (USPSTF).
   •   Immunizations recommended by the Advisory Committee on Immunization Practices of the Centers
       for Disease Control and Prevention (CDC).
   •   Preventive care for infants, children and adolescents provided in the comprehensive guidelines
       supported by the Health Resources and Services Administration (HRSA).
   •   Preventive care for women provided in the comprehensive guidelines supported by HRSA.

  For the recommended preventive services that apply to your plan year, refer to the www .healthcare.gov
  website or call the customer service telephone number on your ID card. Refer to the "Preventive
  services" provision in the "Covered Expenses" section which includes preventive services covered by the
  policy.




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                                     GLOSSARY (continued)

   Primary care physician means a network health care practitioner who provides initial and primary care
   services to covered persons, maintains the continuity of covered persons' medical care and helps direct
   covered persons to specialty care physicians and other providers.
   A primary care physician is a health care practitioner in one of the following specialties:
   •   Family medicine/General practice;
   •   Internal medicine; and
   •   Pediatrics.


                                                       Q
   Qualified provider means a person, facility or any other health care provider:
   •   That is licensed by the appropriate state agency to:

           Diagnose, prevent or treat a sickness or bodily injury; or
           Provide preventive services;

   A qualified provider must provide services within the scope of their license and their primary purpose
   must be to provide health care services.


                                                       R
   Rehabilitation facility means any licensed public or private establishment which has permanent facilities
   that are equipped and operated primarily to render physical and occupational therapies, diagnostic
   services and other therapeutic services.
   Rescission, rescind or rescinded means a cancellation or discontinuance of coverage that has a
   retroactive effect.

   Residential treatment facility means an institution that:

   •   Is licensed as a 24-hour residential facility for behavioral health treatment, although not licensed as
       a hospital;

   •   Provides a multidisciplinary treatment plan in a controlled environment, under the supervision of a
       physician who is able to provide treatment on a daily basis;

   •   Provides supervision and treatment by a Ph.D. psychologist, licensed therapist, psychiatric nursing
       staff or registered nurse;

   •   Provides programs such as social, psychological, family counseling and rehabilitative training, age
       appropriate for the special needs of the age group of patients, with focus on reintegration back into
       the community; and

   •   Provides structured activities throughout the day and evening, for a minimum of 6 hours a day.

   Residential treatment is utilized to provide structure, support and reinforcement of the treatment required
   to reverse the course of behavioral deterioration.


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                                     GLOSSARY (continued)

   Retail clinic means a health care treatment facility, located in a retail store, that is often staffed by
   nurse practitioners and physician assistants who provide minor medical services on a "walk-in" basis
   (no appointment required).

   Room and board means all charges made by a hospital or other health care treatment facility on its
   own behalf for room and meals and all general services and activities needed for the care of registered
   bed patients.

   Routine nursery care means the charges made by a hospital or licensed birthing center for the use of the
   nursery. It includes normal services and supplies given to well newborn children following birth.
   Health care practitioner visits are not considered routine nursery care. Treatment of a bodily injury,
   sickness, birth abnormality, or congenital anomaly following birth and care resulting from prematurity is
   not considered routine nursery care.

   Routine patient care means all health care services, including drugs, items, devices and services that
   would otherwise be covered under the certificate if those health care services were not provided in
   connection with an approved cancer clinical trial, including the following:

   •   Absent a cancer clinical trial;
   •   Required only for the provision of the investigational drug, item, device or service;
   •   Required for clinical appropriate monitoring of the investigational item of service; and
   •   Needed for the reasonable, necessary care resulting from the investigations of the drug, item, device
       or service, including the diagnosis or treatment of complications.


                                                         s
   Self-administered injectable drugs means an FDA-approved medication which a person may administer
   to himself or herself by means of intramuscular, intravenous or subcutaneous injection, excluding
   insulin, and prescribed for use by you.

   Service area means the geographic area designated by us, or as otherwise agreed upon between the
   group plan sponsor and us and approved by the Department of Insurance of the state in which the
   master group contract is issued, if such approval is required. The service area is the geographic area
   where the network provider services are available to you. A description of the service area is provided
   in the provider directories.

   Sickness means a disturbance in function or structure of the body which causes physical signs or
   physical symptoms and which, if left untreated, will result in a deterioration of the health state of the
   structure or system(s) of the body. The term also includes: (a) pregnancy; (b) any medical complications
   of pregnancy; and (c) behavioral health.




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                                     GLOSSARY (continued)

   Skilled nursing facility means a licensed institution (other than a hospital, as defined) which meets all
   of the following requirements:

   •   It must provide permanent and full-time bed care facilities for resident patients;
   •   It must maintain, on the premises and under arrangements, all facilities necessary for medical care
       and treatment;
   •   It must provide such services under the supervision of physicians at all times;
   •   It must provide 24-hours-a-day nursing services by or under the supervision of a registered nurse;
       and
   •   It must maintain a daily record for each patient.

   A skilled nursing facility is no!, except by incident, a rest home, a home for the care of the aged, or
   engaged in the care and treatment of chemical dependency.

   Sound natural tooth means a tooth that:

   •   Is organic and formed by the natural development of the body (not manufactured, capped, crowned
       or bonded);
   •   Has not been extensively restored;
   •   Has not become extensively decayed or involved in periodontal disease; and
   •   Is not more susceptible to injury than a whole natural tooth (for example a tooth that has not been
       previously broken, chipped, filled, cracked or fractured).

   Special enrollment date means the date of:

   •   Change in family status after the eligibility date;
   •   Loss of other coverage under another group health plan or other health insurance coverage;
   •   COBRA exhaustion;
   •   Loss of coverage under your employer's alternate plan;
   •   Termination of your Medicaid coverage or your Children's Health Insurance Program (CHIP)
       coverage as a result of loss of eligibility; or
   •   Eligibility for a premium assistance subsidy under Medicaid or CHIP.

   To be eligible for special enrollment, you must meet the requirements specified in the "Special
   enrollment" provision within the "Eligibility and Effective Dates" section of this certificate.

   Specialty care physician means a health care practitioner who has received training in a specific
   medical field other than the specialties listed as primary care.

   Specialty drug means a drug, medicine, medication, or biological used as a specialized therapy
   developed for chronic, complex sicknesses or bodily injuries. Specialty drugs may:

   •   Be injected, infused or require close monitoring by a health care practitioner or clinically trained
       individual;
   •   Require nursing services or special programs to support patient compliance;
   •   Require disease-specific treatment programs;
   •   Have limited distribution requirements; or
   •   Have special handling, storage or shipping requirements.




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                                    GLOSSARY (continued)

   Stem cell means the transplant of human blood precursor cells. Such cells may be derived from bone
   marrow, circulating blood, or a combination of bone marrow and circulating blood obtained from the
   patient in an autologous transplant, from a matched related or unrelated donor, or cord blood. The stem
   cell transplant includes the harvesting, integral chemotherapy components and the stem cell infusion. A
   stem cell transplant is commonly referred to as a bone marrow transplant.

   Surgery means procedures categorized as Surgery in either the:

   •   Current Procedural Terminology (CPT) manuals published by the American Medical Association; or
   •   Healthcare Common Procedure Coding System (HCPCS) Level II manual published by the Centers
       for Medicare & Medicaid Services (CMS).

   The term surgery includes:

   •   Excision or incision of the skin or mucosal tissues;
   •   Insertion for exploratory purposes into a natural body opening;
   •   Insertion of instruments into any body opening, natural or otherwise, done for diagnostic or other
       therapeutic purposes;
   •   Treatment of fractures;
   •   Procedures to repair, remove or replace any body part or foreign object in or on the body; and
   •   Endoscopic procedures.

   Surgi,cal assistant means a health care practitioner who assists at surgery and is not a Doctor of
   Medicine (MD), Doctor of Osteopathic Medicine (DO) or Doctor of Podiatric Medicine (DPM), or
   where state law does not require that specific health care practitioners be treated and reimbursed the
   same as an MD, DO or DPM.


                                                       T
   Teleheahh means an audio and video real-time interactive communication between a patient and a
   health care practitioner at a distant site.

   Telemedicine means services, other than telehealth, provided via telephonic or electronic
   communications.

   Total disability or totally disabled means your continuing inability, as a result of a bodily injury or
   sickness, to perform the material and substantial duties of any job for which you are or become qualified
   by reason of education, training or experience.

   The term also means a dependent's inability to engage in the normal activities of a person of like age. If
   the dependent is employed, the dependent must be unable to perform his or her job.


                                                      u
   Urgent care means health care services provided on an outpatient basis for an unforeseen condition that
   usually requires attention without delay but does not pose a threat to life, limb or permanent health of
   the covered person.


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                                    GLOSSARY (continued)

   Urgent care center means any licensed public or private non-hospital free-standing facility which has
   permanent facilities equipped to provide urgent care services.


                                                     V

                                                     w
   Waiting period means the period of time, elected by the group plan sponsor, that must pass before an
   employee is eligible for coverage under the master group contract.

   We, us or our means the offering company as shown on the cover page of the master group contract
   and certificate.


                                                     X

                                                     y
   Year means the period of time which begins on any January 1st and ends on the following December
   31st. When you first become covered by the master group contract, the first year begins for you on the
   effective date of your coverage and ends on the following December 31st.

   You or your means any covered person.


                                                     z




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                       GLOSSARY - PHARMACY SERVICES
   All terms used in the "Schedule of Benefits - Pharmacy Services," "Covered Expenses- Pharmacy
   Services" and "Limitations and Exclusions - Pharmacy Services" sections have the same meaning given
   to them in the "Glossary" section of this certificate, unless otherwise specifically defined below:


                                                     A

                                                      B
   Brand-name drug means a drug, medicine or medication that is manufactured and distributed by only
   one pharmaceutical manufacturer, or any drug product that has been designated as brand-name by an
   industry-recognized source used by us.


                                                      C
   Coinsurance means the amount expressed as a percentage of the covered expense that you must pay
   toward the cost of each separate prescription fill or refill dispensed by a pharmacy.

  Copayment means the specified dollar amount to be paid by you toward the cost of each separate
  prescription fill or refill dispensed by a pharmacy.

   Cost share means any applicable prescription drug deductible, copayment and coinsurance that you
   must pay per prescription fill or refill.


                                                     D
  Default rate means the fee based on rates negotiated by us or other payers with one or more network
  providers in a geographic area determined by us for the same or similar prescription fill or refill.

   Dispensing limit means the monthly drug dosage limit and/or the number of months the drug usage is
   commonly prescribed to treat a particular condition, as determined by us.

   Drug list means a list of covered prescription drugs, medicines or medications and supplies specified by
   us.


                                                      E

                                                      F




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              GLOSSARY - PHARMACY SERVICES (continued)

                                                      G
   Generic drug means a drug, medicine or medication that is manufactured, distributed, and available
   from a pharmaceutical manufacturer and identified by the chemical name, or any drug product that has
   been designated as generic by an industry-recognized source used by us.


                                                     H

                                                      I

                                                      J

                                                     K

                                                      L
   Legend drug means any medicinal substance, the label of which, under the Federal Food, Drug and
   Cosmetic Act, is required to bear the legend: "Caution: Federal Law Prohibits dispensing without
   prescription."

   Level 1 drugs mean a category of prescription drugs, medicines or medications within the drug list that
   are designated by us as level 1.

   Level 2 drugs mean a category of prescription drugs, medicines or medications within the drug list that
   are designated by us as level 2.

   Level 3 drugs mean a category of prescription drugs, medicines or medications within the drug list that
   are designated by us as level 3.

   Level 4 drugs mean a category of prescription drugs, medicines or medications within the drug list that
   are designated by us as level 4.




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              GLOSSARY - PHARMACY SERVICES (continued)

                                                       M
   Mail order pharmacy means a pharmacy that provides covered mail order pharmacy services, as
   defined by us, and delivers covered prescription drug, medicine or medication fills or refills through the
   mail to covered persons.


                                                       N
   Network pharmacy means a pharmacy that has signed a direct agreement with us or has been designated
   by us to provide:

   •   Covered pharmacy services;
   •   Covered specialty pharmacy services; or
   •   Covered mail order pharmacy services,

   as defined by us, to covered persons, including covered prescription fills or refills delivered to your
   home or health care provider.

   Non-network pharmacy means a pharmacy that has not signed a direct agreement with us or has not
   been designated by us to provide:

   •   Covered pharmacy services;
   •   Covered specialty pharmacy services; or
   •   Covered mail order pharmacy services,

   as defined by us, to covered persons, including covered prescription fills or refills delivered to your
   home or health care provider.


                                                        0

                                                        p
   Pharmacist means a person, who is licensed to prepare, compound and dispense medication, and who is
   practicing within the scope of his or her license.

   Pharmacy means a licensed establishment where prescription drugs, medicines or medications are
   dispensed by a pharmacist.

   Prescription drug deductible means the specified dollar amount for prescription drug covered expenses
   which you, either individually or combined as a covered family, must pay per year before we pay
   prescription drug benefits under the master group contract. These expenses do not apply toward any
   other deductible, if any, stated in the master group contract.




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              GLOSSARY - PHARMACY SERVICES (continued)
   Prior authorization means the required prior approval from us for the coverage of certain prescription
   drugs, medicines or medications, including specialty drugs. The required prior approval from us for
   coverage includes the dosage, quantity and duration, as medically necessary for the covered person.


                                                      Q

                                                      R

                                                      s
   Specialty pharmacy means a pharmacy that provides covered specialty pharmacy services, as defined by
   us, to covered persons.

   Step therapy means a requirement for you to first try certain drugs, medicines or medications or
   specialty drugs to treat your medical condition before we will cover another prescription drug,
   medicine, medication or specialty drug for that condition.


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   Toll Free: 1-888-357-6767
   3501 SW 160th Avenue
   Miramar, FL 33027


                                   OFFERED BY
                               Humana Medical Plan, Inc.
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                                     FEDERAL NOTICES
   The following pages contain important information about certain federal laws. There may be
   differences between the Certificate of Insurance or Evidence of Coverage and this Notice packet.
   There may also be differences between this notice packet and state law. You are eligible for the
   rights more beneficial to you, unless preempted by state or federal law.


   This section includes notices about:

   Federal legislation

          Women's health and cancer rights act

          Statement of rights under the newborns' and mothers' health Protection act

          Medical child support orders

          General notice of COBRA continuation of coverage rights

          Tax equity and fiscal responsibility act of 1982 (TEFRA)

          Family and medical leave act (FMLA)

          Uniformed services employment and reemployment rights act of 1994 (USERRA)

          Your rights under ERISA

          Patient protection act




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                             FEDERAL NOTICES (continued)

   Federal legislation
   Women's health and cancer rights act of 1998
   Required coverage for reconstructive surgery following mastectomies

   Under federal law, group health plans and health insurance issuers offering group health insurance
   providing medical and surgical benefits with respect to mastectomy shall provide, in a case of a
   participant or beneficiary who is receiving benefits in connection with a mastectomy and who elects
   breast reconstruction in connection with such mastectomy, coverage for:

   •   Reconstruction of the breast on which the mastectomy has been performed;
   •   Surgery and reconstruction of the other breast to produce symmetrical appearance; and
   •   Prostheses and physical complications of all stages of mastectomy, including lymphedemas;

   in a manner determined in consultation with the attending physician and the patient. Such coverage may
   be subject to annual deductibles and coinsurance provisions as may be deemed appropriate and as are
   consistent with those established for other benefits under the plan.


   Statement of rights under the newborns' and mothers' health protection act (NMHP A)

   If your plan covers normal pregnancy benefits, the following notice applies to you.

   Under federal law, group health plans and health insurance issuers offering group health insurance
   coverage generally may not restrict benefits for any hospital length of stay in connection with childbirth
   for the mother or newborn child to less than 48 hours following a vaginal delivery or less than 96 hours
   following a delivery by cesarean section. However, the plan or issuer may pay for a shorter stay if the
   attending provider (e.g., physician, nurse midwife, or physician assistant), after consultation with the
   mother, discharges the mother or newborn earlier.

   Also, under federal law, group health plans and health insurance issuers may not set the level of benefits
   or out-of-pocket costs so any later portion of the 48-hour (or 96-hour) stay is treated in a manner less
   favorable to the mother or newborn than any earlier portion of the stay.

   In addition, a group health plan or health insurance issuer may not, under federal law, require a
   physician or other health care provider obtain authorization for prescribing a length of stay of up to 48
   hours (or 96 hours). However, to use certain providers or facilities, or to reduce your out-of-pocket
   costs, you may be required to obtain pre-authorization. For information on pre-authorization, contact
   your plan administrator.


   Medical child support orders

   An individual who is a child of a covered employee shall be enrolled for coverage under the group
   health plan in accordance with the direction of a Qualified Medical Child Support Order (QMCSO) or a
   National Medical Support Notice (NMSO).




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                             FEDERAL NOTICES (continued)
   A QMCSO is a state-court order or judgment, including approval of a settlement agreement that:

   •   Provides for support of a covered employee's child;
   •   Provides for health care coverage for that child;
   •   Is made under state domestic relations law (including a community property law);
   •   Relates to benefits under the group health plan; and
   •   Is "qualified," i.e., it meets the technical requirements ofERISA or applicable state law.

   QMCSO also means a state court order or judgment enforcing state Medicaid law regarding medical
   child support required by the Social Security Act§ 1908 (as added by Omnibus Budget Reconciliation
   Act of 1993).

   An NMSO is a notice issued by an appropriate agency of a state or local government that is similar to a
   QMCSO requiring coverage under the group health plan for a dependent child of a non-custodial parent
   who is (or will become) a covered person by a domestic relations order providing for health care
   coverage.

   Procedures for determining the qualified status of medical child support orders are available at no cost
   upon request from the plan administrator.


   General notice of COBRA continuation coverage rights

   Introduction

   You are getting this notice because you recently gained coverage under a group health plan (the Plan).
   This notice has important information about your right to COBRA continuation coverage, which is a
   temporary extension of coverage under the Plan. This notice explains COBRA continuation
   coverage, when it may become available to you and your family, and what you need to do to
   protect your right to get it. When you become eligible for COBRA, you may also become eligible for
   other coverage options that may cost less than COBRA continuation coverage.

   The right to COBRA continuation coverage was created by a federal law, the Consolidated Omnibus
   Budget Reconciliation Act of 1985 (COBRA). COBRA continuation coverage can become available to
   you and other members of your family when group health coverage would otherwise end. For more
   information about your rights and obligations under the Plan and under federal law, you should review
   the Plan's Summary Plan Description or contact the Plan Administrator.

   You may have other options available to you when you lose group health coverage. For example,
   you may be eligible to buy an individual plan through the Health Insurance Marketplace. By enrolling
   in coverage through the Marketplace, you may qualify for lower costs on your monthly premiums and
   lower out-of-pocket costs. Additionally, you may qualify for a 30-day special enrollment period for
   another group health plan for which you are eligible (such as a spouse's plan), even if that plan generally
   doesn't accept late enrollees.




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                              FEDERAL NOTICES (continued)

   What is COBRA continuation coverage?
   COBRA continuation coverage is a continuation of Plan coverage when it would otherwise end because
   of a life event. This is also called a "qualifying event." Specific qualifying events are listed later in this
   notice. After a qualifying event, COBRA continuation coverage must be offered to each person who is a
   "qualified beneficiary". You, your spouse, and your dependent children could become qualified
   beneficiaries if coverage under the Plan is lost because of the qualifying event. Under the Plan, qualified
   beneficiaries who elect COBRA continuation coverage must pay for COBRA continuation coverage.

   If you are an employee, you will become a qualified beneficiary if you to lose your coverage under the
   Plan because of the following qualifying events:

   •   Your hours of employment are reduced; or
   •   Your employment ends for any reason other than your gross misconduct.

   If you are the spouse of an employee, you will become a qualified beneficiary if you to lose your
   coverage under the Plan because of the following qualifying events:

   •   Your spouse dies;
   •   Your spouse's hours of employment are reduced;
   •   Your spouse's employment ends for any reason other than his or her gross misconduct;
   •   Your spouse becomes entitled to Medicare benefits (under Part A, Part B, or both); or
   •   You become divorced or legally separated from your spouse.
   Your dependent children will become qualified beneficiaries if they lose coverage under the Plan
   because of the following events:

   •   The parent-employee dies;
   •   The parent-employee's hours of employment are reduced;
   •   The parent-employee's employment ends for any reason other than his or her gross misconduct;
   •   The parent-employee becomes entitled to Medicare benefits (Part A, Part B, or both);
   •   The parents become divorced or legally separated; or
   •   The child stops being eligible for coverage under the plan as a "dependent child".

   Sometimes, filing a proceeding in bankruptcy under title 11 of the United States Code can be a
   qualifying event. If a proceeding in bankruptcy is filed with respect to the employer, and that
   bankruptcy results in the loss of coverage of any retired employee covered under the Plan, the retired
   employee will become a qualified beneficiary. The retired employee's spouse, surviving spouse, and
   dependent children will also become qualified beneficiaries if bankruptcy results in the loss of their
   coverage under the Plan.


   When is COBRA coverage available?
   The plan will offer COBRA continuation coverage to qualified beneficiaries only after the Plan
   Administrator has been notified that a qualifying event has occurred. The employer must notify the Plan
   Administrator of the following qualifying events:

   •   The end of employment or reduction of hours of employment;
   •   Death of the employee;
   •   Commencement of a proceeding in bankruptcy with respect to the employer; or
   •   The employee's becoming entitled to Medicare benefits (under Part A, Part B, or both).



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   For all other qualifying events (divorce or legal separation of the employee and spouse or a
   dependent child's losing eligibility for coverage as a dependent child), you must notify the Plan
   Administrator within 60 days after the qualifying event occurs.


   How is COBRA Coverage Provided?

   Once the Plan Administrator receives notice that a qualifying event has occurred, COBRA continuation
   coverage will be offered to each of the qualified beneficiaries. Each qualified beneficiary will have an
   independent right to elect COBRA continuation coverage. Covered employees may elect COBRA
   continuation coverage on behalf of their spouses, and parents may elect COBRA continuation coverage
   on behalf of their children.

   COBRA continuation coverage is a temporary continuation of coverage that generally lasts for 18
   months due to employment termination or reduction of hours of work. Certain qualifying events, or a
   second qualifying event during the initial period of coverage, may permit a beneficiary to receive a
   maximum of 36 months of coverage.

   There are also ways in which this 18-month period of COBRA continuation coverage can be extended:

   •   Disability extension of 18-month period of continuation coverage - If you or anyone in your
       family covered under the Plan is determined by Social Security to be disabled and you notify the
       Plan Administrator in a timely fashion, you and your entire family may be entitled to get up to an
       additional 11 months of COBRA continuation coverage, for a maximum of29 months. The
       disability would have to have started at some time before the 60th day of COBRA continuation
       coverage and must last at least until the end of the 18-month period of COBRA continuation
       coverage;

   •   Second qualifying event extension of 18-month period of continuation coverage - If your family
       experiences another qualifying event during the 18 months of COBRA continuation coverage, the
       spouse and dependent children in your family can get up to 18 additional months of COBRA
       continuation coverage, for a maximum of 36 months, if the Plan is properly notified about the
       second qualifying event. This extension may be available to the spouse and any dependent children
       getting COBRA continuation coverage if the employee or former employee dies; becomes entitled to
       Medicare benefits (under Part A, Part B, or both); gets divorced or legally separated; or if the
       dependent child stops being eligible under the Plan as a dependent child. This extension is only
       available if the second qualifying event would have caused the spouse or dependent child to lose
       coverage under the Plan had the first qualifying event not occurred.


   Are there other coverage options besides COBRA Continuation Coverage?

   Yes. Instead of enrolling in COBRA continuation coverage, there may be other coverage options for
   you and your family through the Health Insurance Marketplace, Medicaid, or other group health plan
   coverage options (such as a spouse's plan) through what is called a "special enrollment period." Some
   of these options may cost less than COBRA continuation coverage. You can learn more about many of
   these options at www.healthcare.gov.




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   If you have questions

   Questions concerning your Plan or your COBRA continuation coverage rights should be addressed to the
   contact or contacts identified below. For more information about your rights under the Employee
   Retirement Income Security Act (ERISA), including COBRA, the Patient Protection and Affordable Care
   Act, and other laws affecting your group health plans, contact the nearest Regional or District Office of
   the U.S. Department of Labor's Employee Benefits Security Administration (EBSA) in your area or visit
   www.dol.gov/ebsa. {Addresses and phone numbers of Regional and District EBSA Offices are available
   through EBSA's website.) For more information about the Marketplace, visit www.HealthCare.gov.


   Keep your plan informed of address changes

   To protect your family's rights, let the Plan Administrator know about any changes in the addresses of
   family members. You should also keep a copy, for your records, of any notices you send to the Plan
   Administrator.


   Plan contact information:

                                                   Humana
                                        Billing/Enrollment Department
                                               101 E Main Street
                                             Louisville, KY 40201
                                                1-800-872-7207


   Important notice for individuals entitled to Medicare tax equity and fiscal responsibility
   act of 1982 (TEFRA) options

   Where an employer employs more than 20 people, the Tax Equity And Fiscal Responsibility Act of
   1982 (TEFRA) allows covered employees in active service who are age 65 or older and their covered
   spouses who are eligible for Medicare to choose one of the following options:

   •   Option 1- The benefits of their group health plan will be payable first and the benefits of Medicare
       will be payable second.
   •   Option 2 - Medicare benefits only. The employee and his or her dependents, if any, will not be
       insured by the group health plan.

   The employer must provide each covered employee and each covered spouse with the choice to elect one
   of these options at least one month before the covered employee or the insured spouse becomes age 65.
   All new covered employees and newly covered spouses age 65 or older must be offered these options. If
   Option 1 is chosen, its issue is subject to the same requirements as for an employee or dependent that is
   under age 65.

   Under TEFRA regulations, there are two categories of persons eligible for Medicare. The calculation
   and payment of benefits by the group health plan differs for each category.




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   •   Category 1 Medicare eligibles are:

           Covered employees in active service who are age 65 or older who choose Option 1;
           Age 65 or older covered spouses; and
           Age 65 or older covered spouses of employees in active service who are either under age 65 or
           age 70 or older;

   •   Category 2 Medicare eligibles are any other covered persons entitled to Medicare, whether or not
       they enrolled. This category includes, but is not limited to:

           Retired employees and their spouses; or
           Covered dependents of a covered employee, other than his or her spouse.


   Calculation and payment of benefits
   For covered persons in Category 1, benefits are payable by the policy without regard to any benefits
   payable by Medicare. Medicare will then determine its benefits.
   For covered persons in Category 2, Medicare benefits are payable before any benefits are payable by the
   policy. The benefits of the policy will then be reduced by the full amount of all Medicare benefits the
   covered person is entitled to receive, whether or not the eligible individual is actually enrolled for
   Medicare Benefits.


   Family and Medical Leave Act (FMLA)

   If an employee is granted a leave of absence (Leave) by the employer as required by the Federal Family
   and Medical Leave Act, s/he may continue to be covered under the plan for the duration of the Leave
   under the same conditions as other employees who are currently employed and covered by the plan. If
   the employee chooses to terminate coverage during the Leave, or if coverage terminates as a result of
   nonpayment of any required contribution, coverage may be reinstated on the date the employee returns
   to work immediately following the end of the Leave. Charges incurred after the date of reinstatement
   will be paid as if the employee had been continuously covered.


   Uniformed services employment and reemployment rights act of 1994 (USERRA)

   Continuation of benefits
   Effective October 13, 1994, federal law requires health plans offer to continue coverage for employees
   that are absent due to service in the uniformed services and/or dependents.


   Eligibility
   An employee is eligible for continuation under USERRA ifhe or she is absent from employment
   because of voluntary or involuntary performance of duty in the Armed Forces, Army National Guard,
   Air National Guard, or commissioned corps of the Public Health Service. Duty includes absence for
   active duty, active duty for training, initial active duty for training, inactive duty training and for the
   purpose of an examination to determine fitness for duty.



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   An employee's dependents that have coverage under the plan immediately prior to the date of the
   employee's covered absence are eligible to elect continuation under USERRA.
   If continuation of Plan coverage is elected under USERRA, the employee or dependent is responsible for
   payment of the applicable cost of coverage. If the employee is absent for not longer than 31 days, the
   cost will be the amount the employee would otherwise pay for coverage. For absences exceeding 30
   days, the cost may be up to 102% of the cost of coverage under the plan. This includes the employee's
   share and any portion previously paid by the employer.


   Duration of coverage
   If elected, continuation coverage under USERRA will continue until the earlier of:

   •   24 months beginning the first day of absence from employment due to service in the uniformed
       services; or
   •   The day after the employee fails to apply for a return to employment as required by USERRA, after
       the completion of a period of service.

   Under federal law, the period coverage available under USERRA shall run concurrently with the
   COBRA period available to an employee and/or eligible dependent.


   Other information
   Employees should contact their employer with any questions regarding coverage normally available
   during a military leave of absence or continuation coverage and notify the employer of any changes in
   marital status, or change of address.


   Your rights under the Employee Retirement Income Security Act of 1974 (ERISA)
   Under BRISA, all plan participants covered by BRISA are entitled to certain rights and protections, as
   described below. Notwithstanding anything in the group health plan or group insurance policy,
   following are a covered person's minimum rights under BRISA. BRISA requirements do not apply to
   plans maintained by governmental agencies or churches.


   Information about the plan and benefits

   Plan participants may:

   •   Examine, free of charge, all documents governing the plan. These documents are available in the
       plan administrator's office;

   •   Obtain, at a reasonable charge, copies of documents governing the plan, including a copy of any
       updated summary plan description and a copy of the latest annual report for the plan (Form 5500), if
       any, by writing to the plan administrator;

   •   Obtain, at a reasonable charge, a copy of the latest annual report (Form 5500) for the plan, if any, by
       writing to the plan administrator.



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   As a plan participant, you will receive a summary of any material changes made in the plan within 210
   days after the end of the plan year in which the changes are made unless the change is a material
   reduction in covered services or benefits, in which case you will receive a summary of the material
   reduction within 60 days after the date of its adoption.

   If the plan is required to file a summary annual financial report, you will receive a copy from the plan
   administrator.

   Responsibilities of plan fiduciaries

   In addition to creating rights for plan participants, BRISA imposes duties upon the people who are
   responsible for the operation of the plan. These people, called "fiduciaries" of the plan, have a duty to
   act prudently and in the interest of plan participants and beneficiaries.

   No one, including an employer, may discharge or otherwise discriminate against a plan participant in
   any way to prevent the participant from obtaining a benefit to which the participant is otherwise entitled
   under the plan or from exercising BRISA rights.

   Continue group health plan coverage

   Participants may be eligible to continue health care coverage for themselves, their spouse or dependents
   if there is a loss of coverage under the group health plan as a result of a qualifying event. You or your
   dependents may have to pay for such coverage. Review the COBRA notice in this document regarding
   the rules governing COBRA continuation coverage rights.

   Claims determinations

   If a claim for a plan benefit is denied or disregarded, in whole or in part, participants have the right to
   know why this was done, to obtain copies of documents relating to the decision without charge and to
   appeal any denial within certain time schedules.

   Enforce your rights

   Under BRISA, there are steps participants may take to enforce the above rights. For instance:

   •   If a participant requests a copy of plan documents and does not receive them within 30 days, the
       participant may file suit in a Federal court. In such a case, the court may require the plan
       administrator to provide the materials and pay you up to $110 a day until the participant receives the
       materials, unless the materials were not sent because of reasons beyond the control of the plan
       administrator;

   •   If a claim for benefits is denied or disregarded, in whole or in part, the participant may file suit in a
       state or Federal court;

   •   If the participant disagrees with the plan's decision, or lack thereof, concerning the qualified status of
       a domestic relations order or a medical child support order, the participant may file suit in Federal
       court;




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   •   If plan fiduciaries misuse the plan's money, or if participants are discriminated against for asserting
       their rights, they may seek assistance from the U.S. Department of Labor, or may file suit in a
       Federal court.

   The court will decide who should pay court costs and legal fees. If the participant is successful, the
   court may order the person sued to pay costs and fees. If the participant loses, the court may order the
   participant to pay the costs and fees.


   Assistance with questions

   •   Contact the group health plan human resources department or the plan administrator with questions
       about the plan;

   •   For questions about BRISA rights, contact the nearest area office of the Employee Benefits Security
       Administration, U.S. Department of Labor, listed in your telephone directory or:

                              The Division of Technical Assistance and Inquiries
                                 Employee Benefits Security Administration
                                          U.S. Department of Labor
                                        200 Constitution Avenue N.W.
                                          Washington, D.C. 20210;

   •   Call the publications hotline of the Employee Benefits Security Administration to obtain
       publications about BRISA rights.


   Patient Protection Act

   Humana generally allows the designation of a primary care provider. You have the right to designate
   any primary care provider who participates in our network and who is available to accept you or your
   family members. For children, you may designate a pediatrician as the primary care provider. For
   information on how to select a primary care provider, and for a list of the participating primary care
   providers, visit our Website at www.humana.com or call the customer service telephone number on your
   identification card.

   If your plan provides coverage for obstetric or gynecological care, you do not need prior authorization
   from us or from any other person (including a primary care provider) in order to obtain access to this
   care from a health care professional in our network who specialize in obstetrics or gynecology. The
   health care professional, however, may be required to comply with certain procedures, including
   obtaining prior authorization for certain services, following a pre-approved treatment plan, or procedures
   for making referrals. For a list of participating health care professionals who specialize in obstetrics or
   gynecology, visit our Website at www.humana.com or call the customer service telephone number on
   your identification card.




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                            Appeal and External Review Notice
   The following pages contain important information about Humana 's claims procedures, internal
   appeals and external review. There may be differences between the Certificate of Insurance or
   Evidence of Coverage and this Notice packet. There may also be differences between this notice
   packet and state law. You are eligible for the rights more beneficial to you, unless preempted by
   state or federal law.


   Federal standards
   The Employee Retirement Income Security Act of 1974 (ERISA) established minimum requirements for
   claims procedures. The Patient Protection and Affordable Care Act (PPACA) including all regulation
   enforcing PPACA established additional requirements for claims procedures, internal appeal and external
   review processes. Humana complies with these standards. In addition to the procedures below, you
   should also refer to your insurance benefit plan documents (e.g., the Certificate oflnsurance or Evidence
   of Coverage).


   Definitions
  Adverse benefit determination means a denial, reduction, or termination of, or a failure to provide or
  make a payment (in whole or in part) for a benefit based on:

   •   A determination of your eligibility to participate in the plan or health insurance coverage;
   •   A determination that the benefit is not covered;
   •   The imposition of a source-of-injury exclusion, network exclusion, or other limitation on otherwise
       covered benefits; or
   •   A determination that a benefit is experimental, investigational, or not medically necessary or
       appropriate.

   An adverse benefit determination also includes claims protected under the Federal No Surprises Act and
   any rescission of coverage.

   Claimant means a covered person (or authorized representative) who files a claim.

   Clinical peer reviewer is:

   •   An expert in the treatment of your medical condition that is the subject of an external review;

   •   Knowledgeable about the recommended healthcare service or treatment through recent or current
       actual clinical experience treating patients with the same or similar to your medical condition;

   •   Holds a non-restricted license in a state of the United States and, for physicians, a current
       certification by a recognized American medical specialty board in the area or areas appropriate to the
       subject of the external review;

   •   Has no history of disciplinary actions or sanctions, including loss of staff privileges or participation
       restrictions, that have been taken or are pending by any hospital, governmental agency or unit, or
       regulatory body that raise a substantial question as to the clinical peer reviewer's physical, mental or
       professional competence or moral character; and



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   •   Does not have a material professional, family or financial conflict of interest with the claimant,
       Humana and any of the following:

           The healthcare provider, the healthcare provider's medical group or independent practice
           association recommending the healthcare service or treatment;
           The facility at which the recommended healthcare service or treatment would be provided; or
           The developer or manufacturer of the principal drug, device, procedure or other therapy being
           recommended.

   Commissioner means the Commissioner of Insurance.

   Concurrent-care decision means a decision by the plan to reduce or terminate benefits otherwise
   payable for a course of treatment that has been approved by the plan (other than by plan amendment or
   termination) or a decision with respect to a request by a claimant to extend a course of treatment beyond
   the period of time or number of treatments that has been approved by the plan.

   Evidence-based standard means the conscientious, explicit and judicious use of the current best
   evidence based on the overall systematic review of the research in making decisions about the care of
   individual patients.

   External review means a review of an adverse benefit determination including afinal adverse benefit
   determination conducted by an Independent review organization (IRO).

   Final adverse benefit determination means an adverse benefit determination that has been upheld by us
   at the completion of the internal appeals process or when the internal appeals process has been
   exhausted.

   Group health plan means an employee welfare benefit plan to the extent the plan provides medical care
   to employees or their dependents directly (self insured) or through insurance (including HMO plans),
   reimbursement or otherwise.

   Health insurance issuer means the offering company listed on the face page of your Certificate of
   Insurance or Evidence of Coverage and referred to in this document as "Humana," "we," "us," or "our."

   Independent review organization (IRO) means an entity that conducts independent external reviews of
   adverse benefit determinations and final adverse benefit determinations. All IRO's must be accredited
   by a nationally recognized private accrediting organization and have no conflicts of interest to influence
   its independence.

   Medical or scientific evidence means evidence found in the following sources:

   •   Peer-reviewed scientific studies published in or accepted for publication by medical journals that
       meet nationally recognized requirements for scientific manuscripts and that submit most of their
       published articles for review by experts who are not part of the editorial staff;




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   •   Peer-reviewed medical literature, including literature relating to therapies reviewed and approved by
       a qualified institutional review board, biomedical compendia and other medical literature that meet
       the criteria of the National Institutes of Health's Library of Medicine for indexing in Index Medicus
       (Medline) and Elsevier Science Ltd. for indexing in Excerpta Medicus (EMBASE);

   •   Medical journals recognized by the Secretary of Health and Human Services;

   •   The following standard reference compendia:

           The American Hospital Formulary Service-Drug Information;
           Drug Facts and Comparisons;
           The American Dental Association Accepted Dental Therapeutics; and
           The United States Pharmacopoeia-Drug Information;

   •   Findings, studies or research conducted by or under the auspices of federal government agencies and
       nationally recognized federal research institutes, including:

           The federal Agency for Healthcare Research and Quality;
           The National Institutes of Health;
           The National Cancer Institute;
           The National Academy of Sciences;
           The Centers for Medicare & Medicaid Services;
           The federal Food and Drug Administration; and
           Any national board recognized by the National Institutes of Health for the purpose of evaluating
           the medical value of health care services; or

   •   Any other medical or scientific evidence that is comparable to the sources listed above.

   Preliminary review means a review by Humana of an external review request to determination if:

   •   You are or were covered under the plan at the time a service was recommended, requested, or
       provided;

   •   The service is covered under the plan except when we determine the service is:

           Not covered because it does not meet plan requirements for medical necessity, appropriateness,
           healthcare setting, level of care or effectiveness; or
           Experimental or investigational for a particular medical condition and is not explicitly listed as
           an excluded benefit under the plan.

   •   In the case of experimental or investigational treatment:

           Your treating physician has certified one of the following situations is applicable:

               Standard services have not been effective in improving your condition;
               Standard services are not medically appropriate for you; or
               There is no available standard service covered by the plan that is more beneficial to you than
               the recommended or requested service.




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           The treating physician certifies in writing:

               The recommended service is likely to be more beneficial to you, in the physician's opinion,
               than any available standard services; or

               Scientifically valid studies using accepted protocols demonstrate the service is likely to be
               more beneficial to you than any available standard services and the physician is a licensed,
               board certified or board eligible physician qualified to practice in the area of medicine
               appropriate to treat your condition.

   •   The internal appeals process has been exhausted as specified under the "Exhaustion of remedies"
       section;

   •   You have provided all information required to process an external review; including:

           An external review request form provided with the adverse benefit determination or final
           adverse benefit determination; and
           Release forms authorizing us to disclose protected health information that is pertinent to the
           external review.

   Post-service claim means any claim for a benefit under a group health plan that is not a pre-service
   claim.

   Pre-service claim means a request for authorization of a benefit for which the plan conditions receipt of
   the benefit, in whole or in part, on advance approval.

   Urgent-care claim means a claim for covered services to which the application of the time periods for
   making non-urgent care determinations:

   •   Could seriously jeopardize the life or health of the covered person or the ability of the covered
       person to regain maximum function; or

   •   In the opinion of a physician with knowledge of the covered person's medical condition, would
       subject the covered person to severe pain that cannot be adequately managed without the service that
       is the subject of the claim.

   Humana will make a determination of whether a claim is an urgent-care claim. However, any claim a
   physician, with knowledge of a covered person's medical condition, determines is an "urgent-care
   claim" will be treated as a "claim involving urgent care."


   Claim procedures
   Discretionary authority

   With respect to paying claims for benefits or determining eligibility for coverage under a policy issued
   by Humana, Humana as administrator for claims determinations and as BRISA claims review fiduciary,
   shall have full and exclusive discretionary authority to:




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   •   Interpret plan provisions;
   •   Make decisions regarding eligibility for coverage and benefits; and
   •   Resolve factual questions relating to coverage and benefits.


   Submitting a claim

   This section describes how a claimant files a claim for plan benefits. A claim must be filed in writing
   and delivered by mail, postage prepaid, by FAX or e-mail. A request for pre-authorization may be filed
   by telephone. The claim or request for pre-authorization must be submitted to Humana or to Humana's
   designee at the address indicated in the covered person's benefit plan document or identification card.
   This is particularly important with respect to mental health coordinators and other providers to whom
   Humana has delegated responsibility for claims administration. Claims will be not be deemed submitted
   for purposes of these procedures unless and until received at the correct address.

   Claims submissions must be in a format acceptable to Humana and compliant with any legal
   requirements. Claims not submitted in accordance with the requirements of applicable federal law
   respecting privacy of protected health information and/or electronic claims standards will not be
   accepted by Humana.

   Claims submissions must be timely. Claims must be filed as soon as reasonably possible after they are
   incurred, and in no event later than the period of time described in the benefit plan document.

   Claims submissions must be complete and delivered to the designated address. At a minimum they
   must include:

   •   Name of the covered person who incurred the covered expense;
   •   N rune and address of the provider;
   •   Diagnosis;
   •   Procedure or nature of the treatment;
   •   Place of service;
   •   Date of service; and
   •   Billed amount.

   Presentation of a prescription to a pharmacy does not constitute a claim for benefits under the plan. If a
   covered person is required to pay the cost of a covered prescription drug, he or she may submit a written
   claim for plan benefits to Humana.

   A general request for an interpretation of plan provisions will not be considered a claim. Requests of
   this type, such as a request for an interpretation of the eligibility provisions of the plan, should be
   directed to the plan administrator.


   Failure to provide necessary information

   If a pre-service claim submission is not made in accordance with the plan's requirements, Humana will
   notify the claimant of the problem and how it may be remedied within five days (or as soon as possible
   but not more than 24 hours, in the case of an urgent-care claim). If a post-service claim is not made in
   accordance with the plan's requirements, it will be returned to the submitter.




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   Authorized representatives
   A covered person may designate an authorized representative to act on his or her behalf in pursuing a
   benefit claim, an internal appeal or an external review. The designation must be in writing and must be
   made by the covered person on Humana's Appointment of Representation (AOR) Form. The date of the
   covered person's signature must be on or after the denial of the disputed claims, approvals, or
   authorization. An assignment of benefits does not constitute designation of an authorized representative.

   Humana's AOR Form must be submitted to Humana at the time or prior to the date an authorized
   representative commences a course of action on behalf of the covered person. At the same time, the
   authorized representative should also provide notice of commencement of the action on behalf of the
   covered person to the covered person, which Humana may verify with the covered person prior to
   recognizing authorized representative status.
   When a health care provider intends to appeal on behalf of the covered person for a non-urgent care
   claim, the provider must indicate in their appeal request that they are appealing on behalf of the covered
   person and include a completed Humana AOR form. If an AOR form is not included with the request,
   the form will be sent to the provider.
   In any event, a health care provider with knowledge of a covered person's medical condition acting in
   connection with an urgent-careclaim will be recognized by the plan as the covered person's authorized
   representative.
   Covered persons should carefully consider whether to designate an authorized representative. An
   authorized representative may make decisions independent of the covered person, such as whether and
   how to appeal a claim denial.


   Claims decisions
   After a determination on a claim is made, Humana will notify the claimantwithin a reasonable time, as
   follows:

   •   Pre-service claims - Humana will provide notice of a favorable or adverse benefit determination
       within a reasonable time appropriate to the medical circumstances but no later than 15 days after the
       plan receives the claim.
       This period may be extended by an additional 15 days, if Humana determines the extension is
       necessary due to matters beyond the control of the plan. Before the end of the initial 15-day period,
       Humana will notify the claimantof the circumstances requiring the extension and the date by which
       Humana expects to make a decision.
       If the reason for the extension is because Humana does not have enough information to decide the
       claim, the notice of extension will describe the required information, and the claimantwill have at
       least 45 days from the date the notice is received to provide the necessary information.

   •   Urgent-care claims - Humana will determine whether a particular claim is an urgent-careclaim.
       This determination will be based on information furnished by or on behalf of a covered person.
       Humana will exercise its judgment when making the determination with deference to the judgment
       of a physician with knowledge of the covered person's condition. Humana may require a claimant
       to clarify the medical urgency and circumstances supporting the urgent-careclaim for expedited
       decision-making.



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                  Appeal and External Review Notice (continued)
       Notice of a favorable or adverse benefit determination will be made by Humana as soon as possible,
       taking into account the medical urgency particular to the covered person's situation, but not later
       than 24 hours after receiving the urgent-care claim.

       If a claim does not provide sufficient information to determine whether, or to what extent, services
       are covered under the plan, Humana will notify the claimant as soon as possible, but not more than
       24 hours after receiving the urgent-care claim. The notice will describe the specific information
       necessary to complete the claim. The claimant will have a reasonable amount of time, taking into
       account the covered person's circumstances, to provide the necessary information - but not less than
       48 hours.

       Humana will provide notice of the plan's urgent-care claim determination as soon as possible but no
       more than 48 hours after the earlier of:

           The plan receives the specified information; or
           The end of the period afforded the claimant to provide the specified additional information.

   •   Concurrent-care decisions - Humana will notify a claimant of a concurrent-care decision involving
       a reduction or termination of pre-authorized benefits sufficiently in advance of the reduction or
       termination to allow the claimant to appeal and obtain a determination.

       Humana will decide urgent-care claims involving an extension of a course of treatment as soon as
       possible taking into account medical circumstances. Humana will notify a claimant of the benefit
       determination, whether adverse or not, within 24 hours after the plan receives the claim, provided
       the claim is submitted to the plan 24 hours prior to the expiration of the prescribed period of time or
       number of treatments.

   •   Post-service claims - Humana will provide notice of a favorable or adverse benefit determination
       within a reasonable time appropriate to the medical circumstances but no later than 30 days after the
       plan receives the claim.
       This period may be extended an additional 15 days, if Humana determines the extension is necessary
       due to matters beyond the plan's control. Before the end of the initial 30-day period, Humana will
       notify the affected claimant of the extension, the circumstances requiring the extension and the date
       by which the plan expects to make a decision.

       If the reason for the extension is because Humana does not have enough information to decide the
       claim, the notice of extension will describe the required information, and the claimant will have at
       least 45 days from the date the notice is received to provide the specified information. Humana will
       make a decision on the earlier of the date on which the claimant responds or the expiration of the
       time allowed for submission of the requested information.


   Initial denial notices

   Notice of a claim denial (including a partial denial) will be provided to claimants by mail, postage
   prepaid, by FAX or by e-mail, as appropriate, within the time frames noted above. With respect to
   adverse decisions involving urgent-care claims, notice may be provided to claimants orally within the
   time frames noted above. If oral notice is given, written notification must be provided no later than
   three days after oral notification.




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                   Appeal and External Review Notice (continued)
   A claims denial notice will convey the specific reason for the adverse benefit determination and the
   specific plan provisions upon which the determination is based. The notice will also include a
   description of any additional information necessary to perfect the claim and an explanation of why such
   information is necessary. The notice will disclose if any internal plan rule, protocol or similar criterion
   was relied upon to deny the claim and a copy of the rule, protocol or similar criterion will be provided to
   claimants, free of charge. In addition to the information provided in the notice, a claimant has the right
   to request the diagnosis and treatment codes and descriptions upon which the determination is based.
   The notice will describe the plan's review procedures and the time limits applicable to such procedures,
   including a statement of the claimant's right to bring a civil action under BRISA Section 502(a)
   following an adverse benefit determination on review.

   If an adverse benefit determination is based on medical necessity, experimental treatment or similar
   exclusion or limitation, the notice will provide an explanation of the scientific or clinical basis for the
   determination, free of charge. The explanation will apply the terms of the plan to the covered person's
   medical circumstances.

   In the case of an adverse decision of an urgent-care claim, the notice will provide a description of the
   plan's expedited review procedures.


   Contactinformation
   For questions about your rights, this notice, or assistance, you can contact: Humana, Inc. at
   www.humana.com or the Employee Benefits Security Administration at 1-866-444-EBSA (3272).

   You may contact the commissioner for assistance at any time at the address and telephone number
   below:

                                     Florida Office of Insurance Regulation
                                             200 East Gaines Street
                                          Tallahassee, FL 32399-0322

                                     Phone: 850-413-3140 or 877-693-5236
                                          Out of State: 850-413-3089




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                  Appeal and External Review Notice (continued)

   Internal appeals and external review of adverse benefit determinations
   Internal appeals

   A claimant must appeal an adverse benefit determination within 180 days after receiving written notice
   of the denial (or partial denial). An appeal may be made by a claimant by means of written application
   to Humana, in person, or by mail, postage prepaid.

   A claimant, on appeal, may request an expedited internal appeal of an adverse urgent-care claim
   decision orally or in writing. In such case, all necessary information, including the plan's benefit
   determination on review, will be transmitted between the plan and the claimant by telephone, FAX, or
   other available similarly expeditious method, to the extent permitted by applicable law.

   A claimant may request an expedited external review at the same time a request is made for an
   expedited internal appeal of an adverse benefit determination for an urgent-care claim or when you are
   receiving an ongoing course of treatment.

   Determination of appeals of denied claims will be conducted promptly, will not defer to the initial
   determination and will not be made by the person who made the initial adverse claim determination or a
   subordinate of that person. The determination will take into account all comments, documents, records,
   and other information submitted by the claimant relating to the claim.

   On appeal, a claimant may review relevant documents and may submit issues and comments in writing.
   A claimant on appeal may, upon request, discover the identity of medical or vocational experts whose
   advice was obtained on behalf of the plan in connection with the adverse benefit determination being
   appealed, as permitted under applicable law.

   If the claims denial is based in whole, or in part, upon a medical judgment, including determinations as
   to whether a particular treatment, drug, or other service is experimental, investigational, or not medically
   necessary or appropriate, the person deciding the appeal will consult with a health care professional who
   has appropriate training and experience in the field of medicine involved in the medical judgment. The
   consulting health care professional will not be the same person who decided the initial appeal or a
   subordinate of that person.

   If new or additional evidence is relied upon or if new or additional rational is used during the internal
   appeal process, Humana will provide the claimant, free of charge, the evidence or rational as soon as
   possible and in advance of the appeals decision in order to provide the claimant a reasonable opportunity
   to respond.




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                  Appeal and External Review Notice (continued)

   Time periods for decisions on appeal

   Appeals of claims denials will be decided and notice of the decision provided as follows:

   •   Urgent-care claims - As soon as possible but not later than 72 hours after Humana receives the
       appeal request;
   •   Pre-service claims - Within a reasonable period but not later than 30 days after Humana received the
       appeal request;
   •   Post-service claims - Within a reasonable period but not later than 60 days after Humana receives
       the appeal request;
   •   Concurrent-caredecisions - Within the time periods specified above depending on the type of claim
       involved.


   Appeals denial notices

   Notice of a claim denial (including a partial denial) will be provided to claimants by mail, postage
   prepaid, by FAX or by e-mail, as appropriate, within the time periods noted above.

   A notice that a claim appeal has been denied will include:

   •   The specific reason or reasons for the adverse benefit determination;

   •   Reference to the specific plan provision upon which the determination is based;

   •   If any internal plan rule, protocol or similar criterion was relied upon to deny the claim. A copy of
       the rule, protocol or similar criterion will be provided to the claimant, free of charge;

   •   A statement of the claimant's right to external review, a description of the external review process,
       and the forms for submitting an external review request, including release forms authorizing
       Humana to disclose protected health information pertinent to the external review;

   •   A statement about the claimant's right to bring an action under §502(a) ofERISA;

   •   If an adverse benefit determination is based on medical necessity, experimental treatment or similar
       exclusion or limitation, the notice will provide an explanation of the scientific or clinical basis for
       the determination, free of charge. The explanation will apply the terms of the plan to the covered
       person's medical circumstances.

   In addition to the information provided in the notice, a claimant has the right to request the diagnosis
   and treatment codes and descriptions upon which the determination is based.


   Exhaustion of remedies

   Upon completion of the internal appeals process under this section, a claimant will have exhausted his
   or her administrative remedies under the plan. If Humana fails to adhere to all requirements of the
   internal appeal process, except for failures that are based on a minimal error, the claim shall be deemed
   to have been denied and the claimant may request an external review.



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                  Appeal and External Review Notice (continued)
   After exhaustion of remedies, a claimant may pursue any other legal remedies available, which may
   include bringing civil action under BRISA section 502(a) for judicial review of the plan's determination.
   Additional information may be available from the local U.S. Department of Labor Office.


   External review

   Within four months after a claimant receives notice of an adverse benefit determination or final adverse
   benefit determination the claimant may request an external review if the determination concerns
   treatment that is experimental, investigational, not medically necessary, the determination concerns a
   rescission of coverage, or for claims protected under the Federal No Surprises Act. The request for
   external review must be made in writing to the commissioner. Please refer to the section titled
   "Expedited external review" if the adverse benefit determination involves an urgent-care claim or an
   ongoing course of treatment.

   Within one business day after the receipt of a request for external review, the commissioner will send a
   copy of the request to Humana. Within five business days, we will complete a preliminary review of the
   request.

   Within one business day after we complete the preliminary review, we will notify the claimant and the
   commissioner in writing whether:

   •   The request is complete and is eligible for external review;

   •   The request is not complete and the information or materials needed to make the request complete;
       or

   •   The request is not eligible for external review, the reasons for ineligibility and the claimant's right to
       appeal to the commissioner. If appealed, the commissioner may determine that the request is eligible
       for external review.

   Within one business day after the commissioner receives notice that the request is eligible for external
   review, the commissioner will:

   •   Impartially assign an IRO from a list compiled and maintained by the commissioner to conduct the
       external review;

   •   Provide Humana with the name of the/RO. Within five business days after the date of receipt of
       this notice, we will provide the IRO with all documents and information we considered in making
       the adverse benefit determination or final adverse benefit determination;




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                  Appeal and External Review Notice (continued)
   •   Notify the claimant in writing of the following:

           The eligibility of the request and acceptance for external review; and
           The right to submit additional information in writing to the IRO and the time limits to submit
           the information.

   Any information received by the IRO will be forwarded to Humana within one business day of receipt.
   Upon receipt of additional information, we may reconsider the adverse benefit determination or final
   adverse benefit determination. If we reverse the adverse benefit determination or final adverse benefit
   determination, the external review will be terminated and we will provide coverage for the service. We
   will immediately notify the claimant, the/RO, and the commissioner in writing of our decision.

   The IRO will review all of the information received including, if available and considered appropriate
   the following:

   •   Your medical records;

   •   The attending healthcare professional's recommendation;

   •   Consulting reports from appropriate healthcare professionals and other documents submitted by
       Humana, the claimant, and treating provider;

   •   The terms of the coverage under the plan;

   •   The most appropriate practice guidelines, which will include applicable evidence-based standards
       and may include any other practice guidelines developed by the federal government, national or
       professional medical societies, boards and associations;

   •   Any applicable clinical review criteria developed and used by Humana; and

   •   The opinion of the IRO's clinical peer reviewer or reviewers after considering the information and
       documents listed above.

   If the external review involves experimental or investigational treatment, within one business day after
   the IRO receives notice of assignment to conduct the external review, the IRO will select one or more
   clinical peer reviewers to conduct the external review. The clinical peer reviewer will review all of the
   information and within 20 days after being selected, will provide a written opinion to the IRO on
   whether the service should be covered. The written opinion will include:

   •   A description of the medical condition;

   •   A description of the indicators relevant to determining whether there is sufficient evidence to
       demonstrate that the service is more likely than not to be beneficial to you than any available
       standard services;

   •   The adverse risks of the service would not be substantially increased over those of available standard
       services;

   •   A description and analysis of any medical or scientific evidence, or evidence-based standard
       considered in reaching the opinion;



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                  Appeal and External Review Notice (continued)
   •   Information on whether the reviewer's rationale for the opinion is based on either:

           The service has been approved by the federal Food and Drug Administration, if applicable, for
           the condition; or

           Medical or scientific evidence or evidence-based standards demonstrate that the expected
           benefits of the service is more likely than not to be beneficial to you than any available standard
           health care service and the adverse risks of the service would not be substantially increased over
           those of available standard services.

   The IRO's decision to either uphold or reverse the adverse benefit determination or final adverse benefit
   determination will be provided in writing to the claimant, the commissioner and Humana within:

   •   20 days after receipt of each clinical peer reviewer opinion for an experimental or investigational
       treatment; or
   •   45 days after receipt of the request for an external review.

   In the case of experimental or investigational treatment, if a majority of clinical peer reviewers
   recommend the service should be covered, the IRO will make a decision to reverse the adverse benefit
   determination or final adverse benefit determination. If a majority of clinical peer reviewers
   recommend the service should not be covered, the IRO will make a decision to uphold the adverse
   benefit determination or final adverse benefit determination. If the clinical peer reviewers are evenly
   split, the IRO will obtain the opinion of an additional clinical peer reviewer in order for the IRO to
   make a decision.

   TheIRO's written notice of the decision will include:

   •   A general description of the reason for the request for external review;
   •   The date the IRO received the assignment from the commissioner to conduct the external review;
   •   The date the external review was conducted;
   •   The date of the IRO's decision;
   •   The principal reason for the decision, including applicable evidence-based standards, if any, used as
       a basis for the decision;
   •   The rationale for the decision;
   •   References to the evidence or documentation, including the evidence-based standards, considered in
       reaching the decision; and
   •   In the case of experimental or investigational treatment, the written opinion and rational for the
       recommendation of each clinical peer reviewer.

   Immediately upon our receipt of the IRO 's decision reversing the adverse benefit determination or final
   adverse determination, we will approve the service.


   Expedited external review

   You may request an expedited external review from the commissioner:

   •   At the same time you request an expedited internal appeal of an adverse benefit determination for an
       urgent-care claim or when you are receiving an ongoing course of treatment; or



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                  Appeal and External Review Notice (continued)
   •   When you receive an adverse benefit determination or final adverse benefit determination of:

           An urgent-care claim;
           An admission, availability of care, continued stay or health care service for which you received
           emergency services, but you have not been discharged from the facility; or
           An experimental or investigational treatment if the treating physician certifies, in writing, that
           the recommended service would be significantly less effective if not promptly initiated.

   The commissioner will immediately send a copy of the request to Humana and upon receipt; we will
   immediately complete a preliminary review of the request. We will immediately notify the claimant and
   the commissioner of the preliminary review determination. If we determine the request is not eligible,
   the notice will advise you of your right to appeal to the commissioner. If appealed, the commissioner
   may determine that the request is eligible for external review.

   Immediately after the commissioner receives notice that the request is eligible for external review, the
   commissioner will:

   •   Impartially assign an IRO to conduct the expedited external review.
   •   Provide Humana with the name of the IRO and we will immediately provide the IRO with all
       necessary documents and information.

   The IRO will review all of the information received including, if available and considered appropriate,
   the following:

   •   Your medical records;

   •   The attending healthcare professional's recommendation;
   •   Consulting reports from appropriate healthcare professionals and other documents submitted by
       Humana, the claimant and treating provider;

   •   The terms of the coverage under the plan;

   •   The most appropriate practice guidelines, which will include evidence-based standards and may
       include any other practice guidelines developed by the federal government, national or professional
       medical societies, boards and associations;

   •   Any applicable clinical review criteria developed and used by Humana; and

   •   The opinion of the IRO's clinical peer reviewer or reviewers after considering the information and
       documents listed above.

   If the expedited external review request involves experimental or investigational treatment, within one
   business day after the IRO receives notice of assignment to conduct the external review, the IRO will
   select one or more clinical peer reviewers to conduct the external review. The clinical peer reviewer
   will:

   •   Review all of the information noted above including whether:

           The recommended service has been approved by the federal Food and Drug Administration, if
           applicable, for the condition; or




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                  Appeal and External Review Notice (continued)
           Medical or scientific evidence or evidence-based standards demonstrate that the expected
           benefits of the recommended service is more likely than not to be beneficial to you than any
           available standard service and the adverse risks of the recommended service would not be
           substantially increased over those of available standard services.

   •   Provide an opinion to the IRO as expeditiously as your condition or circumstances require, but in no
       event more than five calendar days after being selected.

   The IRO's decision to either uphold or reverse the adverse benefit determination or final adverse benefit
   determination will be provided orally or in writing to the claimant, the commissioner and Humana
   within:

   •   48 hours after receipt of each clinical peer reviewer opinion of an expedited external review for an
       experimental or investigational treatment; or
   •   72 hours after the date of receipt of the request for an expedited external review.

   In the case of experimental or investigational treatment, if a majority of clinical peer reviewers
   recommend the service should be covered, the IRO will make a decision to reverse the adverse benefit
   determination or final adverse benefit determination. If a majority of clinical peer reviewers
   recommend the service should not be covered, the IRO will make a decision to uphold the adverse
   benefit determination or final adverse benefit determination. If the clinical peer reviewers are evenly
   split, the IRO will obtain the opinion of an additional clinical peer reviewer in order for the IRO to
   make a decision.

   The IRO will send written confirmation within 48 hours of an oral decision and will include:

   •   A general description of the reason for the request for an expedited external review;
   •   The date the IRO received the assignment from the commissioner to conduct the expedited external
       review;
   •   The date the expedited external review was conducted;
   •   The date of the IRO's decision;
   •   The principal reason for the decision, including applicable evidence-based standards, if any, used as
       a basis for the decision;
   •   The rationale for the decision;
   •   References to the evidence or documentation, including the evidence-based standards, considered in
       reaching the decision, except in the case of experimental or investigational treatment; and
   •   In the case of experimental or investigational treatment, the written opinion and rational for the
       recommendation of each clinical peer reviewer.

   Immediately upon receipt of the IRO's decision reversing the adverse benefit determination or final
   adverse benefit determination, we will approve the service.


   Legal actions and limitations
   No lawsuit may be brought with respect to plan benefits until all remedies under the plan have been
   exhausted.

   No lawsuit with respect to plan benefits may be brought after the expiration of the applicable limitations
   period stated in the benefit plan document. If no limitation is stated in the benefit plan document, then
   no such suit may be brought after the expiration of the applicable limitations under applicable law.



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        Plaintiff's Exhibit C
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                                             Cl-'rlMED®
                                                              152 NE 167th Street, Suite 100
                                                                     Miami, FL 33162

Itemized Ledger
                                                         Patient:     Samantha Morris
                                                         Period:      09/28/2022 to 03/02/2023


DOS          CPT     Service                                                            Units          Price   Facility
09/28/2022   99204   New Patient       Evaluation           - Moderate    to High          1.0     $ 450.00    CitiMED    Hollywood
10/13/2022   73070   X-Ray,    Elbow                                                       1.0     $ 170.00    CitiMED    Hollywood
10/13/2022   73090   Forearm       AP & Lat                                                1.0     $ 129.45    CitiMED    Hollywood
10/13/2022   73560   X-Ray,    Knee                                                        1.0     $ 152.00    CitiMED    Hollywood
10/13/2022   97161   PT Initial       Eval      - Low Complexity                           1.0     $ 340.00    CitiMED    Hollywood
10/17/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
10/17/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
10/19/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
10/19/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
10/19/2022   99203   New Patient       Evaluation           - Moderate    Severit          1.0     $ 375.00    CitiMED    Hollywood
10/24/2022   72141   MRI Spine       Cervical       W/0                                    1.0   $ 2,976.00    CitiMED    MRI Unit
10/24/2022   72148   MRI Spine       Lumbar      W/0                                       1.0   $ 3,123.59    CitiMED    MRI Unit
10/24/2022   73221   MRI Upper       Extrem      Joint     W/0                             1.0   $ 2,577.00    CitiMED    MRI Unit
10/24/2022   73721   MRI Lower Extrem            Joint     W/0                             1.0   $ 2,250.00    CitiMED    MRI Unit
10/24/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    NMB
10/24/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    NMB
10/26/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
10/26/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
10/31/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
10/31/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
11/02/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
11/02/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
11/09/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
11/09/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
11/10/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
11/10/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
11/10/2022   99214   Established       Patient         Evaluation     - Moderate           1.0     $ 375.30    CitiMED    Kendall
11/21/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
11/21/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
11/23/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
11/23/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
11/29/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
11/29/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
12/14/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
12/14/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
12/15/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          3.0     $ 405.00    CitiMED    Hollywood
12/15/2022   97140   Manual    Therapy        Techniques         - 1+ Regions              1.0      $ 95.00    CitiMED    Hollywood
12/21/2022   97110   Therapeutic       Exercises          - Therapeutic     Proce          2.0     $ 270.00    CitiMED    Hollywood
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                                                       Cl-'rlMED®
                                                                          152 NE 167th Street, Suite 100
                                                                                 Miami, FL 33162

Itemized Ledger
                                                                   Patient:          Samantha Morris
                                                                   Period:           09/28/2022 to 03/02/2023


12/21/2022            97140     Manual       Therapy    Techniques          - 1+ Regions                  1.0         $ 95.00      CitiMED   Hollywood
12/22/2022            97110     Therapeutic        Exercises           - Therapeutic       Proce          3.0        $ 405.00      CitiMED   Hollywood
12/22/2022            97140     Manual       Therapy    Techniques          - 1+ Regions                  1.0         $ 95.00      CitiMED   Hollywood
01/05/2023            97110     Therapeutic        Exercises           - Therapeutic       Proce          3.0        $ 405.00      CitiMED   Hollywood
01/05/2023            97140     Manual       Therapy    Techniques          - 1+ Regions                  1.0         $ 95.00      CitiMED   Hollywood
01/09/2023            97110     Therapeutic        Exercises           - Therapeutic       Proce          3.0        $ 405.00      CitiMED   Hollywood
01/09/2023            97140     Manual       Therapy    Techniques          - 1+ Regions                  1.0         $ 95.00      CitiMED   Hollywood
01/11/2023            97110     Therapeutic        Exercises           - Therapeutic       Proce          3.0        $ 405.00      CitiMED   Hollywood
01/11/2023            97140     Manual       Therapy    Techniques          - 1+ Regions                  1.0         $ 95.00      CitiMED   Hollywood
01/13/2023            99203     New Patient        Evaluation           - Moderate      Severit           1.0        $ 600.00      CitiMED   NMB
01/17/2023            97110     Therapeutic        Exercises           - Therapeutic       Proce          3.0        $ 405.00      CitiMED   Hollywood
01/17/2023            97140     Manual       Therapy    Techniques          - 1+ Regions                  1.0         $ 95.00      CitiMED   Hollywood
01/19/2023            97110     Therapeutic        Exercises           - Therapeutic       Proce          3.0        $ 405.00      CitiMED   Hollywood
01/19/2023            97140     Manual       Therapy    Techniques          - 1+ Regions                  1.0         $ 95.00      CitiMED   Hollywood
01/25/2023            97110     Therapeutic        Exercises           - Therapeutic       Proce          3.0        $ 405.00      CitiMED   Hollywood
01/25/2023            97140     Manual       Therapy    Techniques          - 1+ Regions                  1.0         $ 95.00      CitiMED   Hollywood
01/26/2023            97110     Therapeutic        Exercises           - Therapeutic       Proce          3.0        $ 405.00      CitiMED   Hollywood
01/26/2023            97140     Manual       Therapy    Techniques          - 1+ Regions                  1.0         $ 95.00      CitiMED   Hollywood
02/01/2023            99212     Established         Patient       Evaluation       - Low Seve             1.0        $ 140.00      CitiMED   Hollywood
02/28/2023            97110     Therapeutic        Exercises           - Therapeutic       Proce          3.0        $ 405.00      CitiMED   Hollywood
02/28/2023            97140     Manual       Therapy    Techniques          - 1+ Regions                  1.0         $ 95.00      CitiMED   Hollywood
03/02/2023            97110     Therapeutic        Exercises           - Therapeutic       Proce          3.0        $ 405.00      CitiMED   Hollywood
03/02/2023            97140     Manual       Therapy    Techniques          - 1+ Regions                  1.0         $ 95.00      CitiMED   Hollywood
03/02/2023            99215     Final    Examination                                                      1.0        $ 600.00      CitiMED   OnDemand Care




Received              Type                                    Period                                   Amount Check Nbr    Payer




Total      Charges:                          $ 26,498.34

Total      Received:                               $ 0.00
Total      Credit:                                 $ 0.00
Balance:                                     $ 26,498.34

PIP Payment:                                       $ 0.00
Charge      Period:      09/28/2022      -    03/02/2023
Filing Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 252 of
       # 185407987   E-Filed 11/03/2023 10:33:34 298
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                        IN THE COUNTY COURT OF THE 11TH JUDICIAL CIRCUIT
                             IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                          CASE NO.: 2023-159625-CC-23

        SAMANTHA EVE MORRIS,

                       Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                       Defendant(s).



                            SUMMONS: 20 DAY CORPORATE SERVICE


        THE STATE OF FLORIDA:
        To Each Sheriff of the State:


               YOU ARE COMMANDED to serve this Summons and a copy of the Complaint in this
               action on:
                       NATIONWIDE MUTUAL INSURANCE COMPANY
                       c/o Florida Chief Financial Officer
                       200 East Gaines Street
                       Tallahassee, Florida 32399

                                                   IMPORTANT
        A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
        you to file a written response to the attached complaint/petition with the clerk of this circuit court,
        located at: Miami Dade County Courthouse, 175 NW 1st Ave., Miami, Florida 33128. A phone
        call will not protect you. Your written response, including the case number given above and the
        names of the parties, must be filed if you want the Court to hear your side of the case. If you do
        not file your written response on time, you may lose the case, and your wages, money, and
        property may be taken thereafter without further warning from the Court. There are other
        legal requirements. You may want to call an attorney right away. If you do not know an attorney,
        you may call an attorney referral service or a legal aid office (listed in the phone book).

                                                      Page 1 of 3
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                                     298



          If you choose to file a written response yourself, at the same time you file your written
   response to the Court, you must also mail or take a copy of your written response to the party
   serving this summons whose name appears below.


                                             IMPORTANTE
           Usted ha sido demandado legalmente. Tiene veinte (20) dias, contados a partir del recibo
   de esta notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal.
   Miami Dade County Courthouse, 175 NW 1st Ave., Miami, Florida 33128. Una llamada
   telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe presentar su
   respuesta por escrito, incluyendo el numero del caso y los nombres de las partes interesadas. Si
   usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser despojado de sus
   ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal. Existen otros
   requisitos legales. Si lo desea, usted puede consultar a un abogado inmediatamente. Si no conoce
   a un abogado, puede llamar a una de las oficinas de asistencia legal que aparecen en la guia
   telefonica.
          Si desea responder a la demanda por su cuenta, al mismo tiempo en que presente su
   respuesta ante el tribunal, usted debe enviar por correo o entregar una copia de su respuesta a la
   persona denominada abajo.


                                              IMPORTANT
           Des poursuites judiciaries ont ete entreprises contre vous. Vous avez 20 jours consecutifs
   a partir de la date de l'assignation de cette citation pour deposer une reponse ecrite a la plainte ci-
   jointe aupres de ce tribunal. Miami Dade County Courthouse, 175 NW 1st Ave., Miami, Florida
   33128. Un simple coup de telephone est insuffisant pour vous proteger; vous etes obliges de
   deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et du nom des parties
   nommees ici, si vous souhaitez que le tribunal entende votre cause. Si vous ne deposez pas votre
   reponse ecrite dans le delai requis, vous risquez de perdre la cause ainsi que votre salaire, votre
   argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis ulterieur du tribunal. Il y a
   d'autres obligations juridiques et vous pouvez requerir les services immediats d'un avocat. Si vous
   ne connaissez pas d'avocat, vous pourriez telephoner a un service de reference d'avocats ou a un
   bureau d'assistance juridique (figurant a l'annuaire de telephones).
           Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement,
   faire parvenir ou expedier une copie au carbone ou une photocopie de votre reponse ecrite a la
   partie qui vous depose cette citation.




                                                 Page 2 of 3
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             AMERICANS WITH DISABILITIES ACT OF 1990 ADA NOTICE
    “If you are a person with a disability who needs any accommodation in order to
    participate in this proceeding, you are entitled, at no cost to you, to the provision of
    certain assistance. Please contact Aliean Simpkins, the Eleventh Judicial Circuit Court’s
    ADA Coordinator, Lawson E. Thomas Courthouse Center, 175 NW 1st Avenue, Suite
    2400, Miami, FL 33128; Telephone (305) 349-7175; TDD (305) 349-7174, Email
    ADA@jud11.flcourts.org; or via Fax at (305) 349-7355, at least seven (7) days before
    your scheduled court appearance, or immediately upon receiving this notification if the
    time before the scheduled appearance is less than seven (7) days; if you are hearing or
    voice impaired, call 711.”




   Dated by the Clerk: __________________     By: __________________________________
                                                          Clerk of Court




   DATED this 2nd day of November 2023.

                                            LAW OFFICE OF LAUREN GRONDSKI, PA
                                            1031 IVES DAIRY ROAD, #228
                                            MIAMI, FL 33179
                                            Attorneys for Plaintiff
                                            Primary Email: justinlinnlaw@gmail.com




                                            By:
                                            JUSTIN E. LINN, ESQUIRE
                                            Florida Bar No. 98661




                                           Page 3 of 3
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       # 185407987   E-Filed 11/03/2023 10:33:34 298
                                                 AM


                        IN THE COUNTY COURT OF THE 11TH JUDICIAL CIRCUIT
                             IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                          CASE NO.: 2023-159625-CC-23

        SAMANTHA EVE MORRIS,

                       Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                       Defendant(s).



                            SUMMONS: 20 DAY CORPORATE SERVICE


        THE STATE OF FLORIDA:
        To Each Sheriff of the State:


               YOU ARE COMMANDED to serve this Summons and a copy of the Complaint in this
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                       HUMANA INSURANCE COMPANY
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                       200 East Gaines Street
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        not file your written response on time, you may lose the case, and your wages, money, and
        property may be taken thereafter without further warning from the Court. There are other
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                                                      Page 1 of 3
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                                     298



          If you choose to file a written response yourself, at the same time you file your written
   response to the Court, you must also mail or take a copy of your written response to the party
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                                             IMPORTANTE
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           Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement,
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             AMERICANS WITH DISABILITIES ACT OF 1990 ADA NOTICE
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    ADA@jud11.flcourts.org; or via Fax at (305) 349-7355, at least seven (7) days before
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    voice impaired, call 711.”




   Dated by the Clerk: __________________     By: __________________________________
                                                          Clerk of Court




   DATED this 2nd day of November 2023.

                                            LAW OFFICE OF LAUREN GRONDSKI, PA
                                            1031 IVES DAIRY ROAD, #228
                                            MIAMI, FL 33179
                                            Attorneys for Plaintiff
                                            Primary Email: justinlinnlaw@gmail.com




                                            By:
                                            JUSTIN E. LINN, ESQUIRE
                                            Florida Bar No. 98661




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Filing Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 258 of
       # 185484363   E-Filed 11/06/2023 12:49:42 298
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         IN THE COUNTY COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND
         FOR MIAMI-DADE COUNTY, FLORIDA
         COUNTY CIVIL DIVISION

         CASE NO.: 2023-159625-CC-23
         SECTION: SD03
          Samantha Eve Morris
         Plaintiff(s),

         vs.

          Humana Insurance Company et al
         Defendant(s)
         ______________________________________/

          UNIFORM CASE MANAGEMENT ORDER SETTING PRETRIAL DEADLINES AND
            RELATED REQUIREMENTS (STREAMLINED PATHWAY - COUNTY CIVIL
                               PROCEDURE CASES)

         PLAINTIFF SHALL SERVE THIS ORDER UPON A DEFENDANT WITHIN 10 DAYS OF
         ANY FILING BY THAT DEFENDANT.

         ALL PARTIES MUST READ CAREFULLY AS STRICT COMPLIANCE IS MANDATORY.

         In compliance with the mandatory requirements of governing Administrative Orders regarding
         case management, the Court hereby ORDERS as follows:

         1. Attorneys are professionally obligated to diligently litigate the case so litigation can conclude
            as soon as it is reasonably and justly possible. See Florida Rule of General Practice and
            Judicial Administration 2.545. The specific pretrial deadlines and requirements set forth
            herein shall be strictly enforced by the Court. Non-compliance with any part of this Order
            may result in sanctions including, but not limited to, striking of pleadings, monetary
            sanctions, waiver and/or default. It is on the parties to promptly and timely schedule hearings
            on filed motions.
         2. The deadlines contained in this Order cannot be waived or extended by stipulation of the
            parties and remain in effect unless the Court grants an enlargement. A motion seeking an
            enlargement of a particular deadline shall specify detailed reasons for the enlargement and
            the amount of time requested.
         3. In the event parties are unable to coordinate any non-dispositive and non-evidentiary hearing,
            deposition, or motion within a reasonable period of time (not less than 72 hours) and after 3
            documented attempts, the moving party shall unilaterally set the issue for hearing pursuant to
            divisional instructions to occur no less than 14 days and no more than 45 days after the third
            attempt.
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   4. SETTLEMENT: Counsel shall immediately notify the Court in the event of settlement and
      submit a Stipulation of Settlement and Order of Dismissal. Counsel shall also notify the
      Court of any pending hearings that will be cancelled as a result of the settlement.

   5. SERVICE: Plaintiffs shall serve their actions promptly by _____________________
                                                                           02-22-2024          and in
      compliance with Florida Rule of Civil Procedure 1.070. Service issues shall be addressed
      promptly and with diligence. No extensions pursuant to Florida Rule of Civil Procedure
      1.070 shall be granted without specific proof of diligent effort to effect service and a written
      explanation of what efforts the Plaintiff intends to pursue to effect service successfully, with
      proposed deadlines. No extension to serve a defendant beyond _____________________
                                                                                05-23-2024
      shall be allowed.

   6. The following litigation deadlines are set:

         a. ADDITION OF ANY NEW PARTIES shall occur by _____________________.
                                                             03-24-2024
         b. FACT WITNESS LIST shall be filed by _____________________.
                                                               04-23-2024           The fact witnesses
            shall be in alphabetical order and contain the names and addresses of all non-expert
            witnesses. Only those witnesses listed shall be permitted to testify without leave of
            Court. All witness lists shall include a brief description of the substance and scope of
            the testimony to be elicited. Within 30 days of discovering previously unknown
            witnesses, either party may seek leave of Court to amend their submissions,
            disclosures, or discovery obligations.
         c. EXHIBIT LIST shall be filed by _____________________.
                                                      04-23-2024          The Exhibit List shall
            disclose a list of all documentary and physical evidence intended to be used at trial.
            Each item shall be specifically described and listed by number and description.
            Generic descriptions of exhibits are subject to being stricken. All listed exhibits shall
            have been made available to opposing counsel for examination, initialing, and copying.
            Parties shall timely amend their exhibit list.
         d. EXPERT WITNESSES shall be disclosed by _____________________
                                                                   05-23-2024          with the
            names and addresses of all the expert witnesses to be called at trial and all information
            regarding expert testimony that is required by Rule 1.280(b)(5)(A). This includes
            disclosing the expert’s area of expertise and serving a copy of each expert’s reports or
            answers to expert interrogatories, if a report was prepared and/or expert interrogatories
            propounded. Each party is limited to one expert per specialty. No other expert
            testimony shall be permitted at trial.
         e. FACT AND EXPERT DISCOVERY, including all inspections, depositions, and
            examinations, shall be completed no later than _____________________.
                                                                   09-25-2024           Written
            discovery shall be served no later than _____________________.
                                                           08-21-2024           The parties shall
            timely coordinate the scheduling and setting of depositions for all witnesses and/or
            parties they intend to depose.
         f. MOTIONS FOR SUMMARY JUDGMENT and DAUBERT MOTIONS shall be filed
            by _____________________
                     06-22-2024      and heard no later than _____________________.
                                                                   09-25-2024
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         g. OBJECTIONS TO PLEADINGS AND ALL OTHER PRETRIAL MOTIONS, except
            for motions in limine, shall be filed by _____________________
                                                             07-27-2024       and heard no later
            than _____________________.
                         09-25-2024           Any motion not filed and heard prior to the expiration
            of this deadline may be deemed waived or denied absent extraordinary circumstances
            which could not have been prudently anticipated, or by order of the Court entered prior
            to the expiration of the applicable time limitation.
         h. MEDIATION: Parties are hereby referred to mandatory mediation, which shall be
            completed no later than _____________________.
                                             09-25-2024          The parties shall comply with
            Florida Rules Civil Procedure 1.700, 1.710, 1.720, 1.730, and 1.750 as to the conduct
            of mediation. Plaintiff's counsel is appointed lead counsel to facilitate, mutually
            coordinate and schedule the mediation conference. Costs of mediation shall be borne
            equally by both parties. Failure to mediate in good faith may result in the imposition of
            monetary sanctions.

   7. TRIAL: The projected date of trial is _____________________.
                                                       10-25-2024          A firm trial date will be
      ordered by the Court when the case is at issue pursuant to Florida Rule of Civil Procedure
      1.440. The parties shall do all things reasonable and necessary to assure the availability of
      their witnesses for the entire trial period or to otherwise preserve their testimony for trial as
      provided by the Florida Rules of Civil Procedure. Failure to do so will not be grounds for a
      continuance.

   8. JOINT PRETRIAL STIPULATION: A Joint Pretrial Stipulation shall be filed by all parties
      (via counsel of record) no later than _____________________.
                                                    09-25-2024           All parties shall cooperate
      in good faith in preparation of the Joint Pretrial Stipulation. Unilateral pretrial stipulations
      will not be accepted. The single, unified submission shall contain the following information
      in separately numbered paragraphs or sections:

         a. Stipulated Statement of Facts: A list of those facts that can be stipulated to and require
            no proof at the trial, together with a concise, impartial statement of the facts of the
            case.
         b. Statements of Disputed Law & Fact: Those issues of law and fact that are to be tried.
         c. Witness Lists: Parties shall attach the witness lists filed consistent with Paragraph 6b.
            and 6d. of this Order, including all rebuttal or impeachment witnesses. If any party
            objects to any witness, such objections shall be stated in the Stipulation, setting forth
            the grounds with specificity. At trial, all parties shall be strictly limited to witnesses
            properly and timely disclosed.
         d. Exhibit Lists: Counsel shall initial each other party’s exhibit list and exhibits
            consistent with Paragraph 6c. of this Order. If any party objects to the introduction of
            any such exhibit, such objection shall be stated in the Stipulation, setting forth the
            grounds with specificity. Parties shall attach the final, initialed exhibit lists with
            objections. Only those exhibits listed and initialed may be offered in evidence.
         e. Jury Instructions: If the trial is a jury trial, counsel shall identify and attach all agreed
            upon standard instructions and all special instructions. Any disputed jury instructions
            shall be attached and identified as to the party that proposed the instruction, along with
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           copies of supporting case law.
         f. Verdict Forms: If the trial is a jury trial, the proposed jury verdict forms shall be
            attached and designated as agreed to or disputed.
         g. Motions in Limine: Each party shall make any anticipated motion(s) in limine
            indicating all stipulations/agreed items and any motion(s) in limine requiring a Court
            ruling.
         h. Trial Estimate: Each party shall provide an estimate of the number of days for trial.
         i. Daubert issues. All Daubert issues involving any requests for Daubert-related
            evidence shall be in writing. Failure to do so shall constitute a waiver of any Daubert-
            related evidence issue.
         j. Other issues: The parties shall list any other issue that could potentially take up
            unnecessary time during the trial to facilitate the resolution of those matters prior to the
            trial date.

   9. Within 10 days of receipt of this order, a party may seek entry of a Uniform Case
      Management Order Setting Pretrial Deadlines and Related Requirements under a General
      Pathway for County Civil Procedure Cases. Any motion shall set forth with specificity the
      good faith reasons for seeking a case management order under a General Pathway instead of
      the Streamlined Pathway. General objections having to do with attorney workload, staffing,
      and scheduling conflicts should be discussed with clients directly before being brought to the
      Court and shall be given limited weight.


           DONE AND ORDERED in Chambers, at Miami-Dade County, Florida, on this
    ___________________________.
      5th day of November, 2023




                                              2023-159625-CC-23 11-05-2023 11:52 PM
                                              __________________________________________
                                              2023-159625-CC-23 11-05-2023 11:52 PM
                                              Lissette De la Rosa
                                              COUNTY COURT JUDGE
Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 262 of
                                     298



   Copies Furnished to:
   Electronically Served

   Lauren Grondski, Lauren@grondskilaw.com
   Lauren Grondski, GrondskiLaw@gmail.com
   Lauren Grondski, va@grondskilaw.com
   Justin E Linn, justinlinnlaw@gmail.com
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       # 185583266   E-Filed 11/06/2023 06:19:37 298
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                         IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT
                             IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                          CASE NO.: 2023-159625-CC-23

        SAMANTHA EVE MORRIS,

                       Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                    Defendant(s).
        _______________________________________/


                           PLAINTIFF’S NOTICE OF SERVING
              INTERROGATORIES TO DEFENDANT HUMANA INSURANCE COMPANY


               Plaintiff, SAMANTHA EVE MORRIS, by and through her undersigned counsel, files this
        Notice of Serving Interrogatories, pursuant to Rule 1.340, Florida Rules of Civil Procedure, to
        Defendant, HUMANA INSURANCE COMPANY, to answer within forty-five (45) days of the
        date of service of said interrogatories.


                                          CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been

        eFiled with the Miami Dade County Clerk of Court and furnished to the above-named defendant

        with service of the Complaint.

        DATED: November 6, 2023

                                                    LAW OFFICE OF LAUREN GRONDSKI, PA
                                                    1031 IVES DAIRY ROAD, #228
                                                    MIAMI, FL 33179
                                                    Attorneys for Plaintiff
                                                    Primary Email: justinlinnlaw@gmail.com


                                                   Page 1 of 6
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                                     By:
                                     JUSTIN E. LINN, ESQUIRE
                                     Florida Bar No. 98661




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                           INTERROGATORIES TO DEFENDANT
                             HUMANA INSURANCE COMPANY


   1.   What is the name and address of the person answering these interrogatories, and, if
        applicable, the person's official position or relationship with the party to whom the
        interrogatories are directed?




   2.   Describe any and all policies of insurance which you contend cover or may cover the
        Plaintiff for the allegations set forth in plaintiff's complaint, detailing as to such policies
        the name of the insurer, the number of the policy, the effective dates of the policy, the
        available limits of liability, and the name and address of the custodian of the policy.



   3.   Do you contend any person or entity other than you is, or may be, liable in whole or part
        for the claims asserted against you in this lawsuit? If so, state the full name and address of
        each such person or entity, the legal basis for your contention, the facts or evidence upon
        which your contention is based, and whether or not you have notified each such person or
        entity of your contention. This is your opportunity to blame others that you think should
        be blamed for this incident. If you fail to disclose these people or entity, we will seek an
        order from the Court precluding you from blaming other people or entities at trial.




   4.   Do you contend that Plaintiff failed to satisfy a contractual condition precedent prior to the
        filing of this lawsuit? If so, please detail the condition that you allege was not satisfied,
        detail wherein the contract that said condition arises, and detail why any prior attempts by
        Plaintiff to satisfy this specific condition precedent failed.



   5.   Detail all correspondence Humana related to the Plaintiff’s claim for benefits against the
        subject policy, to include the date it was received, and a summary of the document received.



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                                     298




   6.    Is the $26,498.34 billed by CitiMED covered by the applicable insurance plan.



   7.    Why have you not provided benefits available to your insured for this claim?



   8.    Do you contend that another insurance carrier, indemnity provider, and/or medical
         payments reimbursement program is primarily obligated to provide medical payment
         benefits for CitiMED billing.




   9.    Detail all attempts you made to contact your insured related to your insured’s attempt to
         request Humana process this claim.




   10.   Detail all efforts Humana Insurance Company made in handling the claim presented by
         your insured to cover the CitiMED billing.




   11.   Why do you contend that Humana Insurance Company did not act in bad faith in the
         handling of the claim presented by your insured to cover the CitiMED billing.




   12.   Why did Humana Insurance Company delay in providing return correspondence related to
         their insured’s claim for benefits under this plan.



   13.   Do you contend that Humana Insurance Company denied or contested this claim within
         forty (40) days of receipt of the claim. If so, detail all efforts you made to deny and/or




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                                     298



         contest the claim and detail the written correspondence you prepared related to this
         information.



   14.   Do you contend that Humana Insurance Company denied or contested this claim within
         one-hundred and forty (140) days of receipt of the claim. If so, detail all efforts you made
         to deny and/or contest the claim and detail the written correspondence you prepared related
         to this information.




   15.   Do you contend that Plaintiff failed to perfect her rights under Florida Statute § 624.155,
         then please detail all such reasons you believe that Plaintiff failed to properly perfect such
         rights.


   16.   Does Humana Insurance Company intend to provide medical payments to CitiMED related
         to the billing described in Plaintiff’s Complaint. If not, describe in detail why not.




                                              Page 5 of 6
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                                     298




                                            CERTIFICATE

   STATE OF FLORIDA

   COUNTY OF ___________

          BEFORE ME, the undersigned authority personally appeared on this day
   ___________________________________, who states that he/she executed the foregoing
   instrument and that the facts contained therein are true and correct to the best of his/her knowledge
   and belief.

           SWORN TO AND SUBSCRIBED before me on this _____ day of _________________,
   2023.


                 _________________________________
                 Notary Public, State of Florida

                 __________________________________
                 (Print, type or stamp Commissioned name
                 of Notary Public)

                 My Commission Expires:
                 ( ) Personally known or ( ) Produced Identification
                 Type of Identification:________________________




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Filing Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 269 of
       # 185583266   E-Filed 11/06/2023 06:19:37 298
                                                 PM


                         IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT
                             IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                          CASE NO.: 2023-159625-CC-23

        SAMANTHA EVE MORRIS,

                       Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                    Defendant(s).
        _______________________________________/


                            PLAINTIFF’S NOTICE OF SERVING
              INTERROGATORIES TO DEFENDANT NATIONWIDE MUTUAL INSURANCE
                                      COMPANY


                Plaintiff, SAMANTHA EVE MORRIS, by and through her undersigned counsel, files this
        Notice of Serving Interrogatories, pursuant to Rule 1.340, Florida Rules of Civil Procedure, to
        Defendant, NATIONWIDE MUTUAL INSURANCE COMPANY, to answer within forty-five
        (45) days of the date of e-service of said interrogatories.


                                         CERTIFICATE OF SERVICE
                I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been

        eFiled with the Miami Dade County Clerk of Court and furnished to the above named defendant

        with service of the Complaint.

        DATED: November 6, 2023

                                                       LAW OFFICE OF LAUREN GRONDSKI, PA
                                                       1031 IVES DAIRY ROAD, #228
                                                       MIAMI, FL 33179
                                                       Attorneys for Plaintiff
                                                       Primary Email: justinlinnlaw@gmail.com
                                                     Page 1 of 5
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                                     298




                                     By:
                                     JUSTIN E. LINN, ESQUIRE
                                     Florida Bar No. 98661




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                         INTERROGATORIES TO DEFENDANT
                     NATIONWIDE MUTUAL INSURANCE COMPANY


   1.   What is the name and address of the person answering these interrogatories, and, if
        applicable, the person's official position or relationship with the party to whom the
        interrogatories are directed?




   2.   Describe any and all policies of insurance which you contend cover or may cover the
        Plaintiff for the allegations set forth in plaintiff's complaint, detailing as to such policies
        the name of the insurer, the number of the policy, the effective dates of the policy, the
        available limits of liability, and the name and address of the custodian of the policy.



   3.   Do you contend any person or entity other than you is, or may be, liable in whole or part
        for the claims asserted against you in this lawsuit? If so, state the full name and address of
        each such person or entity, the legal basis for your contention, the facts or evidence upon
        which your contention is based, and whether or not you have notified each such person or
        entity of your contention. This is your opportunity to blame others that you think should
        be blamed for this incident. If you fail to disclose these people or entity, we will seek an
        order from the Court precluding you from blaming other people or entities at trial.




   4.   List all entities retained by Nationwide Mutual Insurance Company to administer the
        Princess Vacation Protection—Platinum plan number NWEPCT12.




   5.   Do you contend that Plaintiff failed to satisfy a contractual condition precedent prior to the
        filing of this lawsuit? If so, please detail the condition that you allege was not satisfied,
        detail wherein the contract that said condition arises, and detail why any prior attempts by
        Plaintiff to satisfy this specific condition precedent failed.

                                              Page 3 of 5
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   6.    Detail all correspondence provided to the Plan Administrator related to the Plaintiff’s claim
         for benefits against the subject policy, to include the date it was received, and a summary
         of the document received.



   7.    Was the September 29, 2022, injury incident alleged in the Complaint a covered loss for
         which Nationwide Mutual Insurance Company was required to provide benefits? If not,
         describe why not.



   8.    Why have you not provided the medical payments benefits available to your insured for
         this claim?



   9.    Do you contend that another insurance carrier, indemnity provider, and/or medical
         payments reimbursement program is primarily obligated to provide medical payment
         benefits for the September 19, 2022, injury incident described in the Complaint.



   10.   Detail all attempts you made to discuss this claim with Humana Health Insurance prior to
         denying benefits to the insured.




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                                     298




                                            CERTIFICATE

   STATE OF FLORIDA

   COUNTY OF ___________

          BEFORE ME, the undersigned authority personally appeared on this day
   ___________________________________, who states that he/she executed the foregoing
   instrument and that the facts contained therein are true and correct to the best of his/her knowledge
   and belief.

           SWORN TO AND SUBSCRIBED before me on this _____ day of _________________,
   2023.


                 _________________________________
                 Notary Public, State of Florida

                 __________________________________
                 (Print, type or stamp Commissioned name
                 of Notary Public)

                 My Commission Expires:
                 ( ) Personally known or ( ) Produced Identification
                 Type of Identification:________________________




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Filing Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 274 of
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                                                 AM


                        IN THE COUNTY COURT OF THE 11TH JUDICIAL CIRCUIT
                             IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                          CASE NO.: 2023-159625-CC-23

        SAMANTHA EVE MORRIS,

                       Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                       Defendant(s).



                            SUMMONS: 20 DAY CORPORATE SERVICE


        THE STATE OF FLORIDA:
        To Each Sheriff of the State:


               YOU ARE COMMANDED to serve this Summons and a copy of the Complaint in this
               action on:
                       NATIONWIDE MUTUAL INSURANCE COMPANY
                       c/o Florida Chief Financial Officer
                       200 East Gaines Street
                       Tallahassee, Florida 32399

                                                   IMPORTANT
        A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
        you to file a written response to the attached complaint/petition with the clerk of this circuit court,
        located at: Miami Dade County Courthouse, 175 NW 1st Ave., Miami, Florida 33128. A phone
        call will not protect you. Your written response, including the case number given above and the
        names of the parties, must be filed if you want the Court to hear your side of the case. If you do
        not file your written response on time, you may lose the case, and your wages, money, and
        property may be taken thereafter without further warning from the Court. There are other
        legal requirements. You may want to call an attorney right away. If you do not know an attorney,
        you may call an attorney referral service or a legal aid office (listed in the phone book).

                                                      Page 1 of 3
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                                     298



          If you choose to file a written response yourself, at the same time you file your written
   response to the Court, you must also mail or take a copy of your written response to the party
   serving this summons whose name appears below.


                                             IMPORTANTE
           Usted ha sido demandado legalmente. Tiene veinte (20) dias, contados a partir del recibo
   de esta notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal.
   Miami Dade County Courthouse, 175 NW 1st Ave., Miami, Florida 33128. Una llamada
   telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe presentar su
   respuesta por escrito, incluyendo el numero del caso y los nombres de las partes interesadas. Si
   usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser despojado de sus
   ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal. Existen otros
   requisitos legales. Si lo desea, usted puede consultar a un abogado inmediatamente. Si no conoce
   a un abogado, puede llamar a una de las oficinas de asistencia legal que aparecen en la guia
   telefonica.
          Si desea responder a la demanda por su cuenta, al mismo tiempo en que presente su
   respuesta ante el tribunal, usted debe enviar por correo o entregar una copia de su respuesta a la
   persona denominada abajo.


                                              IMPORTANT
           Des poursuites judiciaries ont ete entreprises contre vous. Vous avez 20 jours consecutifs
   a partir de la date de l'assignation de cette citation pour deposer une reponse ecrite a la plainte ci-
   jointe aupres de ce tribunal. Miami Dade County Courthouse, 175 NW 1st Ave., Miami, Florida
   33128. Un simple coup de telephone est insuffisant pour vous proteger; vous etes obliges de
   deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et du nom des parties
   nommees ici, si vous souhaitez que le tribunal entende votre cause. Si vous ne deposez pas votre
   reponse ecrite dans le delai requis, vous risquez de perdre la cause ainsi que votre salaire, votre
   argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis ulterieur du tribunal. Il y a
   d'autres obligations juridiques et vous pouvez requerir les services immediats d'un avocat. Si vous
   ne connaissez pas d'avocat, vous pourriez telephoner a un service de reference d'avocats ou a un
   bureau d'assistance juridique (figurant a l'annuaire de telephones).
           Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement,
   faire parvenir ou expedier une copie au carbone ou une photocopie de votre reponse ecrite a la
   partie qui vous depose cette citation.




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             AMERICANS WITH DISABILITIES ACT OF 1990 ADA NOTICE
    “If you are a person with a disability who needs any accommodation in order to
    participate in this proceeding, you are entitled, at no cost to you, to the provision of
    certain assistance. Please contact Aliean Simpkins, the Eleventh Judicial Circuit Court’s
    ADA Coordinator, Lawson E. Thomas Courthouse Center, 175 NW 1st Avenue, Suite
    2400, Miami, FL 33128; Telephone (305) 349-7175; TDD (305) 349-7174, Email
    ADA@jud11.flcourts.org; or via Fax at (305) 349-7355, at least seven (7) days before
    your scheduled court appearance, or immediately upon receiving this notification if the
    time before the scheduled appearance is less than seven (7) days; if you are hearing or
    voice impaired, call 711.”




   Dated by the Clerk: __________________
                           11/7/2023          By: __________________________________
                                                          Clerk of Court Vergil Goldson




   DATED this 2nd day of November 2023.

                                            LAW OFFICE OF LAUREN GRONDSKI, PA
                                            1031 IVES DAIRY ROAD, #228
                                            MIAMI, FL 33179
                                            Attorneys for Plaintiff
                                            Primary Email: justinlinnlaw@gmail.com




                                            By:
                                            JUSTIN E. LINN, ESQUIRE
                                            Florida Bar No. 98661




                                           Page 3 of 3
Filing Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 277 of
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                                                 AM


                        IN THE COUNTY COURT OF THE 11TH JUDICIAL CIRCUIT
                             IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                          CASE NO.: 2023-159625-CC-23

        SAMANTHA EVE MORRIS,

                       Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                       Defendant(s).



                            SUMMONS: 20 DAY CORPORATE SERVICE


        THE STATE OF FLORIDA:
        To Each Sheriff of the State:


               YOU ARE COMMANDED to serve this Summons and a copy of the Complaint in this
               action on:
                       HUMANA INSURANCE COMPANY
                       c/o Florida Chief Financial Officer
                       200 East Gaines Street
                       Tallahassee, Florida 32399

                                                   IMPORTANT
        A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
        you to file a written response to the attached complaint/petition with the clerk of this circuit court,
        located at: Miami Dade County Courthouse, 175 NW 1st Ave., Miami, Florida 33128. A phone
        call will not protect you. Your written response, including the case number given above and the
        names of the parties, must be filed if you want the Court to hear your side of the case. If you do
        not file your written response on time, you may lose the case, and your wages, money, and
        property may be taken thereafter without further warning from the Court. There are other
        legal requirements. You may want to call an attorney right away. If you do not know an attorney,
        you may call an attorney referral service or a legal aid office (listed in the phone book).

                                                      Page 1 of 3
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                                     298



          If you choose to file a written response yourself, at the same time you file your written
   response to the Court, you must also mail or take a copy of your written response to the party
   serving this summons whose name appears below.


                                             IMPORTANTE
           Usted ha sido demandado legalmente. Tiene veinte (20) dias, contados a partir del recibo
   de esta notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal.
   Miami Dade County Courthouse, 175 NW 1st Ave., Miami, Florida 33128. Una llamada
   telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe presentar su
   respuesta por escrito, incluyendo el numero del caso y los nombres de las partes interesadas. Si
   usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser despojado de sus
   ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal. Existen otros
   requisitos legales. Si lo desea, usted puede consultar a un abogado inmediatamente. Si no conoce
   a un abogado, puede llamar a una de las oficinas de asistencia legal que aparecen en la guia
   telefonica.
          Si desea responder a la demanda por su cuenta, al mismo tiempo en que presente su
   respuesta ante el tribunal, usted debe enviar por correo o entregar una copia de su respuesta a la
   persona denominada abajo.


                                              IMPORTANT
           Des poursuites judiciaries ont ete entreprises contre vous. Vous avez 20 jours consecutifs
   a partir de la date de l'assignation de cette citation pour deposer une reponse ecrite a la plainte ci-
   jointe aupres de ce tribunal. Miami Dade County Courthouse, 175 NW 1st Ave., Miami, Florida
   33128. Un simple coup de telephone est insuffisant pour vous proteger; vous etes obliges de
   deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et du nom des parties
   nommees ici, si vous souhaitez que le tribunal entende votre cause. Si vous ne deposez pas votre
   reponse ecrite dans le delai requis, vous risquez de perdre la cause ainsi que votre salaire, votre
   argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis ulterieur du tribunal. Il y a
   d'autres obligations juridiques et vous pouvez requerir les services immediats d'un avocat. Si vous
   ne connaissez pas d'avocat, vous pourriez telephoner a un service de reference d'avocats ou a un
   bureau d'assistance juridique (figurant a l'annuaire de telephones).
           Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement,
   faire parvenir ou expedier une copie au carbone ou une photocopie de votre reponse ecrite a la
   partie qui vous depose cette citation.




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             AMERICANS WITH DISABILITIES ACT OF 1990 ADA NOTICE
    “If you are a person with a disability who needs any accommodation in order to
    participate in this proceeding, you are entitled, at no cost to you, to the provision of
    certain assistance. Please contact Aliean Simpkins, the Eleventh Judicial Circuit Court’s
    ADA Coordinator, Lawson E. Thomas Courthouse Center, 175 NW 1st Avenue, Suite
    2400, Miami, FL 33128; Telephone (305) 349-7175; TDD (305) 349-7174, Email
    ADA@jud11.flcourts.org; or via Fax at (305) 349-7355, at least seven (7) days before
    your scheduled court appearance, or immediately upon receiving this notification if the
    time before the scheduled appearance is less than seven (7) days; if you are hearing or
    voice impaired, call 711.”




                        11/7/2023
   Dated by the Clerk: __________________     By: __________________________________
                                                          Clerk of Court  David Serra

                                                         Juan Fernandez-Barquin,
                                                         Clerk of the Court and Comptroller



   DATED this 2nd day of November 2023.

                                            LAW OFFICE OF LAUREN GRONDSKI, PA
                                            1031 IVES DAIRY ROAD, #228
                                            MIAMI, FL 33179
                                            Attorneys for Plaintiff
                                            Primary Email: justinlinnlaw@gmail.com




                                            By:
                                            JUSTIN E. LINN, ESQUIRE
                                            Florida Bar No. 98661




                                           Page 3 of 3
Filing Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 280 of
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                                                 AM


                        IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                         CASE NO.: 2023-159625-CC-23

        SAMANTHA EVE MORRIS,

                       Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                    Defendant(s).
        _______________________________________/


                          PLAINTIFF’S REQUEST FOR ADMISSIONS TO
                     DEFENDANT NATIONWIE MUTUAL INSURANCE COMPANY


               Plaintiff, SAMANTHA EVE MORRIS, by and through her undersigned counsel, files this
        Request for Admission to Defendant NATIONWIDE MUTUAL INSURANCE COMPANY,
        pursuant to Rule 1.370, Florida Rules of Civil Procedure, to answer within forty-five (45) days of
        the date of service thereon.


               Request for Admission. A party may serve upon any other party a written request for the
        admission of the truth of any matters within the scope of rule 1.280(b) set forth in the request that
        relate to statements or opinions of fact or of the application of law to fact, including the
        genuineness of any documents described in the request. Copies of documents shall be served with
        the request unless they have been or are otherwise furnished or made available for inspection and
        copying. Without leave of court the request may be served upon the plaintiff after commencement
        of the action and upon any other party with or after service of the process and initial pleading upon
        that party. The request for admission shall not exceed 30 requests, including all subparts, unless
        the court permits a larger number on motion and notice and for good cause, or the parties
        propounding and responding to the requests stipulate to a larger number. Each matter of which an
        admission is requested shall be separately set forth. The matter is admitted unless the party to


                                                     Page 1 of 3
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   whom the request is directed serves upon the party requesting the admission a written answer or
   objection addressed to the matter within 30 days after service of the request or such shorter or
   longer time as the court may allow but, unless the court shortens the time, a defendant shall not be
   required to serve answers or objections before the expiration of 45 days after service of the process
   and initial pleading upon the defendant. If objection is made, the reasons shall be stated. The
   answer shall specifically deny the matter or set forth in detail the reasons why the answering party
   cannot truthfully admit or deny the matter. A denial shall fairly meet the substance of the requested
   admission, and when good faith requires that a party qualify an answer or deny only a part of the
   matter of which an admission is requested, the party shall specify so much of it as is true and
   qualify or deny the remainder. An answering party may not give lack of information or knowledge
   as a reason for failure to admit or deny unless that party states that that party has made reasonable
   inquiry and that the information known or readily obtainable by that party is insufficient to enable
   that party to admit or deny. A party who considers that a matter of which an admission has been
   requested presents a genuine issue for trial may not object to the request on that ground alone; the
   party may deny the matter or set forth reasons why the party cannot admit or deny it, subject to
   rule 1.380(c). The party who has requested the admissions may move to determine the sufficiency
   of the answers or objections. Unless the court determines that an objection is justified, it shall order
   that an answer be served. If the court determines that an answer does not comply with the
   requirements of this rule, it may order either that the matter is admitted or that an amended answer
   be served.


           Instead of these orders the court may determine that final disposition of the request be made
   at a pretrial conference or at a designated time before trial. The provisions of rule 1.380(a)(4) apply
   to the award of expenses incurred in relation to the motion.


           Effect of Admission. Any matter admitted under this rule is conclusively established
   unless the court on motion permits withdrawal or amendment of the admission. Subject to rule
   1.200 governing amendment of a pretrial order, the court may permit withdrawal or amendment
   when the presentation of the merits of the action will be subserved by it and the party who obtained
   the admission fails to satisfy the court that withdrawal or amendment will prejudice that party in
   maintaining an action or defense on the merits. Any admission made by a party under this rule is

                                                 Page 2 of 3
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   for the purpose of the pending action only and is not an admission for any other purpose nor may
   it be used against that party in any other proceeding.




   ADMIT OR DENY THE FOLLOWING:

   1.     On September 19, 2022, Samantha Eve Morris was insured under a Nationwide Mutual
          Insurance Company policy of health insurance.

   2.     Samantha Eve Morris presented proper Proof of Loss for the injuries arising from the
          September 19, 2022, date of loss.

   3.     The medical billing charged by Neurology Associates Group, Inc., d/b/a CITIMED is a
          covered medical expense under the applicable policy of insurance.




                                  CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been
   eFiled with the Miami Dade County Clerk of Court and furnished to the above-named defendant
   with service of the Complaint.

   DATED: November 8, 2023

                                                 LAW OFFICE OF LAUREN GRONDSKI, PA
                                                 1031 IVES DAIRY ROAD, #228
                                                 MIAMI, FL 33179
                                                 Attorneys for Plaintiff
                                                 Primary Email: justinlinnlaw@gmail.com




                                                 By:
                                                                           ---
                                                 JUSTIN E. LINN, ESQUIRE
                                                 Florida Bar No. 98661




                                               Page 3 of 3
Filing Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 283 of
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                                                 AM


                        IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                         CASE NO.: 2023-159625-CC-23

        SAMANTHA EVE MORRIS,

                       Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                    Defendant(s).
        _______________________________________/


                              PLAINTIFF’S REQUEST FOR ADMISSIONS TO
                             DEFENDANT HUMANA INSURANCE COMPANY


               Plaintiff, SAMANTHA EVE MORRIS, by and through her undersigned counsel, files this
        Request for Admission to Defendant HUMANA INSURANCE COMPANY, pursuant to Rule
        1.370, Florida Rules of Civil Procedure, to answer within forty-five (45) days of the date of service
        thereon.


               Request for Admission. A party may serve upon any other party a written request for the
        admission of the truth of any matters within the scope of rule 1.280(b) set forth in the request that
        relate to statements or opinions of fact or of the application of law to fact, including the
        genuineness of any documents described in the request. Copies of documents shall be served with
        the request unless they have been or are otherwise furnished or made available for inspection and
        copying. Without leave of court the request may be served upon the plaintiff after commencement
        of the action and upon any other party with or after service of the process and initial pleading upon
        that party. The request for admission shall not exceed 30 requests, including all subparts, unless
        the court permits a larger number on motion and notice and for good cause, or the parties
        propounding and responding to the requests stipulate to a larger number. Each matter of which an
        admission is requested shall be separately set forth. The matter is admitted unless the party to


                                                     Page 1 of 4
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   whom the request is directed serves upon the party requesting the admission a written answer or
   objection addressed to the matter within 30 days after service of the request or such shorter or
   longer time as the court may allow but, unless the court shortens the time, a defendant shall not be
   required to serve answers or objections before the expiration of 45 days after service of the process
   and initial pleading upon the defendant. If objection is made, the reasons shall be stated. The
   answer shall specifically deny the matter or set forth in detail the reasons why the answering party
   cannot truthfully admit or deny the matter. A denial shall fairly meet the substance of the requested
   admission, and when good faith requires that a party qualify an answer or deny only a part of the
   matter of which an admission is requested, the party shall specify so much of it as is true and
   qualify or deny the remainder. An answering party may not give lack of information or knowledge
   as a reason for failure to admit or deny unless that party states that that party has made reasonable
   inquiry and that the information known or readily obtainable by that party is insufficient to enable
   that party to admit or deny. A party who considers that a matter of which an admission has been
   requested presents a genuine issue for trial may not object to the request on that ground alone; the
   party may deny the matter or set forth reasons why the party cannot admit or deny it, subject to
   rule 1.380(c). The party who has requested the admissions may move to determine the sufficiency
   of the answers or objections. Unless the court determines that an objection is justified, it shall order
   that an answer be served. If the court determines that an answer does not comply with the
   requirements of this rule, it may order either that the matter is admitted or that an amended answer
   be served.


           Instead of these orders the court may determine that final disposition of the request be made
   at a pretrial conference or at a designated time before trial. The provisions of rule 1.380(a)(4) apply
   to the award of expenses incurred in relation to the motion.


           Effect of Admission. Any matter admitted under this rule is conclusively established
   unless the court on motion permits withdrawal or amendment of the admission. Subject to rule
   1.200 governing amendment of a pretrial order, the court may permit withdrawal or amendment
   when the presentation of the merits of the action will be subserved by it and the party who obtained
   the admission fails to satisfy the court that withdrawal or amendment will prejudice that party in
   maintaining an action or defense on the merits. Any admission made by a party under this rule is

                                                 Page 2 of 4
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   for the purpose of the pending action only and is not an admission for any other purpose nor may
   it be used against that party in any other proceeding.




   ADMIT OR DENY THE FOLLOWING:

   1.     On September 19, 2022, Samantha Eve Morris was insured under a Humana Insurance
          Company policy of health insurance.

   2.     From September 28, 2022, through March 3, 2023, Samantha Eve Morris was insured
          under a Humana Insurance Company policy of health insurance.

   3.     The policy of insurance that provided coverage to Samantha Eve Morris is a Health
          Maintenance Organization (HMO).

   4.     Humana Insurance Company received a request for payment on or about March 15, 2023,
          from its insured requesting that Humana Insurance Company pay the claim from
          Neurology Associates Group, Inc., d/b/a CITIMED.

   5.     Humana Insurance Company failed to contest nor deny the request for payment received
          on or about March 15, 2023.

   6.     Humana Insurance Company received a request for payment on or about April 24, 2023,
          from its insured requesting that Humana Insurance Company pay the claim from
          Neurology Associates Group, Inc., d/b/a CITIMED.

   7.     Humana Insurance Company failed to contest nor deny the request for payment received
          on or about April 24, 2023.


   8.     Humana Insurance Company received a request for payment on or about June 14, 2023,
          from its insured requesting that Humana Insurance Company pay the claim from
          Neurology Associates Group, Inc., d/b/a CITIMED.


   9.     Humana Insurance Company failed to contest nor deny the request for payment received
          on or about June 14, 2023.


   10.    Humana Insurance Company received a request for payment on or about July 1, 2023, from
          its insured requesting that Humana Insurance Company pay the claim from Neurology
          Associates Group, Inc., d/b/a CITIMED.

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   11.    Humana Insurance Company failed to contest nor deny the request for payment received
          on or about July 1, 2023.

   12.    Humana Insurance Company received a request for payment on or about September 7,
          2023, from its insured requesting that Humana Insurance Company pay the claim from
          Neurology Associates Group, Inc., d/b/a CITIMED.


   13.    Humana Insurance Company failed to contest nor deny the request for payment received
          on or about September 7, 2023.

   14.   It has been at least one-hundred and twenty (120) days since Humana Insurance Company
         received a request to pay the claim from Neurology Associates Group, Inc., d/b/a
         CITIMED.

   15.   Humana Health Insurance did not have a good-faith basis for refusing to pay the claim
         from Neurology Associates Group, Inc., d/b/a CITIMED.




                                  CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been
   eFiled with the Miami Dade County Clerk of Court and furnished to the above-named defendant
   with service of the Complaint.

   DATED: November 8, 2023

                                             LAW OFFICE OF LAUREN GRONDSKI, PA
                                             1031 IVES DAIRY ROAD, #228
                                             MIAMI, FL 33179
                                             Attorneys for Plaintiff
                                             Primary Email: justinlinnlaw@gmail.com




                                             By:
                                             JUSTIN E. LINN, ESQUIRE
                                             Florida Bar No. 98661




                                           Page 4 of 4
Filing Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 287 of
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                                                 AM


                        IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                         CASE NO.: 2023-159625-CC-23

        SAMANTHA EVE MORRIS,

                       Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                    Defendant(s).
        _______________________________________/


                             PLAINTIFF’S REQUEST FOR PRODUCTION TO
                             DEFENDANT HUMANA INSURANCE COMPANY


               Plaintiff, SAMANTHA EVE MORRIS, by and through her undersigned counsel, files this
        Request for Production to Defendant HUMANA INSURANCE COMPANY, pursuant to Rule
        1.350, Florida Rules of Civil Procedure, to answer within forty-five (45) days of the date of service
        thereon.

        1.     Explanation of Benefits (EOB) for the $26,498.34 medical billing charged by Neurology
               Associates Group, Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.

        2.     All correspondence received by you from your insured and/or their attorney(s) related to
               the $26,498.34 medical billing charged by Neurology Associates Group, Inc., d/b/a
               CITITMED to your insured, Samantha Eve Morris.

        3.     All requests for payment received by you from your insured and/or their attorney(s) related
               to the $26,498.34 medical billing charged by Neurology Associates Group, Inc., d/b/a
               CITITMED to your insured, Samantha Eve Morris.

        4.     A copy of the contract that you contend controls the rights and obligations between you
               and your insured, related to a policy of health insurance issued by Humana Health
               Insurance (i.e., the policy of insurance).

        5.     All correspondence that you contend you sent your insured and/or their attorney(s) denying
               the $26,498.34 medical billing charged by Neurology Associates Group, Inc., d/b/a


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         CITITMED to your insured, Samantha Eve Morris.

   6.    All correspondence that you contend you sent your insured and/or their attorney(s)
         contesting the $26,498.34 medical billing charged by Neurology Associates Group, Inc.,
         d/b/a CITITMED to your insured, Samantha Eve Morris.

   7.    All correspondence that you contend you sent your insured and/or their attorney(s) related
         in any way to the $26,498.34 medical billing charged by Neurology Associates Group,
         Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.

   8.    Leger of all premium payments received by your insured from one (1) year prior to the date
         of loss to one (1) year past the date of loss.

   9.    Applications for health insurance coverage completed by and/or on behalf of your insured,
         Samantha Eve Morris, for the subject health insurance policy.

   10.   Any policy of insurance for which you contend shall provide primary coverage for the the
         $26,498.34 medical billing charged by Neurology Associates Group, Inc., d/b/a
         CITITMED to your insured, Samantha Eve Morris.

   11.   Claim reports related to the $26,498.34 medical billing charged by Neurology Associates
         Group, Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.


   12.   Denial of Claim for the $26,498.34 medical billing charged by Neurology Associates
         Group, Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.

   13.   Civil Remedy Notice filing number 700264.

   14.   Your response to Civil Remedy Notice filing number 700264.

   15.   All Civil Remedy Notice(s) filed against you for the one (1) year preceding the filing of
         Plaintiff’s Civil Remedy Notice filing number 700264, in which an insured alleges that you
         failed to attempt in good-faith to settle claims when, under all the circumstances, it could
         and should have done so.

   16.   All Civil Remedy Notice(s) filed against you for the one (1) year preceding the filing of
         Plaintiff’s Civil Remedy Notice filing number 700264, in which an insured alleges that you
         failed to properly deny a medical provider’s charge presented to you within the statutory
         time period.

   17.   Any recorded statements related to the $26,498.34 medical billing charged by Neurology
         Associates Group, Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.

   18.   Any documents that you contend demonstrate that you do not have a legal obligation to

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          provide payment for the $26,498.34 medical billing charged by Neurology Associates
          Group, Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.

   19.    All documents related to any affirmative defense you plead in your Answer.

   20.    All documents related to Plaintiff’s policy of insurance, for the one (1) year preceding the
          date of loss, to one (1) year thereafter.




                                  CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been
   eFiled with the Miami Dade County Clerk of Court and furnished to the above-named defendant
   with service of the Complaint.

   DATED: November 8, 2023

                                                LAW OFFICE OF LAUREN GRONDSKI, PA
                                                1031 IVES DAIRY ROAD, #228
                                                MIAMI, FL 33179
                                                Attorneys for Plaintiff
                                                Primary Email: justinlinnlaw@gmail.com




                                                By:
                                                                              ----          --.,




                                                JUSTIN E. LINN, ESQUIRE
                                                Florida Bar No. 98661




                                              Page 3 of 3
Filing Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 290 of
       # 185705741   E-Filed 11/08/2023 09:52:56 298
                                                 AM


                        IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                        CASE NO.: 2023-159625-CC-23

        SAMANTHA EVE MORRIS,

                       Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                    Defendant(s).
        _______________________________________/


                         PLAINTIFF’S REQUEST FOR PRODUCTION TO
                    DEFENDANT NATIONWIDE MUTUAL INSURANCE COMPANY


               Plaintiff, SAMANTHA EVE MORRIS, by and through her undersigned counsel, files this
        Request for Production to Defendant NATIONWIDE MUTUAL INSURANCE COMPANY,
        pursuant to Rule 1.350, Florida Rules of Civil Procedure, to answer within forty-five (45) days of
        the date of service thereon.

        1.     Explanation of Benefits (EOB) for the $26,498.34 medical billing charged by Neurology
               Associates Group, Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.

        2.     All correspondence received by you from your insured and/or their attorney(s) related to
               the $26,498.34 medical billing charged by Neurology Associates Group, Inc., d/b/a
               CITITMED to your insured, Samantha Eve Morris.

        3.     All requests for payment received by you from your insured and/or their attorney(s) related
               to the $26,498.34 medical billing charged by Neurology Associates Group, Inc., d/b/a
               CITITMED to your insured, Samantha Eve Morris.

        4.     A copy of the contract that you contend controls the rights and obligations between you
               and your insured, related to a policy of health insurance issued by Nationwide Mutual
               Health Insurance (i.e., the policy of insurance).

        5.     All correspondence that you contend you sent your insured and/or their attorney(s) denying
               the $26,498.34 medical billing charged by Neurology Associates Group, Inc., d/b/a


                                                   Page 1 of 3
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         CITITMED to your insured, Samantha Eve Morris.

   6.    All correspondence that you contend you sent your insured and/or their attorney(s)
         contesting the $26,498.34 medical billing charged by Neurology Associates Group, Inc.,
         d/b/a CITITMED to your insured, Samantha Eve Morris.

   7.    All correspondence that you contend you sent your insured and/or their attorney(s) related
         in any way to the $26,498.34 medical billing charged by Neurology Associates Group,
         Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.

   8.    Leger of all premium payments received by your insured from one (1) year prior to the date
         of loss to one (1) year past the date of loss.

   9.    Applications for insurance coverage completed by and/or on behalf of your insured,
         Samantha Eve Morris, for the subject insurance policy.

   10.   Any policy of insurance for which you contend shall provide primary coverage for the
         $26,498.34 medical billing charged by Neurology Associates Group, Inc., d/b/a
         CITITMED to your insured, Samantha Eve Morris.

   11.   Claim reports related to the $26,498.34 medical billing charged by Neurology Associates
         Group, Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.

   12.   Denial of Claim for the $26,498.34 medical billing charged by Neurology Associates
         Group, Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.

   13.   Any recorded statements related to the $26,498.34 medical billing charged by Neurology
         Associates Group, Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.

   14.   Any documents that you contend demonstrate that you do not have a legal obligation to
         provide payment for the $26,498.34 medical billing charged by Neurology Associates
         Group, Inc., d/b/a CITITMED to your insured, Samantha Eve Morris.

   15.   All documents related to any affirmative defense you plead in your Answer.

   16.   All documents related to Plaintiff’s policy of insurance, for the one (1) year preceding the
         date of loss, to one (1) year thereafter.




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                                     298



                                  CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been
   eFiled with the Miami Dade County Clerk of Court and furnished to the above-named defendant
   with service of the Complaint.

   DATED: November 8, 2023

                                             LAW OFFICE OF LAUREN GRONDSKI, PA
                                             1031 IVES DAIRY ROAD, #228
                                             MIAMI, FL 33179
                                             Attorneys for Plaintiff
                                             Primary Email: justinlinnlaw@gmail.com




                                             By:
                                             JUSTIN E. LINN, ESQUIRE
                                             Florida Bar No. 98661




                                           Page 3 of 3
Filing Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 293 of
       # 185816110   E-Filed 11/09/2023 10:57:32 298
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                        IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                         CASE NO.: 2023-159625-CC-23

        SAMANTHA EVE MORRIS,

                       Plaintiff,

        vs.

        HUMANA INSURANCE COMPANY, a Foreign
        Profit Corporation & NATIONWIDE MUTUAL
        INSURANCE COMPANY

                    Defendant(s).
        _______________________________________/


                                     PLAINTIFF’S NOTICE OF FILING
                                    RETURN OF ELECTRONIC SERVICE


               Plaintiff, SAMANTHA EVE MORRIS, by and through her undersigned counsel, files this
        Plaintiff’s Notice of Filing Return of Electronic Service and hereby files with the Court, as Exhibit
        A, return of service on Humana Insurance Company and Nationwide Mutual Insurance Company,
        by LSOP_Admin@myfloridacfo.com.


                                     CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been
        eFiled with the Miami Dade County Clerk of Court on this 9th day of November, 2023.

                                                      LAW OFFICE OF LAUREN GRONDSKI, PA
                                                      1031 IVES DAIRY ROAD, #228
                                                      MIAMI, FL 33179
                                                      Attorneys for Plaintiff
                                                      Primary Email: justinlinnlaw@gmail.com




                                                      By:
                                                      JUSTIN E. LINN, ESQUIRE
                                                      Florida Bar No. 98661


                                                     Page 1 of 1
    Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 294 of
Plaintiff's Exhibit A                    298

                                                                                 Justin Linn <justinlinnlaw@gmail.com>



  LSOP NOTICE - Production
  LSOP.Info@myfloridacfo.com <LSOP.Info@myfloridacfo.com>                                     Thu, Nov 9, 2023 at 12:47 AM
  To: justinlinnlaw@gmail.com
  Cc: LSOP_Admin@myfloridacfo.com



    ***This is an automated email. Please do not respond.***

    The following packet(s) you submitted online have been served.

    HUMANA INSURANCE COMPANY: (1) Packet(s) with SOP Number(s).
    23-000545345

    NATIONWIDE MUTUAL INSURANCE COMPANY: (1) Packet(s) with SOP Number(s).
    23-000545360

    Please see the LSOP website (https://apps.fldfs.com/LSOP/) for a copy of the Notice of Service (or Non-Service). If
    you have any questions or concerns, feel free to contact our office at (850) 413-4200 or
    LSOPContact@MyFloridaCFO.com.
Filing Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 295 of
       # 186804777   E-Filed 11/27/2023 03:14:44 298
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                    IN THE COUNTY COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        SAMANTHA EVE MORRIS,

                             Plaintiff,

               v.                                               Case No. 2023-159625-CC-23
        HUMANA INSURANCE COMPANY, a
        Foreign Profit Corporation & NATIONWIDE
        MUTUAL INSURANCE COMPANY,

                             Defendants.


              NOTICE OF APPEARANCE AND DESIGNATION OF EMAIL ADDRESSES

               Please take notice that the law firm of ICE MILLER LLP hereby appears in this case as

        counsel for Defendant Nationwide Mutual Insurance Company. All parties are requested to

        forward copies of all future correspondence and pleadings to the undersigned counsel at the

        address listed below. In addition, pursuant to Florida Rule of General Practice and Judicial

        Administration 2.516, all papers in this action shall be served by email on Jessa DeGroote at

        jessa.degroote@icemiller.com and susan.cogdill@icemiller.com.
Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 296 of
                                     298



   Dated: November 27, 2023                        Respectfully submitted,

                                                   ICE MILLER LLP

                                                   /s/ Jessa DeGroote
                                                   Jessa DeGroote
                                                   Florida Bar No. 1040687
                                                   ICE MILLER LLP
                                                   One American Square, Suite 2900
                                                   Indianapolis, IN 46282
                                                   (317) 236-2356
                                                   jessa.degroote@icemiller.com

                                                   Attorney for Defendant, Nationwide Mutual
                                                   Insurance Company


                                CERTIFICATE OF SERVICE
         I hereby certify that this notice was served via the Florida Court E-Filing Portal on

   November 27, 2023, upon the following:

                Justin E. Linn
                Law Office of Lauren Gronski, P.A.
                1031 Ives Dairy Road, #228
                Miami, FL 33179
                justinlinnlaw@gmail.com

                                                     /s/ Jessa DeGroote
                                                     Jessa DeGroote




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       # 186806163   E-Filed 11/27/2023 03:22:01 298
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                 IN THE COUNTY COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                         IN AND FOR MIAMI-DADE COUNTY, FLORIDA
                                      CIVIL DIVISION

         SAMANTHA EVE MORRIS,

                               Plaintiff,

                v.

         HUMANA INSURANCE COMPANY, a                          Case No. 2023-159625-CC-23
         Foreign Profit Corporation & NATIONWIDE
         MUTUAL INSURANCE COMPANY,

                               Defendants.


                STIPULATION ON DEFENDANT’S RESPONSE TO THE COMPLAINT

               WHEREAS, on October 26, 2023, Plaintiffs filed their Complaint;

               WHEREAS on November 9, 2023, Plaintiffs served their Complaint upon Defendant

        Nationwide Mutual Insurance Company (“NMIC”);

               WHEREAS on November 22, 2023, Defendant NMIC’s counsel requested a 2-day

        extension to file its responsive pleading and counsel for Plaintiffs consented to the requested

        extension,

               IT IS HEREBY STIPULATED AND AGREED, by the parties hereto, subject to the

        approval of the Court, that Defendant’s response to the Complaint shall be due on or before

        December 1, 2023.
Case 1:23-cv-24540-KMM Document 1-1 Entered on FLSD Docket 12/01/2023 Page 298 of
                                     298



    Dated: November 27, 2023

    LAW OFFICE OF                                           ICE MILLER LLP
    LAUREN GRONDSKI, PA
                                                            /s/ Jessa DeGroote

    ~
                                                            Jessa DeGroote
                                                            Florida Bar No. 1040687
                                                            ICE MILLER LLP
    Justin E. Linn                                          200 West Madison St., Ste. 3500
    Florida Bar No. 98661                                   Chicago, IL 60606
    LAW OFFICE OF                                           (317) 236-2356
    LAUREN GRONSKI, PA                                      jessa.degroote@icemiller.com
    1031 Ives Dairy Road, #228
    Miami, FL 33179                                         Attorneys for Defendant, Nationwide Mutual
    justinlinnlaw@gmail.com                                 Insurance Company.
    Attorney for Plaintiff


                                       CERTIFICATE OF SERVICE
           I hereby certify that this notice was served via the Florida Court E-Filing Portal on

   November 27, 2023, upon the following:

                      Justin E. Linn
                      Law Office of Lauren Gronski, P.A.
                      1031 Ives Dairy Road, #228
                      Miami, FL 33179
                      justinlinnlaw@gmail.com

                                                           /s/
                                                           Jessa DeGroote




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